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                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION

THE CITY OF LAREDO, TEXAS,                    CASE NO.: 5: 18-cv-00118

                    Plaintiff,                JUDGE:

v.

PURDUE PHARMA L.P.
c/o The Prentice Hall Corporation
2711 Centerville Road                         PLAINTIFF’S ORIGINAL
Wilmington, DE 19808                          PETITION

              and                             (JURY DEMAND HEREON)

PURDUE PHARMA INC.
c/o The Prentice Hall Corporation
2711 Centerville Road
Wilmington, DE 19808

              and

THE PURDUE FREDERICK COMPANY, INC.
c/o The Prentice Hall Corporation
2711 Centerville Road
Wilmington, DE 19808

              and

TEVA PHARMACEUTICALS USA, INC.
c/o Corporate Creations Network Inc.
3411 Silverside Road
Wilmington, DE 19180

              and

CEPHALON, INC.
c/o Corporate Creations Network Inc.
3411 Silverside Road
Wilmington, DE 19180

              and

JOHNSON & JOHNSON
One Johnson & Johnson Plaza
New Brunswick, NJ 08933
                                        1
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             and

JANSSEN PHARMACEUTICALS, INC.
116 Pine Street, Suite 320
Harrisburg, PA 17101

             and

ORTHO-MCNEIL-JANSSEN
PHARMACEUTICALS, INC. N/K/A JANSSEN
PHARMACEUTICALS, INC.
116 Pine Street, Suite 320
Harrisburg, PA 17101

             and

JANSSEN PHARMACEUTICA, INC. N/K/A
JANSSEN PHARMACEUTICALS, INC.
116 Pine Street, Suite 320
Harrisburg, PA 17101

             and

ENDO PHARMACEUTICALS, INC.
c/o The Corporation Trust Co.
1209 Orange Street
Wilmington, DE 19801

             and

ALLERGAN PLC F/K/A ACTAVIS PLC
CT Corporation System
c/o Ct Corp System,
1200 South Pine Island Road,
Plantation, FL 33324

             and

ACTAVIS, INC. F/K/A WATSON
PHARMACEUTICALS, INC.
c/o Corporation Creations Network
3411 Silverside Road,
Tatnall Building, Suite 104,
Wilmington, DE 19810

             and

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WATSON LABORATORIES, INC.
Corporate Creations Network Inc.
119 E. Court Street
Cincinnati, OH 45202

              and

ACTAVIS LLC
c/o Corporation Creations Network
3411 Silverside Road,
Tatnall Building, Suite 104,
Wilmington, DE 19810

              and

ACTAVIS PHARMA, INC. F/K/A WATSON
PHARMA, INC.
c/o Corporation Creations Network
3411 Silverside Road,
Tatnall Building, Suite 104,
Wilmington, DE 19810

              and

MALLINCKRODT LLC
c/o The Corporation trust Company
Corporation Trust Center
1209 Orange Street
Wilmington, DE 19801

              and

ENDO HEALTH SOLUTIONS INC.
c/o The Corporation Trust Co.
1209 Orange Street
Wilmington, DE 19801

              and

INSYS THERAPEUTICS, INC.
1333 S. Spectrum Blvd. #100
Chandler, Arizona 85286

              and

MCKESSON CORPORATION
50 West Broad Street, Suite 1330
Columbus, Ohio 43215
                                       3
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              and

CARDINAL HEALTH, INC.
7000 Cardinal Place
Dublin, Ohio 43017

              and

AMERISOURCEBERGEN CORPORATION
1300 East Ninth Street
Cleveland, Ohio 44114

              and

CVS HEALTH CORPORATION
1 CVS Drive
Woonsocket, RI 02895

              and

WALGREENS BOOTS ALLIANCE, INC. A/K/A
WALGREEN CO.
108 Wilmot Road
Deerfield, IL 60015

              and

WALMART, INC.
702 SW 8th Street
Bentonville, AR 72716

             and

RITE AID OF MARYLAND
30 Hunter Ln.
Camp Hill, PA 17011



                    Defendants.




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                                                                         PETITION



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        NOW COMES the Plaintiff, the City of Laredo, (“Plaintiff,” “City,” or “Laredo” or

“Laredo”), through its undersigned counsel, Luis R. Vera & Associates and Napoli Shkolnik PLLC,

and complains against Defendants Purdue Pharma L.P.; Purdue Pharma Inc.; the Purdue Frederick

Company, Inc.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen

Pharmaceuticals, Inc.; Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Ortho-

McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen Pharmaceuticals, Inc.; Endo Health Solutions

Inc.; Endo Pharmaceuticals, Inc.; Allergan plc f/k/a Actavis plc; Actavis, Inc. f/k/a Watson

Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a Watson

Pharma, Inc.; Mallinckrodt LLC; and Insys Therapeutics, Inc.; (collectively, “Manufacturers,”

“Manufacturer Defendants,” or “Defendants”); McKesson Corporation; Cardinal Health Inc.;

Amerisource Drug Corporation (collectively, “Distributors,” “Distributor Defendants,” or

“Defendants”) CVS Health Corporation; Walgreens Boots Alliance, Inc. a/k/a Walgreen Co.; and

Walmart, Inc,; and Rite Aid of Maryland; (Collectively, “Retail Pharmacy Defendants”, “Pharmacy

Defendants”, or “Defendants”) (collectively, “Defendants”) alleges, as follows:

                                             INTRODUCTION

        1.      This case is about one thing: corporate greed. Defendants put their desire for profits

above the health and well-being of Laredo’s residents at the cost of Plaintiff.

        2.      Laredo spends substantial amounts each year to provide and pay for health care,

services, pharmaceutical care, shelter and other necessary services and programs on behalf of

residents of its City whom are homeless, indigent, or otherwise eligible for services.

        3.      Laredo also provides a wide range of other services to its residents, including law

enforcement, services for families and children, and public assistance.




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        4.       In recent years, Laredo has been forced to expend substantial amounts of money,

described further below, due to what is commonly referred to as the “opioid epidemic” and as a

direct result of the actions of Defendants.

        5.       Plaintiff employs hundreds of people.         Plaintiff is also responsible for partially

funding a medical insurance plan for its employees.

        6.       Defendants knew that opioids were effective treatments for short-term post-surgical

and trauma-related pain, and for palliative (end-of-life) care. Yet they also knew–and had known for

years–that opioids were addictive and subject to abuse, particularly when used long-term for chronic

non-cancer pain (pain lasting three months or longer, hereinafter referred to as “chronic pain”), and

should not be used except as a last-resort.

        7.       Defendants further knew–and had known for years–that with prolonged use, the

effectiveness of opioids wanes, requiring increases in doses and markedly increasing the risk of

significant side effects and addiction. 1,2

        8.       Defendants also knew that controlled studies of the safety and efficacy of opioids

were limited to short-term use (not longer than 90 days), and in managed settings (e.g., hospitals),

where the risk of addiction and other adverse outcomes was much less significant.

        9.       Indeed, the U.S. Food and Drug Administration (“FDA”) has expressly recognized

that there have been no long-term studies demonstrating the safety and efficacy of opioids for long-

term use. 3




1
  See, e.g., Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in
Pain Res. & Mgmt. 247 (1994).
2
  The authoritative Diagnostic and Statistical Manual of Mental Disorders, (5th ed. 2013) (“DSM-V”)
classifies addiction as a spectrum of “substance use disorders” that ranges from misuse and abuse of
drugs to addiction. Patients suffer negative consequences wherever they fall on the substance use
disorder continuum. Throughout this Complaint, “addiction” refers to this range of substance use
disorders.
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        10.     Prescription opioids, which include well-known brand-name drugs like OxyContin

and Percocet, and generics like oxycodone and hydrocodone, are narcotics. They are derived from or

possess properties similar to opium and heroin, which is why they are regulated as controlled

substances. 4 Like heroin, prescription opioids work by binding to receptors on the spinal cord and in

the brain, dampening the perception of pain. Opioids also can create a euphoric high, which can

make them addictive. At certain doses, opioids can slow the user’s breathing, causing respiratory

depression and, ultimately, death.

        11.     In order to expand the market for opioids and realize blockbuster profits, Defendants

needed to create a sea change in the medical and public perception that would permit the use of

opioids not just for acute and palliative care, but also for long periods of time to treat more common

aches and pains, like lower back pain, arthritis, and headaches.

        12.     Defendants, through a sophisticated and highly deceptive and unfair marketing

campaign that began in the late 1990s, deepened around 2006, and continues to the present, set out

to, and did, reverse the popular and medical understanding of opioids. Chronic opioid therapy—the

prescribing of opioids to treat chronic pain long-term—is now commonplace.

        13.     To accomplish this reversal, Defendants spent hundreds of millions of dollars: (a)

developing and disseminating seemingly truthful scientific and educational materials and advertising



3
  Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D.,
Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10,
2013).
4
  Since passage of the Controlled Substances Act (“CSA”) in 1970, opioids have been regulated as
controlled substances. As controlled substances, they are categorized in five schedules, ranked in
order of their potential for abuse, with Schedule I being the most dangerous. The CSA imposes a
hierarchy of restrictions on prescribing and dispensing drugs based on their medicinal value,
likelihood of addiction or abuse, and safety. Opioids generally had been categorized as Schedule II or
Schedule III drugs. Schedule II drugs have a high potential for abuse, have a currently accepted
medical use, and may lead to severe psychological or physical dependence. Schedule III drugs are
deemed to have a lower potential for abuse, but their abuse still may lead to moderate or low physical
dependence or high psychological dependence.
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that misrepresented the risks, benefits, and superiority of opioids used long-term to treat chronic pain

(b) deploying sales representatives who visited doctors and other prescribers and delivered misleading

messages about the use of opioids (c) recruiting prescribing physicians as paid speakers as a means of

both securing those physicians’ future “brand loyalty” and extending their reach to the physicians’

peers; (d) funding, assisting, encouraging, and directing certain doctors, known as “key opinion

leaders” (“KOLs”), not only to deliver scripted talks, but also to draft misleading studies, present

continuing medical education programs (“CMEs”) that were deceptive and lacked balance, and serve

on the boards and committees of professional societies and patient advocacy groups that delivered

messages and developed guidelines supporting chronic opioid therapy; and (e) funding, assisting,

directing, and encouraging seemingly neutral and credible professional societies and patient advocacy

groups (referred to hereinafter as “Front Groups”) that developed educational materials and

treatment guidelines that were then distributed by Defendants, which urged doctors to prescribe, and

patients to use, opioids long-term to treat chronic pain.

        14.     These efforts, executed, developed, supported, and directed by Defendants, were

designed not to present a fair view of how and when opioids could be safely and effectively used, but

rather to convince doctors and patients that the benefits of using opioids to treat chronic pain

outweighed the risks and that opioids could be used safely by most patients. Defendants and the third

parties whom they recruited and supported, all profited handsomely through their dissemination of

these deceptions. KOLs and Front Groups saw their stature in the medical community elevated

dramatically due to Defendants’ funding, and Defendants saw an equally dramatic rise in their

revenues.

        15.     Working individually, with, and through these Front Groups and KOLs, Defendants

pioneered a new and far broader market for their potent and highly addictive drugs— the chronic

pain market. Defendants persuaded doctors and patients that what they had long understood—that

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opioids are addictive drugs and unsafe in most circumstances for long-term use— was untrue, and to

the contrary, that the compassionate treatment of pain required opioids. Ignoring the limitations and

cautions in their own drugs’ labels, Defendants: (a) overstated the benefits of chronic opioid therapy,

promised improvement in patients’ function and quality of life, and failed to disclose the lack of

evidence supporting long-term use; (b) trivialized or obscured their serious risks and adverse

outcomes, including the risk of addiction, overdose, and death; (c) overstated their superiority

compared with other treatments, such as other non-opioid analgesics, physical therapy, and other

alternatives; and (d) mischaracterized the difficulty of withdrawal from opioids and the prevalence of

withdrawal symptoms. There was, and is, no reliable scientific evidence to support Defendants’

marketing claims, and there was, and is, a wealth of scientific evidence that these claims are false.

Defendants also deceptively and unfairly marketed the drugs for indications and benefits that were

outside of the drugs’ labels and not supported by substantial evidence.

       16.     Even Defendants’ KOLs initially were very cautious about whether opioids were

appropriate to treat chronic pain. Some of these same KOLs have since recanted their pro-opioid

marketing messages and acknowledged that Defendants’ marketing went too far. Yet despite the

voices of renowned pain specialists, researchers, and physicians who have sounded the alarm on the

overprescribing of opioids to treat chronic pain, Defendants continue to disseminate their misleading

and unfair marketing claims to this day.

       17.     Defendants’ efforts were wildly successful. The United States is now awash in

opioids. In 2012, health care providers wrote 259 million prescriptions for opioid painkillers—

enough to medicate every adult in America around the clock for a month. Twenty percent of all

doctors’ visits in 2010 resulted in the prescription of an opioid, nearly double the rate in 2000.

Opioids—once a niche drug—are now the most prescribed class of drugs—more than blood

pressure, cholesterol, or anxiety drugs. While Americans represent only 4.6% of the world’s

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population, they consume 80% of the opioids supplied around the world and 99% of the global

hydrocodone supply. Together, opioids generated $8 billion in revenue for drug companies in 2012.

        18.     It was Defendants’ marketing—and not any medical breakthrough—that rationalized

prescribing opioids for chronic pain and opened the floodgates of opioid use and abuse. The result

has been catastrophic.

        19.     There is a direct correlation between the sales of opioids and deaths and

hospitalizations caused by opioids 5:




        Source: Annual Review of Public Health

        20.     According to the U.S. Centers for Disease Control and Prevention (“CDC”), the

nation has been swept up in an opioid-induced “public health epidemic.” 6 According to the CDC,


5
  The Prescription Opioid and Heroin Crisis: A Public Health Approach to an Epidemic of Addiction., Annu.
Rev. Public Health 2015, accessed at http://www.annualreviews.org/doi/pdf/10.1146/annurev-
publhealth-031914-122957
6
  CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse (Apr. 29, 2014), accessed at
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prescription opioid use contributed to 16,651 overdose deaths nationally in 2010; 16,917 in 2011; and

16,007 in 2012. One Defendant’s own 2010 internal data shows that it knew that the use of

prescription opioids gave rise to 40% of drug-related emergency department visits in 2010 and 40%

of drug poisoning deaths in 2008, and that the trend of opioid poisonings was increasing from 1999-

2008. For every death, more than 30 individuals are treated in emergency rooms.

        21.     As a direct result of the opioid and eventual heroin epidemic more than 17,000

Americans died from prescription opioids in 2015 and the number continues to steadily grow,

specifically in places such as Laredo, Texas. 7




        22.     The opioid crisis is taking a heavy toll in Texas, where the latest numbers

show a dramatic increase in the number of overdose deaths.

        23.     In 2016, there were 1,375 opioid related overdose cases in the State of Texas, at a rate

of 4.9 deaths per 100,000 residents. 8



http://www.cdc.gov/washington/testimony/2014/t20140429.htm.
7
  https://www.bloomberg.com/news/articles/2017-06-28/life-after-opioids-drugmakers-scramble-
to-concoct-alternatives
                                                  16
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        24.      Laredo is located within Webb County which experiences between 20 and 25

overdose deaths per year. 9

        25.      Prescription opioid abuse has become an escalating problem in Laredo and Webb

County with children as young as 13 using opioid prescriptions. 10

        26.      The Laredo Fire Department and Laredo Public Library have hosted Drug Take Back

Days for Laredo residents to dispose of expired, unused, or unwanted prescription drugs. 11

        27.      Between 2010 and 2016 the number of overdose deaths increased from 260 in 2010

to 530 in 2016. 12

        28.      Opioid death by prescription opioids account for the highest rate of opioid death in

the State of Texas.




        29.      In 2015, for every 100 residents in Texas, there were 58 opioid prescriptions written, a

total of 15.9 million prescriptions. 13


8
  https://www.drugabuse.gov/drugs-abuse/opioids/opioid-summaries-by-state/texas-opioid-
summary
9
  http://www.kgns.tv/content/news/Opioid-abuse-in-Laredo-476582323.html
10
   https://www.lmtonline.com/local/article/Prescription-opioid-abuse-a-growing-concern-in-
12261549.php
11
   https://www.lmtonline.com/local/article/Prescription-opioid-abuse-a-growing-concern-in-
12261549.php
12
   Id.
                                                   17
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        30.        In 2015, 7.2% of new HIV cases in males and 12.1 percent of new HIV cases in

females was attributed to injection drug use. Furthermore, 15.7 of all HIV infected residents of Texas

became infected through injection drug use. 14

        31. Texas and Laredo have also seen a rise in the number of infants born with neo-natal

abstinence syndrome, a part of the national problem. “Between 2000 and 2009, the rate of newborns

experiencing withdrawal symptoms tripled, according to the Journal of the American Medical

Association.” 15

        32.        Texas does not document every neonatal abstinence syndrome case in the state, but

counted 1,009 Medicaid covered babies alone in 2013. 16

        33.        Laredo has taken steps and will foreseeably continue to take steps in efforts to

combat the opioid epidemic which has been caused by the actions of Defendants. These government

efforts create increased costs and spending.

        34.        As a result of the increased costs to treat and otherwise combat the effects of the

opiate epidemic, the City has, in many instances, failed to fund or reduced funding to other City

priorities and needs.

        35.        The dramatic increase in opioid prescriptions to treat common chronic pain

conditions has resulted in a population of addicts who seek drugs from doctors. When turned down

by one physician, many of these addicts deploy increasingly desperate tactics—including doctor-

shopping, use of aliases, and criminal means—to satisfy their cravings.




13
   https://www.drugabuse.gov/drugs-abuse/opioids/opioid-summaries-by-state/texas-opioid-
summary
14
   Id.
15
   https://www.mystatesman.com/news/state--regional-govt--politics/addicted-babies-texas-pose-
painful-costly-problem/GbV80OYwzRHveM034zx7bK/
16
   https://www.mystatesman.com/news/state--regional-govt--politics/addicted-babies-texas-pose-
painful-costly-problem/GbV80OYwzRHveM034zx7bK/
                                                   18
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       36.     Efforts by doctors to reverse course for a chronic pain patient already on opioids

long-term include managing the physical suffering and psychological distress a patient endures while

withdrawing from the drugs. This process is often thwarted by a secondary criminal market well-

stocked by a pipeline of drugs that is diverted to supply them. Even though they never would have

prescribed opioids in the first place, many doctors feel compelled to continue prescribing opioids to

patients who have become dependent on them.

       37.     According to the CDC, more than 12 million Americans age 12 or older have used

prescription painkillers without a prescription in 2010 17, and adolescents are abusing opioids in

alarming numbers.

       38.     Opioid abuse has not displaced heroin, but rather triggered a resurgence in its use,

imposing additional burdens on the City and local agencies that address heroin use and addiction.

According to the CDC, the percentage of heroin users who also use opioid pain relievers rose from

20.7% in 2002-2004 to 45.2% in 2011-2013. Heroin produces a very similar high to prescription

opioids, but is often cheaper. While a single opioid pill may cost $10-$15 on the street, users can

obtain a bag of heroin, with multiple highs, for the same price. It is hard to imagine the powerful pull

that would cause a law-abiding, middle-aged person who started on prescription opioids for a back

injury to turn to buying, snorting, or injecting heroin, but that is the dark side of opioid abuse and

addiction.

       39.     According to the National Institute on Drug Abuse, based on data collected from a

2013 study, 80% of heroin users reported using prescription opioids prior to heroin. 18




17
   CDC, Prescription Painkiller Overdoses in the US (Nov. 2011),
https://www.cdc.gov/vitalsigns/painkilleroverdoses/.
18
   https://www.drugabuse.gov/publications/research-reports/relationship-between-prescription-
drug-heroin-abuse/prescription-opioid-use-risk-factor-heroin-use
                                                  19
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       40.     Dr. Robert DuPont, former director of the National Institute on Drug Abuse, opines

that opioids are more destructive than crack cocaine:

       [Opioid abuse] is building more slowly, but it’s much larger. And the potential[] for

       death, in particular, [is] way beyond anything we saw then. . . . [F]or pain medicine, a

       one-day dose can be sold on the black market for $100. And a single dose can [be]

       lethal to a non-patient. There      is   no      other   medicine   that   has    those

       characteristics. And if you think about that combination and the millions of people

       who are using these medicines, you get some idea of the exposure of the society to

       the prescription drug problem. 19

       41.     Countless City residents suffer from chronic pain, which takes an enormous toll on

their health, their lives, and their families. These residents deserve both appropriate care and the

ability to make decisions based on accurate and complete information about treatment risks and

benefits. But Defendants’ deceptive and unfair marketing campaign deprived City residents and their

doctors of the ability to make informed medical decisions and, instead, caused important, sometimes

life-or-death decisions to be made based not on science, but on hype. Defendants deprived patients,

their doctors, and health care payors of the chance to exercise informed judgment and subjected

them to enormous costs and suffering.

       42.     Defendants’ actions are not permitted or excused by the fact that their labels (with the

exception of Cephalon’s labels for Fentora and Actiq) may have allowed, or did not exclude, the use

of opioids for chronic non-cancer pain. The FDA’s approval did not give Defendants license to

misrepresent the risks, benefits, or superiority of opioids. Indeed, what makes Defendants’ efforts

particularly nefarious—and dangerous—is that, unlike other prescription drugs marketed unlawfully



19
  Transcript, Use and Abuse of Prescription Painkillers, The Diane Rehm Show (Apr. 21, 2011),
http://thedianerehmshow.org/shows/2011-04-21/use-and-abuse-prescription-painkillers/transcript.
                                                 20
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in the past, opioids are highly addictive controlled substances. Defendants deceptively and unfairly

engaged a patient base that—physically and psychologically—could not turn away from their drugs,

many of whom were not helped by the drugs or were profoundly damaged by them.

        43.     Nor is Defendants’ causal role broken by the involvement of doctors. Defendants’

marketing efforts were both ubiquitous and highly persuasive; their deceptive messages tainted

virtually every source doctors could rely on for information and prevented them from making

informed treatment decisions. Defendants targeted not only pain specialists, but also primary care

physicians (PCPs), nurse practitioners, physician assistants, and other non-pain specialists who were

even less likely to be able to assess the companies’ misleading statements. Defendants were also able

to callously manipulate what doctors wanted to believe—namely, that opioids represented a means of

relieving their patients’ suffering and of practicing medicine more compassionately.

        44.     By 2014, nearly two million Americans were either abusing opioid medications or

were dependent on opioids. 20 According to the CDC, opioids have created a “public health

epidemic” as of 2016. 21

        45.     Defendants’ marketing campaign has been extremely harmful and has cost American

lives – including lives of residents of Laredo. Deaths from prescription opioids have quadrupled since

1999. From 2000 to 2014 nearly 500,000 people died from such overdoses; seventy-eight Americans

die every day from opioid overdoses. 22




20
   CDC, Injury Prevention & Control: Opioid Overdose, Prescription Opioids, Addiction and
Overdose. Available at http://www.cdc.gov/drugoverdose/opioids/prescribed.html.
21
    CDC, Examining the Growing Problems of Prescription Drug and Heroin Abuse, (Apr. 29, 2014),
http://www.cdc.gov/washington/testimony/2014/ts0140429.htm.
22
   CDC, Injury Prevention & Control: Opioid Overdose, Understanding the Epidemic.
                                                  21
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        46.     It is estimated that, in 2012, 2.1 million people in the United States suffered from

substances use disorders related to prescription opioid pain relievers. 23

        47.     The National Institutes of Health (“NIH”) not only recognizes the opioid abuse

problem, but also identifies Defendants’ “aggressive marketing” as a major cause: “Several factors are

likely to have contributed to the severity of the current prescription drug abuse problem. They

include drastic increases in the number of prescriptions written and dispensed, greater social

acceptability for using medications for different purposes, and aggressive marketing by pharmaceutical

companies.” 24 As shown below, the “drastic increases in the number of prescriptions written and

dispensed” and the “greater social acceptability for using medications for different purposes “ are

not really independent causative factors but are in fact the direct result of “the aggressive marketing by

pharmaceutical companies.”

        48.     The rising numbers of persons addicted to opioids have led not only to an increase in

health care costs to Laredo, and specifically the Plaintiff, but also a major increase in issues such as

drug abuse, diversion, 25 and crimes related to obtaining opioid medications. Laredo has been severely

and negatively impacted due to the fraudulent misrepresentations and omissions by Defendants

regarding the use and risk related to opioids. In fact, Defendants have been and continue to be aware

of the high levels of diversion of their product.

        49.     Due to the conduct of the Defendants, the commission of criminal acts have been

undertaken not only by individuals seeking to obtain opioids, but by physicians themselves. The

actions of Defendants have created an environment where select physicians have sought to profit at

23
   Substance Abuse and Mental Health Services Administration, Results from the 2012 National Survey on
Drug Use and Health: Summary of National Findings, NSDUH Series H- 46, HHS Publication No. (SMA)
13-4795. Rockville, MD: Substance Abuse and Mental Health Services Administration, 2013.
24
    America’s Addiction to Opioids: Heroin and Prescription Drug Abuse. Available at
http://www.drugabuse.gov/about-nida/legislative-activities/testimony-to- congress/2015/americas-
addiction-to-opioids-heroin-prescription-drug-abuse#_ftn2. (emphasis added).
25
   The CDC defines using or obtaining opioids illegally as “diversion.”
                                                    22
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the expense of their patients who become addicted to opioid pain medications, often accepting cash

payments and ordering unnecessary medical tests, again at the expense of Laredo.

         50.     As a direct and foreseeable consequence of Defendants’ wrongful conduct, Plaintiff

has been required to spend millions of dollars each year in its efforts to combat the public nuisance

created by Defendants’ deceptive marketing campaign. Plaintiff has incurred and continues to incur

costs related to opioid addiction and abuse, including, but not limited to, health care costs, criminal

justice and victimization costs, social costs, and lost productivity costs. Defendants’

misrepresentations regarding the safety and efficacy of long-term opioid use proximately caused

injury to Plaintiff and its residents.

                                         JURISDICTION AND VENUE

         51.     Venue is proper in the United States District Court for the Southern District of

Texas.

         52.     This C o u r t has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §

1961, et seq. (“RICO”). This court has supplemental jurisdiction over Plaintiff’s state law claims that

they form part of the same case or controversy.

         53.     This Court also has jurisdiction over this action in accordance with 28 U.S.C. §

1332(a) because the Plaintiff is a “citizen” of this State, the named Defendants are citizens of

different states and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

         54.     This Court has personal jurisdiction over Defendants because they conduct business

in the State, purposefully direct or directed their actions toward the State, some or all consented to be

sued in the State by registering an agent for service of process, they consensually submitted to the

jurisdiction of the State when obtaining a manufacturer or distributor license, and because they have

                                                   23
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the requisite minimum contacts with the State necessary to constitutionally permit the Court to

exercise jurisdiction.

        55.     This Court also has personal jurisdiction over all of the defendants under 18 U.S.C. §

1965(b). This Court may exercise nationwide jurisdiction over the named Defendants where the

“ends of justice” require national service and Plaintiff demonstrates national contacts. Here, the

interests of justice require that Plaintiff be allowed to bring all members of the nationwide RICO

enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

Fund v. Philip Morris Inc., 23 F. Supp. 2d 796, 803 (N.D. Ohio 1998) (citing LaSalle National Bank

v. Arroyo Office Plaza, Ltd., 1988 WL 23824, *2 (N.D. Ill. Mar 10, 1988); Butcher’s Union Local No.

498 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986)).

        56.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 18 U.S.C. §1965

because a substantial part of the events or omissions giving rise to the claim occurred in this District

and each Defendant transacted affairs and conducted activity that gave rise to the claim of relief in

this District. 28 U.S.C. § 1391(b); 18 U.S.C. §1965(a).

                                                   PARTIES

        A.      Plaintiff.

        57.     Laredo, Texas is a body politic with the power to sue and be sued. Plaintiff provides a

wide range of services on behalf of its residents, including but not limited to services for families and

children, public health, public assistance, law enforcement, and emergency care.

        B.      Defendants.

        58.      Purdue Pharma L.P. is a limited partnership organized under the laws of Laredo.

Purdue Pharma Inc. is a Delaware corporation with its principal place of business in Stamford,

Connecticut, and The Purdue Frederick Company, Inc. is a Delaware corporation with its principal

place of business in Stamford, Connecticut (collectively, “Purdue”).

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       59.     Purdue is primarily engaged in the manufacture, promotion, and distribution of

opioids nationally and in Laredo, including the following:

       a.      OxyContin (oxycodone hydrochloride extended release) is a Schedule II opioid

agonist 26 tablet first approved in 1995 and indicated for the “management of pain severe enough to

require daily, around-the-clock, long-term opioid treatment and for which alternative treatment

options are inadequate.” Prior to April 2014, 27 OxyContin was indicated for the “management of

moderate to severe pain when a continuous, around-the-clock opioid analgesic is needed for an

extended period of time.”

       b.      MS Contin (morphine sulfate extended release) is a Schedule II opioid agonist tablet

first approved in 1987 and indicated for the “management of pain severe enough to require daily,

around-the-clock, long-term opioid treatment and for which alternative treatment options are

inadequate.” Prior to April 2014, MS Contin was indicated for the “management of moderate to

severe pain when a continuous, around-the-clock opioid analgesic is needed for an extended period

of time.”

       c.      Dilaudid (hydromorphone hydrochloride) is a Schedule II opioid agonist first

approved in 1984 (injection) and 1992 (oral solution and tablet) and indicated for the “management

of pain in patients where an opioid analgesic is appropriate.”

26
   An opioid agonist is a drug that activates certain opioid receptors in the brain. An antagonist, by
contrast, blocks the receptor and can also be used in pain relief or to counter the effect of an opioid
overdose.
27
   The labels for OxyContin and other long-acting opioids were amended in response to a 2012
citizens’ petition by doctors. The changes were intended to clarify the existing obligation to “make an
individualized assessment of patient needs.” The petitioners also successfully urged that the revised
labels heighten the requirements for boxed label warnings related to addiction, abuse, and misuse by
changing “Monitor for signs of misuse, abuse, and addiction” to “[Drug name] exposes users to risks
of addiction, abuse, and misuse, which can lead to overdose and death.” Letter from Bob Rappaport,
Dir. Ctr. for Drug Evaluations & Res., Labeling Supplement and PMR [Post-Marketing Research] Required
(Sept. 10, 2013),
http://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/UCM367697.pdf.

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         d.        Dilaudid-HP (hydromorphone hydrochloride) is a Schedule II opioid agonist injection

first approved in 1984 and indicated for the “relief of moderate-to-severe pain in opioid-tolerant

patients who require larger than usual doses of opioids to provide adequate pain relief.”

         e.        Butrans (buprenorphine) is a Schedule III opioid partial agonist transdermal patch

first approved in 2010 and indicated for the “management of pain severe enough to require daily,

around-the-clock, long-term opioid treatment and for which alternative treatment options are

inadequate.” Prior to April 2014, Butrans was indicated for the “management of moderate to severe

pain when a continuous, around-the-clock opioid analgesic is needed for an extended period of

time.”

         f.        Hysingla ER (hydrocodone bitrate) is a Schedule II opioid agonist tablet first

approved in 2014 and indicated for the management of pain severe enough to require daily, around-

the-clock, long-term opioid treatment and for which alternative treatment options are inadequate.

         g.        Targiniq ER (oxycodone hydrochloride and naloxone hydrochloride) is a Schedule II

combination product of oxycodone, an opioid agonist, and naloxone, an opioid antagonist, first

approved in 2014 and indicated for the management of pain severe enough to require daily, around-

the-clock, long-term opioid treatment and for which alternative treatment options are inadequate.

         60.       OxyContin is Purdue’s largest-selling opioid. Since 2009, Purdue’s national annual

sales of OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(i.e., painkillers).

         61.       In 2007, Purdue settled criminal and civil charges against it for misbranding

OxyContin and agreed to pay the United States $635 million—at the time one of the largest




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settlements with a drug company for marketing misconduct. 28 Pursuant to its settlement, Purdue

operated under a Corporate Integrity Agreement with the Office of Inspector General of the U.S.

Department of Health and Human Services, which required the company, inter alia, to ensure that its

marketing was fair and accurate, and to monitor and report on its compliance with the Agreement.

          62.    Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Whales, Pennsylvania. Teva USA is a wholly

owned subsidiary of Teva Pharmaceutical Industries, Ltd. (“Teva Ltd.”), an Israeli corporation.

          63.    Defendant Cephalon, Inc. is a Delaware corporation with its principal place of business

in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon, Inc.

          64.    Teva USA and Cephalon, Inc. work together closely to market and sell Cephalon

products in the United States. Teva USA conducts Teva Ltd.’s sales and marketing activities for

Cephalon in the United States and has done so since Teva Ltd.’s October 2011 acquisition of

Cephalon. Teva USA holds out Actiq and Fentora as Teva products to the public. Teva USA sells all

former Cephalon branded products through its “specialty medicines” division. The FDA approved

prescribing information and medication guide, which is distributed with Cephalon opioids marketed

and sold in Laredo, discloses that the guide was submitted by Teva USA, and directs physicians to

contact Teva USA to report adverse events. (Teva USA and Cephalon, Inc. collectively are referred

to herein as “Cephalon.”)

          65.    Cephalon has been in the business of manufacturing, selling, and distributing the

following opioids, nationally and in Laredo:

          h.     Actiq (fentanyl citrate) is a Schedule II opioid agonist lozenge (lollipop) first approved

in 1998 and indicated for the “management of breakthrough cancer pain in patients 16 years of age




28
     https://oig.hhs.gov/publications/docs/press/2007/SemiannualRelfall2007E.pdf
                                                    27
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and older who are already receiving and who are tolerant to opioid therapy for their underlying

persistent cancer pain.”

          i.     Fentora (fentanyl citrate) is a Schedule II opioid agonist buccal tablet (similar to plugs

of smokeless tobacco) first approved in 2006 and indicated for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant to

around-the-clock opioid therapy for their underlying persistent cancer pain.”

          66.    In November 1998, the FDA granted restricted marketing approval for Actiq, limiting

its lawful promotion to cancer patients experiencing pain. The FDA specified that Actiq should not

be marketed for off-label uses, stating that the drug must be prescribed solely to cancer patients. In

2008, Cephalon pleaded guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act

for its misleading promotion of Actiq and two other drugs, and agreed to pay $425 million in fines,

damages, and penalties.

          67.    Teva USA was in the business of selling generic opioids, including a generic form of

OxyContin from 2005 through 2009 nationally and within Laredo.

          68.    On September 29, 2008, Cephalon entered into a five-year Corporate Integrity

Agreement with the Office of Inspector General of the U.S. Department of Health and Human

Services. 29 The agreement, inter alia, required Cephalon to send doctors a letter advising them of the

settlement terms and gave them a means to report questionable conduct of its sales representatives;

disclose payments to doctors on its web site; and regularly certify that the company has an effective

compliance program.

          69.    Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its principal place of

business in Titusville, New Jersey, and is a wholly owned subsidiary of Johnson & Johnson, a New

Jersey corporation with its principal place of business in New Brunswick, New Jersey. Janssen

29
     https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
                                                    28
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Pharmaceuticals, Inc. was formerly known as Ortho-McNeil- Janssen Pharmaceuticals, Inc., which in

turn was formerly known as Janssen Pharmaceutica Inc. Defendant Ortho-Mcneil-Janssen

Pharmaceuticals, Inc., now known as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation

with its principal place of business in Titusville, New Jersey. Janssen Pharmaceutica, Inc., now known

as Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. Johnson & Johnson is the only company that owns more than 10% of Janssen

Pharmaceuticals, Inc.’s stock, and it corresponds with the FDA regarding Janssen’s products. Upon

information and belief, Johnson & Johnson controls the sale and development of Janssen

Pharmaceutical’s drugs, and Janssen Pharmaceuticals, Inc.’s profits inure to Johnson & Johnson’s

benefit. (Janssen Pharmaceuticals, Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen

Pharmaceutica, Inc., and Johnson & Johnson collectively are referred to herein as “Janssen.”)

       70.     Janssen manufactures, sells, and distributes a range of medical devices and

pharmaceutical drugs in Laredo and the rest of the nation, including Duragesic (fentanyl), which is a

Schedule II opioid agonist transdermal patch first approved in 1990 and indicated for the

“management of pain in opioid-tolerant patients, severe enough to require daily, around-the-clock,

long-term opioid treatment and for which alternative treatment options are inadequate.”

       71.     Until January 2015, Janssen also developed, marketed, and sold Nucynta and Nucynta

ER:

       a.      Nucynta ER (tapentadol extended release) is a Schedule II opioid agonist tablet first

approved in 2011 and indicated for the “management of pain severe enough to require daily, around-

the-clock, long-term opioid treatment and for which alternative treatment options are inadequate.”

Prior to April 2014, Nucynta ER was indicated for the “management of moderate to severe chronic

pain in adults [and] neuropathic pain associated with diabetic peripheral neuropathy (DPN) in

adults.” The DPN indication was added in August 2012.

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        b.       Nucynta (tapentadol) is a Schedule II opioid agonist tablet and oral solution first

approved in 2008 and indicated for the “relief of moderate to severe acute pain in patients 18 years of

age or older.”

        72.      Together, Nucynta and Nucynta ER accounted for $172 million in sales in 2014. 30

Prior to 2009, Duragesic accounted for at least $1 billion in annual sales.

        73.      Endo Health Solutions Inc. is a Delaware corporation with its principal place of

business in Malvern, Pennsylvania. Endo Pharmaceuticals, Inc. is a wholly-owned subsidiary of Endo

Health Solutions Inc. and is a Delaware corporation with its principal place of business in Malvern,

Pennsylvania. (Endo Health Solutions, Inc. and Endo Pharmaceuticals, Inc. collectively are referred

to herein as “Endo.”)

        74.      Endo develops, markets, and sells prescription drugs, including the following opioids,

in Laredo and nationally:

        a.       Opana ER (oxymorphone hydrochloride extended release) is a Schedule II opioid

agonist tablet first approved in 2006 and indicated for the “management of pain severe enough to

require daily, around-the-clock, long-term opioid treatment and for which alternative treatment

options are inadequate.” Prior to April 2014, Opana ER was indicated for the “relief of moderate to

severe pain in patients requiring continuous, around-the-clock opioid treatment for an extended

period of time.”

        b.       Opana (oxymorphone hydrochloride) is a Schedule II opioid agonist tablet first

approved in 2006 and indicated for the “relief of moderate to severe acute pain where the use of an

opioid is appropriate.”




30
   http://www.prnewswire.com/news-releases/depomed-announces-closing-of-acquisition-of-us-
rights-to-nucynta-tapentadol-nucynta-er-tapentadol-extended-release-tablets-and-nucynta-tapentadol-
oral-solution-from-janssen-pharmaceuticals-inc-for-105-billion-300060453.html.
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       c.      Percodan (oxycodone hydrochloride and aspirin) is a Schedule II opioid agonist tablet

first approved in 1950 and first marketed by Endo in 2004 and indicated for the “management of

moderate to moderately severe pain.”

       d.      Percocet (oxycodone hydrochloride and acetaminophen) is a Schedule II opioid

agonist tablet first approved in 1999 and first marketed by Endo in 2006 and indicated for the “relief

of moderate to moderately severe pain.” 31

       75.     Opioids made up roughly $403 million of Endo’s overall revenues of $3 billion in

2012. Opana ER yielded revenue of $1.15 billion from 2010 to 2013, and alone accounted for 10% of

Endo’s total revenue in 2012. Endo also manufactures and sells generic opioids nationally and in

Laredo, both itself and through its subsidiary, Qualitest Pharmaceuticals, Inc., including generic

oxycodone, oxymorphone, hydromorphone, and hydrocodone products.

       76.     Allergan PLC is a public limited company incorporated in Ireland with its principal

place of business in Dublin, Ireland. Actavis PLC acquired Allergan PLC in March 2015, and the

combined company changed its name to Allergan PLC in March 2015. Prior to that, Watson

Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012; the combined company changed its

name to Actavis, Inc. in January 2013 and then to Actavis plc in October 2013. Watson Laboratories,

Inc. is a Nevada corporation with its principal place of business in Corona, California, and is a wholly

owned subsidiary of Allergan PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). Actavis

Pharma, Inc. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business in

New Jersey, and was formerly known as Watson Pharma, Inc. Actavis LLC is a Delaware limited

liability company with its principal place of business in Parsippany, New Jersey. Each of these



31
  In addition, Endo marketed Zydone (hydrocodone bitartrate and acetaminophen), a Schedule III
opioid agonist tablet indicated for the “relief of moderate to moderately severe pain,” from 1998
through 2013. The FDA’s website indicates this product is currently discontinued, but it appears on
Endo’s own website.
                                                  31
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defendants is owned by Allergan plc, which uses them to market and sell its drugs in the United

States. Upon information and belief, Allergan plc exercises control over these marketing and sales

efforts, and profits from the sale of Allergan/Actavis products ultimately inure to its benefit.

(Allergan plc, Actavis plc, Actavis, Inc., Actavis LLC, Actavis Pharma, Inc., Watson Pharmaceuticals,

Inc., Watson Pharma, Inc., and Watson Laboratories, Inc. hereinafter collectively are referred to as

“Actavis.”)

       77.     Actavis engages in the business of marketing and selling opioids in Laredo and across

the country, including the branded drugs Kadian and Norco, a generic version of Kadian, and generic

versions of Duragesic and Opana. Kadian (morphine sulfate extended release) is a Schedule II opioid

agonist capsule first approved in 1996 and indicated for the “management of pain severe enough to

require daily, around-the-clock, long-term opioid treatment and for which alternative treatment

options are inadequate.” Prior to April 2014, Kadian was indicated for the “management of moderate

to severe pain when a continuous, around-the-clock opioid analgesic is needed for an extended

period of time.” Actavis acquired the rights to Kadian from King Pharmaceuticals, Inc., on

December 30, 2008 and began marketing Kadian in 2009.

       78.     Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its principal place of

business in Chandler, Arizona.

       79.     Insys develops, markets, and sells prescription drugs, including Subsys, a sublingual

spray of fentanyl, in Laredo and nationally.

       80.     Mallinckrodt LLC (“Mallinckrodt”) is a Delaware corporation with its principal place

of business in Hazelwood, Missouri.

       81.     Mallinckrodt develops, markets, and sells prescription drugs, including oxycodone, in

Laredo and nationally.




                                                 32
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        82.     Defendant McKesson Corporation (“McKesson”) is a Delaware corporation with its

principal place of business in San Francisco, California.

        83.     Defendant McKesson had a net income in excess of $1.5 Billion in 2015.

        84.     Defendant McKesson distributes pharmaceuticals to retail pharmacies and

institutional providers to customers in all 50 states, including Texas and Laredo.

        85.     Upon information and belief, defendant McKesson is a pharmaceutical distributor

licensed to do business in Texas.

        86.     Defendant McKesson is the largest pharmaceutical distributor in North America.

        87.     Upon information and belief, McKesson delivers one-third of all pharmaceuticals

used in North America.

        88.     Defendant McKesson does substantial business in the State of Texas and Laredo.

        89.     Defendant Cardinal Health Inc. (“Cardinal”) is an Ohio Corporation with its principal

place of business in Dublin, Ohio.

        90.     Defendant Cardinal distributes pharmaceuticals to retail pharmacies and institutional

providers to customers in all 50 states, including Texas and Laredo.

        91.     Upon information and belief, defendant Cardinal is a pharmaceutical distributor

licensed to do business in Texas.

        92.     Defendant Cardinal does substantial business in the State of Texas and Laredo.

        93.     Upon information and belief, defendant Cardinal is one of the largest distributors of

opioid pain medications in the country, including the State of Texas.

        94.     Upon     information   and    belief,   Defendant   AmerisourceBergen    Corporation

(“Amerisource”) is a Delaware Corporation with its principal place of business in Chesterbrook,

Pennsylvania.

        95.     Defendant Amerisource does substantial business in the State of Texas and Laredo.

                                                   33
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       96.     Upon information and belief, Defendant Amerisource is a pharmaceutical distributor

licensed to do business in the State of Texas.

       97.     Upon information and belief, Defendant Amerisource distributes pharmaceuticals to

retail pharmacies and institutional providers to customers in all 50 states, including the State of Texas

and Laredo.

       98.     Upon information and belief, defendant Amerisource is one of the largest distributors

of opioid pain medications in the Country, including the State of Texas and Laredo.

       99.     The    three    pharmaceutical     distributor   defendants   (hereinafter   “Distributor

Defendants”) are the largest opioid distributors in the country, the State of Texas, and within Laredo.

       100.    The Distributor Defendants purchased opioids from manufacturers, such as the

named defendants herein, and sold them to pharmacies throughout Laredo.

       101.    The Distributor Defendants played an integral role in the chain of opioids being

distributed throughout Laredo.

       102.    Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. During all relevant times, CVS has sold and continues to

sell prescription opioids in and around Laredo.

       103.    Defendant Walgreens Boots Alliance, Inc. also known as Walgreen Co.

(“Walgreens”) is a Delaware corporation with its principal place of business in Illinois. At all relevant

times, Walgreens has sold and continues to sell prescription opioids in and around Laredo.

       104.    Defendant Walmart Inc. formerly known as Walmrt Stores, Inc. (“Walmart”)

is a Delaware corporation with its principal place of business in Arkansas. At all relevant times,

Walmart has sold and continues to sell prescription opioids locations in and around Laredo.




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        105.    Defendant Rite Aid of Maryland (“Rite Aid”) is a Delaware corporation with its

principal place of business in Camp Hill, Pennsylvania. During all relevant times, Rite Aid has sold

and continues to sell prescription opioids in and around Laredo.

        106.    CVS Health, Walgreens, Walmart and Rite Aid are collectively referred

to as the “Retail Pharmacy Defendants.”



                          FACTS RELEVANT TO ALL CAUSES OF ACTION

        A.      Background on Pain Medicine.

     1.     Safe and Effective Treatment of Chronic Pain Centers on Informed Risk
Management.

        107.    The practice of medicine centers on informed risk management. Prescribers must

weigh the potential risks and benefits of each treatment option, as well as the risk of non-treatment.

        108.    Accordingly, the safe and effective treatment of chronic pain requires that a physician

be able to weigh the relative risks of prescribing opioids against both (a) the relative benefits that may

be expected during the course of opioid treatment and (b) the risks and benefits of alternatives.

        109.    This bedrock principle of full disclosure is particularly important in the context of

chronic opioid therapy because of the risk that patients will become physically and psychologically

dependent on the drugs, finding it difficult to manage or terminate their use.

        110.    The FDA-approved drug labels on each of Defendants’ opioids do not attempt to

advise physicians how to maximize the benefits and minimize the risks for patients on long-term

chronic opioid therapy. The labels contain no dosing cap above which it would be unsafe for any

doctor to prescribe to any patient. Nor do any of the labels provide a duration limit, after which the

risks to a patient might increase. Thus, doctors and patients rely more heavily on educational

materials such as treatment guidelines, CMEs, and scientific and patient education articles and

websites to inform their treatment decisions.
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        2.      Opioid Use Is Associated with Known and Substantial Risks.

        111.    Opium has been recognized as a tool to relieve pain for millennia; so has the

magnitude of its potential for abuse, addiction and its dangers. Opioids are related to illegal drugs like

opium and heroin. In fact, types of fentanyl, a widely-distributed opioid in the United States, have

now been made illegal in China.

        112.    During the Civil War, opioids, then known as "tinctures of laudanum," gained

popularity among doctors and pharmacists for their ability to reduce anxiety and relieve pain –

particularly on the battlefield – and they were popularly used in a wide variety of commercial

products ranging from pain elixirs to cough suppressants and beverages. By 1900, an estimated

300,000 people were addicted to opioids in the United States. 32 Many doctors prescribed opioids

solely to avoid patients’ withdrawal. Both the numbers of opioid addicts and the difficulty in weaning

patients from opioids made clear their highly addictive nature.

        113.    Due to concerns about the i r addictive properties, opioids have been regulated at the

federal level as controlled substances by the U.S. Drug Enforcement Administration (“DEA”)

since 1970. The labels for scheduled opioid drugs carry black box warnings of potential addiction

and “[s]erious, life-threatening, or fatal respiratory depression,” as the result of an excessive dose.

        114.    Studies and articles from the 1970s and 1980s also made the reasons to avoid opioids

clear. Scientists observed negative outcomes from long-term opioid therapy in pain management

programs; opioids’ mixed record in reducing pain long-term and failure to improve patients’ function;

greater pain complaints as most patients developed tolerance to opioids; opioid patients’ diminished

ability to perform basic tasks; their inability to make use of complementary treatments like physical



 32
   Substance Abuse and Mental Health Services Administration, Medication-Assisted Treatment
 for Opioid Addiction in Opioid Treatment Programs, Treatment Improvement Protocol (TIP
 Services), No. 43 (2005).

                                                    36
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therapy due to the side effects of opioids; and addiction. Leading authorities discouraged, and even

prohibited, the use of opioid therapy for chronic pain.

          115.   Discontinuing opioids after more than just a few weeks of therapy will cause

most patients to experience withdrawal symptoms. These withdrawal symptoms include: severe

anxiety, nausea, vomiting, headaches, agitation, insomnia, tremors, hallucinations, delirium, pain, and

other serious symptoms, which may persist for months after a complete withdrawal from opioids,

depending on how long the patient had been using opioids.

          116.   When under the continuous influence of opioids over time, patients grow tolerant to

their analgesic effects. As tolerance increases, a patient typically requires progressively higher doses

to obtain the same levels of pain reduction to which he or she has become accustomed – up to and

including doses that are “frighteningly high.” 33 At higher doses, the effects of withdrawal are more

substantial, thus leaving a patient at a much higher risk of addiction. A patient can take the opioids

at the continuously escalating dosages to match pain tolerance and still overdose at recommended

levels.

          117.   Dr. Andrew Kolodny, Chief Medical Officer for Phoenix House, a national addiction

treatment program, has explained the effect of opioids as akin to “hijack[ing] the brain’s reward

system,” which in turn convinces a user that “the drug is needed to stay alive.” 34 A patient’s fear of

the unpleasant effects of discontinuing opioids combined with the negative reinforcement during a

period of actual withdrawal can drive a patient to seek further opioid treatment—even where

ineffective or detrimental to quality of life—simply to avoid the deeply unpleasant effects of

withdrawal.

33
   M. Katz, Long-term Opioid Treatment of Nonmalignant Pain: A Believer Loses His
  Faith, 170(16) Archives of Internal Med. 1422 (2010).
34
   David Montero, Actor’s Death Sows Doubt Among O.C.’s Recovering Opioid Addicts, The Orange Cnty.
Reg. (Feb. 3, 2014), http://www.ocregister.com/articles/heroin-600148-shaffer-hoffman.html.

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        118.     Patients that receive high doses of opioids as part of long-term opioid therapy are

three to nine times more likely to suffer an overdose from opioid-related causes than those on low

doses. As compared to available alternative pain remedies, scholars have suggested that tolerance to

the respiratory depressive effects of opioids develops at a slower rate than tolerance to analgesic

effects. Accordingly, the practice of continuously escalating doses to match pain tolerance can, in

fact, lead to an overdose even when opioids are taken as recommended.

        119.     Further, “a potential side effect from chronic use [of opioids] can be abuse and

addiction . . . . [i]n fact, correct use and abuse of these agents are not polar opposites—they are

complex, inter-related phenomena.” 35 It is very difficult to tell whether a patient is physically

dependent, psychologically dependent, or addicted. Drug-seeking behaviors, which are signs of

addiction, will exist and emerge when opioids are suddenly not available, the dose is no longer

effective, or tapering of a dose is undertaken too quickly.

        120.     Studies have shown that between 30% and 40% of long-term users of opioids

experience problems with opioid use disorders. 36

        121.     Each of these risks and adverse effects—dependence, tolerance, and addiction—is

fully disclosed in the labels for each of Defendants’ opioids (though, as described below, not in

Defendants’ marketing). 37 Prior to Defendants’ deceptive marketing scheme, each of these risks was

well-recognized by doctors and seen as a reason to use opioids to treat chronic pain sparingly and

only after other treatments had failed.



35
   Wilson M. Compton & Nora D. Volkow, Major Increases in Opioid Analgesic Abuse in the United States:
Concerns and Strategies, 81(2) Drug & Alcohol Dependence 103, 106 (2006).
36
   Joseph A. Boscarino et al., Risk factors for drug daependence among out-patients on opioid therapy in a large
US health-care system, 105(10) Addiction 1776 ( 2010); Joseph A. Boscarino et al., Prevalence of Prescription
Opioid-Use Disorder Among Chronic Pain Patients: Comparison of the DSM-5 vs. DSM-4 Diagnostic Criteria,
30(3) Journal of Addictive Diseases 185 (2011).
37
    For example, Purdue’s OxyContin label (October 5, 2011) states: “Physical dependence and
tolerance are not unusual during chronic opioid therapy.”
                                                      38
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         122.   Opioids vary by duration. Long-acting opioids, such as Purdue’s OxyContin and MS

Contin, Janssen’s Nucynta ER and Duragesic, Endo’s Opana ER, and Actavis’s Kadian, are designed

to be taken once or twice daily and are purported to provide continuous opioid therapy for, in

general, 12 hours. Short-acting opioids, such as Cephalon’s Actiq and Fentora, are designed to be

taken in addition to long-acting opioids to address “episodic pain” and provide fast-acting,

supplemental opioid therapy lasting approximately 4 to 6 hours.

         123.   Defendants promoted the idea that pain should be treated by taking long-acting

opioids continuously and supplementing them with short-acting, rapid- onset opioids for episodic

pain.

         124.   Defendant Purdue was aware that its drug OxyContin did not provide pain relief for

up to 12 hours. Purdue was also aware of the risk that patients would then take additional pain

medications, beyond what was prescribed, to make of up for that gap in time. Despite this

knowledge, Purdue continued to market OxyContin as lasting for 12 hours.

         125.   While it was once thought that long-acting opioids would not be as susceptible to

abuse and addiction as short-acting ones, this view has been discredited. OxyContin’s label now

states, as do all labels of Schedule II long-acting opioids, that the drug “exposes users to risks of

addiction, abuse, and misuse, which can lead to overdose and death.” The FDA has required

extended release and long-acting opioids to adopt “Risk Evaluation Mitigation Strateg[ies]” on the

basis that they present “a serious public health crisis of addiction, overdose, and death.” 38

         126.   In 2013, in response to a petition to restrict the labels of long-acting opioid products,

the FDA noted the “grave risks” of opioids, “the most well-known of which include addiction,




38
  FDA, Risk Evaluation and Mitigation Strategy (REMS) for Extended-Release and Long-Acting
Opioids (last updated Oct. 9, 2014),
http://www.fda.gov/Drugs/DrugSafety/InformationbyDrugClass/ucm163647.htm.
                                                    39
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overdose, and even death.” 39 The FDA further warned that “[e]ven proper use of opioids under

medical supervision can result in life-threatening respiratory depression, coma, and death.” 40 The

FDA required that—going forward—opioid makers of long-acting formulations clearly communicate

these risks in their labels. Thus, the FDA confirmed what had previously been accepted practice in

the treatment of pain— that the adverse outcomes from opioid use include “addiction, unintentional

overdose, and death” and that long-acting or extended release opioids “should be used only when

alternative treatments are inadequate .” 41

        127.    Notably, in reaching its conclusion, the FDA did not rely on new or otherwise

previously unavailable scientific studies regarding the properties or effects of opioids.

        128.    The FDA-approved labels on each of Defendant’s opioids do not attempt to advise

physicians on how to maximize the benefits and minimize the risks for patients on long term opioid

therapy. The labels contain no dosage cap above which it would be unsafe to prescribe to any patient.

Nor do they provide a duration limit. Doctors and patients rely heavily on education materials, such

as treatment guidelines, CMEs, and scientific and patient education articles and websites, to inform

their treatment decisions.

        129.    On July 25, 2012, the Physicians for Responsible Opioid Prescribing (“PROP”), a

non-profit organization made up of doctors and other health care professionals, petitioned the FDA

to change the labeling of opioid medications. The petition was signed by thirty-seven physicians

located nationwide. In its letter to the FDA, the group stated that “an increasing body of medical




39
   Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D.,
Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10,
2013).
40
   Id.
41
   Id. at 7 (emphasis in original).
                                                   40
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literature suggests that long term-use of opioids may be neither safe nor effective for many patients,

especially when prescribed in high doses.” 42

        130.    In its petition, PROP also stated that “many clinicians are under the false impression

that chronic opioid therapy (“COT”) is an evidence-based treatment for chronic non-cancer pain”

and that “these misconceptions lead to overprescribing and high dose prescribing.” It was also their

opinion that “the current label on opioid analgesics does not comply with [FDA law]”.

        131.    As the basis for its petition, PROP provided “Statements of Scientific Basis for

Petition” which provided a list of detailed reports and studies proving the risks of opioid

medications, the high risk of addiction, the exaggerated and false benefits, and further medically

backed reasons to change the labelling of opioid medications to reduce prescribing.

        132.    In 2013, in response to a petition to require manufacturers to strengthen warnings

on the labels of long-acting opioid products, the FDA warned of the “grave risks” of opioids,

including “addiction, overdose, and even death.” The FDA further warned, “[e]ven proper use of

opioids under medical supervision can result in life- threatening respiratory depression, coma, and

death.” Because of those grave risks, the FDA said that long-acting or extended release opioids

“should be used only when alternative treatments are inadequate.” 43 The FDA required that – going

forward – opioid makers of long-acting formulations clearly communicate these risks on their labels.

        133.    In 2016, the FDA expanded its warnings for immediate-release opioid pain

medications, requiring similar changes to the labeling of immediate-release opioid pain medications

as it had for extended release opioids in 2013. The FDA also required several additional safety-labeling




42
  July 25, 2012 letter from PROP to FDA, accessed at http://www.citizen.org/documents/2048.pdf.
43
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Eval. & Res., to Andrew Kolodny,
M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10,
2013) (emphasis in original).
                                                  41
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changes across all prescription opioid products to include additional information on the risk of these

medications. 44

        134.      The facts on which the FDA relied in 2013 and 2016 were well known to

Defendants in the many years since they began marketing these drugs.

        3.        Long-Term Opioid Use Benefits Are Unproven and Contradicted.

        135.      Despite the fact that opioids are now routinely prescribed, there has never been

evidence of their safety and efficacy for long-term use.

        136.      Defendants have always been aware of these gaps in knowledge. While promoting

opioids to treat chronic pain, Defendants have failed to disclose the lack of evidence to support their

long-term use and have failed to disclose the contradictory evidence that chronic opioid therapy

actually makes patients sicker.

        137.      There are no controlled studies of the use of opioids beyond 16 weeks, and no

evidence that opioids improve patients’ pain and function long-term. The first random, placebo-

controlled studies appeared in the 1990s, and revealed evidence only for short-term efficacy and only

in a minority of patients. 45

        138.      A 2004 report reviewed 213 randomized, controlled trials of treatments for cancer

pain and showed that, while opioids had short-term efficacy, the data was insufficient to establish

long-term effectiveness. Subsequent reviews of the use of opioids for cancer and non-cancer pain

consistently note the lack of data to assess long-term outcomes. For example, a 2007 systematic



44
  FDA announces enhanced warnings for immediate-release opioid pain medications related to risks
of misuse, abuse, addiction, overdose and death. Available at
http://www.fda.gov/newsevents/newsroom/pressannouncements/ucm491739.htm.
45
  Nathaniel Katz, Opioids: After Thousands of Years, Still Getting to Know You, 23(4) Clin J. Pain 303
(2007); Roger Chou et al., Research Gaps on Use of Opioids for Chronic Noncancer Pain, 10(2) J. Pain 147
(2009).

                                                    42
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review of opioids for back pain concluded that opioids have limited, if any, efficacy for back pain and

that evidence did not allow judgments regarding long-term use. Similarly, a 2011 systematic review of

studies for non-cancer pain found that evidence of long-term efficacy is poor. One year later, a

similar review reported poor evidence of long-term efficacy for morphine, tramadol, and oxycodone,

and fair evidence for transdermal fentanyl (approved only for use for cancer pain).

        139.     On the contrary, evidence exists to show that opioid drugs are not effective to treat

chronic pain, and may worsen patients’ health. A 2006 study-of-studies found that opioids as a class

did not demonstrate improvement in functional outcomes over other non-addicting treatments. Most

notably, it stated: “For functional outcomes, the other analgesics were significantly more effective

than were opioids.” 46 Another review of evidence relating to the use of opioids for chronic pain

found that up to 22.9% of patients in opioid trials dropped out before the study began because of the

intolerable effects of opioids, and that the evidence of pain relief over time was weak.

        140.     Endo’s own research shows that patients taking opioids, as opposed to other

prescription pain medicines, report higher rates of obesity (30% to 39%); insomnia (9% to 22%); and

self-described fair or poor health (24% to 34%).

        141.     Increasing duration of opioid use is strongly associated with an increasing prevalence

of mental health conditions (depression, anxiety, post-traumatic stress disorder, or substance abuse),

increased psychological distress, and greater health care utilization.

        142.     As a pain specialist noted in an article titled Are We Making Pain Patients Worse?,

“[O]pioids may work acceptably well for a while, but over the long term, function generally declines,

46
  Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
174(11) Can. Med. Ass’n J. 1589 (2006). This same study revealed that efficacy studies do not
typically include data on opioid addiction. In many cases, patients who may be more prone to
addiction are pre-screened out of the study pool. This does not reflect how doctors actually prescribe
the drugs, because even patients who have past or active substance use disorders tend to receive
higher doses of opioids. Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and
High-Risk Opioids in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940 (2012).
                                                       43
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as does general health, mental health, and social functioning. Over time, even high doses of potent

opioids often fail to control pain, and these patients are unable to function normally.” 47

          143.    This is true both generally and for specific pain-related conditions. Studies of the use

of opioids long-term for chronic lower back pain have been unable to demonstrate an improvement

in patients’ function. Conversely, research consistently shows that long-term opioid therapy for

patients who have lower back injuries does not help patients return to work or to physical activity.

This is due partly to addiction and other side effects.

          144.    As many as 30% of patients who suffer from migraines have been prescribed opioids

to treat their headaches. Users of opioids had the highest increase in the number of headache days

per month, scored significantly higher on the Migraine Disability Assessment (MIDAS), and had

higher rates of depression, compared to non-opioid users. A survey by the National Headache

Foundation found that migraine patients who used opioids were more likely to experience sleepiness,

confusion, and rebound headaches, and reported a lower quality of life than patients taking other

medications.

          145.    The lack of evidence for the efficacy of opioid use long-term has been well-

documented nationally in the context of workers’ compensation claims, where some of the most

detailed data exists. Claims involving workers who take opioids are almost four times as likely to

reach costs of over $100,000 than claims treated without opioids, as these patients suffer greater side

effects and are slower to return to work. Even adjusting for injury severity and self-reported pain

score, taking an opioid for more than seven days and receiving more than one opioid prescription

increased the risk that the patient would be on work disability one year later. A prescription for

opioids, as the first treatment for a workplace injury, doubled the average length of the claim.

          4.      Defendants’ Impact on the Perception and Prescribing of Opioids.

47
     Andrea Rubenstein, Are we making pain patients worse?, Sonoma Medicine (Fall 2009).
                                                    44
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          146.   Before Defendants began the marketing campaign complained of herein, generally

accepted standards of medical practice dictated that opioids should only be used short-term, for

instance, for acute pain, pain relating to recovery from surgery, or for cancer or palliative care. In

those instances, the risks of addiction are low or of little significance.

          147.   In 1986, the World Health Organization (“WHO”) published an “analgesic ladder”

for the treatment of cancer pain. 48 The WHO recommended treatment with over-the- counter or

prescription acetaminophen or non-steroidal anti-inflammatory drugs (“NSAIDs”) first, and then the

use of unscheduled or combination opioids, and then stronger (Schedule II or III) opioids if pain

persisted. The WHO ladder pertained only to the treatment of cancer pain, and did not contemplate

the use of narcotic opioids for chronic pain—because the use of opioids for chronic pain was not

considered appropriate medical practice at the time.

          148.   Studies and articles from the 1970s and 1980s made the reasons to avoid opioids

clear. Scientists observed negative outcomes from long-term opioid therapy in pain management

programs: opioids’ mixed record in reducing pain long-term and failure to improve patients’ function;

greater pain complaints as most patients developed tolerance to opioids; opioid patients’ diminished

ability to perform basic tasks; their inability to make use of complementary treatments like physical

therapy due to the side effects of opioids; and addiction. Leading authorities discouraged, or even

prohibited, the use of opioid therapy for chronic pain.

          149.   In 1986, Dr. Russell Portenoy, who later became Chairman of the Department of

Pain Medicine and Palliative Care at Beth Israel Medical Center in New York, while at the same time

serving as a top spokesperson for drug companies, published an article reporting that “[f]ew




48
     http://apps.who.int/iris/bitstream/10665/43944/1/9241561009_eng.pdf.
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substantial gains in employment or social function could be attributed to the institution of opioid

therapy.” 49

         150.     Writing in 1994, Dr. Portenoy described the prevailing attitudes regarding the dangers

of long-term use of opioids:

          The traditional approach to chronic nonmalignant pain does not accept the long-
term administration of opioid drugs. This perspective has been justified by the perceived
likelihood of tolerance, which would attenuate any beneficial effects over time, and the
potential for side effects, worsening disability, and addiction. According to conventional
thinking, the initial response to an opioid drug may appear favorable, with partial analgesia
and salutary mood changes, but adverse effects inevitably occur thereafter. It is assumed that
the motivation to improve function will cease as mental clouding occurs and the belief takes
hold that the drug can, by itself, return the patient to a normal life. Serious management problems
are anticipated, including difficulty in discontinuing a problematic therapy and the development of drug seeking
behavior induced by the desire to maintain analgesic effects, avoid withdrawal, and perpetuate reinforcing
psychic effects. There is an implicit assumption that little separates these outcomes from the highly aberrant
behaviors associated with addiction. 50 (Emphasis provided)

         According to Portenoy, these problems could constitute “compelling reasons to reject long

term opioid administration as a therapeutic strategy in all but the most desperate cases of chronic

nonmalignant pain.” 51

         151.     For the reasons outlined by Dr. Portenoy, and in the words of one researcher from

the Harvard Medical School, “it did not enter [doctors’] minds that there could be a significant

number of chronic pain patients who were successfully managed with opioids.” 52 Defendants

changed that perception.

       B.     Defendants Promoted Their Branded Products Through Direct Marketing to
Prescribers and Consumers.



49
   Russell K. Portenoy & Kathleen M. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain:
Report of 38 cases, 25(2) Pain 171 (1986).
50
   Russell K. Portenoy, Opioid Therapy for Chronic Nonmalignant Pain: Current Status, 1 Progress in Pain
Res. & Mgmt. 247 (1994) (emphasis added).
51
   Id.
52
   Igor Kissin, Long-term opioid treatment of chronic nonmalignant pain: unproven efficacy and neglected safety?, 6 J.
Pain Research 513, 514 (2013) (quoting Loeser JD, Five crises in pain management, 20(1) Pain Clinical
Updates 1-4 (2012).
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       152.    Defendants’ direct marketing proceeded on two tracks, serving two related purposes.

First, Defendants worked through branded and unbranded marketing to build confidence in long-

term opioid use by overstating its benefits and downplaying its risks, thereby expanding the chronic

pain market. In addition, Defendants worked through their own staffs of sales representatives,

physician speakers whom those representatives recruited, and advertising in medical journals to claim

their share of that broader market. Defendants directed all of this activity through carefully designed

marketing plans that were based on extensive research into prescriber habits and the efficacy of

particular sales approaches and messages.

       1.      Defendants Relied Upon Branded Advertisements.

       153.    Defendants engaged in widespread advertising campaigns touting the benefits of their

branded drugs. Defendants published print advertisements in a broad array of medical journals,

ranging from those aimed at specialists, such as the Journal of Pain and Clinical Journal of Pain, to

journals with wider medical audiences, such as the Journal of the American Medical Association.

Defendants’ advertising budgets peaked in 2011, when they collectively spent more than $14 million

on the medical journal advertising of opioids, nearly triple what they spent in 2001. The 2011 total

includes $8.3 million by Purdue, $4.9 million by Janssen, and $1.1 million by Endo. 53

       154.    A number of these branded advertisements deceptively portrayed the benefits of

opioid therapy for chronic pain. As just one example, a 2005 Purdue advertisement for OxyContin

that ran in the Journal of Pain touted the drug as an “around-the-clock analgesic . . . for an extended

period of time.” The advertisement featured a man and boy fishing and proclaimed that “There Can

Be Life With Relief.” This depiction falsely implied that OxyContin provides both effective long-term



53
  In 2011, Actavis spent less than $100,000 on such advertising, and Cephalon spent nothing. These
companies’ medical journal advertising peaked earlier, with Actavis spending $11.7 million in 2005,
and Cephalon spending about $2 million in each of 2007 and 2008.

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pain relief and functional improvement, claims that, as described below, are unsubstantiated and

contradicted in medical literature.

        2.      Defendants Relied Upon Their Sales Forces and Recruited Physician

Speakers.

        155.    Each Defendant promoted the use of opioids for chronic pain through “detailers”—

sales representatives who visited individual physicians and their staff in their offices—and small

group speaker programs. By establishing close relationships with doctors, Defendants’ sales

representatives were able to disseminate their misrepresentations in targeted, one-on-one settings that

allowed them to differentiate their opioids and to address individual prescribers’ concerns about

prescribing opioids for chronic pain. Representatives were trained on techniques to build these

relationships, with Actavis even rolling out an “Own the Nurse” kit as a “door opener” to time with

doctors.

        156.    Defendants developed sophisticated plans to select prescribers for sales visits based

on their specialties and prescribing habits. In accordance with common industry practice, Defendants

purchase and closely analyze prescription sales data from IMS Health. This data allows them to

precisely track the rates of initial prescribing and renewal by individual doctors, which in turn allows

them to target, tailor, and monitor the impact of their appeals.

        157.    Defendants, in particular, relied upon “influence mapping,” i.e.., using decile rankings

or similar breakdowns to identify the high-volume prescribers on whom detailing would have the

greatest sales impact. Endo, for example, identified prescribers representing 30% of its nationwide

sales volume and planned to visit these physicians three times per month. Defendants also closely

monitored doctors’ prescribing after a sales representative’s visit to allow them to refine their

planning and messaging and to evaluate and compensate their detailers.




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        158.    Defendants’ sales representatives have visited hundreds of thousands of doctors,

including thousands of visits to Laredo’s prescribers, and as described herein, spread misinformation

regarding the risks, benefits, and superiority of opioids for the treatment of chronic pain. This

misinformation includes deceptive and unfair claims regarding the risks of opioids for chronic pain,

particularly the risks of addiction, withdrawal, and high doses, as well as the benefits.

        159.    Each Defendant carefully trained its sales representatives to deliver company-

approved messages designed to generate prescriptions of that company’s drugs specifically, and

opioids in general. Pharmaceutical companies exactingly direct and monitor their sales

representatives—through detailed action plans, trainings, tests, scripts, role-plays, supervisor tag-

alongs, and other means—to ensure that individual detailers actually deliver the desired messages and

do not veer off-script. Pharmaceutical companies likewise require their detailers to deploy sales aids

reviewed, approved, and supplied by the company and forbid them to use, in industry parlance,

“homemade bread”—i.e., promotional materials not approved by the company’s marketing and

compliance departments. Sales representatives’ adherence to their corporate training is typically

included in their work agreements. Departing from their company’s approved messaging can, and

does, lead to severe consequences including termination of employment.

        160.    Besides carefully training their sales representatives, Defendants used surveys of

physicians—conducted by third-party research firms—to assess how well their core messages came

across to prescribers.

        161.    In addition to making sales calls, Defendants’ detailers also identified doctors to serve,

for payment, on Defendants’ speakers’ bureaus and to attend programs with speakers and meals paid

for by Defendants. Defendants almost always selected physicians who were “product loyalists,” as

they were sure to be asked whether they prescribe the drug themselves. Endo, for instance, sought to

use specialists in pain medicine—including high prescribers of its drugs—as local “thought leaders”

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to market Opana ER to primary care doctors. Such invitations are lucrative to the physicians selected

for these bureaus; honorarium rates range from $800 to $2,000 per program, depending on the type

of event, speaker training is typically compensated at $500 per hour.

        162.    These speaker programs and associated speaker trainings serve three purposes: they

provide an incentive to doctors to prescribe, or increase their prescriptions of, a particular drug; a

forum in which to further market to the speaker him or herself; and an opportunity to market to the

speaker’s peers. Defendants grade their speakers and future opportunities are based on speaking

performance, post-program sales, and product usage. Defendants also track the prescribing of event

attendees, with Endo noting that “physicians who came into our speaker programs wrote more

prescriptions for Opana ER after attending than before.” It would make little sense for Defendants

to devote significant resources to programs that did not increase their sales.

        163.    Like the sales representatives who select them, speakers are expected to stay “on

message”—indeed, they agree in writing to follow the slide decks provided to them. Endo’s speaker

rules, for example, provide that “all slides must be presented in their entirety and without alterations .

. . and in sequence.” This is important because the FDA regards promotional talks as part of product

labeling, and requires their submission for review. Speakers thus give the appearance of providing

independent, unbiased presentations on opioids, when in fact they are presenting a script prepared by

Defendants’ marketing departments. Although these meal-based speaker events are more expensive

to host, and typically have lower attendance than CMEs, they are subject to less professional scrutiny

and thus afford Defendants greater freedom in the messages they present.

        164.    Defendants devoted massive resources to these direct sales contacts with prescribers.

In 2014, Defendants collectively spent $168 million on detailing branded opioids to physicians

nationwide. This figure includes $108 million spent by Purdue, $34 million by Janssen, $13 million by

Cephalon, $10 million by Endo, and $2 million by Actavis. The total figure is more than double

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Defendants’ collective spending on detailing in 2000. Detailers’ role in Defendants’ overall

promotional efforts was also carefully calibrated; Endo, for example, found that devoting 61% of its

marketing budget to sales representatives reflected an “[a]ppropriate combination of personal . . . and

non-personal . . . selling initiatives.”

         165.    Defendants have spent hundreds of millions of dollars promoting their opioids

through their respective sales forces because they understand that detailers’ sales pitches are effective.

Numerous studies indicate that marketing can and does impact doctors’ prescribing habits, 54 and

face-to-face detailing has the highest influence on intent to prescribe. Defendants could see this

phenomenon at work not only in the aggregate, as their sales climbed with their promotional

spending, but also at the level of individual prescribers whom they targeted for detailing, and who

responded by prescribing more of Defendants’ drugs.

         3.      Defendants Directed These Promotional Efforts Through Detailed Marketing
Plans.

         166.    Defendants guided their efforts to expand opioid prescribing through comprehensive

marketing and business plans for each drug. These documents, based on the companies’ extensive

market research, laid out ambitious plans to bring in new prescribers and increase overall prescribing

of Defendants’ opioids.

         a.      Targeting categories of prescribers




54
   See, e.g., Puneet Manchanda & Pradeep K. Chintagunta, Responsiveness of Physician Prescription Behavior
to Salesforce Effort: An Individual Level Analysis, 15 (2-3) Mktg. Letters 129 (2004) (detailing has a
positive impact on prescriptions written); Ian Larkin, Restrictions on Pharmaceutical Detailing Reduced Off-
Label Prescribing of Antidepressants and Antipsychotics in Children, 33(6) Health Affairs 1014 ( 2014)
(finding academic medical centers that restricted direct promotion by pharmaceutical sales
representatives resulted in a 34% decline in on-label use of promoted drugs); see also Art Van Zee, The
Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy, 99(2) Am J. Pub. Health
221 (2009) (correlating an increase of OxyContin prescriptions from 670,000 annually in 1997 to 6.2
million in 2002 to a doubling of Purdue’s sales force and trebling of annual sales calls).
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         167.   Defendants targeted, by zip codes and other local boundaries, individual health care

providers for detailing. Defendants chose their targets based on the potential for persuading a

provider to prescribe, ease of in-person access, and the likelihood of higher numbers of prescriptions

at higher doses, with no correlation to demonstrated need or demand for opioid therapy, or to risk of

abuse.

         168.   Collectively, Defendants’ marketing plans evince dual strategies, which often operated

parallel to one another. Defendants’ sales representatives continued to focus their detailing efforts on

pain specialists and anesthesiologists, the highest-volume prescribers of opioids and, as a group, more

educated than other practitioners about opioids’ risks and benefits. Seeking to develop market share

and expand sales, however, Defendants also targeted increasing numbers and types of prescribers for

marketing.

         169.   This expanded market of prescribers was, as a group, less informed about opioids

and, as market research concluded, more susceptible to Defendants’ marketing messages. These

prescribers included nurse practitioners and physician assistants who, a 2012 Endo business plan

noted, were “share acquisition” opportunities because they were “3x times more responsive than

MDs to details” and wrote “96% of [their] prescriptions . . . without physician consult.”

         170.   The expanded market also included internists and general practitioners who were low-

to mid-volume prescribers. Actavis, for example, rolled out a plan in 2008 to move beyond “Kadian

loyalists” to an “expanded audience” of “low morphine writers.”

         b.     Increasing “direct to consumer” marketing

         171.   Defendants knew that physicians were more likely to prescribe their branded

medications when patients asked for those medications. Endo’s research, for example, found that

such communications resulted in greater patient “brand loyalty,” with longer durations of Opana ER

therapy and fewer discontinuations. Defendants thus increasingly took their opioid sales campaigns

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directly to consumers, including through patient-focused “education and support” materials. These

took the form of pamphlets, videos, or other publications that patients could view in their physician’s

office, as well as employer and workers’ compensation plan initiatives to, as Endo put it, “[d]rive

demand for access through the employer audience by highlighting cost of disease and productivity

loss.”

          172.   Defendants also knew that one of the largest obstacles to patients starting and

remaining on their branded opioids—including by switching from a competitor’s drug—was out- of-

pocket cost. They recognized they could overcome this obstacle by providing patients financial

assistance with their insurance co-payments, and each of the Defendants did so through vouchers

and coupons distributed during detailing visits with prescribers. A 2008 Actavis business review, for

example, highlighted co-pay assistance, good for up to $600 per patient per year, as a way to drive

conversions to Kadian from competitor drugs like Avinza and MS Contin. In 2012, Janssen planned

to distribute 1.5 million savings cards worth $25 each.

          c.     Differentiating each brand

          173.   Purdue’s OxyContin was the clear market leader in prescription opioid therapy, with

30% of the market for analgesic drugs in 2012. However, by 2010, Defendants had begun facing

increasing pushback from the medical community and regulators based on the growing problems of

opioid addiction and abuse. Both market conditions prompted Defendants to pursue product

differentiation strategies—particularly an emphasis on their products being less subject to diversion,

abuse, and addiction—as a means of grabbing market share from Purdue and other competitors.

          174.   Endo, for example, tracked in detail prescriber “switching” from OxyContin to

Opana ER. Actavis and Janssen did the same for switches to Kadian and Nucynta ER, respectively.

Pressure to stand out among other drugs resulted in Defendants identifying marketing themes that

thereafter were reflected in Defendants’ deceptive and harmful messages to physicians and

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consumers. A 2008 Janssen plan emphasized “value” messaging in support of Nucynta ER, including

claims of less dose escalation, lower toxins, fewer withdrawal symptoms, and less dependence, and a

2009 Opana ER market research report focused on greater potency and lower abuse potential of

Opana ER vis-à-vis OxyContin.

       d.      Moving beyond office visits

       175.    Defendants sought to reach additional prescribers by expanding beyond traditional

sales calls and speaker events to new channels for their messages. For their sales forces, these

included marketing to prescribers through voice mail, postcards, and email—so- called “e-detailing.”

Defendants also created new platforms for their speakers by implementing “peer to peer” programs

such as teleconferences and webinars that were available to prescribers nationally. These programs

allowed Defendants to use this more seemingly credible vehicle to market to, among other hard-to-

reach audiences, prescribers at hospitals, academic centers, and other locations that limit or prohibit

in-person detailing. Employing these new approaches, each Defendant relied heavily on speakers to

promote its drugs.

      4.    Defendants Marketed Opioids in Laredo Using the Same Strategies and
Messages They Employed Nationwide.

       176.    Defendants employed the same marketing plans and strategies and deployed the same

messages in Laredo as they did nationwide.

       177.    Across the pharmaceutical industry, “core message” development is funded and

overseen on a national basis by corporate headquarters. This comprehensive approach ensures that

Defendants’ messages are accurately and consistently delivered across marketing channels—including

detailing visits, speaker events, and advertising—and in each sales territory. Defendants consider this

high level of coordination and uniformity crucial to successfully marketing their drugs.

       178.    Defendants ensure marketing consistency nationwide through national and regional

sales representative training; national training of local medical liaisons, the company employees who
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respond to physician inquiries; centralized speaker training; single sets of visual aids, speaker slide

decks, and sales training materials; and nationally coordinated advertising. Defendants’ sales

representatives and physician speakers were required to stick to prescribed talking points, sales

messages, and slide desks, and supervisors traveled with them periodically to check on both their

performance and compliance.

           179.   As they did nationwide, Defendants extensively tracked the prescribing behavior of

city and county-area health care providers and used that data to target their detailing and speaker-

recruiting efforts. Top prescribers were profiled at the city, county, region, zip code, and sometimes

facility levels, with information about their specialty, prescribing patterns (including product and

dose), product loyalty and refill history. Providers’ prescribing volume was ranked and sorted into

deciles.

           180.   As described herein, misrepresentations and deceptions regarding the risks, benefits,

and superiority of opioid use to treat chronic pain were part and parcel of Defendants’ marketing

campaigns in Laredo.

     C.     Defendants Used “Unbranded” Marketing to Evade Regulations and
Consumer Protection Laws.

           181.   In addition to their direct marketing efforts, Defendants used unbranded, third- party

marketing, which they deployed as part of their national marketing strategies for their branded drugs.

Each Defendant executed these strategies through a network of third-party KOLs and Front Groups,

with which it acted in concert by funding, assisting, encouraging, and directing their efforts. At the

same time, Defendants exercised substantial control over the content of the messages third parties

generated and disseminated, and distributed certain of those materials themselves. As with their other

marketing strategies, Defendants’ unbranded marketing created, and relied upon, an appearance of

independence and credibility that was undeserved but central to its effectiveness. Unlike their direct



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promotional activities, Defendants’ unbranded marketing allowed them to evade the oversight of

federal regulators and gave them greater freedom to expand their deceptive messages.

      1.     Regulations Governing Branded Promotion Require that it Be Truthful,
Balanced, and Supported by Substantial Evidence.

        182.      Drug companies that make, market, and distribute opioids are subject to generally

applicable rules requiring truthful marketing of prescription drugs. A drug company’s branded

marketing, which identifies and promotes a specific drug, must: (a) be consistent with its label and

supported by substantial scientific evidence; (b) not include false or misleading statements or material

omissions; and (c) fairly balance the drug’s benefits and risks. 55 The regulatory framework governing

the marketing of specific drugs reflects a public policy designed to ensure that drug companies, which

are best suited to understand the properties and effects of their drugs, are responsible for providing

prescribers with the information they need to accurately assess the risks and benefits of drugs for

their patients.

        183.      Further, the Federal Food, Drug, and Cosmetic Act (“FDCA”) prohibits the sale in

interstate commerce of drugs that are “misbranded.” A drug is “misbranded” if it lacks “adequate

directions for use” or if the label is false or misleading “in any particular.” 56 “Adequate directions for

use” are directions “under which the layman can use a drug safely and for the purposes for which it is

intended.” 57 “Labeling” includes more than the drug’s physical label; it also includes “all . . . other

written, printed, or graphic matter . . . accompanying” the drug, including promotional material. 58

“The term “accompanying” is interpreted broadly to include promotional materials—posters,

websites, brochures, books, and the like—disseminated by or on behalf of the manufacturer of the




55
   21 U.S.C. § 352(a); 21 C.F.R. §§ 1.21(a), 202.1(e)(3), 202.1(e)(6).
56
   21 U.S.C. §§ 352.
57
   21 C.F.R. § 201.5.
58
   21 U.S.C. § 321(m).
                                                     56
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drug. 59 Thus, Defendants’ promotional materials are part of their drugs’ labels and are required to be

accurate, balanced, and not misleading.

        184.    Labeling is misleading if it is not based on substantial evidence, if it materially

misrepresents the benefits of the drug, or if it omits material information about or minimizes the

frequency or severity of a product’s risks. “The most serious risks set forth in a product’s labeling are

generally material to any presentation of efficacy.” The FDA notes that “[b]ecause people expect to

see risk information, there is no reason for them to imagine that the product has important risks that

have been omitted . . . especially if some risks are included.” 60 Promotion that fails to present the

most important risks of the drug as prominently as its benefits lacks fair balance and is therefore

deceptive.

        185.    It is also illegal for drug companies to distribute materials that exclude contrary

evidence or information about the drug’s safety or efficacy or present conclusions that “clearly

cannot be supported by the results of the study.” 61 Further, drug companies must not make

comparisons between their drugs and other drugs that represent or suggest that “a drug is safer or

more effective than another drug in some particular when it has not been demonstrated to be safer or

more effective in such particular by substantial evidence or substantial clinical experience.” 62

        186.    While the FDA must approve a drug’s label, it is the drug company’s responsibility to

ensure that the material in its label is accurate and complete and is updated to reflect any new

information. 63 Promotional materials also must be submitted to the FDA when they are first used or



59
   See id.
60
   FDA, Draft Guidance for Industry, Presenting Risk Information in Prescription Drug and Medical Device
Promotion, May 2009, at 14.
61
   21 C.F.R. § 99.101(a)(4).
62
   21 C.F.R. § 202.1(e)(6)(ii).
63
   See 21 C.F.R. § 201.56 (providing general requirements for prescription drug labeling); see also Wyeth
v. Levine, 555 U.S. 555 (2009) (holding that a drug company bears responsibility for the content of its
drug labels at all times); 21 C.F.R. § 314.70(c)(6) (iii)(A-C) (allowing manufacturers to make changes
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disseminated. The FDA does not have to approve these materials in advance; if, upon review, the

FDA determines that materials marketing a drug are misleading, it can issue an untitled letter or

warning letter. The FDA uses untitled letters for violations such as overstating the effectiveness of

the drug or making claims without context or balanced information. Warning letters address

promotions involving safety or health risks and indicate the FDA may take further enforcement

action.

      2.     Defendants Deployed Front Groups and Doctors to Disseminate Unbranded
Information on Their Behalf.

          187.   Drug companies market both directly and indirectly, using third party validators (such

as scientists, physicians, or patient or professional organizations) that appear to be independent and

therefore more credible. The FDA has made clear that its promotional requirements apply to both

forms of marketing:

        FDA’s regulation of prescription drug product promotion extends both to
promotional activities that are carried out by the firm itself, and to promotion conducted on
the firm’s behalf.

          ....

       Therefore, a firm is responsible for the content generated by its employees or any
agents acting on behalf of the firm who promote the firm’s product. For example, if an
employee or agent of a firm, such as a medical science liaison or paid speaker (e.g., a key
opinion leader) acting on the firm’s behalf, comments on a third- party site about the firm’s
product, the firm is responsible for the content its employee or agent provides. A firm is also
responsible for the content on a blogger’s site if the blogger is acting on behalf of the firm. 64

          188.   In addition to being carried out directly or through third parties, drug companies’

promotional activity can be branded or unbranded; unbranded marketing refers not to a specific



that “strengthen . . . a warning, precaution, or adverse reaction” or “strengthen a statement about
drug abuse, dependence, psychological effect, or overdosage”).
64
   FDA, Draft Guidance for Industry on Fulfilling Regulatory Requirements for Postmarketing Submissions of
Interactive Promotional Media for Prescription Human and Animal Drugs and Biologics, January 2014, at 1, 4,
http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm3
81352.pdf.
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drug, but more generally to a disease state or treatment. By using unbranded communications, drug

companies can sidestep the extensive regulatory framework governing branded communications.

        189.    Defendants disseminated many of their false, misleading, imbalanced, and

unsupported statements indirectly, through KOLs and Front Groups, and in unbranded marketing

materials. These KOLs and Front Groups were important elements of Defendants’ marketing plans,

which specifically contemplated their use, because they seemed independent and therefore outside

FDA oversight. Through unbranded materials, Defendants, with their own knowledge of the risks,

benefits and advantages of opioids, presented information and instructions concerning opioids

generally that were contrary to, or at best, inconsistent with information and instructions listed on

Defendants’ branded marketing materials and drug labels. Defendants did so knowing that

unbranded materials typically are not submitted to or reviewed by the FDA.

        190.    Even where such unbranded messages were channeled through third-party vehicles,

Defendants adopted these messages as their own when they cited to, edited, approved, and

distributed such materials knowing they were false, misleading, unsubstantiated, unbalanced, and

incomplete. Unbranded brochures and other materials that are “disseminated by or on behalf of [the]

manufacturer” constitute drug “labeling” that may not be false or misleading in any particular. See 21.

C.F.R. 202.1(e)(7)(l)(2). 65 Defendants’ sales representatives distributed third-party marketing material

that was deceptive to Defendants’ target audiences. Defendants are responsible for these materials.




65
  This regulation provides: “Brochures, booklets, mailing pieces, detailing pieces, file cards, bulletins,
calendars, price lists, catalogs, house organs, letters, motion picture films, film strips, lantern slides,
sound recordings, exhibits, literature, and reprints and similar pieces of printed, audio, or visual
matter descriptive of a drug and the references published . . . containing drug information supplied by
the manufacturer, packer, or distributor of the drug and which are disseminated by or on behalf of its
manufacturer, packer, or distributor are hereby determined to be labeling, as defined in section
201(m) of the act.” As labeling, such third party-created content distributed by a drug company may
not be misleading and must meet the accuracy, substantiation, and fair balance requirements in the
FDCA.
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        191.    Moreover, Defendants took an active role in guiding, reviewing, and approving many

of the misleading statements issued by these third parties, ensuring that Defendants were consistently

aware of their content. By funding, directing, editing, and distributing these materials, Defendants

exercised control over their deceptive messages and acted in concert 66 with these third parties to

fraudulently promote the use of opioids for the treatment of chronic pain.

        192.    For example, drug companies have been admonished for making functional claims in

FDA-reviewed branded materials because there is no evidence for such claims. Thus, drug companies

were put on notice that the FDA would not allow such claims in branded materials. Defendants

instead created and disseminated these same unsupported claims—that opioids allow patients to

sleep, return to work, or walk more easily—through unbranded marketing materials.

        193.    The third-party publications Defendants assisted in creating and distributing did not

include the warnings and instructions mandated by their FDA-required drug labels and consistent

with the risks and benefits known to Defendants. For example, these publications either did not

disclose the risks of addiction, abuse, misuse, and overdose, or affirmatively denied that patients

faced a serious risk of addiction.

        194.    By acting through third parties, Defendants were able to both avoid FDA scrutiny

and give the false appearance that the messages reflected the views of independent third parties.

Later, Defendants would cite to these sources as “independent” corroboration of their own

statements. As one physician adviser to Defendants noted, third-party documents not only had

greater credibility, but broader distribution as doctors did not “push back” at having materials from,

for example, the non-profit American Pain Foundation (“APF”) on display in their offices, as they

might with first party, drug company pieces. Nevertheless, the independence of these materials was a

66
  As used in this Complaint, the allegation that Defendants “acted in concert” with third parties is
intended to mean both that they conspired with these third parties to achieve some end and that they
aided and abetted these third parties in the commission of acts necessary to achieve it.
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ruse—Defendants were in close contact with these third parties, paid for and were aware of the

misleading information they were disseminating about the use of opioids to treat chronic pain, and

regularly helped them to tailor and distribute their misleading, pro-opioid messaging.

         195.    As part of a strategic marketing scheme, Defendants spread and validated their

deceptive messages through the following vehicles: (a) KOLs, who could be counted upon to write

favorable journal articles and deliver supportive CMEs; (b) a body of biased and unsupported

scientific literature; (c) treatment guidelines; (d) CMEs; (e) unbranded patient education materials; and

(f) Front Group patient-advocacy and professional organizations, which exercised their influence

both directly and through Defendant-controlled KOLs who served in leadership roles in those

organizations.

         a.      Defendants’ Use of KOLs

         196.    Defendants cultivated a small circle of doctors who, upon information and belief,

were selected and sponsored by Defendants solely because they favored the aggressive treatment of

chronic pain with opioids. Defendants’ support helped these doctors become respected industry

experts. In return, these doctors repaid Defendants by touting the benefits of opioids to treat chronic

pain.

         197.    Pro-opioid doctors have been at the hub of Defendants’ promotional efforts,

presenting the appearance of unbiased and reliable medical research supporting the broad use of

opioid therapy for chronic pain. KOLs have written, consulted on, edited, and lent their names to

books and articles, and given speeches and CMEs supportive of chronic opioid therapy. They have

served on committees that developed treatment guidelines that strongly encourage the use of opioids

to treat chronic pain (even while acknowledging the lack of evidence in support of that position) and

on the boards of pro-opioid advocacy groups and professional societies that develop, select, and




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present CMEs. Defendants were able to exert control of each of these modalities through their

KOLs.

        198.   In return, the KOLs’ association with Defendants provided not only money, but

prestige, recognition, research funding, and avenues to publish. This positioned them to exert even

more influence in the medical community.

        199.   Although some KOLs initially may have advocated for more permissive opioid

prescribing with honest intentions, Defendants cultivated and promoted only those KOLs who could

be relied on to help broaden the chronic opioid therapy market. Defendants selected, funded, and

elevated those doctors whose public positions were unequivocal and supportive of using opioids to

treat chronic pain. 67 These doctors’ professional reputations were then dependent on continuing to

promote a pro-opioid message, even in activities that were not directly funded by the drug

companies.

        200.   Defendants cited and promoted favorable studies or articles by these KOLs. By

contrast, Defendants did not support, acknowledge, or disseminate the publications of doctors

critical of the use of chronic opioid therapy. Indeed, one prominent KOL sponsored by Defendants,

Russell Portenoy, stated that he was told by a drug company that research critical of opioids (and the

doctors who published that research) would never obtain funding. Some KOLs have even gone on to

become direct employees and executives of Defendants, like Dr. David Haddox, Purdue’s Vice

President of Risk Management, or Dr. Bradley Galer, Endo’s former Chief Medical Officer.




67
  Opioid-makers were not the first to mask their deceptive marketing efforts in purported science.
The tobacco industry also used KOLs in its effort to persuade the public and regulators that tobacco
was not addictive or dangerous. For example, the tobacco companies funded a research program at
Harvard and chose as its chief researcher a doctor who had expressed views in line with industry’s
views. He was dropped when he criticized low-tar cigarettes as potentially more dangerous, and later
described himself as a pawn in the industry’s campaign.
                                                 62
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           201.   Defendants provided substantial opportunities for KOLs to participate in research

studies on topics Defendants suggested or chose, with the predictable effect of ensuring that many

favorable studies appeared in the academic literature. As described by Dr. Portenoy, drug companies

would approach him with a study that was well underway and ask if he would serve as the study’s

author. Dr. Portenoy regularly agreed.

           202.   Defendants also paid KOLs to serve as consultants or on their advisory boards and

give talks or present CMEs, typically over meals or at conferences. Since 2000, Cephalon, for

instance, has paid doctors more than $4.5 million for programs relating to its opioids.

           203.   These KOLs were carefully vetted to ensure that they were likely to remain on-

message and supportive of a pharmaceutical industry agenda. One measure was a doctor’s prior work

for trusted Front Groups.

           204.   Defendants kept close tabs on the content of the misleading materials published by

these KOLs. In many instances they also scripted what these KOLs said—as they did with all their

recruited speakers. The KOLs knew, or deliberately ignored, the misleading way in which they

portrayed the use of opioids to treat chronic pain to patients and prescribers, but they continued to

publish those misstatements to benefit themselves and Defendants, all the while causing harm to

Laredo’s prescribers and patients.

      i.          Russell Portenoy

           205.   Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom

Defendants identified and promoted to further their marketing campaign. Dr. Portenoy received

research support, consulting fees, and honoraria from Cephalon, Endo, Janssen, and Purdue (among

others), and was a paid consultant to Cephalon and Purdue.




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            206.   Dr. Portenoy was instrumental in opening the door for the regular use of opioids to

treat chronic pain. He served on the American Pain Society (“APS”) / American Academy of Pain

Medicine (“AAPM”) Guidelines Committees, which endorsed the use of opioids to treat chronic

pain, first in 1997 and again in 2009. He was also a member of the board of APF, an advocacy

organization almost entirely funded by Defendants.

            207.   Dr. Portenoy also made frequent media appearances promoting opioids and spreading

misrepresentations. He appeared on Good Morning America in 2010 to discuss the use of opioids long-

term to treat chronic pain. On this widely watched program, broadcast in Laredo and across the

country, Dr. Portenoy claimed: “Addiction, when treating pain, is distinctly uncommon. If a person

does not have a history, a personal history, of substance abuse, and does not have a history in the

family of substance abuse, and does not have a very major psychiatric disorder, most doctors can feel

very assured that that person is not going to become addicted.” 68

            208.   Dr. Portenoy has recently admitted that he “gave innumerable lectures in the late

1980s and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1%

of patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids

does not exist.” 69 Portenoy candidly stated: “Did I teach about pain management, specifically about

opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did.” 70

      ii.          Lynn Webster

            209.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director of

Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr. Webster was

68
   Good Morning America television broadcast, ABC News (Aug. 30, 2010).
69
   Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012.
70
   Id.
                                                     64
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President in 2013 and is a current board member of AAPM, a front group that ardently supports

chronic opioid therapy. 71 He is a Senior Editor of Pain Medicine, the same journal that published Endo

special advertising supplements touting Opana ER. Dr. Webster was the author of numerous CMEs

sponsored by Cephalon, Endo, and Purdue. At the same time, Dr. Webster was receiving significant

funding from Defendants (including nearly $2 million from Cephalon).

       210.    Dr. Webster had been under investigation for overprescribing by the DEA, which

raided his clinic in 2010. More than 20 of Dr. Webster’s former patients at the Lifetree Clinic have

died of opioid overdoses. Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five

question, one-minute screening tool relying on patient self-reports that purportedly allows doctors to

manage the risk that their patients will become addicted to or abuse opioids. The claimed ability to

pre-sort patients likely to become addicted is an important tool in giving doctors confidence to

prescribe opioids long-term, and for this reason, references to screening appear in various industry-

supported guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to,

websites run by Endo, Janssen, and Purdue. In 2011, Dr. Webster presented, via webinar, a program

sponsored by Purdue titled, Managing Patient’s Opioid Use: Balancing the Need and the Risk. Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements to prevent “overuse

of prescriptions” and “overdose deaths.” This webinar was available to and was intended to reach

Laredo’s doctors.

       211.    Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

dose of opioids. As he and his co-author wrote in a book entitled Avoiding Opioid Abuse While



71
  Journal supplements are paid for by drug manufacturers and, although they may be designed to
blend into the rest of the journal, are not peer-reviewed and constitute drug company advertising.
                                                  65
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Managing Pain (2007), when faced with signs of aberrant behavior, increasing the dose “in most cases .

. . should be the clinician’s first response.” Endo distributed this book to doctors. Years later, Dr.

Webster reversed himself, acknowledging that “[pseudoaddiction] obviously became too much of an

excuse to give patients more medication.” 72

       b.      “Research” That Lacked Supporting Evidence

       212.    Rather than find a way to actually test the safety and efficacy of opioids for long- term

use, Defendants led people to believe that they already had. Defendants created a body of false,

misleading, and unsupported medical and popular literature about opioids that (a) understated the

risks and overstated the benefits of long-term use; (b) appeared to be the result of independent,

objective research; and (c) was thus more likely to shape the perceptions of prescribers, patients and

payors. This literature was, in fact, marketing material focused on persuading doctors and consumers

that the benefits of long-term opioid use outweighed the risks.

       213.    To accomplish this, Defendants—sometimes through third-party consultants and/or

advocacy organizations—commissioned, edited, and arranged for the placement of favorable articles

in academic journals. Defendants’ internal documents reveal plans to submit research papers and

“studies” to long lists of journals, including back-up options and last resort, “fast-track” application

journals, that they could use if the pending paper was rejected everywhere else.

       214.    Defendants coordinated the timing and publication of manuscripts, abstracts,

posters/oral presentations, and educational materials in peer-reviewed journals and other publications

to support the launch and sales of their drugs. The plans for these materials did not originate in the

departments within the Defendant organizations that were responsible for research, development or

any other area that would have specialized knowledge about the drugs and their effects on patients,



72
  John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee Wisc. J. Sentinel (Feb.19,
2012).
                                                  66
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but in Defendants’ marketing departments and with Defendants’ marketing and public relations

consultants. Defendants often relied on “data on file” or presented posters, neither of which are

subject to peer review. They also published their articles not through a competitive process, but in

paid journal supplements, which allowed Defendants to publish, in nationally circulated journals,

studies supportive of their drugs.

        215.    Defendants also made sure that favorable articles were disseminated and cited widely

in the medical literature, even where references distorted the significance or meaning of the

underlying study. Most notably, Purdue promoted a 1980 reference in the well-respected New England

Journal of Medicine: J. Porter & H. Jick, Addiction Rare in Patients Treated with Narcotics, 302(2) New Eng. J.

Med. 123 (1980) (“Porter-Jick Letter”). It is cited 856 times in Google Scholar, and 86 times since

2010. It also appears as a reference in two CME programs in 2012 sponsored by Purdue and Endo. 73

Defendants and those acting on their behalf fail to reveal that this “article” is actually a letter-to-the-

editor, not a peer-reviewed study (or any kind of study at all). The Porter-Jick Letter, reproduced in

full below, describes a review of the charts of hospitalized patients who had received opioids.

(Because it was a 1980 study, standards of care almost certainly would have limited opioids to acute

or end-of-life situations, not chronic pain.)




73
  AAPM, Safe Opioid Prescribing Course, February 25-26, 2012, sponsored by Purdue and Endo;
“Chronic Pain Management and Opioid Use,” October 11, 2012, sponsored by Purdue. Each CME is
available for online credit, including to prescribers in Laredo.
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       216.    The Porter-Jick Letter notes that, when these patients’ records were reviewed, it

found almost no references to signs of addiction, though there is no indication that caregivers were

instructed to assess or document signs of addiction. None of these serious limitations is disclosed

when Defendants, or those acting on their behalf, cite the Porter-Jick Letter, typically as the sole

scientific support for the proposition that opioids are rarely addictive, even when taken long-term. In

fact, Dr. Jick later complained that his letter had been distorted and misused.

       217.    Defendants worked not only to create or elevate favorable studies in the literature, but

to discredit or bury negative information. Defendants’ studies and articles often targeted articles that

contradicted Defendants’ claims or raised concerns about chronic opioid therapy. In order to do so,

Defendants—often with the help of third-party consultants—targeted a broad range of media to get

their message out, including negative review articles, letters to the editor, commentaries, case-study

reports, and newsletters.

       218.    Defendants’ strategies—first, to plant and promote supportive literature and then, to

cite the pro-opioid evidence in their promotional materials, while failing to disclose evidence that


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contradicts those claims—are flatly inconsistent with their legal obligations. The strategies were

intended to, and did, knowingly and intentionally distort the truth regarding the risks, benefits and

superiority of opioids for chronic pain relief resulting in distorted prescribing patterns.

           c.     Treatment Guidelines

           219.   Treatment guidelines have been particularly important in securing acceptance for

chronic opioid therapy. They are relied upon by doctors, especially the general practitioners and

family doctors targeted by Defendants, who are otherwise not experts, nor trained, in the treatment

of chronic pain. Treatment guidelines not only directly inform doctors’ prescribing practices, but are

cited throughout the scientific literature and referenced by third-party payors in determining whether

they should cover treatments for specific indications. Furthermore, Endo’s internal documents

indicate that pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed

treatment guidelines with doctors during individual sales visits.

      i.          FSMB

           220.   The Federation of State Medical Boards (“FSMB”) is a trade organization

representing the various state medical boards in the United States. The state boards that comprise the

FSMB membership have the power to license doctors, investigate complaints, and discipline

physicians. The FSMB finances opioid- and pain-specific programs through grants from Defendants.

           221.   In 1998, the FSMB developed Model Guidelines for the Use of Controlled Substances for the

Treatment of Pain (“FSMB Guidelines”), which FSMB admitted was produced “in collaboration with

pharmaceutical companies.” 74 The FSMB Guidelines taught not that opioids could be appropriate in

limited cases or after other treatments had failed, but that opioids were “essential” for treatment of

chronic pain, including as a first prescription option. The FSMB Guidelines failed to mention risks




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relating to respiratory depression and overdose, and they discussed addiction only in the sense that

“inadequate understandings” of addiction can lead to “inadequate pain control.”

        222.    A 2004 iteration of the FSMB Guidelines and the 2007 book adapted from the 2004

guidelines, Responsible Opioid Prescribing, also make these same claims. These guidelines were posted

online and were available to and intended to reach Laredo’s physicians.

        223.    The publication of Responsible Opioid Prescribing was backed largely by drug

manufacturers, including Cephalon, Endo, and Purdue. The FSMB financed the distribution of

Responsible Opioid Prescribing by its member boards by contracting with drug companies, including

Endo and Cephalon, for bulk sales and distribution to sales representatives (for distribution to

prescribing doctors).

        224.    In all, 163,131 copies of Responsible Opioid Prescribing were distributed to state medical

boards (and through the boards, to practicing doctors), and the FSMB benefitted by earning

approximately $250,000 in revenue and commissions from their sale. The FSMB website describes

the book as the “leading continuing medication education (CME) activity for prescribers of opioid

medications.”

        225.    Drug companies relied on FSMB guidelines to convey the message that “under-

treatment of pain” would result in official discipline, but no discipline would result if opioids were

prescribed as part of an ongoing patient relationship and prescription decisions were documented.

FSMB turned doctors’ fear of discipline on its head—doctors, who used to believe that they would

be disciplined if their patients became addicted to opioids, were taught that they would be punished

instead if they failed to prescribe opioids to their patients with pain.

        226.    FSMB, more recently, has moderated its stance. Although the 2012 revision of

Responsible Opioid Prescribing continued to teach that “pseudoaddiction” is real and that opioid

addiction risk can be managed through risk screening, it no longer recommended chronic opioid

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therapy as a first choice after the failure of over-the-counter medication and has heightened its

addiction and risk warnings.

      ii.          AAPM/APS Guidelines

            227.   AAPM and the APS are professional medical societies, each of which received

substantial funding from Defendants from 2009 to 2013 (with AAPM receiving over $2 million).

            228.   They issued a consensus statement in 1997, The Use of Opioids for the Treatment of Chronic

Pain, which endorsed opioids to treat chronic pain and claimed that the risk that patients would

become addicted to opioids was low. 75 The co-author of the statement, Dr. Haddox, was, at the time,

a paid speaker for Purdue. Dr. Portenoy was the sole consultant. The consensus statement, which

also formed the foundation of the FSMB Guidelines, remained on AAPM’s website until 2011. The

statement was taken down from AAPM’s website only after a doctor complained, though it lingers on

the internet elsewhere. 76

            229.   AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”) and

continued to recommend the use of opioids to treat chronic pain. 77 Fourteen of the 21 panel

members who drafted the AAPM/APS Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine

of the University of Utah, received support from Janssen, Cephalon, Endo, and Purdue.

            230.   The 2009 Guidelines promote opioids as “safe and effective” for treating chronic

pain, despite acknowledging limited evidence, and conclude that the risk of addiction is manageable

for patients regardless of past abuse histories. One panel member, Dr. Joel Saper, Clinical Professor

of Neurology at Michigan State University and founder of the Michigan Headache & Neurological



75
   Consensus statement, The Use of Opioids for the Treatment of Chronic Pain, APS & AAPM (1997),
available at http://opi.areastematicas.com/generalidades/OPIOIDES.DOLORCRONICO.pdf.
76
   Id.
77
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Noncancer Pain,
10(2) The Journal of Pain: Official Journal of the American Pain Society 113-130 (2009)

                                                      71
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Institute, resigned from the panel because of his concerns that the 2009 Guidelines were influenced

by contributions that drug companies, including Defendants, made to the sponsoring organizations

and committee members. These AAPM/APS Guidelines have been a particularly effective channel of

deception and have influenced not only treating physicians, but also the body of scientific evidence

on opioids; the Guidelines have been cited 732 times in academic literature, were disseminated in

Laredo during the relevant time period, are still available online, and were reprinted in the Journal of

Pain.

               231.   Defendants widely referenced and promoted the 2009 Guidelines without disclosing

the acknowledged lack of evidence to support them.

        iii.          American Geriatrics Society

               232.   The American Geriatrics Society (“AGS”), a nonprofit organization serving health

care professionals who work with the elderly, disseminated guidelines regarding the use of opioids for

chronic pain in 2002 (The Management of Persistent Pain in Older Persons, hereinafter “2002 AGS

Guidelines”) and 2009 (Pharmacological Management of Persistent Pain in Older Persons, hereinafter “2009

AGS Guidelines”). The 2009 AGS Guidelines included the following recommendations: “All patients

with moderate to severe pain . . . should be considered for opioid therapy (low quality of evidence,

strong recommendation),” and “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse.” 78 These recommendations, which continue to appear on

AGS’s website, are not supported by any study or other reliable scientific evidence. Nevertheless,

they have been cited 278 times in Google Scholar since their 2009 publication.

               233.   AGS contracted with Defendants Endo, Purdue, and Janssen to disseminate the 2009

Guidelines, and to sponsor CMEs based on them. These Defendants were aware of the content of

78
  Pharmacological Management of Persistent Pain in Older Persons, 57 J. Am. Geriatrics Soc’y 1331,
1339, 1342 (2009), available at http://onlinelibrary.wiley.com/doi/10.1111/j.1526-
4637.2009.00699.x/full.
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the 2009 Guidelines when they agreed to provide funding for these projects. The 2009 Guidelines

were first published online on July 2, 2009. AGS submitted grant requests to Defendants including

Endo and Purdue beginning July 15, 2009. Internal AGS discussions in August 2009 reveal that it did

not want to receive up-front funding from drug companies, which would suggest drug company

influence, but would instead accept commercial support to disseminate the publication. However, by

drafting the guidelines knowing that pharmaceutical company funding would be needed, and allowing

these companies to determine whether to provide support only after they had approved the message,

AGS ceded significant control to these companies. Endo, Janssen, and Purdue all agreed to provide

support to distribute the guidelines.

           234.   According to one news report, AGS has received $344,000 in funding from opioid

makers since 2009. 79 Five of 10 of the experts on the guidelines panel disclosed financial ties to

Defendants, including serving as paid speakers and consultants, presenting CMEs sponsored by

Defendants, receiving grants from Defendants, and investing in Defendants’ stock. The Institute of

Medicine recommends that, to ensure an unbiased result, fewer than 50% of the members of a

guidelines committee should have financial relationships with drug companies.

     iv.          Guidelines That Did Not Receive Defendants’ Support

           235.   The extent of Defendants’ influence on treatment guidelines is demonstrated by the

fact that independent guidelines—the authors of which did not accept drug company funding—

reached very different conclusions. The 2012 Guidelines for Responsible Opioid Prescribing in Chronic Non-

Cancer Pain, issued by the American Society of Interventional Pain Physicians (“ASIPP”), warned that

“[t]he recent revelation that the pharmaceutical industry was involved in the development of opioid

guidelines as well as the bias observed in the development of many of these guidelines illustrate that



 John Fauber & Ellen Gabler, Narcotic Painkiller Use Booming Among Elderly, Milwaukee J. Sentinel,
79

May 30, 2012.
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the model guidelines are not a model for curtailing controlled substance abuse and may, in fact, be

facilitating it.” ASIPP’s Guidelines further advise that “therapeutic opioid use, specifically in high

doses over long periods of time in chronic non-cancer pain starting with acute pain, not only lacks

scientific evidence, but is in fact associated with serious health risks including multiple fatalities, and

is based on emotional and political propaganda under the guise of improving the treatment of

chronic pain.” ASIPP recommends long-acting opioids in high doses only “in specific circumstances

with severe intractable pain” and only when coupled with “continuous adherence monitoring, in well-

selected populations, in conjunction with or after failure of other modalities of treatments with

improvement in physical and functional status and minimal adverse effects.” 80

        236.    Similarly, the 2011 Guidelines for the Chronic Use of Opioids, issued by the American

College of Occupational and Environmental Medicine, recommend against the “routine use of

opioids in the management of patients with chronic pain,” finding “at least moderate evidence that

harms and costs exceed benefits based on limited evidence,” while conceding there may be patients

for whom opioid therapy is appropriate. 81

        237.    The Clinical Guidelines on Management of Opioid Therapy for Chronic Pain, issued by the U.S.

Department of Veterans Affairs (“VA”) and Department of Defense (“DOD”) in 2010, notes that

their review:

         revealed the lack of solid evidence based research on the efficacy of long-term opioid therapy.
Almost all of the randomized trials of opioids for chronic non-cancer pain were short-term efficacy
studies. Critical research gaps . . . include: lack of effectiveness studies on long-term benefits and
harms of opioids . . .; insufficient evidence to draw strong conclusions about optimal approaches to
risk stratification . . .; lack of evidence on the utility of informed consent and opioid management



80
   Laxmaiah Manchikanti, et al., American Society of Interventional Pain Physicians (ASIPP)
Guidelines for Responsible Opioid Prescribing in Chronic Non-Cancer Pain: Part 1, Evidence Assessment, 15 Pain
Physician (Special Issue) S1-S66; Part 2 – Guidance, 15 Pain Physician (Special Issue) S67-S116 (2012).
81
   American College of Occupational and Environmental Medicine’s Guidelines for the Chronic Use of Opioids,
(2011), available at: https://www.nhms.org/sites/default/files/Pdfs/ACOEM%202011-
Chronic%20Pain%20Opioid%20.pdf
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plans . . .; and treatment of patients with chronic non-cancer pain at higher risk for drug abuse or
misuse. 82

        d.      Continuing Medical Education

        238.    CMEs are ongoing professional education programs provided to doctors. Doctors are

required to attend a certain number and, often, type of CME programs each year as a condition of

their licensure. These programs are delivered in person, often in connection with professional

organizations’ conferences, online, or through written publications. Doctors rely on CMEs not only

to satisfy licensing requirements, but to get information on new developments in medicine or to

deepen their knowledge in specific areas of practice. Because CMEs are typically delivered by KOLs

who are highly respected in their fields, and are thought to reflect these physicians’ medical expertise,

they can be especially influential to doctors.

        239.    The countless doctors and other health care professionals who participate in

accredited CMEs constitute an enormously important audience for opioid reeducation. As one target,

Defendants aimed to reach general practitioners, whose broad area of focus and lack of specialized

training in pain management made them particularly dependent upon CMEs and, as a result,

especially susceptible to Defendants’ deceptions.

        240.    In all, Defendants sponsored CMEs that were delivered thousands of times,

promoting chronic opioid therapy and supporting and disseminating the deceptive and biased

messages described in this Complaint. These CMEs, while often generically titled to relate to the

treatment of chronic pain, focused on opioids to the exclusion of alternative treatments, inflated the

benefits of opioids, and frequently omitted or downplayed their risks and adverse effects.




82
  Management of Opioid Therapy for Chronic Pain Working Group, VA/DoD Clinical Practice
Guideline for Management of Opioid Therapy for Chronic Pain (May 2010), available at
http://www.healthquality.va.gov/guidelines/Pain/cot/COT_312_Full-er.pdf.
                                                    75
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        241.    The American Medical Association (“AMA”) has recognized that support from drug

companies with a financial interest in the content being promoted “creates conditions in which

external interests could influence the availability and/or content” of the programs and urges that

“[w]hen possible, CME[s] should be provided without such support or the participation of

individuals who have financial interests in the educational subject matter.” 83

        242.    Dozens of CMEs that were available to and attended or reviewed by city and City

doctors during the relevant time period did not live up to the AMA’s standards.

        243.    The influence of Defendants’ funding on the content of these CMEs is clear. One

study by a Georgetown University Medical Center professor compared the messages retained by

medical students who reviewed an industry-funded CME article on opioids versus another group

who reviewed a non-industry-funded CME article. The industry-funded CME did not mention

opioid-related death once; the non-industry-funded CME mentioned opioid-related death 26 times.

Students who read the industry-funded article more frequently noted the impression that opioids

were underused in treating chronic pain. The “take-aways” of those reading the non- industry-funded

CME mentioned the risks of death and addiction much more frequently than the other group.

Neither group could accurately identify whether the article they read was industry-funded, making

clear the difficulty health care providers have in screening and accounting for source bias. 84

        244.    By sponsoring CME programs presented by Front Groups like APF, AAPM, and

others, Defendants could expect messages to be favorable to them, as these organizations were

otherwise dependent on Defendants for other projects. The sponsoring organizations honored this

principle by hiring pro-opioid KOLs to give talks that supported chronic opioid therapy. Defendant-



83
   Opinion 9.0115, Financial Relationships with Industry in CME, Am. Med. Ass’n (Nov. 2011), available at
http://eo2.commpartners.com/users/ama/downloads/120328_Opinion_E-9_0115.pdf.
84
   Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME, PharmedOut (June 25, 2010),
available at pharmedout.galacticrealms.com/Fugh-BermanPrescriptionforConflict6-25-10.pdf.
                                                   76
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driven content in these CMEs had a direct and immediate effect on prescribers’ views on opioids.

Producers of CMEs and Defendants measured the effects of CMEs on prescribers’ views on opioids

and their absorption of specific messages, confirming the strategic marketing purpose in supporting

them.

        e.      Unbranded Patient Education

        245.    Pharmaceutical industry marketing experts see patient-focused advertising, including

direct-to-consumer marketing, as particularly valuable in “increas[ing] market share . . . by bringing

awareness to a particular disease that the drug treats.” 85 Evidence also demonstrates that physicians

are willing to acquiesce to patient demands for a particular drug— even for opioids and for

conditions for which they are not generally recommended. 86 An Actavis marketing plan, for example,

noted that “[d]irect-to-consumer marketing affects prescribing decisions.” Recognizing this fact,

Defendants put their relationships with Front Groups to work to engage in largely unbranded patient

education about opioid treatment for chronic pain.

        246.    The drug companies expect that they will recoup their investment in direct-to-

consumer advertisements by capturing at least some of any additional prescriptions that result from

patients “asking their doctor” about drugs that can treat their pain. Doctors also may review direct-

to-consumer materials sales representatives give them to distribute to patients.

        f.      Defendants’ Use of Front Groups

        247.    As noted above, Defendants Cephalon, Endo, Janssen, and Purdue entered into

arrangements with numerous organizations to promote opioids. These organizations depend upon



85
   Kanika Johar, An Insider’s Perspective: Defense of the Pharmaceutical Industry’s Marketing Practices, 76
Albany L. Rev. 299, 308 (2013).
86
   Prescribers often accede to patient requests. According to one study, nearly 20% of sciatica patients
requesting oxycodone would receive a prescription for it, compared with 1% making no request.
More than half of patients requesting a strong opioid received one. J.B. McKinlay et al., Effects of
Patient Medication Requests on Physician Prescribing Behavior, 52(2) Med. Care 294 (2014).
                                                    77
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Defendants for significant funding and, in some cases, for their survival. They were involved not only

in generating materials and programs for doctors and patients that supported chronic opioid therapy,

but also in assisting Defendants’ marketing in other ways—for example, responding to negative

articles and advocating against regulatory changes that would constrain opioid prescribing. They

developed and disseminated pro-opioid treatment guidelines; conducted outreach to groups targeted

by Defendants, such as veterans and the elderly; and developed and sponsored CMEs that focused

exclusively on use of opioids to treat chronic pain. Defendants funded these Front Groups in order

to ensure supportive messages from these seemingly neutral and credible third parties, and their

funding did, in fact, ensure such supportive messages.

      i.          American Pain Foundation

           248.   The most prominent of Defendants’ Front Groups was APF, which received more

than $10 million in funding from opioid manufacturers from 2007 until it closed its doors in May

2012. Endo alone provided more than half of that funding; Purdue was next, at $1.7 million.

           249.   APF issued education guides for patients, reporters, and policymakers that touted the

benefits of opioids for chronic pain and trivialized their risks, particularly the risk of addiction. APF

also launched a campaign to promote opioids for returning veterans, which has contributed to high

rates of addiction and other adverse outcomes—including death—among returning soldiers. APF

also engaged in a significant multimedia campaign—through radio, television and the internet—to

educate patients about their “right” to pain treatment, namely opioids. All of the programs and

materials were available nationally and were intended to reach Laredo’s residents.

           250.   In addition to Perry Fine, Russell Portenoy, and Scott Fishman, who served on APF’s

Board and reviewed its publications, another board member, Lisa Weiss, was an employee of a public

relations firm that worked for both Purdue and APF.




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          251.   In 2009 and 2010, more than 80% of APF’s operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received about

$2.3 million from industry sources out of total income of about $2.85 million in 2009; its budget for

2010 projected receipts of roughly $2.9 million from drug companies out of total income of about

$3.5 million. By 2011, APF was entirely dependent on incoming grants from defendants Purdue,

Cephalon, Endo, and others to avoid using its line of credit. As one of its board members, Russell

Portenoy, explained, the lack of funding diversity was one of the biggest problems at APF.

          252.   APF held itself out as an independent patient advocacy organization. It often engaged

in grassroots lobbying against various legislative initiatives that might limit opioid prescribing, and

thus the profitability of its sponsors. It was often called upon to provide “patient representatives” for

Defendants’ promotional activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s

Talk Pain. As laid out below, APF functioned largely as an advocate for the interests of Defendants,

not patients. Indeed, as early as 2001, Purdue told APF that the basis of a grant was Purdue’s desire

to “strategically align its investments in nonprofit organizations that share [its] business interests.”

          253.   In practice, APF operated in close collaboration with opioid makers. On several

occasions, representatives of the drug companies, often at informal meetings at Front Group

conferences, suggested activities and publications APF could pursue. APF then submitted grant

proposals seeking to fund these activities and publications, knowing that drug companies would

support projects conceived as a result of these communications.

          254.   APF assisted in other marketing projects for drug companies. One project funded by

another drug company—APF Reporter’s Guide: Covering Pain and Its Management (2008) 87—recycled text

that was originally created as part of the company’s training document.




87
     https://assets.documentcloud.org/documents/277606/apf-reporters-guide.pdf.
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              255.   The same drug company made general grants, but even then, it directed how APF

used them. In response to an APF request for funding to address a potentially damaging state

Medicaid decision related to pain medications generally, the company representative responded, “I

provided an advocacy grant to APF this year—this would be a very good issue on which to use some

of that. How does that work?”

              256.   The close relationship between APF and the drug company was not unique, but in

fact mirrors the relationships between APF and Defendants. APF’s clear lack of independence—in

its finances, management, and mission—and its willingness to allow Defendants to control its

activities and messages, support an inference that each Defendant that worked with APF was able to

exercise editorial control over its publications.

              257.   Indeed, the U.S. Senate Finance Committee began looking into APF in May 2012 to

determine the links, financial and otherwise, between the organization and the manufacturers of

opioid painkillers. The investigation caused considerable damage to APF’s credibility as an objective

and neutral third party and Defendants stopped funding it. Within days of being targeted by Senate

investigation, APF’s board voted to dissolve the organization “due to irreparable economic

circumstances.” APF “cease[d] to exist, effective immediately.” 88

        ii.          The American Academy of Pain Medicine

              258.   The American Academy of Pain Medicine, with the assistance, prompting,

involvement, and funding of Defendants, issued treatment guidelines and sponsored and hosted

medical education programs essential to Defendants’ deceptive marketing of chronic opioid therapy.

              259.   AAPM has received over $2.2 million in funding since 2009 from opioid

manufacturers. AAPM maintains a corporate relations council, whose members pay $25,000 per year

(on top of other funding) to participate. The benefits include allowing members to present

88
     http://www.painfoundation.org.
                                                       80
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educational programs at off-site dinner symposia in connection with AAPM’s marquee event—its

annual meeting held in Palm Springs, California, or other resort locations. AAPM describes the

annual event as an “exclusive venue” for offering education programs to doctors.

        260.    Membership in the corporate relations council also allows drug company executives

and marketing staff to meet with AAPM executive committee members in small settings. Defendants

Endo, Purdue, Cephalon and Actavis were members of the council and presented deceptive

programs to doctors who attended this annual event.

        261.    AAPM is viewed internally by Endo as “industry friendly,” with Endo advisors and

speakers among its active members. Endo attended AAPM conferences, funded its CMEs, and

distributed its publications. The conferences sponsored by AAPM heavily emphasized sessions on

opioids—37 out of roughly 40 at one conference alone. AAPM’s presidents have included top

industry-supported KOLs Perry Fine, Russell Portenoy, and Lynn Webster. Dr. Webster was even

elected president of AAPM while under a DEA investigation. Another past AAPM president, Dr.

Scott Fishman, stated that he would place the organization “at the forefront” of teaching that “the

risks of addiction are . . . small and can be managed.” 89

        262.    AAPM’s staff understood that they and their industry funders were engaged in a

common practice. Defendants were able to influence AAPM through both their significant and

regular funding, and the leadership of pro-opioid KOLs within the organization.

      3.     Defendants Acted in Concert with KOLs and Front Groups in the Creation,
Promotion, and Control of Unbranded Marketing.

        263.    Like cigarette manufacturers, which engaged in an industry-wide effort to

misrepresent the safety and risks of smoking, Defendants worked with each other and with the Front



89
  Interview by Paula Moyer with Scott M. Fishman, M.D., Professor of Anesthesiology and Pain
Medicine, Chief of the Division of Pain Medicine, Univ. of Cal., Davis (2005),
http://www.medscape.org/viewarticle/500829.
                                                    81
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Groups and KOLs they funded and directed to carry out a common scheme to deceptively present

the risks, benefits, and superiority of opioids to treat chronic pain.

        264.      Defendants acted through and with the same network of Front Groups, funded the

same KOLs, and often used the very same language and format to disseminate the same deceptive

messages. These KOLs have worked reciprocally with Defendants to promote misleading messaging

regarding the appropriate use of opioids to treat chronic pain. Although participants knew this

information was false and misleading, these misstatements were nevertheless disseminated to

Laredo’s prescribers and patients.

        265.      One vehicle for their collective collaboration was Pain Care Forum (“PCF”). PCF

began in 2004 as an APF project with the stated goals of offering “a setting where multiple

organizations can share information” and to “promote and support taking collaborative action

regarding federal pain policy issues.” APF President Will Rowe described the Forum as “a deliberate

effort to positively merge the capacities of industry, professional associations, and patient

organizations.”

        266.      PCF is comprised of representatives from opioid manufacturers and distributors

(including Cephalon, Endo, Janssen, and Purdue); doctors and nurses in the field of pain care;

professional organizations (e.g., American Academy of Pain Management, APS, and American Society

of Pain Educators); patient advocacy groups (e.g., APF and ACPA); and other like-minded

organizations (e.g., FSMB and Wisconsin Pain & Policy Studies Group), almost all of which received

substantial funding from Defendants.

        267.      PCF, for example, developed and disseminated “consensus recommendations” for a

Risk Evaluation and Mitigation Strategy (“REMS”) for long-acting opioids that the FDA mandated in




                                                    82
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2009 to communicate the risks of opioids to prescribers and patients. 90 This was critical as a REMS

that went too far in narrowing the uses or benefits, or highlighting the risks of chronic opioid

therapy, would deflate Defendants’ marketing efforts. The recommendations—drafted by Will Rowe

of APF—claimed that opioids were “essential” to the management of pain, and that the REMS

“should acknowledge the importance of opioids in the management of pain and should not introduce

new barriers.” 91 Defendants worked with PCF members to limit the reach and manage the message

of the REMS, which enabled them to maintain, and not undermine, their deceptive marketing of

opioids for chronic pain.

        4.      Defendants Targeted Vulnerable and Lucrative Populations.

        a.      The Elderly

        268.    Elderly patients taking opioids have been found to be exposed to elevated fracture

risks, a greater risk for hospitalizations, and increased vulnerability to adverse drug effects and

interactions, such as respiratory depression, which, as Defendants acknowledge in their labels (but

not in their marketing), occurs more frequently in elderly patients. A 2010 paper in the Archives of

Internal Medicine reported that elderly patients who used opioids had a significantly higher rate of

death, heart attacks, and strokes than users of NSAIDs. Defendants’ targeted marketing to the elderly

and the absence of cautionary language in their promotional materials flies in the face of scientific

evidence and their own labels, and creates a heightened risk of serious injury to elderly patients.

        269.    Defendants also promoted the notion—also without adequate scientific foundation—

that the elderly are particularly unlikely to become addicted to opioids. AGS’s 2009 Guidelines, for

example, which Purdue, Endo, and Janssen publicized, described the risk of addiction as “exceedingly



90
   The FDA can require a drug maker to develop a REMS—which could entail (as in this case) an
education requirement or distribution limitation—to manage serious risks associated with a drug.
91
   Defendants also agreed that short-acting opioids should also be included in REMS as not to
disadvantage the long-acting, branded drugs.
                                                   83
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low in older patients with no current or past history of substance abuse.” Yet, a 2010 study

examining overdoses among long-term opioid users found that patients 65 or older were among

those with the largest number of serious overdoses.

       270.    Defendants’ efforts have paid off. Since 2007, prescriptions for the elderly have

grown at twice the rate of prescriptions for adults between the ages of 40 and 59.

       b.      Veterans

       271.    Veterans, too, are suffering greatly from the effects of Defendants’ targeted

marketing. A 2008 survey showed that prescription drug abuse among military personnel had

doubled from 2002 to 2005, and then nearly tripled again over the next three years. In 2009, military

doctors wrote 3.8 million prescriptions for narcotic pain pills—four times as many as they had in

2001. Further, one-third of veterans prescribed opioids as of 2012 remained on take-home opioids

for more than 90 days. Although many of these veterans are returning from service with traumatic

injuries, the increase in opioid prescribing is disproportionate to the population and, in far too many

cases, unsuited for their treatment. Among former service members receiving VA services nationally

in a single year (2005), 1,013 had died of an accidental drug overdose—double the rate of the civilian

population.

       272.    Laredo has a substantial population of veterans who must cope with the

consequences of overprescribing opioids.

       273.    Opioids are particularly dangerous to veterans. According to a study published in the

2013 Journal of American Medicine, veterans returning from Iraq and Afghanistan who were

prescribed opioids have a higher incidence of adverse clinical outcomes, such as overdoses and self-

inflicted and accidental injuries; 40% of veterans with post-traumatic stress disorder received opioids

and benzodiazepines (anti-anxiety drugs) that, when mixed with alcohol, can cause respiratory

depression and death. According to a VA Office of Inspector General Report, despite the risks,

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92.6% of veterans who were prescribed opioid drugs were also prescribed benzodiazepines. 92 Again,

as with elderly patients, Defendants both purposefully sought to increase opioid prescribing to this

vulnerable group and omitted from their promotional materials the known, serious risks opioids pose

to them.

        274.    Exit Wounds, a 2009 publication sponsored by Purdue, distributed by APF with grants

from Janssen and Endo, and written as a personal narrative of one veteran, describes opioids as

“underused” and the “gold standard of pain medications” and fails to disclose the risk of addiction,

overdose, or injury. It notes that opioid medications “increase a person’s level of functioning” and

that “[l]ong experience with opioids shows that people who are not predisposed to addiction are

unlikely to become addicted to opioid pain medications.” The book also asserts that “[d]enying a

person opioid pain medication because he or she has a history of substance abuse or addiction is

contrary to the model guidelines for prescribing opioids, published by the U.S. Federation of State

Medical Boards.” As laid out above, the FSMB itself received support from Defendants during the

time it created and published its guidelines.

        275.    Exit Wounds minimizes the risks of chronic opioid therapy and does not disclose the

risk that opioids may have fatal interactions with benzodiazepines, which were taken by a significant

number of veterans. 93 It is not the unbiased narrative of a returning war veteran. It is pure marketing,

sponsored by Purdue, Endo, and Janssen. Janssen, for example, supported the marketing effort, and

its insufficient disclosures, despite acknowledging on the label for its opioid Duragesic that its use

with benzodiazepines “may cause respiratory depression, hypotension, and profound sedation or

potentially result in coma.” A similar warning is found on the labels of other Defendants’ opioids.

92
  https://www.va.gov/oig/pubs/VAOIG-14-00895-163.pdf.
93
  FDA guidance states that materials designed to target a particular audience should disclose risks
particular to that audience. See FDA Notice, Guidance for Industry, “Brief Summary and Adequate
Directions for Use: Disclosing Risk Information in Consumer-Directed Print Advertisements and
Promotional Labeling for Prescription Drugs,” August 6, 2015.
                                                   85
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       276.    The deceptive nature of Exit Wounds is obvious in comparing it to guidance on

opioids published by the VA and DOD in 2010 and 2011. The VA’s Taking Opioids Responsibly

describes opioids as “dangerous.” It cautions against taking extra doses and mentions the risk of

overdose and the dangers of interactions with alcohol. The list of side effects from opioids includes

decreased hormones, sleep apnea, hyperalgesia, addiction, immune system changes, birth defects and

death—none of which is disclosed in Exit Wounds.

       D.      Why Defendants’ Marketing Messages Are Misleading and Unfair

       277.    Defendants’ marketing of opioids for long-term use to treat chronic pain, both

directly and with and through third parties, included information that was false, misleading, contrary

to credible scientific evidence and their own labels, and lacked balance and substantiation. Their

marketing materials omitted material information about the risks of opioids, and overstated their

benefits. Moreover, Defendants inaccurately suggested that chronic opioid therapy was supported by

evidence, and failed to disclose the lack of evidence in support of treating chronic pain with opioids.

       278.    There are seven primary misleading and unfounded representations. Defendants and

the third parties with which they teamed:

       •       misrepresented that opioids improve function;

       •       concealed the link between long-term use of opioids and addiction;

       •       misrepresented that addiction risk can be managed;

       •       masked the signs of addiction by calling them “pseudoaddiction”;

       •       falsely claimed withdrawal is easily managed;

       •       misrepresented or omitted the greater dangers from higher doses of opioids; and

       •       deceptively minimized the adverse effects of opioids and overstated the risks of

NSAIDs.



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        279.     In addition to these misstatements, Purdue purveyed an eighth deception that

OxyContin provides a full 12 hours of pain relief.

        280.     Exacerbating each of these misrepresentations and deceptions was the collective

effort of Defendants and third parties to hide from the medical community the fact that the FDA “is

not aware of adequate and well-controlled studies of opioid use longer than 12 weeks.” 94

      1.         Defendants and Their Third-Party Allies Misrepresented that Opioids Improve
Function

        281.     Each of the following materials was created with the expectation that, by instructing

patients and prescribers that opioids would improve patients’ function and quality of life, patients

would demand opioids and doctors would prescribe them. These claims also encouraged doctors to

continue opioid therapy in the belief that failure to improve pain, function, or quality of life, could be

overcome by increasing doses or prescribing supplemental short-acting opioids on an as-needed basis

for breakthrough pain.

        282.     However, not only is there no evidence of improvement in long-term functioning, but

a 2006 study-of-studies found that “[f]or functional outcomes . . . other analgesics were significantly

more effective than were opioids.” 95 Studies of the use of opioids in chronic conditions for which

they are commonly prescribed, such as low back pain, corroborate this conclusion and have failed to

demonstrate an improvement in patients’ function. Research consistently shows that long-term

opioid therapy for patients who have lower back injuries does not cause patients to return to work or




94
   Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D.,
Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10,
2013).
95
   Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
174(11) Can. Med. Ass’n J. 1589-1594 (2006). This study revealed that efficacy studies do not
typically include data on opioid addiction, such that, if anything, the data overstate effectiveness.
                                                         87
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physical activity. 96 Indeed, one Defendant’s own internal marketing plans characterized functional

improvement claims as “aspirational.” Another acknowledged in 2012 that “[s]ignificant investment

in clinical data [was] needed” to establish opioids’ effect on mitigating quality of life issues, like social

isolation.

        283.    The long-term use of opioids carries a host of serious side effects, including addiction,

mental clouding and confusion, sleepiness, hyperalgesia, and immune-system and hormonal

dysfunction that degrade, rather than improve, patients’ ability to function. Defendants often omitted

these adverse effects as well as certain risks of drug interactions from their publications.

        284.    Yet each of the following statements by Defendants suggest that the long-term use of

opioids improve patients’ function and quality of life, and that scientific evidence supports this claim.



Actavis                 a.   Documents from a 2010 sales training indicate that Actavis trained its
               sales
                          force to instruct prescribers that “most chronic benign pain patients do
               have markedly improved ability to function when maintained on chronic opioid
               therapy.” (Emphasis added.)

                       b. Documents from a 2010 sales training indicate that Actavis trained its
               sales force that increasing and restoring function is an expected outcome of chronic
               Kadian therapy, including physical, social, vocational, and recreational function.

                       c. Actavis distributed a product advertisement that claimed that use of
               Kadian to treat chronic pain would allow patients to return to work, relieve “stress on
               your body and your mental health,” and cause patients to enjoy their lives. The FDA
               warned Actavis that such claims were misleading, writing: “We are not aware of
               substantial evidence or substantial clinical experience demonstrating that the
               magnitude of the effect of the drug has in alleviating pain, taken together with any
               drug-related side effects patients may experience . . . results in any overall positive




96
  Moreover, users of opioids had the highest increase in the number of headache days per month,
scored significantly higher on the Migraine Disability Assessment (MIDAS), and had higher rates of
depression, compared to non-opioid users. They also were more likely to experience sleepiness,
confusion, and rebound headaches, and reported a lower quality of life than patients taking other
medications.
                                                     88
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            impact on a patient’s work, physical and mental functioning, daily activities, or
            enjoyment of life.” 97

                    d. Actavis sales representatives told Laredo prescribers that prescribing
            Actavis’s opioids would improve their patients’ ability to function and improve their
            quality of life.


Cephalon            e. Cephalon sponsored the FSMB’s Responsible Opioid Prescribing (2007),
            which taught that relief of pain itself improved patients’ function. Responsible
            Opioid Prescribing explicitly describes functional improvement as the goal of a “long-
            term therapeutic treatment course.” Cephalon also spent $150,000 to purchase copies
            of the book in bulk and distributed the book through its pain sales force to 10,000
            prescribers and 5,000 pharmacists.

                    f. Cephalon sponsored the American Pain Foundation’s Treatment Options: A
            Guide for People Living with Pain (2007), which taught patients that opioids, when used
            properly “give [pain patients] a quality of life we deserve.” The Treatment Options
            guide notes that non-steroidal anti-inflammatory drugs have greater risks associated
            with prolonged duration of use, but there was no similar warning for opioids. APF
            distributed 17,200 copies in one year alone, according to its 2007 annual report. The
            publication is also currently available online.

                    g. Cephalon sponsored a CME written by key opinion leader Dr. Lynn
            Webster, titled Optimizing Opioid Treatment for Breakthrough Pain, which was offered
            online by Medscape, LLC from September 28, 2007, to December 15, 2008. The
            CME taught that Cephalon’s Actiq and Fentora improve patients’ quality of life and
            allow for more activities when taken in conjunction with long- acting opioids.

                    h. Cephalon sales representatives told Laredo prescribers that opioids would
            increase patients’ ability to function and improve their quality of life.


Endo               i. Endo sponsored a website, painknowledge.com, through APF and NIPC,
            which, in 2009, claimed that with opioids, “your level of function should improve;
            you may find you are now able to participate in activities of daily living, such as work
            and hobbies, that you were not able to enjoy when your pain was worse.” Endo
            continued to provide funding for this website through 2012, and closely tracked
            unique visitors to it.

                    j. A CME sponsored by Endo, titled Persistent Pain in the Older Patient, taught
            that chronic opioid therapy has been “shown to reduce pain and improve

97
  Warning Letter from Thomas Abrams, Dir., FDA Div. of Mktg., Adver., & Commc’ns, to Doug
Boothe, CEO, Actavis Elizabeth LLC (Feb. 18. 2010), available at
http://www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/EnforcementActivitiesbyF
DA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompanies/ucm259240.htm.
                                               89
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                         depressive symptoms and cognitive functioning.”

                      k. Endo distributed handouts to prescribers that claimed that use of Opana
              ER to treat chronic pain would allow patients to perform work as a chef. This flyer
              also emphasized Opana ER’s indication without including equally prominent
              disclosure of the “moderate to severe pain” qualification. 98

                       l. Endo’s sales force distributed FSMB’s Responsible Opioid Prescribing (2007)
              which taught that relief of pain itself improved patients’ function. Responsible Opioid
              Prescribing explicitly describes functional improvement as the goal of a “long-term
              therapeutic treatment course.”

                      m. Endo provided grants to APF to distribute Exit Wounds to veterans,
              which taught that opioid medications “increase your level of functioning” (emphasis in
              the original). Exit Wounds also omits warnings of the risk of interactions between
              opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines are
              frequently prescribed to veterans diagnosed with post-traumatic stress disorder.

                      n. Endo sales representatives told Laredo prescribers that opioids would
              increase patients’ ability to function and improve their quality of life by helping them
              become more physically active and return to work.


Janssen                 o. Janssen sponsored a patient education guide titled Finding Relief: Pain
                          Management for Older Adults (2009), which its personnel reviewed and
               approved, and its sales force distributed. This guide features a man playing golf on
               the cover and lists examples of expected functional improvement from opioids, like
               sleeping through the night, returning to work, recreation, sex, walking, and climbing
               stairs. The guide states as a “fact” that “opioids may make it easier for people to live
               normally” (emphasis in the original). The myth/fact structure implies authoritative
               backing for the claims that does not exist. The targeting of older adults also ignored
               heightened opioid risks in this population

                       p. Janssen sponsored, developed, and approved content of a website, Let’s
               Talk
                         Pain in 2009, acting in conjunction with the APF, AAPM, and ASPMN,
               whose participation in Let’s Talk Pain Janssen financed and orchestrated. This
               website featured an interview, which was edited by Janssen personnel, claiming that
               opioids were what allowed a patient to “continue to function,” inaccurately
                         implying her experience would be representative. This video is still
               available
                         today on youtube.com.

98
  FDA regulations require that warnings or limitations be given equal prominence in disclosure, and
failure to do so constitutes “misbranding” of the product. 21 C.F.R. § 202.1(e)(3); see also 21 U.S.C.
§331(a).

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                   q. Janssen provided grants to APF to distribute Exit Wounds to veterans,
           which
                    taught that opioid medications “increase your level of functioning” (emphasis
           in the original). Exit Wounds also omits warnings of the risk of interactions between
           opioids and benzodiazepines, which would increase fatality risk. Benzodiazepines are
           frequently prescribed to veterans diagnosed with post-traumatic stress disorder.

                   r. Janssen sales representatives told Laredo’s prescribers that opioids would
           increase patients’ ability to function and improve their quality of life by helping them
           become more physically active and return to work.


Purdue             s. Purdue ran a series of advertisements for OxyContin in 2012 in medical
           journals titled “Pain vignettes,” which were case studies featuring patients, each with
           pain conditions persisting over several months, recommending OxyContin for each.
           One such patient, “Paul,” is described as a “54-year- old writer with osteoarthritis of
           the hands,” and the vignettes imply that an OxyContin prescription will help him
           work more effectively.

                   t. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
           Management, which inaccurately claimed that “multiple clinical studies” had shown
           that opioids are effective in improving daily function, psychological health, and
           health-related quality of life for chronic pain patients.” The sole reference for the
           functional improvement claim noted the absence of long-term studies and actually
           stated: “For functional outcomes, the other analgesics were significantly more
           effective than were opioids.” The Policymaker’s Guide is still available online.

                   u. Purdue sponsored APF’s Treatment Options: A Guide for People Living with
           Pain (2007), which counseled patients that opioids, when used properly, “give [pain
           patients] a quality of life we deserve.” APF distributed 17,200 copies in one year
           alone, according to its 2007 annual report. The guide is currently available online.

                  v. Purdue sponsored APF’s Exit Wounds (2009), which taught veterans that
           opioid medications “increase your level of functioning.” Exit Wounds also omits
           warnings of the risk of interactions between opioids and benzodiazepines, which
           would increase fatality risk. Benzodiazepines are frequently prescribed to
           veterans diagnosed with post-traumatic stress disorder.

                    w. Purdue sponsored the FSMB’s Responsible Opioid Prescribing (2007), which
           taught that relief of pain itself improved patients’ function. Responsible Opioid
           Prescribing explicitly describes functional improvement as the goal of a “long-term
           therapeutic treatment course.” Purdue also spent over $100,000 to support
           distribution of the book.

                   x. Purdue sales representatives told Laredo’s prescribers that opioids would
           increase patients’ ability to function and improve their quality of life.

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       2.      Defendants and Their Third-Party Allies Concealed the Truth About the Risk
of Addiction from Long-Term Opioid Use

       285.    The fraudulent representation that opioids are rarely addictive is central to

Defendants’ scheme. To reach chronic pain patients Defendants, and the Front Groups and KOLs

that they directed, assisted, and collaborated with, had to overcome doctors’ legitimate fears that

opioids would addict their patients. The risk of addiction is an extremely weighty risk—condemning

patients to, among other things, dependence, compulsive use, haziness, a lifetime of battling relapse,

and a dramatically heightened risk of serious injury or death. But for Defendants’ campaign to

convince doctors otherwise, finding benefits from opioid use for common chronic pain conditions

sufficient to justify that risk would have, and previously had, posed a nearly insurmountable

challenge.

       286.    Through their well-funded, comprehensive marketing efforts, Defendants and their

KOLs and Front Groups were able to change prescriber perceptions despite the well-settled

historical understanding and clear evidence that opioids taken long-term are often addictive.

Defendants and their third-party partners: (a) brazenly maintained that the risk of addiction for

patients who take opioids long-term was low; and (b) omitted the risk of addiction and abuse from

the list of adverse outcomes associated with chronic opioid use, even though the frequency and

magnitude of the risk—and Defendants’ own labels—compelled disclosure.

       287.    Further, in addition to falsely claiming opioids had low addiction risk or omitting

disclosure of the risk of addiction altogether, Defendants employed language that conveyed to

prescribers that the drugs had lower potential for abuse and addiction. Further, in addition to making

outright misrepresentations about the risk of addiction, or failing to disclose that serious risk at all,

Defendants used code words that conveyed to prescribers that their opioid was less prone to abuse

and addiction. For instance, sales representatives for Actavis, Endo, Janssen, and Purdue promoted

                                                   92
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their drugs as having “steady-state” properties with the intent and expectation that prescribers would

understand this to mean that their drugs caused less of a rush or a feeling of euphoria, which can

trigger abuse and addiction. Further, Endo actively promoted its reformulated Opana ER on the

basis that it was “designed to be crush-resistant,” suggesting both (a) that Endo had succeeded in

making the drug harder to adulterate, and (b) that it was less addictive, in consequence. In fact,

however, Endo knew that “the clinical significance of INTAC Technology or its impact on

abuse/misuse has not been established for Opana ER” and that Opana ER could still be ground and

cut into small pieces by those looking to abuse the drug. In the same vein, Janssen denied that

Nucynta ER was an opioid and claimed that it was not addictive, and Purdue claimed that its opioids

were not favored by addicts and did not produce a buzz, all of which falsely suggested that its opioids

were less likely to be abused or addictive.

          288.   Each of the following was created with the expectation that, by instructing patients

and prescribers that addiction rates are low and that addiction is unlikely when opioids are prescribed

for pain, doctors would prescribe opioids to more patients. For example, one publication sponsored

exclusively by Purdue—APF’s 2011 A Policymaker’s Guide to Understanding Pain & Its Management—

claimed that opioids are not prescribed often enough because of “misconceptions about opioid

addiction.” 99

          289.   Acting directly or with and through third parties, each of the Defendants claimed that

the potential for addiction from its drugs was relatively small, or non-existent, even though there was

no scientific evidence to support those claims, and the available research contradicted them. A recent

literature survey found that while ranges of “problematic use” of opioids ranged from <1% to




99
     http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
                                                  93
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81%, 100 abuse averaged between 21% and 29% and addiction between 8% and 12%. 101 These

estimates are well in line with Purdue’s own studies, showing that between 8% and 13% of

OxyContin patients became addicted, but on which Purdue chose not to rely, instead citing the

Porter-Jick letter.

         290.     The FDA has found that 20% of opioid patients use two or more pharmacies, 26%

obtain opioids from two or more prescribers, and 16.5% seek early refills—all potential “red flags”

for abuse or addiction. 102 The FDA in fact has ordered manufacturers of long-acting opioids to

“[c]onduct one or more studies to provide quantitative estimates of the serious risks of misuse, abuse,

addiction, overdose and death associated with long-term use of opioid analgesics for management of

chronic pain,” in recognition of the fact that it found “high rates of addiction” in the medical

literature. 103

         291.     Of course, the significant (and growing) incidence of abuse, misuse, and addiction to

opioids is also powerful evidence that Defendants’ statements regarding the low risk of addiction

were, and are, untrue. This was well-known to Defendants who had access to sales data and reports,

adverse event reports, federal abuse and addiction-related surveillance data, and other sources that

demonstrated the widening epidemic of opioid abuse and addiction.



100
    Cited for the low end of that range was the 1980 Porter-Jick letter in the New England Journal of
Medicine.
101
    Kevin Vowels et al., Rates of opioid misuse, abuse, and addiction in chronic pain: a systematic review and data
synthesis, 156 PAIN 569-76 (April 2015).
102
    Len Paulozzi, M.D., “Abuse of Marketed Analgesics and Its Contribution to the National Problem
of Drug Abuse,” available at http://www.fda.gov/downloads/AdvisoryCommittees/
CommitteesMeetingMaterials/Drugs/AnestheticAndLifeSupportDrugsAdvisoryCommittee/UCM23
3244. pdf
103
    September 10, 2013 letter from Bob Rappaport, M.D., to NDA applicants of ER/LA opioid
analgesics, available at
http://www.fda.gov/downloads/Drugs/DrugSafety/InformationbyDrugClass/
UCM367697.pdf ; Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew
Kolodny, M.D., Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-
0818 (Sept. 10, 2013).
                                                        94
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       292.    Acting directly or through and with third parties, each of the Defendants claimed that

the potential for addiction even from long-term use of its drugs was relatively small, or non- existent,

despite the fact that the contention was false and there was no scientific evidence to support it.

Examples of these misrepresentations are laid out below:

Actavis                   a. Documents from a 2010 sales training indicate that Actavis trained its
                 sales force that long-acting opioids were less likely to produce addiction than
                 short-acting opioids, although there is no evidence that either form of
                 opioid is less addictive or that any opioids can be taken long-term without
                 the risk of addiction.

                         b. Actavis had a patient education brochure distributed in 2007 that
                 claimed addiction is possible, but it is “less likely if you have never had an
                 addiction problem.” Although the term “less likely” is not defined, the overall
                 presentation suggests the risk is so low as not to be a worry.

                         c. Kadian sales representatives told Laredo’s prescribers that
                 Kadian was steady state” and had extended release mechanisms, the
                 implication of which was that it did not produce a rush or euphoric effect,
                 and therefore was less addictive and less likely to be abused.

                        d. Kadian sales representatives told Laredo’s prescribers that the
                 contents of Kadian could not be dissolved in water if the capsule was opened,
                 implying that Kadian was less likely to be abused—and thereby less addictive—than
                 other opioids.

                          e. Kadian sales representatives omitted any discussion of addiction risks
                 related to Actavis’s drugs to Laredo’s prescribers.


Cephalon                f. Cephalon sponsored and facilitated the development of a guidebook,
                 Opioid Medications and REMS: A Patient’s Guide, which claims, among other things,
                 that “patients without a history of abuse or a family history of abuse do not
                 commonly become addicted to opioids.”

                        g. Cephalon sponsored APF’s Treatment Options: A Guide for People Living
                 with Pain (2007), which taught that addiction is rare and limited to extreme
                 cases of unauthorized dose escalations, obtaining opioids from multiple sources, or
                 theft.

                          h. Cephalon sales representatives omitted any discussion of addiction risks
                 related to Cephalon’s drugs to Laredo’s prescribers.
Endo                      i.    Endo trained its sales force in 2012 that use of long-acting opioids
                 resulted in increased patient compliance, without any supporting evidence.

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                 j.     Endo’s advertisements for the 2012 reformulation of Opana ER
        claimed it was designed to be crush resistant, in a way that conveyed that it was less likely
        to be abused. This claim was false; the FDA warned in a May 10, 2013 letter that
        there was no evidence Endo’s design “would provide a reduction in oral, intranasal
        or intravenous abuse” and Endo’s “post-“post-marketing date submitted are
        insufficient to support any conclusion about the overall or route-specific rates of
        abuse.” Further, Endo instructed its sales representatives to repeat this claim about
        “design,” with the intention of conveying Opana ER was less subject to abuse.

                 k. Endo sponsored a website, painknowledge.com, through APF and
        NIPC, which, in 2009, claimed that: “[p]eople who take opioids as prescribed
        usually do not become addicted.” Although the term “usually” is not defined, the
        overall presentation suggests the risk is so low as not to be a concern. The language
        also implies that, as long as a prescription is given, opioid use will not become
        problematic. Endo continued to provide funding for this website through 2012, and
        closely tracked unique visitors to it.

               l.    Endo sponsored a website, PainAction.com, which stated “Did you
        know? Most chronic pain patients do not become addicted to the opioid
        medications that are prescribed for them.”

                m.     Endo sponsored CMEs published by APF’s NIPC, of which Endo
        was the sole funder, titled Persistent Pain in the Older Adult and Persistent Pain in the
        Older Patient. These CMEs claimed that opioids used by elderly patients present
        “possibly less potential for abuse than in younger patients[,]” which lacks
        evidentiary support and deceptively minimizes the risk of addiction for elderly
        patients.

                n.    Endo distributed an education pamphlet with the Endo logo titled
        Living with Someone with Chronic Pain, which inaccurately minimized the risk of
        addiction: “Most health care providers who treat people with pain agree that most
        people do not develop an addiction problem.”

                o. Endo distributed a patient education pamphlet edited by key opinion
        leader Dr. Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid
        Analgesics. It claimed that “[a]ddicts take opioids for other reasons [than pain relief],
        such as unbearable emotional problems.” This implies that pain patients prescribed
        opioids will not become addicted, which is unsupported and untrue.

                p. Endo contracted with AGS to produce a CME promoting the 2009
        guidelines for the Pharmacological Management of Persistent Pain in Older Persons. These
        guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
        patients with no current or past history of substance abuse.” None of the references
        in the guidelines corroborates the claim that elderly patients are less likely to
        become addicted to opioids, and there is no such evidence. Endo was aware of the
        AGS guidelines’ content when it agreed to provide this funding, and AGS drafted

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            the guidelines with the expectation it would seek drug company funding to promote
            them after their completion.

                   q. Endo sales representatives told Laredo prescribers that its drugs were
            “steady state,” the implications of which was that they did not produce a rush or
            euphoric effect, and therefore were less addictive and less likely to be abused.

                   r.     Endo provided grants to APF to distribute Exit Wounds (2009) to
            veterans, which taught that “[l]ong experience with opioids shows that people who
            are not predisposed to addiction are very unlikely to become addicted to opioid
            pain medications.” Although the term “very unlikely” is not defined, the overall
            presentation suggests that the risk is so low as not to be a concern.

                   s. Endo sales representatives omitted discussion of addiction risks related
            to Endo’s drugs.

Janssen
                    t.   Janssen sponsored a patient education guide titled Finding Relief: Pain
            Management for Older Adults (2009), which its personnel reviewed and approved and
            which its sales force distributed. This guide described a “myth” that opioids are
            addictive, and asserts as fact that “[m]any studies show that opioids are rarely
            addictive when used properly for the management of chronic pain.” Although the
            term “rarely” is not defined, the overall presentation suggests the risk is so low as
            not to be a concern. The language also implies that as long as a prescription is
            given, opioid use is not a problem.

                    u. Janssen contracted with AGS to produce a CME promoting the 2009
            guidelines for the Pharmacological Management of Persistent Pain in Older      Persons.
            These guidelines falsely claim that “the risks [of addiction] are exceedingly low in
            older patients with no current or past history of substance abuse.” The study
            supporting this assertion does not analyze addiction rates by age and, as already
            noted, addiction remains a significant risk for elderly patients. Janssen was aware of
            the AGS guidelines’ content when it agreed to provide this funding, and AGS
            drafted the guidelines with the expectation it would seek drug company funding to
            promote them after their completion.

                   v. Janssen provided grants to APF to distribute Exit Wounds (2009) to
            veterans, which taught that [l]ong experience with opioids shows that people who
            are not predisposed to addiction are very unlikely to become addicted to opioid
            pain medications.” Although the term “very unlikely” is not defined, the overall
            presentation suggests the risk is so low as not to be a worry.

                     w. Janssen currently runs a website, Prescriberesponsibly.com (last modified
            July 2, 2015), which claims that concerns about opioid addiction are “overstated.”

                    x. A June 2009 Nucynta Training module warns Janssen’s sales force that
            physicians are reluctant to prescribe controlled substances like Nucynta, but this

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        reluctance is unfounded because “the risks . . . are much smaller than commonly
        believed.”

               y. Janssen sales representatives told Laredo prescribers that its drugs were
        “steady state,” the implication of which was that they did not produce a rush or
        euphoric effect, and therefore were less addictive and less likely to be abused.

                z. Janssen sales representatives told Laredo prescribers that Nucynta and
        Nucynta ER were “not opioids,” implying that the risks of addiction and other
        adverse outcomes associated with opioids were not applicable to Janssen’s drugs. In
        truth, however, as set out in Nucynta’s FDA-mandated label, Nucynta “contains
        tapentadol, an opioid agonist and Schedule II substance with abuse liability similar
        to other opioid agonists, legal or illicit.”

               aa. Janssen’s sales representatives told Laredo prescribers that Nucynta’s
        unique properties eliminated the risk of addiction associated with the drug.

                 bb.    Janssen sales representatives omitted discussion of addiction risks
        related to Janssen’s drugs.




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Purdue                      dd.     Purdue published a prescriber and law enforcement education
                   pamphlet in 2011 entitled Providing Relief, Preventing Abuse, which under the heading,
                   “Indications of Possible Drug Abuse,” shows pictures of the stigmata of
                   injecting or snorting opioids—skin popping, track marks, and perforated nasal
                   septa. In fact, opioid addicts who resort to these extremes are uncommon; the far
                   more typical reality is patients who become dependent and addicted through oral
                   use. 104 Thus, these misrepresentations wrongly reassure doctors that, as long as
                   they do not observe those signs, they need not be concerned that their patients are
                   abusing or addicted to opioids.

                           ee. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
                   Its Management, which inaccurately claimed that less than 1% of children prescribed
                   opioids will become addicted. This publication is still available online. This
                   publication also asserted that pain is undertreated due to “misconceptions about
                   opioid addiction.”

                           ff. Purdue sponsored APF’s Treatment Options: A Guide for People Living with
                   Pain (2007), which asserted that addiction is rare and limited to extreme cases of
                   unauthorized dose escalations, obtaining opioids from multiple sources, or theft.

                            gg.      A Purdue-funded study with a Purdue co-author claimed that
                   “evidence that the risk of psychological dependence or addiction is low in the
                   absence of a history of substance abuse.” 105 The study relied only on the Porter-Jick
                   letter to the editor concerning a chart review of hospitalized patients, not patients
                   taking Purdue’s long-acting, take-home opioid. Although the term “low” is not
                   defined, the overall presentation suggests the risk is so low as not to be a worry.

                           hh. Purdue contracted with AGS to produce a CME promoting the 2009
                   guidelines for the Pharmacological Management of Persistent Pain in Older Persons. These
                   guidelines falsely claim that “the risks [of addiction] are exceedingly low in older
                   patients with no current or past history of substance abuse.”                None of the
                   references in the guidelines corroborates the claim that elderly patients are less likely
                   to become addicted to opioids and the claim is, in fact, untrue. Purdue was aware of
                   the AGS guidelines’ content when it agreed to provide this funding, and AGS
                   drafted the guidelines with the expectation it would seek drug company funding to
                   promote them after their completion.

                          ii.       Purdue sponsored APF’s Exit Wounds (2009), which counseled
                   veterans that “[l]ong experience with opioids shows that people who are not
                   predisposed to addiction are very unlikely to become addicted to opioid pain

104
    Purdue itself submitted briefing materials in October 2010 to a meeting of the FDA’s Joint
Meeting of the Anesthetic and Life Support Drugs Advisory Committee and the Drug Safety and
Risk Management Advisory Committee in which it stated that OxyContin was used non-medically by
injection 4-17% of the time.
105
    C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial I
painful diabetic neuropathy, 105 Pain 71 (2003).
                                                         99
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                 medications.” Although the term “very unlikely” is not defined, the overall
                 presentation suggests it is so low as not to be a worry.

                         jj. Purdue sales representatives told Laredo that they did not produce a
                 rush or euphoric effect, and therefore were less addictive and less likely to be
                 abused.

                          kk. Purdue sales representatives told Laredo prescribers that Butrans has a
                 lower abuse potential than other drugs because it was essentially tamper- proof and,
                 after a certain point, patients no longer experience a “buzz” from increased dosage.

                        ll. Advertisements that Purdue sent to Laredo prescribers stated that
                 OxyContin ER was less likely to be favored by addicts, and, therefore, less likely to
                 be abused or diverted, or result in addiction.

                          mm. Purdue sales representatives omitted discussion of addiction risks
                 related to Purdue’s drugs.




        293.    In addition to denying or minimizing the risk of addiction and abuse generally,

Defendants also falsely claimed that their particular drugs were safer, less addictive, and less likely to

be abused or diverted than their competitors’ or predecessor drugs. In making these claims,

Defendants said or implied that because their drug had a “steady-state” and did not produce peaks

and valleys, which cause drug-seeking behavior—either to obtain the high or avoid the low—it was

less likely to be abused or addicting. Endo also asserted in particular that, because a reformulation of

Opana ER was (or was designed to be) abuse-deterrent or tamper-resistant, patients were less likely

to become addicted to it. Defendants had no evidence to support any of these claims, which, by FDA

regulation, must be based on head-to-head trials; 106 the claims also were false and misleading in that

they misrepresented the risks of both the particular drug and opioids as a class.



106
   See Guidance for Industry, “Abuse-Deterrent Opioids—Evaluation and Labeling,” April 2015
(describing requirements for premarket and postmarket studies).
                                                  100
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       294.    Further, rather than honestly disclose the risk of addiction, Defendants, and the third

parties they directed and assisted and whose materials they distributed, attempted to portray those

who were concerned about addiction as unfairly denying treatment to needy patients. To increase

pressure on doctors to prescribe chronic opioid therapy, Defendants turned the tables; it was doctors

who fail to treat their patients’ chronic pains with opioids—not doctors who cause their patients to

become addicted to opioids—who are failing their patients (and subject to discipline). Defendants

and their third-party allies claimed that purportedly overblown worries about addiction cause pain to

be under-treated and opioids to be over-regulated and under-prescribed. This mantra of under-

treated pain and under-used drugs reinforced Defendants’ messages that the risks of addiction and

abuse were not significant and were overblown.

       295.    For example, Janssen’s website, Let’s Talk Pain, warns in a video posted online that

“strict regulatory control has made many physicians reluctant to prescribe opioids. The unfortunate

casualty in all of this is the patient, who is often undertreated and forced to suffer in silence.” The

program goes on to say: “Because of the potential for abusive and/or addictive behavior, many

healthcare professionals have been reluctant to prescribe opioids for their patients . . . . This

prescribing environment is one of many barriers that may contribute to the under treatment of pain, a

serious problem in the United States.”

       296.    In the same vein, a Purdue website called In the Face of Pain complains, under the

heading of “Protecting Access,” that, through at least mid-2013, policy governing the prescribing of

opioids was “at odds with” best medical practices by “unduly restricting the amounts that can be

prescribed and dispensed”; “restricting access to patients with pain who also have a history of

substance abuse”; and “requiring special government-issued prescription forms only for the

medications that are capable of relieving pain that is severe.” This unsupported and untrue rhetoric




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aims to portray doctors who do not prescribe opioids as uncaring, converting their desire to relieve

patients’ suffering into a mandate to prescribe opioids.

      3.    Defendants and Their Third-Party Allies Misrepresented that Addiction Risk
Can Be Avoided or Managed

        297.    To this day, defendants each continue to maintain that most patients can safely take

opioids long-term for chronic pain without becoming addicted. Presumably only to explain why

doctors encounter so many patients addicted to opioids, Defendants and their third-party allies have

come to admit that some patients could become addicted, but that doctors can avoid or manage that

risk by using screening tools or questionnaires. These tools, they say, identify those with higher

addiction risks (stemming from personal or family histories of substance abuse, mental illness, or

abuse) so that doctors can more closely monitor patients at greater risk of addiction.

        298.    There are three fundamental flaws in these assurances that doctors can identify and

manage the risk of addiction. First, there is no reliable scientific evidence that screening works to

accurately predict risk or reduce rates of addiction. Second, there is no reliable scientific evidence that

high-risk or addicted patients can take opioids long-term without triggering addiction, even with

enhanced monitoring and precautions. Third, there is no reliable scientific evidence that patients

without these red flags are necessarily free of addiction risk.

        299.    Addiction is difficult to predict on a patient-by-patient basis, and there are no reliable,

validated tools to do so. A recent Evidence Report by the Agency for Healthcare Research and

Quality (“AHRQ”), which “systematically review[ed] the current evidence on long-term opioid

therapy for chronic pain” identified “[n]o study” that had “evaluated the effectiveness of risk

mitigation strategies, such as use of risk assessment instruments, opioid management plans, patient

education, urine drug screening, prescription drug monitoring program data, monitoring instruments,

more frequent monitoring intervals, pill counts, or abuse- deterrent formulations on outcomes related



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to overdose, addiction, abuse or misuse.” 107 Furthermore, attempts to treat high-risk patients, such as

those who have a documented predisposition to substance abuse, by resorting to patient contracts,

more frequent refills, or urine drug screening are not proven to work in the real world, if busy

doctors even in fact attempt them.

          300.   Most disturbingly, despite the widespread use of screening tools, patients with past

substance use disorders—which every tool rates as a risk factor—receive, on average, higher doses of

opioids.

          301.   Each Defendant claimed that the risk of addiction could be avoided or managed,

claims that are deceptive and without scientific support:

      Actavis                   a.       Documents from a 2010 sales training indicate that Actavis
                        trained its sales force that prescribers can use risk screening tools to limit the
                        development of addiction.
      Cephalon                  b. Cephalon sponsored APF’s Treatment Options: A Guide for People
                        Living with Pain (2007), which taught patients that “opioid
                        agreements” between doctors and patients can “ensure that you take
                        the opioid as prescribed.”
      Endo                      c. Endo paid for a 2007 supplement 108 available for continuing
                        education credit in the Journal of Family Practice. This publication, titled
                        Pain Management Dilemmas in Primary Care: Use of Opioids, recommended
                        screening patients using tools like the Opioid Risk Tool or the Screener and
                        Opioid Assessment for Patients with Pain, and advised that patients at high
                        risk of addiction could safely (e.g., without becoming addicted) receive
                        chronic opioid therapy using a “maximally structured approach” involving
                        toxicology screens and pill counts.
      Purdue                    d. Purdue’s unbranded website, In the Face of Pain
                        (inthefaceofpain.com) states that policies that “restrict[] access to patients
                        with pain who also have a history of substance abuse” and “requiring special
                        government-issued prescription forms for the only medications that are
                        capable of relieving pain that is severe” are “at odds with” best medical
                        practices. 109

107
    The Effectiveness and Risks of Long-term Opioid Treatment of Chronic Pain, Agency for Healthcare Res. &
Quality (September 19, 2014).
108
    The Medical Journal, The Lancet found that all of the supplement papers it received failed peer-
review. Editorial, “The Perils of Journal and Supplement Publishing,” 375 The Lancet 9712 (347) 2010.
109
    See In the Face of Pain Fact Sheet: Protecting Access to Pain Treatment, Purdue Pharma L.P. (Resources
verified Mar. 2012),
www.inthefaceofpain.com/content/uploads/2011/12/factsheet_ProtectingAccess.pdf.
                                                   103
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                               e. Purdue sponsored a 2012 CME program taught by a KOL titled
                       Chronic Pain Management and Opioid Use: Easing Fears, Managing Risks,
                       and Improving Outcomes. This presentation recommended that use of
                       screening tools, more frequent refills, and switching opioids could treat a
                       high-risk patient showing signs of potentially addictive behavior.

                               f. Purdue sponsored a 2011 webinar taught by Dr. Lynn Webster,
                       titled Managing Patient’s Opioid Use: Balancing the Need and Risk. This
                       publication taught prescribers that screening tools, urine tests, and patient
                       agreements have the effect of preventing “overuse of prescriptions” and
                       “overdose deaths.”

                               g. Purdue sales representatives told Laredo prescribers that screening
                       tools can be used to select patients appropriate for opioid therapy and to
                       manage the risks of addiction.


      4.     Defendants and Their Third-Party Allies Created Confusion By Promoting the
Misleading Term “Pseudoaddiction.”

        302.   Defendants and their third-party allies developed and disseminated each of the

following misrepresentations with the intent and expectation that, by instructing patients and

prescribers that signs of addiction are actually the product of untreated pain, doctors would prescribe

opioids to more patients and continue to prescribing them, and patients would continue to use

opioids despite signs that the patient was addicted. The concept of “pseudoaddiction” was coined by

Dr. David Haddox, who went to work for Purdue, and popularized by Dr. Russell Portenoy, who

consulted for Cephalon, Endo, Janssen, and Purdue. Much of the same language appears in other

Defendants’ treatment of this issue, highlighting the contrast between “undertreated pain” and “true

addiction,” as if patients could not experience both. As KOL Dr. Lynn Webster wrote:

“[Pseudoaddiction] obviously became too much of an excuse to give patients more medication.. . . It

led us down a path that caused harm. It is already something we are debunking as a concept.” 110




  John Fauber & Ellen Gabler, Networking Fuels Painkiller Boom, Milwaukee Wisc. J. Sentinel (Feb.19,
110

2012).
                                                 104
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       303.    Each of the publications and statements below falsely states or suggests that the

concept of “pseudoaddiction” is substantiated by scientific evidence and accurately describes the

condition of patients who only need, and should be treated with, more opioids:

Actavis                  a. Documents from a 2010 sales training indicate that Actavis trained its
                 salesforce to instruct physicians that aberrant behaviors like self-escalation of
                 doses constituted “pseudoaddiction.”

Cephalon                 b. Cephalon sponsored FSMB’s Responsible Opioid Prescribing (2007), which
                 taught that behaviors such as “requesting drugs by name,”
                 “demanding or manipulative behavior,” seeing more than one doctor to
                 obtain opioids, and hoarding are all signs of “pseudoaddiction.” Cephalon
                 also spent $150,000 to purchase copies of the book in bulk and distributed
                 it through its pain sales force to 10,000 prescribers and 5,000 pharmacists.

Endo                      c. Endo distributed copies of a book by KOL Dr. Lynn Webster entitled
                 Avoiding Opioid Abuse While Managing Pain (2007). Endo’s internal planning
                 documents describe the purpose of distributing this book as to “[i]ncrease the
                 breadth and depth of the Opana ER prescriber base.” The book claims that when
                 faced with signs of aberrant behavior, the doctor should regard it as
                 “pseudoaddiction” and thus, increasing the dose in most cases . . . should be the
                 clinician’s first response.” (emphasis added).

                          d. Endo spent $246,620 to buy copies of FSMB’s Responsible Opioid
                 Prescribing (2007), which was distributed by Endo’s sales force. This book asserted
                 that behaviors such as “requesting drugs by name,” “demanding or manipulative
                 behavior,” seeing more than one doctor to obtain opioids, and hoarding, are all
                 signs of “pseudoaddiction.”

Janssen                 e. From 2009 to 2011 Janssen’s website, Let’s Talk Pain, stated that
                 “pseudoaddiction . . . refers to patient behaviors that may occur when pain is
                 under-treated” and that “[p]seudoaddiction is different from true addiction
                 because such behaviors can be resolved with effective pain
                 management.”(emphasis added).

Purdue                   f. Purdue published a prescriber and law enforcement education pamphlet
                 in 2011 entitled Providing Relief, Preventing Abuse, which described “pseudoaddiction”
                 as a concept that “emerged in the literature to describe the inaccurate
                 interpretation of [drug-seeking behaviors] in patients who have pain that has not
                 been effectively treated.”

                        g. Purdue distributed to physicians, at least as of November 2006, and
                 posted on its unbranded website, Partners Against Pain, a pamphlet copyrighted



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                  2005 and titled Clinical Issues in Opioid Prescribing. This pamphlet included a list of
                  conduct, including “illicit drug use and deception” it defined as indicative of
                  “pseudoaddiction” or untreated pain. It also states: “Pseudoaddiction is a term
                  which has been used to describe patient behaviors that may occur when pain is
                  undertreated. . . . Even such behaviors as illicit drug use and deception can occur
                  in the patient’s efforts to obtain relief. Pseudoaddiction can be distinguished from true
                  addiction in that the behaviors resolve when the pain is effectively treated.”
                  (Emphasis added.)

                         h. Purdue sponsored FSMB’s Responsible Opioid Prescribing (2007), which
                  taught that behaviors such as “requesting drugs by name, “demanding or
                  manipulative behavior,” seeing more than one doctor to obtain opioids, and
                  hoarding, are all signs of “pseudoaddiction.” Purdue also spent over $100,000 to
                  support distribution of the book.

                         i. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                  Management, which states: “Pseudo-addiction describes patient behaviors that may
                  occur when pain is undertreated. . . . Pseudo-addiction can be distinguished from
                  true addiction in that this behavior ceases when pain is effectively treated.”
                  (Emphasis added.)

     5.         Defendants and Their Third-Party Allies Claimed Withdrawal is Simply
Managed

        304.    Defendants and their third-party allies promoted the false and misleading messages

below with the intent and expectation that, by misrepresenting the difficulty of withdrawing from

opioids, prescribers and patients would be more likely to start chronic opioid therapy and would fail

to recognize the actual risk of addiction.

        305.    In an effort to underplay the risk and impact of addiction, Defendants and their third-

party allies frequently claim that, while patients become “physically” dependent on opioids, physical

dependence can be addressed by gradually tapering patients’ doses to avoid the adverse effects of

withdrawal. They fail to disclose the extremely difficult and painful effects that patients can

experience when they are removed from opioids—effects that also make it less likely that patients will

be able to stop using the drugs.

        306.    In reality, withdrawal is prevalent in patients after more than a few weeks of therapy.

Common symptoms of withdrawal include: severe anxiety, nausea, vomiting, headaches, agitation,

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insomnia, tremors, hallucinations, delirium, and pain. Some symptoms may persist for months, or

even years, after a complete withdrawal from opioids, depending on how long the patient had been

using opioids. Withdrawal symptoms trigger a feedback loop that drives patients to seek opioids,

contributing to addiction.

       307.      Each of the publications and statements below falsely states or suggests that

withdrawal from opioids was not a problem and they should not be hesitant about prescribing or

using opioids:

Actavis                   a.    Documents from a 2010 sales training indicate that Actavis
                  trained its sales force that discontinuing opioid therapy can be handled
                  “simply” and that it can be done at home. Actavis’s sales representative
                  training claimed opioid withdrawal would take only a week, even in addicted
                  patients.
Endo                      b. A CME sponsored by Endo, titled Persistent Pain in the Older Adult,
                  taught that withdrawal symptoms can be avoided entirely by tapering the dose by
                  10-20% per day for ten days.
Janssen                   c. A Janssen PowerPoint presentation used for training its sales
                  representatives titled “Selling Nucynta ER” indicates that the “low incidence
                  of withdrawal symptoms” is a “core message” for its sales force. This
                  message is repeated in numerous Janssen training materials between 2009
                  and 2011. The studies supporting this claim did not describe withdrawal
                  symptoms in patients taking Nucynta ER beyond 90 days or at high doses
                  and would therefore not be representative of withdrawal symptoms in the
                  chronic pain population. Patients on opioid therapy long-term and at high
                  doses will have a harder time discontinuing the drugs and are more likely to
                  experience withdrawal symptoms. In addition, in claiming a low rate of
                  withdrawal symptoms, Janssen relied upon a study that only began tracking
                  withdrawal symptoms in patients two to four days after discontinuing opioid
                  use; Janssen knew or should have known that these symptoms peak earlier
                  than that for most patients. Relying on data after that initial window painted
                  a misleading picture of the likelihood and severity of withdrawal associated
                  with chronic opioid therapy. Janssen also knew or should have known that
                  the patients involved in the study were not on the drug long enough to
                  develop rates of withdrawal symptoms comparable to rates of withdrawal
                  suffered by patients who use opioids for chronic pain—the use for which
                  Janssen promoted Nucynta ER.

                         d. Janssen sales representatives told Laredo prescribers that patients on
                  Janssen’s drugs were less susceptible to withdrawal than those on other opioids.




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Purdue                    e. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
                  Its Management, which taught that “Symptoms of physical dependence
                  can often be ameliorated by gradually decreasing the dose of medication
                  during discontinuation,” but did not disclose the significant hardships that
                  often accompany cessation of use.

                         f. Purdue sales representatives told Laredo prescribers that the effects of
                  withdrawal from opioid use can be successfully managed.

                          g. Purdue sales representatives told Laredo prescribers that the
                  potential for withdrawal on Butrans was low due to Butrans’s low
                  potency and its extended release mechanism.


      6.     Defendants and Their Third-Party Allies Misrepresented that Increased Doses
Pose No Significant Additional Risks

       308.    Each of the following misrepresentations was created with the intent and expectation

that, by misrepresenting and failing to disclose the known risks of high dose opioids, prescribers and

patients would be more likely to continue to prescribe and use opioids, even when they were not

effective in reducing patients’ pain, and not to discontinue opioids even when tolerance required

them to reach even higher doses.

       309.    Defendants and their third-party allies claimed that patients and prescribers could

increase doses of opioids indefinitely without added risk, even when pain was not decreasing or when

doses had reached levels that were “frighteningly high,” suggesting that patients would eventually

reach a stable, effective dose. Each of Defendants’ claims also omitted warnings of increased adverse

effects that occur at higher doses, and misleadingly suggested that there was no greater risk to higher

dose opioid therapy.

       310.    These claims are false. Patients receiving high doses of opioids as part of long-term

opioid therapy are three to nine times more likely to suffer an overdose from opioid-related causes

than those on low doses. As compared to available alternative pain remedies, scholars have suggested

that tolerance to the respiratory depressive effects of opioids develops at a slower rate than tolerance



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to analgesic effects. Accordingly, the practice of continuously escalating doses to match pain

tolerance can, in fact, lead to overdose even where opioids are taken as recommended. The FDA has

itself acknowledged that available data suggest a relationship between increased doses and the risk of

adverse effects. Moreover, it is harder for patients to terminate use of higher-dose opioids without

severe withdrawal effects, which contributes to a cycle of continued use, even when the drugs

provide no pain relief and are causing harm—the signs of addiction.

       311.    Each of the following claims suggests that high-dose opioid therapy is safe:

Actavis                  a. Documents from a 2010 sales training indicate that Actavis trained its
                sales force that “individualization” of opioid therapy depended on increasing doses
                “until patient reports adequate analgesia” and to “set dose levels on [the] basis of
                patient need, not on [a] predetermined maximal dose.” Actavis further counseled
                its sales representatives that the reasons some physicians had for not increasing
                doses indefinitely were simply a matter of physician “comfort level,” which could
                be overcome or used as a tool to induce them to switch to Actavis’s opioid, Kadian.

Cephalon                b. Cephalon sponsored APF’s Treatment Options: A Guide for People Living
                with Pain (2007), which claimed that some patients “need” a larger dose of their
                opioid, regardless of the dose currently prescribed.

                         c.  Cephalon sponsored a CME written by KOL Dr. Lynn Webster,
                Optimizing Opioid Treatment for Breakthrough Pain, which was offered online by
                Medscape, LLC from September 28, 2007 through December 15, 2008. The CME
                taught that non-opioid analgesics and combination opioids that include aspirin and
                acetaminophen are less effective to treat breakthrough pain because of dose
                limitations.

                       d. Cephalon sales representatives assured Laredo prescribers that opioids
                were safe, even at high doses.


Endo                    e.    Endo sponsored a website, painknowledge.com, through APF and
                NIPC, which, in 2009, claimed that opioids may be increased until “you are on the
                right dose of medication for your pain,” and once that occured, further dose
                increases would not occur. Endo funded the site, which was a part of Endo’s
                marketing plan, and tracked visitors to it.

                        f.    Endo distributed a patient education pamphlet edited by KOL Dr.
                Russell Portenoy titled Understanding Your Pain: Taking Oral Opioid Analgesics. In
                Q&A format, it asked: “If I take the opioid now, will it work later when I really
                need it?” The response was: “The dose can be increased . . . . You won’t ‘run out’

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                of pain relief.”
Janssen                  g. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                Management for Older Adults (2009), which its personnel reviewed and approved and
                its sales force distributed. This guide listed dose limitations as “disadvantages” of
                other pain medicines and omitted any discussion of risks of increased doses of
                opioids. The publication also falsely claimed that it is a “myth” that “opioid doses
                have to be bigger over time.”
Purdue                  h. Purdue’s In the Face of Pain website, along with initiatives of APF,
                promoted the notion that if a patient’s doctor does not prescribe them what—in
                their view—is a sufficient dose of opioids, they should find another doctor who
                will. In so doing, Purdue exerted undue, unfair, and improper influence over
                prescribers who face pressure to accede to the resulting demands.

                          i.    Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain &
                Its Management, which taught that dose escalations are “sometimes necessary,” even
                indefinitely high ones. This suggested that high dose opioids are safe and
                appropriate and did not disclose the risks from high dose opioids. This publication
                is still available online.

                        j.   Purdue sponsored APF’s Treatment Options: A Guide for People Living with
                Pain (2007), which taught patients that opioids have “no ceiling dose” and are
                therefore the most appropriate treatment for severe pain. The guide also claimed
                that some patients “need” a larger dose of the drug, regardless of the dose currently
                prescribed. This language fails to disclose heightened risks at elevated doses.

                        k. Purdue sponsored a CME issued by the American Medical Association
                in 2003, 2007, 2010, and 2013. The CME, Overview of Management Options, was edited
                by KOL Dr. Russell Portenoy, among others, and taught that other drugs, but not
                opioids, are unsafe at high doses. The 2013 version is still available for CME credit.

                        l.   Purdue sales representatives told Laredo prescribers that opioids were
                just as effective for treating patients long-term and omitted any discussion that
                increased tolerance would require increasing, and increasingly dangerous, doses.


      7.     Defendants and Their Third-Party Allies Deceptively Omitted or Minimized
Adverse Effects of Opioids and Overstated the Risks of Alternative Forms of Pain Treatment.

       312.    Each of the following misrepresentations was created with the intent and expectation

that, by omitting the known, serious risks of chronic opioid therapy, including the risks of addiction,

abuse, overdose, and death, and emphasizing or exaggerating risks of competing products, prescribers

and patients would be more likely to choose opioids. Defendants and their third-party allies routinely

ignored the risks of chronic opioid therapy. These include (beyond the risks associated with misuse,

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abuse, and addiction): hyperalgesia, a “known serious risk associated with chronic opioid analgesic

therapy in which the patient becomes more sensitive to certain painful stimuli over time;” 111

hormonal dysfunction; decline in immune function; mental clouding, confusion, and dizziness;

increased falls and fractures in the elderly; neonatal abstinence syndrome (when an infant exposed to

opioids prenatally withdraws from the drugs after birth); and potentially fatal interactions with

alcohol or benzodiazepines, which are used to treat post-traumatic stress disorder and anxiety

(disorders frequently coexisting with chronic pain conditions). 112

        313.    Despite these serious risks, Defendants asserted, or implied, that opioids were

appropriate first-line treatments and safer than alternative treatments, including NSAIDs such as

ibuprofen (Advil, Motrin) or naproxen (Aleve). While NSAIDs can pose significant gastrointestinal,

renal, and cardiac risks, particularly for elderly patients, Defendants’ exaggerated descriptions of those

risks were deceptive in themselves, and made their omissions regarding the risks of opioids all the

more striking and misleading. Defendants and their third-party allies described over-the-counter

NSAIDs as life-threatening and falsely asserted that they were responsible for 10,000-20,000 deaths

annually (more than opioids), when in reality the number is closer to 3,200. This description of

NSAIDs starkly contrasted with their representation of opioids, for which the listed risks were

nausea, constipation, and sleepiness (but not addiction, overdose, or death). Compared with

NSAIDs, opioids are responsible for roughly four times as many fatalities annually.




111
    Letter from Janet Woodcock, M.D., Dir., Ctr. for Drug Eval. & Res., to Andrew Kolodny, M.D.,
Pres. Physicians for Responsible Opioid Prescribing, Re Docket No. FDA-2012-P-0818 (Sept. 10,
2013).
112
    Several of these risks do appear in the FDA-mandated warnings. See, e.g., the August 13, 2015
OxyContin Label, Section 6.2, identifying adverse reactions including: “abuse, addiction … death, …
hyperalgesia, hypogonadism . . . mood altered . . . overdose, palpitations (in the context of
withdrawal), seizures, suicidal attempt, suicidal ideation, syndrome of inappropriate antidiuretic
hormone secretion, and urticaria [hives].”
                                                   111
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       314.    As with the preceding misrepresentations, Defendants’ false and misleading claims

regarding the comparative risks of NSAIDs and opioids had the effect of shifting the balance of

opioids’ risks and purported benefits. While opioid prescriptions have exploded over the past two

decades, the use of NSAIDs has declined during that same time.

       315.    Each of the following reflects Defendants’ deceptive claims and omissions about the

risks of opioids, including in comparison to NSAIDs:

Actavis                 a. Documents from a 2010 sales training indicate that Actavis trained its
                sales force that the ability to escalate doses during long-term opioid therapy,
                without hitting a dose ceiling, made opioid use safer than other forms of therapy
                that had defined maximum doses, such as acetaminophen or NSAIDs.

                        b. Actavis also trained physician-speakers that “maintenance therapy with
                opioids can be safer than long-term use of other analgesics,” including NSAIDs, for
                older persons.

                        c. Kadian sales representatives told Laredo prescribers that NSAIDs were
                more toxic than opioids.
Cephalon                d. Cephalon sponsored APF’s Treatment Options: A Guide for People Living
                with Pain (2007), which taught patients that opioids differ from NSAIDs in that they
                have “no ceiling dose” and are therefore the most appropriate treatment for severe
                pain. The publication attributed 10,000 to 20,000 deaths annually to NSAID
                overdose. Treatment Options also warned that risks of NSAIDs increase if “taken for
                more than a period of months,” with no corresponding warning about opioids.

                        e.   Cephalon sales representatives told Laredo’s prescribers that NSAIDs
                were more toxic than Cephalon’s opioids
Endo                    f. Endo distributed a “case study” to prescribers titled Case Challenges in
                Pain Management: Opioid Therapy for Chronic Pain. The study cites an example,
                meant to be representative, of a patient “with a massive upper gastrointestinal bleed
                believed to be related to his protracted use of NSAIDs” (over eight years), and
                recommends treating with opioids instead.

                         g. Endo sponsored a website, painknowledge.com, through APF and
                NIPC, which contained a flyer called “Pain: Opioid Therapy.” This publication
                included a list of adverse effects from opioids that omitted significant adverse
                effects like hyperalgesia, immune and hormone dysfunction, cognitive impairment,
                tolerance, dependence, addiction, and death. Endo continued to provide funding
                for this website through 2012, and closely tracked unique visitors to it.

                       h. Endo provided grants to APF to distribute Exit Wounds (2009), which
                omitted warnings of the risk of interactions between opioids and benzodiazepines,

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            which would increase fatality risk. Exit Wounds also contained a lengthy discussion
            of the dangers of using alcohol to treat chronic pain but did not disclose dangers of
            mixing alcohol and opioids.

                     i. Endo sales representatives told Laredo prescribers that NSAIDs were
            more toxic than opioids.
Janssen              j.    Janssen sponsored a patient education guide titled Finding Relief: Pain
            Management for Older Adults (2009), which its personnel reviewed and approved and
            its sales force distributed. This publication described the advantages and
            disadvantages of NSAIDs on one page, and the “myths/facts” of opioids on the
            facing page. The disadvantages of NSAIDs are described as involving “stomach
            upset or bleeding,” “kidney or liver damage if taken at high doses or for a long
            time,” “adverse reactions in people with asthma,” “increase [in] the risk of heart
            attack and stroke.” The only adverse effects of opioids listed are “upset stomach or
            sleepiness,” which the brochure claims will go away, and constipation.

                     k. Janssen sponsored APF’s Exit Wounds (2009), which omits warnings of
            the risk of interactions between opioids and benzodiazepines. Janssen’s label for
            Duragesic, however, states that use with benzodiazepines “may cause respiratory
            depression, [low blood pressure], and profound sedation or potentially result in
            coma. Exit Wounds also contained a lengthy discussion of the dangers of using
            alcohol to treat chronic pain but did not disclose dangers of mixing alcohol and
            opioids.

                    l.    Janssen sales representatives told Laredo prescribers that Nucynta was
            not an opioid, making it a good choice for chronic pain patients who previously
            were unable to continue opioid therapy due to excessive side effects. This statement
            was misleading because Nucynta is, in fact, an opioid and has the same effects as
            other opioids.
Purdue              m. Purdue sponsored APF’s Exit Wounds (2009), which omits warnings of
            the risk of interactions between opioids and benzodiazepines, which would
            increase fatality risk. Exit Wounds also contained a lengthy discussion of the dangers
            of using alcohol to treat chronic pain but did not disclose dangers of mixing alcohol
            and opioids.

                    n. Purdue sponsored APF’s Treatment Options: A Guide for People Living with
            Pain (2007), which advised patients that opioids differ from NSAIDs in that they
            have “no ceiling dose” and are therefore the most appropriate treatment for severe
            pain. The publication attributes 10,000 to 20,000 deaths annually to NSAID
            overdose. Treatment Options also warned that risks of NSAIDs increase if “taken for
            more than a period of months,” with no corresponding warning about opioids.

                    o. Purdue sponsored a CME issued by the American Medical Association
            in 2003, 2007, 2010, and 2013; The 2013 version is still available for CME credit.
            The CME, Overview of Management Options, was edited by KOL Dr. Russell Portenoy,
            among others, and taught that NSAIDs and other drugs, but not opioids, are unsafe
            at high doses.

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                      p. Purdue sales representatives told Laredo prescribers that NSAIDs
                were more toxic than opioids.



        8.     Purdue Misleadingly Promoted OxyContin as Providing 12 Hours of Relief

        316.   In addition to making the deceptive statements above, Purdue also dangerously

misled doctors and patients about OxyContin’s duration and onset of action.

        317.   Purdue promotes OxyContin as an extended-release opioid, but the oxycodone does

not enter the body on a linear rate. OxyContin works by releasing a greater proportion of oxycodone

into the body upon administration, and the release gradually tapers, as illustrated in the following

chart, which was, upon information and belief, adapted from Purdue’s own sales materials: 113




  Jim Edwards, “How Purdue Used Misleading Charts to Hide OxyContin’s Addictive Power,” CBSNews.com,
113

Sept. 28, 2011, http://www.cbsnews.com/news/how-purdue-used-misleading-charts-to- hide-
oxycontins-addictive-power/. The 160 mg dose is no longer marketed. Purdue’s promotional
materials in the past displayed a logarithmic scale, which gave the misleading impression the
concentration remained constant.

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       The reduced release of the drug over time means that the oxycodone no longer provides the

same level of pain relief; as a result, in many patients, OxyContin does not last for the 12 hours for

which Purdue promotes it—a fact that Purdue has known at all times relevant to this action.

       318.    OxyContin tablets provide an initial absorption of approximately 40% of the active

medicine. This has a two-fold effect. First, the initial rush of nearly half of the powerful opioid—

OxyContin is roughly twice as powerful as morphine—triggers a powerful psychological response.

OxyContin thus behaves more like an immediate release opioid, which Purdue itself once claimed

was more addicting in its original 1995 FDA-approved drug label. Second, the initial burst of

oxycodone means that there is less of the drug at the end of the dosing period, which results in the

drug not lasting for a full 12 hours and precipitates withdrawal symptoms in patients, a phenomenon

known as “end of dose” failure. (The FDA found in 2008 that a “substantial number” of chronic




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pain patients will experience “end-of-dose failure” with OxyContin.) The combination of fast onset

and end-of-dose failure makes OxyContin particularly addictive, even compared with other opioids.

        319.   Purdue nevertheless has falsely promoted OxyContin as if it were effective for a full

12 hours. Its advertising in 2000 included claims that OxyContin provides “Consistent Plasma Levels

Over 12 Hours.” That claim was accompanied by a chart depicting plasma levels on a logarithmic

scale. The chart minimized the rate of end-of-dose failure by depicting 10 mg in a way that it

appeared to be half of 100 mg in the table’s y-axis. That chart, shown below, depicts the same

information as the chart above, but does so in a way that makes the absorption rate appear more

consistent:




        320.   More recently, other Purdue advertisements also emphasized “Q12h” (meaning twice-

daily) dosing. These include an advertisement in the February 2005 Journal of Pain and 2006 Clinical

Journal of Pain featuring an OxyContin logo with two pill cups, reinforcing the twice-a-day message.

Other advertisements that ran in the 2005 and 2006 issues of the Journal of Pain depict a sample

prescription for OxyContin, with “Q12h” handwritten for emphasis.




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        321.    The information that OxyContin did not provide pain relief for a full 12 hours was

known to Purdue, and Purdue’s competitors, but was not disclosed to general practitioners. Purdue’s

knowledge of some pain specialists’ tendency to prescribe OxyContin three times per day instead of

two (which would have compensated for end-of-dose failure) was set out in Purdue’s internal

documents as early as 1999 and is apparent from MEDWATCH Adverse Event reports for

OxyContin. 114 Even Purdue’s competitor, Endo, was aware of the problem; Endo attempted to

position its Opana ER drug as offering “durable” pain relief, which Endo understood to suggest a

contrast to OxyContin. Opana ER advisory board meetings featured pain specialists citing lack of 12-

hour dosing as a disadvantage of OxyContin. Endo even ran advertisements for Opana ER referring

to “real” 12-hour dosing.

        322.    Purdue’s failure to disclose the prevalence of end-of-dose failure meant that

prescribers in Laredo were not informed of risks relating to addiction, and that they received the

misleading message that OxyContin would be effective for treating chronic pain for the advertised

duration. Furthermore, doctors would compensate by increasing the dose or prescribing “rescue”

opioids, which had the same effect as increasing the amount of opioids prescribed to a patient. 115, 116




114
    MEDWATCH refers to the FDA’s voluntary adverse event reporting system.
115
    Purdue’s Clinical Issues in Opioid Prescribing, put out in 2005 under Purdue’s unbranded Partners
Against Pain banner, states that “it is recommended that a supplementary immediate-release
medication be provided to treat exacerbations of pain that may occur with stable dosing.” References
to “rescue” medication appear in publications Purdue sponsored such as APF’s A Policymaker’s Guide
(2011) and the 2013 CME Overview of Pain Management Options.
116
    The Connecticut Attorney General’s office filed a citizens’ petition with the FDA on January 27,
2004, requesting that the OxyContin label be amended with a warning not to prescribe the drug more
than twice daily as a means of compensating for end-of-dose failure. The FDA denied this request on
September 11, 2008. The FDA found that the state had failed to present sufficient evidence that
more frequent dosing caused adverse outcomes, but the FDA did not challenge the Connecticut
finding that end-of-dose failure of OxyContin was prevalent. Indeed, the FDA found that end-of-
dose failure affected a “substantial” number of chronic pain patients prescribed OxyContin.
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      E.     Each Defendant Engaged in Deceptive Marketing, Both Branded and
Unbranded, that Targeted and Reached City Prescribers.

       323.     Defendants—and the Front Groups and KOLs who depended on and worked

alongside them—were able to affect a sea change in medical opinion in favor of accepting opioids as

a medically necessary long-term treatment for chronic pain. As set forth below, each Defendant

contributed to that result through a combination of both direct marketing efforts and third-party

marketing efforts over which that Defendant exercised editorial control. These deceptive and

misleading statements were directed to, and reached, Laredo’s prescribers and patients, with the

intent of distorting their views on the risks, benefits, and superiority of opioids for treatment of

chronic pain.

       324.     Defendants engaged in their deceptive marketing campaign, both nationwide and in

Laredo, using a number of strategies. Defendants trained their sales forces and recruited physician

speakers to deliver these deceptive messages and omissions, and they in turn conveyed them to

prescribers. Defendants also broadly disseminated promotional messages and materials, both by

delivering them personally to doctors during detailing visits and by mailing deceptive advertisements

directly to prescribers. Because they are disseminated by Defendant drug manufacturers and relate to

Defendants’ drugs, these materials are considered “labeling” within the meaning of 21 C.F.R. § 1.3(a),

which means Defendants are liable for their content.

       325.     As described below, Laredo has located a number of area prescribers who received

Defendants’ misrepresentations. Each of the misrepresentations received by these doctors constitutes

an integral piece of a centrally directed marketing strategy to change medical perceptions regarding

the use of opioids to treat chronic pain. Defendants were aware of each of these misrepresentations,

and Defendants approved of them and oversaw their dissemination at the national, corporate level.




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        1.      Actavis

        326.    As described below, Actavis promoted its branded opioid, Kadian, through a highly

deceptive marketing campaign, carried out principally through its sales force and recruited physician

speakers. As internal documents indicate, this campaign rested on a series of misrepresentations and

omissions regarding the risks, benefits, and superiority of opioids, and indeed incorporated each of

the types of deceptive messages. Based on the highly coordinated and uniform nature of Actavis’s

marketing, Actavis conveyed these deceptive messages to City prescribers. Actavis did so with the

intent that Laredo prescribers and/or consumers would rely on the messages in choosing to use

opioids to treat chronic pain. 117

        a.      Actavis’ Deceptive Direct Marketing

        327.    To help devise its marketing strategy for Kadian, Actavis commissioned a report from

one of its consultants in January 2005 about barriers to market entry. The report concluded that two

major challenges facing opioid manufacturers in 2005 were (i) overcoming “concerns regarding the

safety and tolerability” of opioids, and (ii) the fact that “physicians have been trained to evaluate the

supporting data before changing their respective practice behavior.” To address these challenges, the

report advocated a “[p]ublication strategy based on placing in the literature key data that influence

members of the target audience” with an “emphasis . . . on ensuring that the message is believable

and relevant to the needs of the target audience.” This would entail the creation of “effective copy

points . . . backed by published references” and “developing and placing publications that

demonstrate [the] efficacy [of opioids] and [their] safety/positive side effect profile.” According to

the report, this would allow physicians to “reach[] a mental agreement” and change their “practice




117
   Actavis also sold various generic opioids, including Norco, which were widely prescribed in
Laredo and benefited from Actavis’s overall promotion of opioids, but were not directly marketed by
sales representatives.
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behavior” without having first evaluated supporting data—of which Actavis (and other Defendants)

had none.

        328.     The consulting firm predicted that this manufactured body of literature “w[ould], in

turn, provide greater support for the promotional message and add credibility to the brand’s

advocates” based on “either actual or perceived ‘scientific exchange’” in relevant medical literature.

(emphasis added). To this end, it planned for three manuscripts to be written during the first quarter

of 2005. Of these, “[t]he neuropathic pain manuscript will provide evidence demonstrating KADIAN

is as effective in patients with presumptive neuropathic pain as it is in those with other pain types”;

“[t]he elderly subanalysis . . . will provide clinicians with evidence that KADIAN is efficacious and

well tolerated in appropriately selected elderly patients” and will “be targeted to readers in the

geriatrics specialty”; and “[t]he QDF/BID manuscript will . . . .call attention to the fact that

KADIAN is the only sustained-release opioid to be labeled for [once or twice daily] use.” In short,

Actavis knew exactly what each study would show—and how that study would fit into its marketing

plan—before it was published. Articles matching Actavis’s descriptions later appeared in the Journal of

Pain and the Journal of the American Geriatrics Society.

        329.     To ensure that messages based on this science reached individual physicians, Actavis

deployed sales representatives, or detailers, to visit prescribers in Laredo and across the country. At

the peak of Actavis’s promotional efforts in 2011, the company spent $6.7 million on detailing.

        330.     To track its detailers’ progress, Actavis’s sales and marketing department actively

monitored the prescribing behavior of physicians. It tracked the Kadian prescribing activity of

individual physicians, and assessed the success of its marketing efforts by tabulating how many

Kadian prescriptions a prescriber wrote after he or she had been detailed. As described below,

Kadian monitored numerous Laredo physicians.




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           331.   Actavis also planned to promote Kadian by giving presentations at conferences of

organizations where it believed it could reach a high concentration of pain specialists. Its choice of

conferences was also influenced by the host’s past support of opioids. For example, Actavis

documents show that Actavis presented papers concerning Kadian at an annual meeting of AGS

because AGS’s guidelines “support the use of opioids.”

           332.   Actavis targeted prescribers using both its sales force and recruited physician

speakers, as described below.

      i.          Actavis’ Deceptive Sales Training

           333.   Actavis’s sales representatives targeted physicians to deliver sales messages that were

developed centrally and deployed uniformly across the country. These sales representatives were

critical in delivering Actavis’s marketing strategies and talking points to individual prescribers.

           334.   Actavis’s strategy and pattern of deceptive marketing is evident in its internal training

materials. A sales education module titled “Kadian Learning System” trained Actavis’s sales

representatives on the marketing messages—including deceptive claims about improved function, the

risk of addiction, the false scientific concept of “pseudoaddiction,” and opioid withdrawal—that sales

representatives were directed and required, in turn, to pass on to prescribers, nationally and in

Laredo.

           335.   The sales training module, dated July 1, 2010, includes the misrepresentations

documented in this Complaint, starting with its promise of improved function. The sales training

instructed Actavis sales representatives that “most chronic benign pain patients do have markedly

improved ability to function when maintained on chronic opioid therapy,” when, in reality, available

data demonstrate that patients on chronic opioid therapy are less likely to participate in daily activities

like work. The sales training also misleadingly implied that the dose of prescription opioids could be

escalated without consequence and omitted important facts about the increased risks of high dose

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opioids. First, Actavis taught its sales representatives, who would pass the message on to doctors, that

pain patients would not develop tolerance to opioids, which would have required them to receive

increasing doses: “Although tolerance and dependence do occur with long-term use of opioids, many

studies have shown that tolerance is limited in most patients with [Chronic pain].” Second, Actavis

instructed its sales personnel that opioid “[d]oses are titrated to pain relief, and so no ceiling dose can

be given as to the recommended maximal dose.” Actavis failed to explain to its sales representatives

and, through them, to doctors, the greater risks associated with opioids at high doses.

        336.    Further, the 2010 sales training module highlighted the risks of alternate pain

medications without providing a comparable discussion of the risks of opioids, painting the

erroneous and misleading impression that opioids are safer. Specifically, the document claimed that

“NSAIDs prolong the bleeding time by inhibiting blood platelets, which can contribute to bleeding

complications” and “can have toxic effects on the kidney.” Accordingly, Actavis coached its sales

representatives that “[t]he potential toxins of NSAIDs limits their dose and, to some extent, the

duration of therapy” since “[t]hey should only be taken short term.” By contrast, the corresponding

section related to opioids neglects to include a single side effect or risk associated with the use of

opioids, including from long-term use.

        337.    This sales training module also severely downplayed the main risk associated with

Kadian and other opioids—addiction. It represented that “there is no evidence that simply taking

opioids for a period of time will cause substance abuse or addiction” and, instead, “[i]t appears likely

that most substance-abusing patients in pain management practices had an abuse problem before

entering the practice.” This falsely suggests that few patients would become addicted, that only those

with a prior history of abuse are at risk of opioid addiction, and that doctors could screen for those

patients and safely prescribe to others. To the contrary, opioid addiction affects a significant

population of patients; while patients with a history of abuse may be more prone to addiction, all

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patients are at risk, and doctors may not be able to identify, or safely prescribe to, patients at greater

risk.

          338.   The sales training also noted that there were various “signs associated with substance

abuse,” including past history or family history of substance or alcohol abuse, frequent requests to

change medication because of side effects or lack of efficacy, and a “social history of dysfunctional or

high-risk behaviors including multiple arrests, multiple marriages, abusive relationships, etc.” This is

misleading, as noted above, because it implies that only patients with these kinds of behaviors and

history become addicted to opioids.

          339.   Further, the sales training neglected to disclose that no risk-screening tools related to

opioids have ever been scientifically validated. The AHRQ recently issued an Evidence Report that

could identify “[n]o study” that had evaluated the effectiveness of various risk mitigation strategies—

including the types of patient screening implied in Actavis’s sales training—on outcomes related to

overdose, addiction, abuse or misuse.

          340.   The sales training module also directed representatives to counsel doctors to be on

the lookout for the signs of “[p]seudoaddiction,” which were defined as “[b]ehaviors (that mimic

addictive behaviors) exhibited by patients with inadequately treated pain.” However, the concept of

“pseudoaddiction” is unsubstantiated and meant to mislead doctors and patients about the risks and

signs of addiction.

          341.   Finally, the 2010 national training materials trivialized the harms associated with

opioid withdrawal by explaining that “[p]hysical dependence simply requires a tapered withdrawal

should the opioid medication no longer be needed.” This, however, overlooks the fact that the side

effects associated with opiate withdrawal are severe and a serious concern for any person who wishes

to discontinue long-term opioid therapy.




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        342.     The Kadian Learning System module dates from July 2010, but Actavis sales

representatives were passing deceptive messages on to prescribers even before then. A July 2010

“Dear Doctor” letter issued by the FDA indicated that “[b]etween June 2009 and February 2010,

Actavis sales representatives distributed . . . promotional materials that . . . omitted and minimized

serious risks associated with [Kadian].” Certain risks that were misrepresented included the risk of

“[m]isuse, [a]buse, and [d]iversion of [o]pioids” and, specifically, the risk that “[o]pioid agonists have

the potential for being abused and are sought by drug abusers and people with addiction disorders

and are subject to criminal diversion.” The FDA also took issue with an advertisement for

misrepresenting Kadian’s ability to help patients “live with less pain and get adequate rest with less

medication,” when the supporting study did not represent “substantial evidence or substantial clinical

experience.”

        343.     Actavis’s documents also indicate that the company continued to deceptively market

its drugs after 2010. Specifically, a September 2012 Kadian Marketing Update, and the “HCP Detail”

aid contained therein, noted that Kadian’s “steady state plasma levels” ensured that Kadian

“produced higher trough concentrations and a smaller degree of peak-to-trough fluctuations” than

other opioids.

        344.     Actavis also commissioned surveys of prescribers to ensure Kadian sales

representatives were promoting the “steady-state” message. That same survey—paid for and

reviewed by Actavis—found repeated instances of prescribers being told by sales representatives that

Kadian had low potential of abuse or addiction. This survey also found that prescribers were

influenced by Actavis’s messaging. A number of Kadian prescribers stated that they prescribed

Kadian because it was “without the addictive potential” and wouldn’t “be posing high risk for

addiction.” As a result, Actavis’s marketing documents celebrated a “perception” among doctors that

Kadian had “low abuse potential”.

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            345.   Finally, the internal documents of another Defendant, Endo, indicate that

pharmaceutical sales representatives employed by Endo, Actavis, and Purdue discussed the

AAPM/APS Guidelines with doctors during detailing visits. These guidelines deceptively concluded

that the risk of addiction is manageable for patients regardless of past abuse histories.

      ii.          Actavis’ Deceptive Speaking Training

            346.   Actavis also increasingly relied on speakers—physicians whom Actavis recruited to

market opioids to their peers—to convey similar marketing messages. Actavis set a goal to train 100

new Kadian speakers in 2008 alone, with a plan to set up “power lunch teleconferences” connecting

speakers to up to 500 participating sites nationwide. Actavis sales representatives, who were required

to make a certain number of sales visits each day and week, saw the definition of sales call expanded

to accommodate these changes; such calls now included physicians’ “breakfast & lunch meetings with

Kadian advocate/speaker.”

            347.   A training program for Actavis speakers included training on many of the same

messages found in the Kadian Learning System, as described below. The deceptive messages in

Actavis’s speakers’ training are concerning for two reasons: (a) the doctors who participated in the

training were, themselves, prescribing doctors, and the training was meant to increase their

prescriptions of Kadian; and (b) these doctors were trained, paid, and directed to deliver these

messages to other doctors who would write prescriptions of Kadian.

            348.   Consistent with the training for sales representatives, Actavis’s speakers’ training

falsely minimized the risk of addiction posed by long-term opioid use. Actavis claimed, without

scientific foundation, that “[o]pioids can be used with minimal risk in chronic pain patients without a

history of abuse or addiction.” The training also deceptively touted the effectiveness of “Risk Tools,”

such as the Opioid Risk Tool, in determining the “risk for developing aberrant behaviors” in patients




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being considered for chronic opioid therapy. In recommending the use of these screening tools, the

speakers’ training neglected to disclose that none of them had been scientifically validated.

        349.    The speakers’ training also made reference to “pseudoaddiction” as a “[c]ondition

characterized by behaviors, such as drug hoarding, that outwardly mimic addiction but are in fact

driven by a desire for pain relief and usually signal undertreated pain.” It then purported to assist

doctors in identifying those behaviors that actually indicated a risk of addiction from those that did

not. Behaviors it identified as “[m]ore suggestive of addiction” included “[p]rescription forgery,”

“[i]njecting oral formulations,” and “[m]ultiple dose escalations or other nonadherence with therapy

despite warnings.” Identified as “[l]ess suggestive of addiction” were “[a]ggressive complaining about

the need for more drugs,” “[r]equesting specific drugs,” “[d]rug hoarding during periods of reduced

symptoms,” and “[u]napproved use of the drug to treat another symptom.” By portraying the risks in

this manner, the speakers’ training presentation deceptively gave doctors a false sense of security

regarding the types of patients who can become addicted to opioids and the types of behaviors these

patients exhibit.

        350.    The speakers’ training downplayed the risks of opioids, while focusing on the risks of

competing analgesics like NSAIDs. For example, it asserted that “Acetaminophen toxin is a major

health concern.” The slide further warned that “Acetaminophen poisoning is the most common

cause of acute liver failure in an evaluation of 662 US Subjects with acute liver failure between 1998-

2003,” and was titled “Opioids can be a safer option than other analgesics.” However, in presenting

the risks associated with opioids, the speakers’ training focused on nausea, constipation, and

sleepiness, and ignored the serious risks of hyperalgesia, hormonal dysfunction, decline in immune

function, mental clouding, confusion, and dizziness; increased falls and fractures in the elderly,

neonatal abstinence syndrome, and potentially fatal interactions with alcohol or benzodiazepines. As




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a result, the training exaggerated the risks of NSAIDs, both absolutely and relative to opioids, to

make opioids appear to be a more attractive first-line treatment for chronic pain.

       351.    The speakers’ training also misrepresented the risks associated with increased doses of

opioids. For example, speakers were instructed to “[s]tart low and titrate until patient reports

adequate analgesia” and to “[s]et dose levels on [the] basis of patient need, not on predetermined

maximal dose.” However, the speakers’ training neglected to warn speakers (and speakers bureau

attendees) that patients on high doses of opioids are more likely to suffer adverse events.

       b.      Actavis’s Deceptive Statements to Laredo Prescribers and Patients

       352.    The misleading messages and training materials Actavis provided to its sales force and

speakers were part of a broader strategy to convince prescribers to use opioids to treat their patients’

pain, without complete and accurate information about the risks, benefits, and alternatives. This

deception was national in scope and included Laredo. Actavis’s nationwide messages reached Laredo

prescribers in a number of ways. For example, they were carried into Laredo by Actavis’s sales

representatives during detailing visits as well as made available to Laredo’s patients and prescribers

through websites and ads, including ads in prominent medical journals. They have also been delivered

to Laredo’s prescribers by Actavis’s paid speakers, who were required by Actavis policy and by FDA

regulations to stay true to Actavis’s nationwide messaging.

       353.    Once trained, Actavis’s sales representatives and speakers were directed to, and did,

visit potential prescribers in Laredo as elsewhere, to deliver their deceptive messages. These contacts

are demonstrated by Actavis’s substantial effort in tracking the habits of individual Laredo physicians

prescribing Kadian, and by the direct evidence of Actavis detailing Laredo’s prescribers.

       354.    Actavis tracked, in substantial detail, the prescribing behavior of Laredo area

physicians.

       2.      Cephalon

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            355.   At the heart of Cephalon’s deceptive promotional efforts was a concerted and

sustained effort to expand the market for its branded opioids, Actiq and Fentora, far beyond their

FDA-approved use in opioid-tolerant cancer patients. Trading on their rapid-onset formulation,

Cephalon touted its opioids as the answer to “breakthrough pain”—a term its own KOL allies

planted in the medical literature—whether cancer pain or not. Cephalon promoted this message

through its sales force, paid physician speakers, advertisements, and CMEs, even after the FDA

issued the company warnings and rejected an expanded drug indication.

            356.   Even as it promoted Actiq and Fentora off-label, Cephalon also purveyed many of

the deceptive messages described above. It did so both directly—through detailing visits and speaker

programs—and through the publications and CMEs of its third-party partners. These messages

included misleading claims about functional improvement, addiction risk, pseudoaddiction, and the

safety of alternatives to opioids.

            357.   Based on the highly coordinated and uniform nature of Cephalon’s marketing,

Cephalon conveyed these deceptive messages to Laredo prescribers. The materials that Cephalon

generated in collaboration with third-parties were also distributed or made available in Laredo.

Cephalon distributed these messages, or facilitated their distribution, in Laredo with the intent that

prescribers and/or consumers would rely on them in choosing to use opioids to treat chronic pain.

            a.     Cephalon’s Deceptive Direct Marketing

            358.   Like the other Defendants, Cephalon directly engaged in misleading and deceptive

marketing of its opioids through its sales force and branded advertisements. These messages were

centrally formulated and intended to reach prescribers nationwide, including those practicing in

Laredo area. Cephalon also spent the money necessary to aggressively promote its opioid drugs,

setting aside $20 million to market Fentora in 2009 alone.

       i.          Cephalon’s Fraudulent Off-Label Marketing of Actiq and Fentora

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           359.    Chief among Cephalon’s direct marketing efforts was its campaign to deceptively

promote its opioids for off-label uses. Cephalon reaps significant revenue from selling its opioids for

treatment of chronic non-cancer pain. However, neither of its two opioid drugs— Actiq or

Fentora—is approved for this purpose. Instead, both have indications that are very clearly and

narrowly defined to limit their use to a particular form of cancer pain. Despite this restriction, and in

order to claim its piece of the broader chronic non-cancer pain market, Cephalon deceptively and

unlawfully marketed Actiq and then Fentora for patients and uses for which they were not safe,

effective, or allowed. This resulted in prescriptions written and paid and, grievously, caused patients

to be injured and die. Cephalon’s efforts to expand the market for its drugs beyond cancer pain

extended to Laredo prescribers.

           a)      Cephalon launched its fraudulent marketing scheme for Actiq

           360.    Cephalon’s Actiq is a powerful opioid narcotic that is delivered to the bloodstream by

a lollipop lozenge that dissolves slowly in the mouth. As described by one patient, Actiq “tastes like

the most delicious candy you ever ate.” 118

           361.    Actiq is appropriately used only to treat “breakthrough” cancer pain that cannot be

controlled by other medications. Breakthrough pain is a short-term flare of moderate-to- severe pain

in patients with otherwise stable persistent pain. Actiq is a rapid-onset drug that takes effect within

10-15 minutes but lasts only a short time. It is also an extremely strong drug, considered to be at least

80 times more powerful than morphine. Fentanyl, a key ingredient in Actiq, has been linked to fatal

respiratory complications in patients. Actiq is not safe in any dose for patients who are not opioid

tolerant, meaning patients who have taken specific doses of opioids for a week or longer and whose

systems have acclimated to the drugs.




118
      See John Carreyrou, Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs, Wall St. J., Nov. 3, 2006.
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        362.   In 1998, the FDA approved Actiq “ONLY for the management of breakthrough

cancer pain in patients with malignancies who are already receiving and who are tolerant to opioid

therapy for their underlying persistent cancer pain.” 119 (emphasis in FDA document). Because of

Actiq’s dangers, wider, off-label uses—as the FDA label makes clear—are not permitted:

          This product must not be used in opioid non-tolerant patients because life-threatening
respiratory depression and death could occur at any dose in patients not on a chronic regimen of
opioids. For this reason, ACTIQ is contraindicated in the management of acute or postoperative
pain. 120

        363.   Actiq and Fentora are thus intended to be used only in the care of cancer patients and

only by oncologists and pain specialists who are knowledgeable of, and skilled in, the use of Schedule

II opioids to treat cancer pain. Unlike other drugs, of which off-label uses are permitted but cannot

be promoted by the drug maker, Actiq and Fentora are so potent that off- label use for opioid naïve

patients is barred by the FDA, as their labels make clear.

        364.   Notwithstanding the drug’s extreme potency and related dangers, and the FDA’s

explicit limitations, Cephalon actively promoted Actiq for chronic non-cancer pain—an unapproved,

off-label use. Cephalon marketed Actiq as appropriate for the treatment of various conditions

including back pain, headaches, pain associated with sports-related injuries, and other conditions not

associated with cancer and for which it was not approved, appropriate, or safe.

        365.   Actiq’s initial sales counted in the tens of millions of dollars, corresponding to its

limited patient population. But by 2005, Actiq sales reached $412 million, making it Cephalon’s

second-highest selling drug. As a result of Cephalon’s deceptive, unlawful marketing, sales exceeded

$500 million by 2006.

119
    FDA Approval Letter for NDA 20-747 (Nov. 4, 1998) at 5,
http://www.accessdata.fda.gov/drugsatfda_docs/appletter/1998/20747ltr.pdf.
120
    Actiq Drug Label, July 2011. The 1998 version does not substantively differ: “Because life-
threatening hypoventilation could occur at any dose in patients not taking chronic opiates, Actiq is
contra- indicated in the management of acute or postoperative pain. This product must not be used
in opioid non-tolerant patients.” (emphasis in original).
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        b)      October 1, 2006 – Cephalon fraudulently marked Actiq’s successor drug, Fentora

        366.    Actiq was set to lose its patent protection in September 2006. To replace the revenue

stream that would be lost once generic competitors came to market, Cephalon purchased a new

opioid drug, Fentora, from Cima Labs and, in August 2005, submitted a New Drug Application

(“NDA”) to the FDA for approval. Like Actiq, Fentora is an extremely powerful and rapid-onset

opioid. It is administered by placing a tablet in the mouth until it disintegrates and is absorbed by the

mucous membrane that lines the inside of the mouth.

        367.    On September 25, 2006, the FDA approved Fentora, like Actiq, only for the

treatment of breakthrough cancer pain in cancer patients who were already tolerant to around- the-

clock opioid therapy for their underlying persistent cancer pain. Fentora’s unusually strong and

detailed black box warning label—the most serious medication warning required by the FDA—

makes clear that, among other things:

        Fatal respiratory depression has occurred in patients treated with FENTORA, including
following use in opioid non-tolerant patients and improper dosing. The substitution of FENTORA
for any other fentanyl product may result in fatal overdose.

        Due to the risk of respiratory depression, FENTORA is contraindicated in the management
of acute or postoperative pain including headache/migraine and in opioid non-tolerant patients. 121

        368.    When Cephalon launched Fentora on October 1, 2006, it picked up the playbook it

had developed for Actiq and simply substituted in Fentora. Cephalon immediately shifted 100 general

pain sales representatives from selling Actiq to selling Fentora to the very same physicians for uses

that would necessarily and predictably be off-label. Cephalon’s marketing of Actiq therefore “primed

the market” for Fentora. Cephalon had trained numerous KOLs to lead promotional programs for

Fentora, typically including off-label uses for the drug. Cephalon billed Fentora as a major advance

that offered a significant upgrade in the treatment of breakthrough pain generally—not breakthrough

121
  Fentora Drug Label, February 2013, http://www.accessdata.fda.gov/drugsatfda_docs/label/
2013/021947s008lbl.pdf
                                                  131
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cancer pain in particular—from Actiq. Cephalon also developed a plan in 2007 to target elderly

chronic pain patients via a multi-city and county tour with stops at AARP events, YMCAs, and senior

living facilities.

         369.        On February 12, 2007, only four months after the launch, Cephalon CEO Frank

Baldino told investors:

                 [W]e’ve been extremely pleased to retain a substantial portion, roughly 75% of the `
         rapid onset opioid market. We executed our transition strategy and the results in
            our pain franchise have been better than we expected. With the successful launch of
                 FENTORA and the progress in label expansion program, we are well positioned
                 to grow our pain franchise for many years to come. 122

         370.        On May 1, 2007, just seven months after Fentora’s launch, Cephalon’s then-Executive

Vice President for Worldwide Operations, Bob Roche, bragged to financial analysts that Fentora’s

reach would exceed even Actiq’s. He described the company’s successful and “aggressive” launch of

Fentora that was persuading physicians to prescribe Fentora for ever broader uses. He identified two

“major opportunities”—treating breakthrough cancer pain and:

         The other opportunity of course is the prospect for FENTORA
         outside of cancer pain, in indications such as breakthrough lower
         back pain and breakthrough neuropathic pain. . . .
         ....

         We believe that a huge opportunity still exists as physicians and
         patients recognize FENTORA as their first choice rapid onset
         opioid medication. . . . [opioids are] widely used in the treatment
         of. . . non-cancer patients . . . .
         ....

         Of all the patients taking chronic opioids, 32% of them take that
         medication to treat back pain, and 30% of them are taking their
         opioids to treat neuropathic pain. In contrast only 12% are taking
         them to treat cancer pain, 12%.

         We know from our own studies that breakthrough pain episodes
         experienced by these non-cancer sufferers respond very well to

122
   See Cephalon Q4 2006 Earnings Call Transcript, Seeking Alpha (February 12, 2007, 8:48 PM EST)
at 5, http://seekingalpha.com/article/26813-cephalon-q4-2006-earnings-call-transcript.
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        FENTORA. And for all these reasons, we are tremendously
        excited about the significant impact FENTORA can have on
        patient health and wellbeing and the exciting growth potential
        that it has for Cephalon.

        In summary, we have had a strong launch of FENTORA and
            continue to grow the product aggressively. Today, that growth is
            coming from the physicians and patient types that we have
            identified through our efforts in the field over the last seven years.
            In the future, with new and broader indications and a much
            bigger field force presence, the opportunity that FENTORA
            represents is enormous. 123

        c)     September 2007 – Reports of death and serious side effects led the FDA to issue a
public health warning for Fentora

        371.    On September 10, 2007, Cephalon sent letters to doctors warning of deaths and other

“serious adverse events” connected with the use of Fentora, indicating that “[t]hese deaths occurred

as a result of improper patient selection (e.g., use in opioid non-tolerant patients), improper dosing,

and/or improper product substitution.” 124 The warning did not mention Cephalon’s deliberate role

in the “improper patient selection.”

        372.    Two weeks later, the FDA issued its own Public Health Advisory. The FDA

emphasized, once again, that Fentora should be prescribed only for approved conditions and that

dose guidelines should be carefully followed. The FDA Advisory made clear that several Fentora-

related deaths had occurred in patients who were prescribed the drug for off-label uses. The FDA

Advisory warned that Fentora should not be used for any off-label conditions, including migraines,

post-operative pain, or pain due to injury, and that it should be given only to patients who have




123
    See Cephalon Q1 2007 Earnings Call Transcript, Seeking Alpha (May 1, 2007, 8:48 PM EST) at 23,
http://seekingalpha.com/article/34163-cephalon-q1-2007-earnings-call-transcript?page=1.
124
    Letter from Jeffrey M. Dayno, M.D., Vice President, Medical Services, Cephalon, Inc. to
Healthcare Providers (Sept. 10, 2007),
http://www.fda.gov/downloads/Safety/MedWatch/SafetyInformation/
SafetyAlertsforHumanMed icalProducts/UCM154439.pdf.
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developed opioid tolerance. The Advisory reiterated that, because Fentora contains a much greater

amount of fentanyl than other opiate painkillers, it is not a suitable substitute for other painkillers. 125

        373.    Notwithstanding the regulatory scrutiny, Cephalon’s off-label marketing continued.

Cephalon’s 2008 internal audit of its Sales & Marketing Compliance Programs concluded that

marketing and tactical documents, as written, may be construed to promote off-label uses. The same

report acknowledged that Cephalon lacked a process to confirm that speakers’ program participants

were following Cephalon’s written, formal policies prohibiting off-label promotion, and that “non-

compliant [Cephalon Speaker Programs] may be taking place.” Moreover, the report acknowledged

that Cephalon’s “call universe” may include “inappropriate prescribers”— prescribers who had

nothing to do with cancer pain.

       d)       May 6, 2008 – The FDA rejected Cephalon’s request for expanded approval of
Fentora

        374.     Cephalon filed a supplemental new drug application, (“sNDA”), asking the FDA to

approve Fentora for the treatment of non-cancer breakthrough pain. Cephalon admitted that Fentora

already had been heavily prescribed for non-cancer pain, but argued that such widespread use

demonstrated why Fentora should be approved for these wider uses. 126 Cephalon’s application also

conceded that “[t]o date, no medication has been systematically evaluated in clinical studies or

approved by the FDA for the management of [breakthrough pain] in patients with chronic persistent

non-cancer-related pain.” Id.




125
    FDA Public Health Advisory, Important Information for the Safe Use of Fentora (fentanyl buccal tablets)
(Sept. 26, 2007),
http://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders
/ucm051273.htm.
126
    See Fentora CII: Advisory Committee Briefing Document, U.S. FDA Anesthetic & Life Support Drugs
Advisory Comm. & Drug Safety & Risk Mgmt. Advisory Comm. (May 6, 2008),
http://www.fda.gov/ohrms/dockets/ac/08/briefing/2008-4356b2-02-Cephalon.pdf.
                                                    134
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        375.   In response to Cephalon’s application, the FDA presented data showing that 95% of

all Fentora use was for treatment of non-cancer pain. 127 By a vote of 17-3, the relevant Advisory

Committee—a panel of outside experts—voted against recommending approval of Cephalon’s

sNDA for Fentora, citing the potential harm from broader use. On September 15, 2008, the FDA

denied Cephalon’s application and requested, in light of Fentora’s already off- label use, that

Cephalon implement and demonstrate the effectiveness of proposed enhancements to Fentora’s Risk

Management Program. In December 2008, the FDA followed that request with a formal request

directing Cephalon to submit a Risk Evaluation and Mitigation Strategy for Fentora.

     e)     March 26, 2009 – the FDA’s Division of Drug Marketing, Advertising and
Communications (“DDMAC”) warned Cephalon about its misleading advertising of Fentora

        376.   Undeterred by the rejection of its sNDA, Cephalon continued to use its general pain

sales force to promote Fentora off-label to pain specialists as an upgrade of Actiq for the treatment

of non-cancer breakthrough pain. Deceptively and especially dangerously, Cephalon also continued

to promote Fentora for use by all cancer patients suffering breakthrough cancer pain, and not only

those who were opioid tolerant.

        377.   On March 26, 2009, DDMAC issued a Warning Letter to Cephalon, telling Cephalon

that its promotional materials for Fentora amounted to deceptive, off-label promotion of the drug. 128

Specifically, the Warning Letter asserted that a sponsored link on Google and other search engines



127
    See Yoo Jung Chang & Lauren Lee, Review of Fentora and Actiq Adverse Events from the Adverse Event
Reporting System (“AERS”) Database, U.S. FDA Anesthetic & Life Support Drugs Advisory Comm. &
Drug Safety & Risk Mgmt. Advisory Comm. (May 6, 2008),
http://www.fda.gov/ohrms/dockets/ac/08/slides/2008-4356s2-02-
FDAcorepresentations.ppt#289,1.
128
    Letter from Michael Sauers, Regulatory Review Officer, Division of Drug Marketing, Advertising
and Communications, to Carole S. Marchione, Senior Director and Group Leader, Regulatory Affairs
(March 26, 2009),
http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/
EnforcementActivitiesbyFDA/WarningLettersandNoticeofViolationLetterstoPharmaceuticalCompa
nies/UCM166238.pdf.
                                                 135
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for Fentora, which said “[l]earn about treating breakthrough pain in patients with cancer,” 129 was

improper because it “misleadingly broaden[ed] the indication for Fentora by implying that any patient

with cancer who requires treatment for breakthrough pain is a candidate for Fentora therapy . . .

when this is not the case.”

        378.    DDMAC emphasized that Fentora’s label was limited to cancer patients with

breakthrough pain “who are already receiving and who are tolerant to around-the-clock opioid

therapy for their underlying persistent cancer pain. ” (emphasis in original). DDMAC explained

that the advertisement was “especially concerning given that Fentora must not be used in opioid

non-tolerant patients because life-threatening hypoventilation and death could occur at any dose in

patients not on a chronic regimen of opioids.” (Emphasis in original). DDMAC also warned

Cephalon that, based on a review of Cephalon-sponsored links for Fentora on internet search

engines, the company’s advertisements were “misleading because they make representations and/or

suggestions about the efficacy of Fentora, but fail to communicate any risk information associated

with the use” of the drug. (emphasis in original).

        f)      Cephalon continues to knowingly, deceptively, and illegally promote Fenotra for off-
label uses

        379.    Cephalon’s own market research studies confirm that its Fentora promotions were

not focused on physicians who treat breakthrough cancer pain. Cephalon commissioned several

market research studies to determine whether oncologists provided an “adequate” market potential

for Fentora. These studies’ central goal was to determine whether oncologists treat breakthrough

cancer pain themselves, or whether they refer such patients to general pain specialists. The first study,

completed in 2007, reported that 90% of oncologists diagnose and treat breakthrough cancer pain

129
  Screen shots of the sponsored link are available here: http://www.fda.gov/downloads/Drugs/
GuidanceComplianceRegulatoryInformation/EnforcementActivitiesbyFDA/WarningLettersandNoti
ceofViolationLetterstoPharmaceuticalCompanies/UCM166240.pdf.

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themselves, and do not refer their breakthrough cancer pain patients to pain specialists. The second

study, completed in 2009, confirmed the results of the 2007 study, this time reporting that 88% of

oncologists diagnose and treat breakthrough cancer pain themselves and rarely, if ever, refer those

patients to general pain specialists. (One reason that general pain specialists typically do not treat

oncological pain is that the presence of pain can, in itself, be an indicator of a change in the patient’s

underlying condition that should be monitored by the treating oncologist.)

          380.   Cephalon was well aware that physicians were prescribing Fentora for off-label uses.

          381.   Cephalon was also aware that its detailing had an impact on prescription rates.

          382.   In 2011, Cephalon wrote and copyrighted an article titled “2011 Special Report: An

Integrated Risk Evaluation and Risk Mitigation Strategy for Fentanyl Buccal Tablet (FENTORA®)

and Oral Transmucosal Fentanyl Citrate (ACTIQ®)” that was published in Pain Medicine News. 130 The

article promoted Cephalon’s drugs for off-label uses by stating that the “judicious use of opioids can

facilitate effective and safe management of chronic pain” and noted that Fentora “has been shown to

be effective in treatment of [break through pain] associated with multiple causes of pain,” not just

cancer. 131

      ii.       Cephalon’s Misrepresentation of the Risks Associated with the Use of Opioids for the Long-Term
Treatment of Chronic Pain

          383.   Cephalon’s conduct in marketing Actiq and Fentora for chronic non-cancer pain,

despite their clear (and deadly) risks and unproved benefits, was an extension, and reaped the

benefits, of Cephalon’s generally deceptive promotion of opioids for chronic pain.

          384.   There is no scientific evidence corroborating a link between chronic opioid therapy

and increased functionality. Any suggestion of such a link is, in fact, false.




130
      http://www.pharmacytimes.com/publications/issue/2012/january2012/r514-jan-12-rems.
131
      Id.
                                                    137
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          385.   Along with deploying its sales representatives, Cephalon used speakers bureaus to

help reach prescribers.    The company viewed each treating physician as a vehicle to generate

prescriptions – whether written by that physician directly or caused indirectly by his or her influence

over other physicians.

          386.   Having determined that speakers were an effective way to reach prescribers, Cephalon

set to work ensuring that its speakers would disseminate its misleading messages. Cephalon did not

disclose to speakers that, even when these tools are applied, they are unable to control for the risk of

addiction.

          387.   As with the other Defendants, Cephalon deployed the made-up concept of

“pseudoaddiction” to encourage prescribers to address addictive behavior in the worst way

possible—with more opioids.

          388.   Working with FSMB, Cephalon also trained its speakers to turn doctors’ fear of

discipline on its head—doctors, who believed that they would be disciplined if their patients became

addicted to opioids, were taught instead that they would be punished if they failed to prescribe

opioids to their patients with pain. Through this messaging, Cephalon aimed to normalize the

prescribing of opioids for chronic pain and failed to acknowledge the serious risks of long-term

opioid use and its inappropriateness as a front-line treatment for pain.

          389.   Finally, Cephalon also developed a guidebook called Opioid Medications and REMS: A

Patient’s Guide, which deceptively minimized the risks of addiction from the long- term use of opioids.

Specifically, the guidebook claimed that “patients without a history of abuse or a family history of

abuse do not commonly become addicted to opioids,” which is dangerously false. Cephalon

distributed the guidebook broadly, and it was available to, and intended to reach, prescribers in

Laredo.




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           390.   The misleading messages and materials Cephalon provided to its sales force and its

speakers were part of a broader strategy to convince prescribers to use opioids to treat their patients’

pain, without complete and accurate information about the risks, benefits, and alternatives. This

deception was national in scope and included Laredo. Cephalon’s nationwide messages have reached

Laredo prescribers in a number of ways; they were delivered by Cephalon’s sales representatives in

detailing visits and made available to City patients and prescribers through websites and ads,

including ads in prominent medical journals. They have also been delivered to City prescribers by

Cephalon’s paid speakers, who were required by Cephalon policy to stay true to the company’s

nationwide messaging.

           b.     Cephalon’s Deceptive Third-Party Statements

           391.   Like the other Defendants, Cephalon also relied on third parties to disseminate its

messages through deceptive publications and presentations. By funding, developing and reviewing

the content, and distributing and facilitating the distribution of these messages, Cephalon exercised

editorial control over them. Cephalon, in some instances, used its sales force to directly distribute

certain publications by these Front Groups and KOLs, rendering those publications “labeling” within

the meaning of § 21 C.F.R. § 1.3(a) and making Cephalon responsible for their contents. Cephalon

also deployed its KOLs as speakers for talks and CMEs to selected groups of prescribers.

           392.   Cephalon’s relationships with several such Front Groups and KOLs—and the

misleading and deceptive publications and presentations those relationships generated—are described

below.

      i.          FSMB – Responsible Opioid Prescribing

           393.   In 2007, for example, Cephalon sponsored and distributed through its sales

representatives FSMB’s Responsible Opioid Prescribing, which was drafted by Dr. Fishman. Dr. Fishman

was frequently hired by a consulting Firm, Conrad & Associates LLC, to write pro-opioid marketing

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pieces disguised as science. Dr. Fishman’s work was reviewed and approved by drug company

representatives, and he felt compelled to draft pieces that he admits distorted the risks and benefits of

chronic opioid therapy in order to meet the demands of his drug company sponsors.

               394.   Responsible Opioid Prescribing was a signature piece of Dr. Fishman’s work and contained

a number of deceptive statements. This publication claimed that, because pain had a negative impact

on a patient’s ability to function, relieving pain—alone—would “reverse that effect and improve

function.” However, the truth is far more complicated; functional improvements made from

increased pain relief can be offset by a number of problems, including addiction.

               395.   Responsible Opioid Prescribing also misrepresented the likelihood of addiction by

mischaracterizing drug-seeking behavior as “pseudoaddiction.” It explained that “requesting drugs by

name,” engaging in “demanding or manipulative behavior,” seeing more than one doctor to obtain

opioids, and hoarding were all signs of “pseudoaddiction” and likely the effects of undertreated pain,

rather than true addiction. There is no scientific evidence to support the concept of

“pseudoaddiction,” and any suggestion that addictive behavior masquerades as “pseudoaddiction” is

false.

               396.   Cephalon spent $150,000 to purchase copies of Responsible Opioid Prescribing in bulk. It

then used its sales force to distribute these copies to 10,000 prescribers and 5,000 pharmacists

nationwide. These were available to, and intended to, reach prescribers and pharmacists in Laredo.

         ii.          APF – Treatment Options: A Guide for People Living with Pain

               397.   Cephalon also exercised considerable control over the Front Group APF, which

published and disseminated many of the most egregious falsehoods regarding chronic opioid therapy.

Their relationship, and several of the APF publications, are described in detail below.

               398.   Documents indicate that Cephalon provided APF with substantial assistance in

publishing deceptive information regarding the risks associated with the use of opioids for chronic

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pain. An April 3, 2008 Fentora Assessment Strategy Tactics Team Meeting presentation outlines

Cephalon’s strategy to prepare for a meeting at which the FDA Advisory Committee would consider

expanding the indication of Fentora to include chronic, non-cancer pain. Cephalon prepared by

“reaching out to third-party organizations, KOLs, and patients to provide context and, where

appropriate, encourage related activity.” First among the Front Groups listed was APF.

       399.    Cephalon was among the drug companies that worked with APF to “educate” the

Institute of Medicine of the National Academies (IOM) on issues related to chronic opioid therapy.

APF President Will Rowe circulated a document to Cephalon and other drug company personnel

that contained key message points and suggested that they “[c]onsider using this document in your

communications with the members of the IOM Committee.” According to Rowe, recipients should

“consider this a working document which you can add to or subtract from.” Rowe also advised that,

if recipients “have an ally on that Committee,” they should “consider sharing this document with that

person.”

       400.    Cephalon personnel responded enthusiastically, with Cephalon’s Associate Director

for Alliance Development stating her belief that “the document does a good job of bringing together

many important ideas.” Cephalon reviewed and directed changes to this document, with the

Cephalon Associate Director thanking Rowe “for incorporating the points we had raised.” The close

collaboration between Cephalon and APF on this project demonstrates their agreement to work

collaboratively to promote the use of opioids as an appropriate treatment for chronic pain.

       401.    Cephalon’s influence over APF’s activities was so pervasive that APF’s President, Will

Rowe, even reached out to Defendants—including Cephalon—rather than his own staff, to identify

potential authors to answer a 2011 article critical of opioids that had been published in the Archives

of Internal Medicine.




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          402.   Starting in 2007, Cephalon sponsored APF’s Treatment Options: A Guide for People Living

with Pain. 132 It is rife with misrepresentations regarding the risks, benefits, and superiority of opioids.

          403.   For example, Treatment Options deceptively asserts that the long-term use of opioids to

treat chronic pain could help patients function in their daily lives by stating that, when used properly,

opioids “give [pain patients] a quality of life [they] deserve.” There is no scientific evidence

corroborating that statement, and such statements are, in fact, false. Available data demonstrate that

patients on chronic opioid therapy are actually less likely to participate in life activities like work.

          404.   Treatment Options also claims that addiction is rare and is evident from patients’

conduct in self-escalating their doses, seeking opioids from multiple doctors, or stealing the drugs.

Treatment Options further minimizes the risk of addiction by claiming that it can be avoided through

the use of screening tools, like “opioid agreements,” which can “ensure [that patients] take the opioid

as prescribed.” Nowhere does Treatment Options explain to patients and prescribers that neither

“opioid agreements” nor any other screening tools have been scientifically validated to decrease the

risks of addiction, and the publication’s assurances to the contrary are false and deceptive.

          405.   Treatment Options also promotes the use of opioids to treat chronic pain by painting a

misleading picture of the risks of alternate treatments, most particularly NSAIDs. Treatment Options

notes that NSAIDs can be dangerous at high doses, and attributes 10,000 to 20,000 deaths a year

annually to NSAID overdose. According to Treatment Options, NSAIDs are different from opioids

because opioids have “no ceiling dose,” which is beneficial since some patients “need” larger doses of

painkillers than they are currently prescribed. These claims misleadingly suggest that opioids are safe

even at high doses and omit important information regarding the risks of high-dose opioids.

          406.   Additionally, Treatment Options warns that the risks associated with NSAID use

increase if NSAIDs are “taken for more than a period of months,” but deceptively omits any similar

132
      https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
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warning about the risks associated with the long-term use of opioids. This presentation paints a

misleading picture of the risks and benefits of opioid compared with alternate treatments.

            407.   APF distributed 17,200 copies of Treatment Options in 2007 alone. It is currently

available online and was intended to reach Laredo prescribers and pharmacists.

     iii.          Key Opinion Leaders and Misleading Science

            408.   Cephalon also knew that its misleading messages would be more likely to be believed

by prescribers if they were corroborated by seemingly neutral scientific support.

            409.   Employing these tactics, Cephalon caused the term “breakthrough pain”—a term it

seeded in the medical literature—to be used in articles published by practitioners and clinicians it

supported. With funding from Cephalon, for example, Dr. Portenoy wrote an article that purported

to expand the definition of breakthrough cancer pain to non-cancer indications, vastly expanding the

marketing potential of Cephalon’s Fentora. The article was published in the nationally circulated

Journal of Pain in 2006 and helped drive a surge in Fentora prescriptions.

            410.   The concept of “breakthrough pain” ultimately formed the sole basis for the central

theme of promotional messages Cephalon cited to support the approval and marketing of Actiq and

Fentora, rapid-acting opioids which begin to work very quickly but last only briefly. Neither of these

drugs had a natural place in the treatment of chronic pain before Cephalon’s marketing campaign

changed medical practice. A recent literature survey of articles describing non-cancer breakthrough

pain calls into question the validity of the concept, suggesting it is not a distinct pain condition but a

hypothesis to justify greater dosing of opioids. In other words, Cephalon conjured the science of

breakthrough pain in order to sell its drugs.




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            411.   As one scholar has pointed out, references to breakthrough pain in articles published

on the MEDLINE bibliographic database spiked in 1998 and again in 2006. 133 These spikes coincide

with FDA’s approval of Actiq and Fentora.

      iv.          Misleading Continuing Medical Education

            412.   Cephalon developed sophisticated plans for the deployment of its KOLs, broken

down by sub-type and specialty, to reach targeted groups of prescribers through CMEs. Cephalon

used the CME programs it sponsored to deceptively portray the risks related to the use of opioids to

treat chronic non-cancer pain and promote the off-label use of Actiq and Fentora.

            413.   In 2007 and 2008, Cephalon sponsored three CMEs that each positioned Actiq and

Fentora as the only “rapid onset opioids” that would provide effective analgesia within the time

period during which “breakthrough pain” was at its peak intensity. Although the CMEs used only the

generic names of the drugs, the description of the active ingredient and means of administration

means that a physician attending the CME knew it referred only to Actiq or Fentora.

            414.   The CMEs each taught attendees that there was no sound basis for the distinction

between cancer and non-cancer “breakthrough pain,” and one instructed patients that Actiq and

Fentora were commonly used in non-cancer patients, thus effectively endorsing this use. Optimizing

Opioid Treatment for Breakthrough Pain, offered online by Medscape, LLC from September 28,

2007, through December 15, 2008, was prepared by KOL Dr. Webster and M. Beth Dove. It

recommends prescribing a “short-acting opioid” (e.g., morphine, hydromorphone, oxycodone)

“when pain can be anticipated,” or a rapid-onset opioid when it cannot. The only examples of rapid-

onset opioids then on the market were oral transmucosal fentanyl citrate (i.e., Actiq) or fentanyl

effervescent buccal tablet (i.e., Fentora): “Both are indicated for treatment of [breakthrough pain] in


  Adriane Fugh-Berman, Marketing Messages in Industry-Funded CME, PharmedOut , Georgetown U.
133

Med. Ctr. (June 25, 2010), available at pharmedout.galacticrealms.com/Fugh
BermanPrescriptionforConflict6-25-10.pdf. (accessed date)
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opioid-tolerant cancer patients and are frequently prescribed to treat [breakthrough pain] in

noncancer patients as well.”

       415.     Optimizing Opioid Treatment for Breakthrough Pain not only deceptively promoted

Cephalon’s drugs for off-label use, but also misleadingly portrayed the risks, benefits, and superiority

of opioids for the treatment of chronic pain. For example, the CME misrepresented that Actiq and

Fentora would help patients regain functionality by advising that they improve patients’ quality of life

and allow for more activities when taken in conjunction with long-acting opioids. The CME also

minimized the risks associated with increased opioid doses by explaining that NSAIDs were less

effective than opioids for the treatment of breakthrough pain because of their dose limitations,

without disclosing the heightened risk of adverse events on high-dose opioids.

       416.    Around the same time, Dr. Webster was receiving nearly $2 million in funding from

Cephalon.

       417.    Optimizing Opioid Treatment for Breakthrough Pain was available online and was

intended to reach City prescribers.

       418.    Cephalon similarly used an educational grant to sponsor the CME Breakthrough Pain:

Improving Recognition and Management, which was offered online between March 31, 2008, and March 31,

2009, by Medscape, LLC. The direct result of Cephalon’s funding was a purportedly educational

document that echoed Cephalon’s marketing messages. The CME deceptively omitted Actiq’s and

Fentora’s tolerance limitations, cited examples of patients who experienced pain from accidents, not

from cancer, and, like Cephalon’s Optimizing Opioid Treatment CME, taught that Actiq and Fentora were

the only products on the market that would take effect before the breakthrough pain episode

subsided. This CME was available online and was intended to reach Laredo prescribers.

       419.    Lastly, KOL Dr. Fine authored a CME, sponsored by Cephalon, titled Opioid-Based

Management of Persistent and Breakthrough Pain, with KOLs Dr. Christine A. Miaskowski and Michael J.

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Brennan, M.D. Cephalon paid to have this CME published in a supplement of Pain Medicine News

in 2009. 134 It instructed prescribers that “clinically, broad classification of pain syndromes as either

cancer- or noncancer-related has limited utility,” and recommended dispensing “rapid onset opioids”

for “episodes that occur spontaneously” or unpredictably, including “oral transmucosal fentanyl,” i.e.,

Actiq, and “fentanyl buccal tablet,” i.e., Fentora, including in patients with chronic non-cancer pain.

Dr. Miaskowski disclosed in 2009, in connection with the APS/AAPM Opioid Treatment Guidelines,

that she served on Cephalon’s speakers bureau. 135 Dr. Fine also received funding from Cephalon for

consulting services.

        420.    Opioid-Based Management of Persistent and Breakthrough Pain was available to and was

intended to reach Laredo’s prescribers.

        421.    Cephalon’s control over the content of these CMEs is apparent based on its advance

knowledge of their content. A December 2005 Cephalon launch plan set forth key “supporting

messages” to position Fentora for its product launch. Among them was the proposition that “15-

minute onset of action addresses the unpredictable urgency of [breakthrough pain].” Years later, the

same marketing messages reappeared in the Cephalon-sponsored CMEs described above. Echoing

the Cephalon launch plan, Optimizing Opioid Treatment for Breakthrough Pain stated that “[t]he

unpredictability of [breakthrough pain] will strongly influence the choice of treatment” and that

Fentora “delivers an onset of analgesia that is similar to [Actiq] at ≤ 15 minutes.” Similarly, Opioid-

Based Management of Persistent and Breakthrough Pain defined “breakthrough pain” as

“unpredictable,” over a table describing both cancer and non-cancer “breakthrough pain.”




134
   https://www.yumpu.com/en/document/view/11409251/opioid-based-management-of-
persistent-and-breakthrough-pain.
 135
    14 of 21 panel members who drafted the AAPM/APS Guidelines received support from
 Janssen, Cephalon, Endo, and Purdue.
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        422.    Cephalon tracked the effectiveness of its deceptive marketing through third parties,

demonstrating that Cephalon not only planned for, but depended upon, their activities as a key

element of its marketing strategy. These programs were available to prescribers in Laredo and, based

on the uniform and nationwide character of Cephalon’s marketing featured the same deceptive

messages described above.

        c.      Cephalon’s Deceptive Third-Party Statements to Laredo Prescribers and Patients

        423.    Cephalon used various measures to disseminate its deceptive statements regarding the

risks of off-label use of Actiq and Fentora and the risks, benefits, and superiority of opioids to

Laredo patients and prescribers.

        424.    Cephalon’s speakers regularly held talks for City prescribers. These talks followed the

same deceptive talking points covered in Cephalon’s speakers’ training.

        425.    Cephalon also targeted Laredo prescribers through the use of its sales force.

        426.    Given that Cephalon’s own studies demonstrated that the overwhelming majority of

oncologists diagnose and treat breakthrough cancer pain themselves, Cephalon knew the only

purpose of representatives meeting with these prescribers was to promote off-label use. Based on the

uniform and nationwide character of Cephalon’s marketing, Cephalon’s deceptive messages would

have been disseminated to City prescribers by Cephalon’s sales representatives during these events.

        427.    Sales representatives, and the misrepresentations on which they were trained, drove

significant Fentora sales.

        3.      Endo

        428.    Endo promoted its opioids through the full array of marketing channels. The

company deployed its sales representatives, paid physician speakers, journal supplements, and

advertising in support of its branded opioids, principally Opana and Opana ER. Misleading claims

about the purportedly lower abuse potential of Opana ER featured prominently in this campaign.

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Endo also made many other deceptive statements and omissions. These included deceptive messages

about functional improvement, addiction risk, “pseudoaddiction,” addiction screening tools, and the

safety of alternatives to opioids.

            429.   At the same time, Endo also relied on third-party partners to promote the safety,

efficacy, and superiority of opioids generally, through a combination of CMEs, websites, patient

education pamphlets, and other publications. These materials echoed the misrepresentations

described above, and also made deceptive statements about withdrawal symptoms and the safety of

opioids at higher doses.

            430.   Through the highly coordinated and uniform nature of Endo’s marketing, Endo

conveyed these deceptive messages to City prescribers. The materials that Endo generated in

collaboration with third-parties also were distributed or made available in Laredo. Endo distributed

these messages, or facilitated their distribution, in Laredo with the intent that City prescribers and/or

consumers would rely on them in choosing to use opioids to treat chronic pain.

            a.     Endo’s Deceptive Direct Marketing


            431.   Like the other Defendants, Endo used deceptive direct marketing to increase the sales

of its dangerous opioids. As set forth below, Endo conveyed these deceptive messages in training of

its sales force and recruited speakers, who in turn conveyed them to physicians; in a misleading

journal supplement; and in unbranded advertising.

       i.          Endo’s Sales Force and Deceptive Sales Training

            432.   Endo’s promotion of Opana ER relied heavily on in-person marketing, including to

Laredo’s prescribers. Endo had an aggressive detailing program. In the first quarter of 2010 alone,

sales representatives made nearly 72,000 visits to prescribers nationwide to detail Opana ER. Between




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2007 and 2013, Endo spent between $3 million and $10 million each quarter to promote opioids

through its sales force.

        433.    Endo’s sales representatives, like those of the other Defendants, targeted physicians

to deliver sales messages that were developed centrally and deployed uniformly across the country.

These sales representatives were critical in transmitting Endo’s marketing strategies and talking points

to individual prescribers.

        434.    Endo specifically directed its sales force to target physicians who would prescribe its

drugs to treat chronic pain. For example, an Opana Brand Tactical Plan dated August, 2007 aimed to

increase “Opana ER business from [the Primary Care Physician] community” more than 45% by the

end of that year. Indeed, Endo sought to develop strategies that would be most persuasive to primary

care doctors—strategies that sought to influence the prescribing behavior of primary care physicians

through the use of subject matter experts. A February 2011 Final Report on Opana ER Growth

Trends, for example, predicted that Endo’s planned “[u]se of Pain Specialists as local thought leaders

should affect increased primary care adoption.”

        435.    Endo trained its sales force to make a number of misrepresentations to physicians

nationwide, including to physicians in Laredo. Endo’s sales representatives were trained to represent

to these prescribers that Opana ER would help patients regain function they had lost to chronic pain;

that Endo opioids had a lower potential for abuse because they were “designed to be crush resistant,”

despite the fact that “clinical significance of INTAC Technology or its impact on abuse/misuse ha[d]

not been established for Opana ER;” and that drug seeking behavior was a sign of undertreated pain

rather than addiction.

        436.    Endo knew that its marketing reached physicians repeatedly because it tracked their

exposure. Internal Endo documents dated August 23, 2006 demonstrate that the following

percentages of physicians would view an Endo journal insert (or paid supplement) at least 3 times in

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an 8 month period: 86% of neurologists; 86% of rheumatologists; 85% of oncologists; 85% of

anesthesiologists; 70% of targeted primary care physicians; and 76% of OB/GYNs.

        437.    Endo was not only able to reach physicians through its marketing, but also

successfully impart its marketing messages. The company found that its promotional materials

tripled prescribers’ ability to recall the sales message and doubled their willingness to prescribe

Opana ER in the future. This was true of marketing that contained deceptions.

        438.    For example, according to internal Endo documents, up to 10% of physicians it

detailed were able to recall, without assistance, the message that Opana ER had “Minimal/less

abuse/misuse” potential than other drugs. The Endo message that prescribers retained was a plain

misrepresentation: that use of Opana ER was unlikely to lead to abuse and addiction. Although

Opana ER always has been classified under Schedule II as a drug with a “high potential for abuse”,

the largest single perceived advantage of Opana ER, according to a survey of 187 physicians who

reported familiarity with the drug, was “perceived low abuse potential,” cited by 15% of doctors as an

advantage. Low abuse potential was among the deceptive messages that Laredo’s prescribers

received, and retained, from Endo sales representatives.

        439.    Endo’s own internal documents acknowledged the misleading nature of these

statements, conceding that “Opana ER has an abuse liability similar to other opioid analgesics as

stated in the [FDA-mandated] box warning.” A September 2012 Opana ER Business Plan similarly

stated that Endo needed a significant investment in clinical data to support comparative

effectiveness, scientific exchange, benefits and unmet need, while citing lack of “head-to-head data”

as a barrier to greater share acquisition.

        440.    Nevertheless, Endo knew that its marketing was extremely effective in turning

physicians into prescribers. Nationally, the physicians Endo targeted for in-person marketing

represented approximately 84% of all prescribers of Opana ER in the first quarter of 2010.

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Endo also observed that the prescribers its sales representatives visited wrote nearly three times

as many prescriptions per month for Opana ER as those physicians who were not targeted for

Endo’s marketing—7.4 prescriptions per month versus 2.5. The most heavily targeted

prescribers wrote nearly 30 prescriptions per month. Internal Endo documents from May 2008

indicate that Endo expected that each of its sales representatives would generate 19.6

prescriptions per week by the end of 2008. As summarized by a February 2011 report on

Opana ER growth trends, Endo’s “[a]ggressive detailing [is] having an impact.”

       441.    More broadly, Endo’s sales trainings and marketing plans demonstrate that its

sales force was trained to provide prescribers with misleading information regarding the risks

of opioids when used to treat chronic pain. Foremost among these messages were misleading

claims that the risks of addiction, diversion, and abuse associated with opioids—and Endo’s

products in particular—were low, and lower than other opioids.

       a)     Endo’s Sales Force Deceptively Minimized the Risks of Addiction Associated with
Chronic Opioid Therapy.

       442.    By way of illustration, Endo’s Opana ER INTAC Technology Extended-Release Sell

Sheet Implementation Guide, which instructs Endo sales personnel how to effectively “support key

messages” related to the marketing of Opana ER, states that it is an “approved message” for sales

representatives to stress that Opana ER was “designed to be crush resistant,” even though this

internal document conceded that “the clinical significance of INTAC Technology or its impact on

abuse/misuse has not been established for Opana ER.”

       443.    Other Endo documents acknowledged the limitations on Opana ER’s INTAC

technology, conceding that while Opana ER may be resistant to pulverization, it can still be

“ground” and “cut into small pieces” by those looking to abuse the drug.




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       444.    Endo’s claims about the crush-resistant design of Opana ER also made their way to

the company’s press releases. A January 2013 article in Pain Medicine News, based in part on an Endo

press release, described Opana ER as “crush-resistant.” This article was posted on the Pain Medicine

News website, which was accessible to Laredo’s patients and prescribers.

       445.    The only reason to promote the crush resistance of Opana ER was to persuade

doctors that there was less risk of abuse, misuse, and diversion of the drug. The idea that Opana ER

was less addictive than other drugs was the precise message that City prescribers took from Endo’s

marketing.

       446.    On May 10, 2013 the FDA warned Endo that there was no evidence that Opana

ER’s design “would provide a reduction in oral, intranasal, or intravenous abuse” and that the post-

marketing data Endo had submitted to the FDA “are insufficient to support any conclusion about

the overall or route-specific rates of abuse.” Even though it was rebuked by the FDA, Endo

continued to market Opana ER as having been designed to be crush resistant, knowing that this

would (falsely) imply that Opana actually was crush resistant and that this crush-resistant quality

would make Opana ER less likely to be abused.

       447.    Endo’s sales training and the promotional materials distributed by its sales

representatives also minimized the risk of addiction. Endo also circulated education materials that

minimized the risk of addiction. For example, Endo circulated an education pamphlet with the Endo

logo titled “Living with Someone with Chronic Pain,” which implied, to persons providing care to

chronic pain patients, that addiction was not a substantial concern by stating that “[m]ost health care

providers who treat people with pain agree that most people do not develop an addiction problem.”

This pamphlet was downloadable from Endo’s website and accessible to Laredo’s prescribers.

       448.    Endo’s sales training also misrepresented the risks of addiction associated with

Endo’s products by implying that Opana’s prolonged absorption would make it less likely to lead to

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abuse. For example, a presentation titled “Deliver the Difference for the Opana Brand in POA II”

sets out that one of the “[k]ey [m]essages” for the Endo sales force was that Opana ER provides

“[s]table, steady-state plasma levels for true 12-hour dosing that lasts.” Endo’s sales representatives

used this messaging to imply to City prescribers that Opana ER provided “steady state” pain relief,

making Opana less likely to incite euphoria in patients and less likely to lead to addiction.

        449.    Endo further instructed its sales force to promote the misleading concept of

“pseudoaddiction,”—i.e., that drug-seeking behavior was not cause for alarm, but merely a

manifestation of undertreated pain. In a sales training document titled “Understanding the Primary

Care MD and their use of Opioids,” Endo noted that the “biggest concerns” among primary care

physicians were “prescription drug abuse (84.2%), addiction (74.9%), adverse effects (68%), tolerance

(60.7%), and medication interaction (32%).” In response to these concerns, Endo instructed its sales

representatives to ask whether their customers were “confus[ing] ‘pseudo-addiction’ with ‘drug-

seekers’” and how confident they were that their health care providers “know these differences

(Tolerance, Dependence, Addiction, Pseudo- Addiction . . .).”

      b)      Endo’s Sales Force Deceptively Implied that Chronic Opioid Therapy Would
Improve Patients’ Ability to Function.

        450.    In addition to their deceptive messages regarding addiction, Endo’s promotional

materials and sales trainings also misleadingly claimed that patients using opioids for the long- term

treatment of chronic pain would experience improvements in their daily function. In reality, long-

term opioid use has not been shown to, and does not, improve patients’ function, and, in fact, is

often accompanied by serious side effects that degrade function. Endo’s own internal documents

acknowledged that claims about improved quality of life were unsubstantiated “off label claims.”

        451.    Nevertheless, Endo distributed product advertisements that suggested that using

Opana ER to treat chronic pain would allow patients to perform demanding tasks like work as a


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chef. One such advertisement states prominently on the front: “Janice is a 46-year-old chef with

chronic low back pain. She needs a treatment option with true 12-hour dosing.” The advertisement

does not mention the “moderate to severe pain” qualification in Opana ER’s indication, except in

the fine print. These advertisements were mailed to prescribers and distributed by Endo’s sales force

in detailing visits, which would have included Endo representatives’ visits to prescribers.

          452.   In a 2007 Sales Tool that was intended to be shown by Endo sales personnel to

physicians during their detailing visits, Endo highlighted a hypothetical patient named “Bill,” a 40-

year-old construction worker who was reported to suffer from chronic low back pain. According to

the Sales Tool, Opana ER will make it more likely that Bill can return to work and support his

family.

          453.   Similarly, training materials for sales representatives from March 2009 ask whether it

is true or false that “[t]he side effects of opioids prevent a person from functioning and can cause

more suffering than the pain itself.” The materials indicate that this is “[f]alse” because “[t]he overall

effect of treatment with opioids is very favorable in most cases.”

          454.   A sales training video dated March 8, 2012 that Endo produced and used to train its

sales force makes the same types of claims. A patient named Jeffery explains in the video that he

suffers from chronic pain and that “chronic pain [ . . .] reduces your functional level.” Jeffery claims

that after taking Opana ER, he “can go out and do things” like attend his son’s basketball game and

“[t]here’s no substitute for that.” This video was shown to Endo’s sales force, which adopted its

misleading messaging in its nationwide sales approach, including the approach it used in Laredo.

          455.   Claims of improved functionality were central to Endo’s marketing efforts for years.

A 2012 Endo Business Plan lists ways to position Opana ER, and among them is the claim that

Opana ER will help patients “[m]aintain[] normal functionality, sleep, [and] work/life/performance

productivity” and have a positive “[e]ffect on social relationships.” Indeed, that business plan

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describes the “Opana ER Vision” as “[t]o make the Opana franchise (Opana ER, Opana, Opana

Injection) the choice that maximizes improvement in functionality and freedom from the burden of

moderate-to-severe pain.”

      c)     Endo’s Sales Force Deceptively presented the Risks and Benefits of Opioids to Make
Them Appear Safer Than Other Analgesics


        456.    Endo further misled patients and prescribers by downplaying the risks of opioids in

comparison to other pain relievers. For example, in Laredo and elsewhere, Endo distributed a

presentation titled Case Challenges in Pain Management: Opioid Therapy for Chronic Pain. This study held

out as a representative example one patient who had taken NSAIDs for more than eight years and, as

a result, developed “a massive upper gastrointestinal bleed.” The presentation recommended treating

this patient with opioids instead. By focusing on the adverse side effects of NSAIDs, while omitting

discussion of serious side effects associated with opioids, this presentation misleadingly portrayed the

comparative risks and benefits of these drugs.

        457.    Endo distributed Case Challenges in Pain Management: Opioid Therapy for Chronic Pain to

116,000 prescribers in 2007, including primary care physicians.

      ii.       Endo’s Speakers Bureau Programs Deceptively Minimized the Risks of Addiction Associated with
Chronic Opioid Therapy

        458.    In addition to its sales representatives’ visits to doctors, Endo also used deceptive

science and speaker programs to spread its deceptive messages.

        459.    Endo leaned heavily on its speakers’ bureau programs. In 2008 alone, Endo spent

nearly $4 million to promote up to 1,000 speakers programs around the country. Endo contracted

with a medical communications firm to operate its speakers bureau program, planning to hold a total

of 500 “fee-for-service . . . peer-to-peer promotional programs” for Opana ER in just the second




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half of 2011, including dinners, lunches and breakfasts. These programs were attended by sales

representatives, revealing their true purpose as marketing, rather than educational, events.

        460.    Endo’s internal reporting stated that the “return on investment” turned positive 8-12

weeks after such programs. Endo measured that return on investment in numbers of prescriptions

written by physicians who attended the events. One internal Endo document concluded: “[w]e

looked at the data for [the] 2011 program and the results were absolutely clear: physicians who came

into our speaker programs wrote more prescriptions for Opana ER after attending than they had

before they participated. You can’t argue with results like that.”

        461.    These speakers’ bureau presentations included the very same misrepresentations

Endo disseminated through its sales representatives. A 2012 speaker slide deck for Opana ER— on

which Endo’s recruited speakers were trained and to which they were required to adhere to in their

presentations—misrepresented that the drug had low abuse potential, in addition to suggesting that

as many as one-quarter of the adult population could be candidates for opioid therapy.

        462.    In addition, a 2013 training module directed speakers to instruct prescribers that

“OPANA ER with INTAC is the only oxymorphone designed to be crush resistant” and advised

that “[t]he only way for your patients to receive oxymorphone ER in a formulation designed to be

crush resistant is to prescribe OPANA ER with INTAC.” This was a key point in distinguishing

Opana ER from competitor drugs. Although Endo mentioned that generic versions of

oxymorphone were available, it instructed speakers to stress that “[t]he generics are not designed to

be crush resistant.” This was particularly deceptive given that Opana ER was not actually crush-

resistant.

        463.    In 2009, Endo wrote a talk titled The Role of Opana ER in the Management of Chronic

Pain. The talk included a slide titled “Use of Opioids is Recommended for Moderate to Severe

Chronic Noncancer Pain,” which cited the AAPM/APS Guidelines—and their accompanying

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misstatements regarding the likelihood of addiction (by claiming that addiction risks were

manageable regardless of patients’ past abuse histories) while omitting their disclaimer regarding the

lack of supporting evidence in favor of that position. This dangerously misrepresented to doctors

the force and utility of the 2009 Guidelines.

            464.   The misleading messages and materials Endo provided to its sales force and its

speakers were part of a broader strategy to convince prescribers to use opioids to treat their patients’

pain, irrespective of the risks, benefits, and alternatives. This deception was national in scope and

included Laredo. Endo’s nationwide messages would have reached City prescribers in a number of

ways. For example, they were carried into Laredo by Endo’s sales representatives during detailing

visits as well as made available to City patients and prescribers through websites and ads. They also

have been delivered to City prescribers by Endo’s paid speakers, who were required by Endo policy

and by FDA regulations to stay true to Endo’s nationwide messaging.

     iii.          Endo’s Misleading Journal Supplement

            465.   In 2007, Endo commissioned the writing, and paid for the publishing of a

supplement available for CME credit in the Journal of Family Practice called Pain Management

Dilemmas in Primary Care: Use of Opioids, and it deceptively minimized the risk of addiction by

emphasizing the effectiveness of screening tools. Specifically, it recommended screening patients

using tools like the Opioid Risk Tool or the Screener and Opioid Assessment for Patients with Pain.

It also falsely claimed that, through the use of tools like toxicology screens, pill counts, and a

“maximally structured approach,” even patients at high risk of addiction could safely receive chronic

opioid therapy. Endo distributed 96,000 copies of this CME nationwide, and it was available to, and

was intended to, reach Laredo’s prescribers.

     iv.           Endo’s Deceptive Unbranded Advertising



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       466.    Endo also used unbranded advertisements to advance its goals. By electing to focus

on unbranded marketing, Endo was able to make claims about the benefits of its opioids that the

FDA would never allow in its branded materials. The chart below compares an Endo unbranded

statement with one of Endo’s FDA-regulated, branded statements:


                 Living with Someone                                  Opana ER Advertisement
                   with Chronic Pain                                (2011/2012/2013) (Branded)
                 (2009)(Unbranded)


     Patient education material created by Endo                         Endo advertisement


                                                                  “[C]ontains oxymorphone, an opioid
                                                        agonist and Schedule II controlled substance with
“Most health care providers who treat people with       an abuse liability similar to other opioid agonists,
 pain agree that most people do not develop an                             legal or illicit.”
               addiction problem.”
                                                                “All patients treated with opioids require
                                                            careful monitoring for signs of abuse and
                                                            addiction, since use of opioid analgesic
                                                          products carries the risk of addiction even
                                                               under appropriate medical use.”




       b.      Endo’s Deceptive Third-Party Statements

       467.    Endo’s Efforts were not limited to directly making misrepresentations through its

marketing materials, its speakers, and its sales force. Endo believed that support for patient advocacy

and professional organizations would reinforce Endo’s position as “the pain management

company.”

       468.     Prior to, but in contemplation of, the 2006 launch of Opana ER, Endo developed a

“Public Stakeholder Strategy.” Endo identified “tier one” advocates to assist in promoting the

approval and acceptance of its new extended release opioid. Endo also intended to enlist the support

of organizations that would be “favorable” to schedule II opioids from a sales perspective and that

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engaged in, or had the potential to advocate for, public policy. Endo sought to develop its

relationships with these organizations through its funding. In 2008, Endo spent $1 million per year

to attend conventions of these pro-opioid medical societies, including meetings of AAPM, APS, and

the American Society of Pain Management Nursing (“ASPMN”).

           469.   APF’s ability to influence professional societies and other third parties is

demonstrated by its approach to responding to a citizens’ petition filed with the FDA by the

Physicians for Responsible Opioid Prescribing (the “PROP Petition”). The PROP petition, filed by

a group of prescribers who had become concerned with the rampant prescribing of opioids to treat

chronic pain, asked the FDA to require dose and duration limitations on opioid use and to change

the wording of the approved indication of various long-acting opioids to focus on the severity of the

pain they are intended to treat.

           470.   The PROP Petition set off a flurry of activity at Endo. It was understood that Endo

would respond to the petition but Endo personnel wondered “[s]hould we [ . . . ] consider filing a

direct response to this [citizens’ petition] or do you think we are better served by working through

our professional society affiliations?” One Endo employee responded: “My sense is the societies are

better placed to make a medical case than Endo.” Endo’s Director of Medical Science agreed that “a

reply from an external source would be most impactful.” These communications reflected Endo’s

absolute confidence that the professional societies would support its position.

      i.          APF

           471.   One of the societies with which Endo worked most closely was APF. Endo provided

substantial assistance to, and exercised editorial control, over the deceptive and misleading messages

that APF conveyed through its National Initiative on Pain Control (“NIPC”). Endo was one of

APF’s biggest financial supporters, providing more than half of the $10 million APF received from

opioid manufacturers during its lifespan. Endo spent $1.1 million on the NIPC program in 2008

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alone, funding earmarked in part, for the creation of CME materials that were intended to be used

repeatedly.

       472.    Endo’s influence over APF’s activities was so pervasive that APF President Will

Rowe reached out to Defendants—including Endo—rather than his own staff, to identify potential

authors to answer a 2011 article critical of opioids that had been published in the Archives of

Internal Medicine. Personnel from Defendants Purdue, Endo, Janssen, and Cephalon worked with

Rowe to formulate APF’s response which was ultimately published.

       473.    Documents also indicate that Endo personnel were given advance notice of the

materials APF planned to publish on its website and provided an opportunity to comment on the

content of those materials before they were published. For example, in early July of 2009, APF’s

Director of Strategic Development wrote to Endo personnel to give them advance notice of content

that APF planned to be “putting . . . up on the website but it’s not up yet.” The Endo employee

assured the sender that she “w[ould] not forward it to anyone at all” and promised that she would

“’double delete it’ from [her] inbox.” In response, APF’s Director of Strategic Development replied

internally with only four words: “And where’s the money?”

       474.    At no time was Endo’s relationship with APF closer than during its sponsorship of

the NIPC. Before being taken over by APF, the NIPC was sponsored by Professional Postgraduate

Services which the Accreditation Council for Continuing Medical Education determined to be a

“commercial interest” and could no longer serve as a sponsor. In response, Endo reached out to

APF. An August 2009 document titled “A Proposal for the American Pain Foundation to Assume

Sponsorship of the National Initiative on Pain Control,” pointed out that “[f]or the past 9 years, the

NIPC has been supported by unrestricted annual grants from Endo Pharmaceuticals, Inc.”

According to this document, APF’s sponsorship of the NIPC “[o]ffers the APF a likely opportunity

to generate new revenue, as Endo has earmarked substantial funding: $1.2 million in net revenue for

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2010 to continue the NIPC.” Further, sponsorship of the APF would “[p]rovide[] numerous

synergies to disseminate patient education materials,” including “[h]andouts to attendees at all live

events to encourage physicians to drive their patients to a trusted source for pain education—the

APF website.”

       475.     A September 14, 2009 presentation to APF’s board contained a materially similar

discussion of NIPC sponsorship, emphasizing the financial benefit to APF from assuming the role

of administering NIPC. The proposal “offer[ed] a solution to continue the development and

implementation of the NIPC initiative as non-certified . . . yet independent education to physicians

and healthcare professionals in the primary care setting, while providing the APF with a dependable,

ongoing source of grant revenue.” A number of benefits related to NIPC sponsorship were listed,

but chief among them was “a likely opportunity [for APF] to generate new revenue, as Endo has

earmarked substantial funding: $1.2 million in net revenue for 2010 to continue the NIPC.”

       476.     Internal Endo scheduling documents indicate that “NIPC module curriculum

development, web posting, and live regional interactive workshops” were Endo promotional tasks in

2010. Endo emails indicate that Endo personnel reviewed the content created by NIPC and

provided feedback.

       477.     Behind the scenes, Endo exercised substantial control over NIPC’s work. Endo

exerted its control over NIPC by funding NIPC and APF projects; developing, specifying, and

reviewing content; and taking a substantial role in the distribution of NIPC and APF materials,

which in effect determined which messages were actually delivered to prescribers and consumers.

As described below, Endo projected that it would be able to reach tens of thousands of prescribers

nationwide through the distribution of NIPC materials.

       478.     From 2007 until at least 2011, Endo also meticulously tracked the distribution of

NIPC materials, demonstrating Endo’s commercial interest in, and access to, NIPC’s reach. Endo

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knew exactly how many participants viewed NIPC webinars and workshops and visited its website,

Painknowledge.com. Endo not only knew how many people viewed NIPC’s content, but what their

backgrounds were (e.g., primary care physicians or neurologists). Endo’s access to and detailed

understanding of the composition of the audience at these events demonstrates how deeply Endo

was involved in NIPC’s activities. Moreover, Endo tracked the activities of NIPC—ostensibly a

third party—just as it tracked its own commercial activity.

       479.    Endo worked diligently to ensure that the NIPC materials it helped to develop would

have the broadest possible distribution. Endo’s 2008 to 2012 Opana Brand Tactical Plan indicates

that it sought to reach 1,000 prescribers in 2008 through live NIPC events, and also to “[l]everage

live programs via enduring materials and web posting.” Endo also planned to disseminate NIPC’s

work by distributing two accredited newsletters to 60,000 doctors nationwide for continuing

education credit and by sponsoring a series of 18 NIPC regional case-based interactive workshops.

Endo had earmarked more than one million dollars for NIPC activities in 2008 alone.

       480.    In short, NIPC was a key piece of Endo’s marketing strategy. Indeed, internal APF

emails question whether it was worthwhile for APF to continue operating NIPC given that NIPC’s

work was producing far more financial benefits for Endo than for APF. Specifically, after Endo

approved a $244,337.40 grant request to APF to fund a series of NIPC eNewsletters, APF personnel

viewed it as “[g]reat news,” but cautioned that “the more I think about this whole thing, [Endo’s]

making a lot of money on this with still pretty slender margins on [APF’s] end.” APF’s commitment

to NIPC’s “educational” mission did not figure at all in APF’s consideration of the value of its work,

and Endo’s motive and benefit were never in doubt.

       a)      Misleading Medical Education

       481.    NIPC distributed a series of eNewsletter CMEs focused on “key topic[s]

surrounding the use of opioid therapy” sponsored by Endo. These newsletters were edited by KOL

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Dr. Fine and listed several industry-backed KOLs, including Dr. Webster, as individual authors.

Endo estimated that roughly 60,000 prescribers viewed each one. These CMEs were available to,

and would have been accessed by, Laredo’s prescribers. Before-and-after surveys, summarized in the

chart below, showed that prescriber comfort with prescribing opioids ranged from 27% to 62%

before exposure to the CME, and from 76% to 92% afterwards:




       482.    Endo documents made it clear that the persuasive power of NIPC speakers was

directly proportional to their perceived objectivity. Accordingly, Endo personnel directed that, when

giving Endo-sponsored talks, NIPC faculty would not appear to be “Endo Speakers.” Nevertheless,

the two parties understood that Endo and NIPC shared a common “mission to educate physicians”

and working “through the APF . . . [wa]s a great way to work out . . .problems that could have been

there without the APF’s participation and support.”

       483.    The materials made available on and through NIPC included misrepresentations. For

example, Endo worked with NIPC to sponsor a series of CMEs titled Persistent Pain in the Older Patient



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and Persistent Pain in the Older Adult. These CMEs misrepresented the prevalence of addiction by

stating that opioids have “possibly less potential for abuse” in elderly patients than in younger

patients, even though there is no evidence to support such an assertion. Moreover, whereas

withdrawal symptoms are always a factor in discontinuing long-term opioid therapy, Persistent Pain in

the Older Adult also misleadingly indicated that such symptoms can be avoided entirely by tapering the

patient’s does by 10-20% per day for ten days. Persistent Pain in the Older Patient, for its part, made

misleading claims that opioid therapy has been “shown to reduce pain and improve depressive

symptoms and cognitive functioning.” NIPC webcast these CMEs from its own website, where they

were available to, and were intended to reach, Laredo’s prescribers.

        b)     Pain Knowledge

        484.   Working with NIPC enabled Endo to make a number of misleading statements

through the NIPC’s website, Painknowledge.com. Endo tracked visitors to PainKnowledge.com and used

Painknowledge.com to broadcast notifications about additional NIPC programming that Endo helped

to create.

        485.   APF made a grant request to Endo to create an online opioid “tool-kit” for NIPC

and to promote NIPC’s website, Painknowledge.com. In so doing, APF made clear that it planned to

disseminate Defendants’ misleading messaging. The grant request expressly indicated APF’s intent

to make misleading claims about functionality, noting: “Some of these people [in chronic pain] may

be potential candidates for opioid analgesics, which can improve pain, function, and quality of life.”

Endo provided $747,517 to fund the project.

        486.   True to APF’s word, Painknowledge.com misrepresented that opioid therapy for

chronic pain would lead to improvements in patients’ ability to function. Specifically, in 2009 the

website instructed patients and prescribers that, with opioids, a patient’s “level of function should



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improve” and that patients “may find [they] are now able to participate in activities of daily living,

such as work and hobbies, that [they] were not able to enjoy when [their] pain was worse.”

        487.    Painknowledge.com also deceptively minimized the risk of addiction by claiming that

“[p]eople who take opioids as prescribed usually do not become addicted.” Painknowledge.com did not

stop there. It deceptively portrayed opioids as safe at high doses and also misleadingly omitted

serious risks, including the risks of addiction and death, from its description of the risks associated

with the use of opioids to treat chronic pain.

        488.    Endo was the sole funder of Painknowledge.com, and it continued to provide that

funding despite being aware of the website’s misleading contents.

        c)      Exit Wounds

        489.    Finally, Endo also sponsored APF’s publication and distribution of Exit Wounds, a

publication aimed at veterans that also contained a number of misleading statements about the risks,

benefits, and superiority of opioids to treat chronic pain. Exit Wounds was drafted by Derek

Mcginnis.” Medical Writer X was frequently hired by a consulting Firm, Conrad & Associates LLC,

to write pro-opioid marketing pieces disguised as science. Medical Writer X’s work was reviewed and

approved by drug company representatives, and he felt compelled to draft pieces that he admits

distorted the risks and benefits of chronic opioid therapy in order to meet the demands of his drug

company sponsors.

        490.    Exit Wounds is a textbook example of Medical Writer X’s authorship on drug

companies’ behalf. The book misrepresented the functional benefits of opioids by stating that opioid

medications “increase your level of functioning” (emphasis in original).

        491.    Exit Wounds also misrepresented that the risk of addiction associated with the use of

opioids to treat chronic pain was low. It claimed that “[l]ong experience with opioids shows that



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people who are not predisposed to addiction are very unlikely to become addicted to opioid pain

medications.”

            492.   Finally, Exit Wounds misrepresented the safety profile of using opioids to treat

chronic pain by omitting key risks associated with their use. Specifically, it omitted warnings of the

risk of interactions between opioids and benzodiazepines—a warning sufficiently important to be

included on Endo’s FDA-required labels. Exit Wounds also contained a lengthy discussion of the

dangers of using alcohol to treat chronic pain but did not disclose dangers of mixing alcohol and

opioids—a particular risk for veterans.

            493.   As outlined above, Endo exercised dominance over APF and the projects it

undertook in an effort to promote the use of opioids to treat chronic pain. In addition, as outlined

above, Medical Writer X’s work was being reviewed and approved by drug company representatives,

motivating him to draft pro-opioid propaganda masquerading as science. Combined, these factors

gave Endo considerable influence over the work of Medical Writer X and over APF. Further, by

paying to distribute Exit Wounds, Endo endorsed and approved its contents.

      ii.          Other Front Groups: FSMB, AAPM, and AGS

            494.   In addition to its involvement with APF, Endo worked closely with other third-party

Front Groups and KOLs to disseminate deceptive messages regarding the risks, benefits, and

superiority of opioids for the treatment of chronic pain. As with certain APF publications, Endo in

some instances used its sales force to directly distribute certain publications by these Front Groups

and KOLs, making those publications “labeling” within the meaning of 21 C.F.R.§ 1.3(a).

            495.   In 2007, Endo sponsored FSMB’s Responsible Opioid Prescribing, which in various ways

deceptively portrayed the risks, benefits, and superiority of opioids to treat chronic pain. Responsible

Opioid Prescribing was drafted by “Dr. Fishman.”



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          496.   Endo spent $246,620 to help FSMB distribute Responsible Opioid Prescribing. Endo

approved this book for distribution by its sales force. Based on the uniform and nationwide

character of Endo’s marketing campaign, and the fact that Endo purchased these copies specifically

to distribute them, these copies were distributed to physicians nationwide, including physicians in

Laredo.

          497.   In December 2009, Endo also contracted with AGS to create a CME to promote the

2009 guidelines titled the Pharmacological Management of Persistent Pain in Older Persons with a $44,850

donation. These guidelines misleadingly claimed that “the risks [of addiction] are exceedingly low in

older patients with no current or past history of substance abuse,” as the study supporting this

assertion did not analyze addiction rates by age. They also stated, falsely, that “[a]ll patients with

moderate to severe pain . . . should be considered for opioid therapy (low quality of evidence, strong

recommendation)” when in reality, opioid therapy was only an appropriate treatment for a subset of

those patients, as recognized by Endo’s FDA-mandated labels.

          498.   AGS’s grant request to Endo made explicit reference to the CME that Endo was

funding. Endo thus knew full well what content it was paying to distribute, and was in a position to

evaluate that content to ensure it was accurate, substantiated, and balanced before deciding whether

or not to invest in it. After having sponsored the AGS CME, Endo’s internal documents indicate

that Endo’s pharmaceutical sales representatives discussed the AGS guidelines with doctors during

individual sales visits.

          499.   Endo also worked with AAPM, which it viewed internally as “Industry Friendly,”

with Endo advisors and speakers among its active members. Endo attended AAPM conferences,

funded its CMEs, and distributed its publications.




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             500.    A talk written by Endo in 2009 and approved by Endo’s Medical Affairs Review

Committee, 136 titled The Role of Opana ER in the Management of Chronic Pain, includes a slide titled Use of

Opioids is Recommended for Moderate to Severe Chronic Noncancer Pain. That slide cites the AAPM/APS

Guidelines, which contain a number of misstatements and omits their disclaimer regarding the lack of

supporting evidence. This talk dangerously misrepresented to doctors the force and utility of the 2009

Guidelines.         Furthermore, Endo’s internal documents indicate that pharmaceutical sales

representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with doctors

during individual sales visits.

      iii.           Key Opinion Leaders and Misleading Science

             501.    Endo also sought to promote opioids for the treatment of chronic pain through the

use of key opinion leaders and biased, misleading science.

             502.    Endo’s 2010 publication plan for Opana ER identified a corporate goal of making

Opana ER the second-leading branded product for the treatment of moderate-to-severe chronic

pain (after OxyContin). Endo sought to achieve that goal by providing “clinical evidence for the use

of Opana ER in chronic low back pain and osteoarthritis,” and subsequently successfully had articles

on this topic published. 137


136
    Although they were given slightly different names by each Defendant, each Defendant employed a
committee that could review and approve materials for distribution. These committees included
representatives from all relevant departments within Defendants’ organizations, including the legal,
compliance, medical affairs, and marketing departments. The task of these review committees was to
scrutinize the marketing materials Defendants planned to distribute and to ensure that those materials
were scientifically accurate and legally sound. Tellingly, these committees were called to review only
materials that created a potential compliance issue for the company, an implicit recognition by
defendants that they ultimately would be responsible for the content under review.
137
    These studies suffered from the limitations common to the opioid literature—and worse. None of
the comparison trials lasted longer than three weeks. Endo also commissioned a six-month, open
label trial during which a full quarter of the patients failed to find a stable dose, and 17% of patients
discontinued, citing intolerable effects. In open label trials, subjects know which drug they are taking;
such trials are not as rigorous as double-blind, controlled studies in which neither the patients nor the
examiners know which drugs the patients are taking.
                                                         168
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        503.    In the years that followed, Endo sponsored articles authored by Endo consultants

and Endo employees, which argued that the metabolic pathways utilized by Opana ER, compared

with other opioids, were less likely to result in drug interactions in elderly low back and osteoarthritis

pain patients. In 2010, Endo directed its publication manager to reach out to a list of consultants

conducting an ongoing Endo-funded study, to assess their willingness to respond to an article 138 that

Endo believed emphasized the risk of death from opioids, “without [] fair balance.” 139

        504.    Endo’s reliance on flawed, biased research is also evident in its 2012 marketing

materials and strategic plans. A 2012 Opana ER slide deck for Endo’s speakers bureaus—on which

these recruited physician speakers were trained and to which they were required to adhere—

misrepresented that the drug had low abuse potential and suggested that as many as one-quarter of

the adult population could be candidates for opioid therapy. Although the FDA requires such

speaker slide decks to reflect a “fair balance” of information on benefits and risks, Endo’s slides

reflected one-sided and deeply biased information. The presentation’s 28 literature citations were

largely to “data on file” with the company, posters, and research funded by, or otherwise connected

to, Endo. Endo’s speakers relayed the information in these slides to audiences that were unaware of

the skewed science on which the information was based.

        505.    A 2012 Opana ER Strategic Platform Review suffered from similar defects. Only a

small number of the endnote referenced in the document, which it cited to indicate “no gap” in

scientific evidence for particular claims, were to national-level journals. Many were published in

lesser or dated journals, and written or directly financially supported by opioid manufacturers.

Where the strategy document did cite independent, peer-reviewed research, it did so out of context.


138
    Susan Okie, A Flood of Opioids, a Rising Tide of Deaths, 363 New Engl. J. Med. 1981 (2010),
finding that opioid overdose deaths and opioid prescriptions both increased by roughly 10-fold from
1990 to 2007.
139
    Endo did manage to get a letter written by three of those researchers, which was not published.
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For example, it cited a 2008 review article on opioid efficacy for several claims, including that

“treatment of chronic pain reduces pain and improves functionality,” but it ignored the article’s

overall focus on the lack of consistent effectiveness of opioids in reducing pain and improving

functional status. 140

        506.     Notwithstanding Endo’s reliance upon dubious or cherry-picked science, in an

Opana ER brand strategy plan it internally acknowledged the continuing need for a significant

investment in clinical data to support comparative effectiveness. Endo also cited a lack of “head-to-

head data” as a barrier to greater share acquisition, and the “lack of differentiation data” as a

challenge to addressing the “#1 Key Issue” of product differentiation. This acknowledged lack of

support did not stop Endo from directing its sales representatives to tell prescribers that its drugs

were less likely to be abused or be addictive than other opioids.

        507.     Endo also worked with various KOLs to disseminate various misleading statements

about chronic opioid therapy. For example, Endo distributed a patient education pamphlet edited by

KOL Dr. Russell Portenoy titled Understanding your Pain: Taking Oral Opioid Analgesics. This pamphlet

deceptively minimized the risks of addiction by stating that “[a]ddicts take opioids for other reasons

[than pain relief], such as unbearable emotional problems,” implying that patients who are taking

opioids for pain are not at risk of addiction.

        508.     Understanding your Pain: Taking Oral Opioid Analgesics also misleadingly omitted any

description of the increased risks posed by higher doses of opioid medication. Instead, in a Q&A

format, the pamphlet asked “[i]f I take the opioid now, will it work later when I really need it?” and

responded that “[t]he dose can be increased... [y]ou won’t ‘run out’ of pain relief.”




140
  Andrea M. Trescot et al., Opioids in the management of non-cancer pain: an Update of American
Society of the Interventional Pain Physicians, Pain Physician 2008 Opioids Special Issue, 11:S5-S62.
                                                  170
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        509.    Dr. Portenoy received research support, consulting fees, and honoraria from Endo

for editing Understanding Your Pain and other projects.

        510.    Understanding Your Pain was available on Endo’s website during the time period of

this Complaint and was intended to reach Laredo’s prescribers.

        511.    Endo similarly distributed a book written by Dr. Lynn Webster titled Avoiding Opioid

Abuse While Managing Pain, which stated that in the face of signs of aberrant behavior, increasing the

dose “in most cases . . . should be the clinician’s first response.”

        512.    A slide from an Opana ER business plan contemplated distribution of the book as

part of Endo’s efforts to “[i]ncrease the breadth and depth of the OPANA ER prescriber base via

targeted promotion and educational programs.” The slide indicates that the book would be

particularly effective “for [the] PCP audience” and instructed “[s]ales representatives [to] deliver[ the

book] to participating health care professionals.” The slide, shown below, demonstrates Endo’s

express incorporation of this book by a KOL into its marketing strategy:




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        513.    Endo Documents indicate that, around 2007, the company purchased at least 50,000

copies of the book for distribution. Internal Endo documents Demonstrate that the book had been

approved for distribution by Endo’s sales force, and that Endo had fewer than 8,000 copies on hand

in March of 2013. Based on the nationwide and uniform character of Endo’s marketing, and the

book’s approval for distribution, this book was available to and was intended to reach prescribers.

        c.      Endo’s Deceptive Statements to Laredo’s Prescribers and Patients

        514.    Endo also directed the dissemination of the misstatements described above to

Laredo’s patients and prescribers, including through its sales force, speakers bureaus, CMEs, and the

Painknowledge.com website.

        515.    Consistent with their training, Endo’s sales representatives delivered all of these

deceptive messages to City prescribers.

        516.    Endo also directed misleading marketing to City and county prescribers and patients

through the APF/NIPC materials it sponsored, reviewed, and approved. For example, Endo hired a

New York-based KOL to deliver a CME titled Managing Persistent Pain in the Older Patient on April 27,

2010. As described above, this CME misrepresented the prevalence of addiction in older patients

and made misleading claims that chronic opioid therapy would improve patients’ ability to function.

An email invitation to the event and other NIPC programs was sent to “all healthcare professionals”

in APF’s database.

        517.    The significant response to Painknowledge.com also indicates that those websites were

viewed by Laredo’s prescribers, who were then exposed to the site’s misleading information

regarding the effect of opioids on patients’ ability to function and the deceptive portrayal of the risks

of opioids. As of September 14, 2010, Painknowledge.com had 10,426 registrants, 86,881 visits, 60,010

visitors, and 364,241 page views. Upon information and belief, based on the site’s nationwide

availability, among the site’s visitors were Laredo’s patients and prescribers who were then exposed

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to the site’s misleading information regarding the effect of opioids on patients’ ability to function

and the deceptive portrayal of the risks of opioids.

        518.    Endo knew that the harms from its deceptive marketing would be felt in Laredo. It

saw workers’ compensation programs as a lucrative opportunity, and it promoted the use of opioids

for chronic pain arising from work-related injuries, like chronic lower back pain. Endo developed

plans to “[d]rive demand for access through the employer audience by highlighting cost of disease

and productivity loss in those with pain; [with a] specific focus on high-risk employers and

employees.” In 2007, Endo planned to reach 5,000 workers’ compensation carriers to ensure that

Opana ER would be covered under disability insurance plans. Endo knew or should have known

that claims for its opioids would be paid for by Laredo’s workers’ compensation program.

        4.      Janssen

        519.    Janssen promoted its branded opioids, including Duragesic, Nucynta, and Nucynta

ER, through its sales representatives and a particularly active speakers program. Deceptive messages

regarding low addiction risk and low prevalence of withdrawal symptoms were a foundation of this

marketing campaign. Janssen also conveyed other misrepresentations including that its opioids could

safely be prescribed at higher doses and were safer than alternatives such as NSAIDs.

        520.    Janssen supplemented these efforts with its own unbranded website, as well as third-

party publications and a Front Group website, to promote opioids for the treatment of chronic pain.

These materials likewise made deceptive claims about addiction risk, safety at higher doses, and the

safety of alternative treatments. They also claimed that opioid treatment would result in functional

improvement, and further masked the risk of addiction by promoting the concept of

pseudoaddiction.

        521.    Based on the highly coordinated and uniform nature of Janssen’s marketing, Janssen

conveyed these deceptive messages to City prescribers. The materials that Janssen generated in

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collaboration with third-parties also were distributed or made available in Laredo. Janssen distributed

these messages, or facilitated their distribution, in Laredo with the intent that City prescribers

and/or consumers would rely on them in choosing to use opioids to treat chronic pain.

           a.     Janssen’s Deceptive Direct Marketing

           522.   Janssen joined the other Defendants in propagating deceptive branded marketing

that falsely minimized the risks and overstated the benefits associated with the long-term use of

opioids to treat chronic pain. Like the other Defendants, Janssen sales representatives visited

targeted physicians to deliver sales messages that were developed centrally and deployed identically

across the country. These sales representatives were critical in transmitting Janssen’s marketing

strategies and talking points to individual prescribers. In 2011, at the peak of its effort to promote

Nucynta ER, Janssen spent more than $90 million on detailing.

           523.   Janssen’s designs to increase sales through deceptive marketing are apparent on the

face of its marketing plans. For example, although Janssen knew that there was no credible scientific

evidence establishing that addiction rates were low among patients who used opioids to treat chronic

pain, its Nucynta Business Plans indicated that one of the “drivers” to sell more Nucynta among

primary care physicians was the “[l]ow perceived addiction and/or abuse potential” associated with

the drug. However, there is no evidence that Nucynta is any less addictive or prone to abuse than

other opioids, or that the risk of addiction or abuse is low. Similarly, Janssen knew that there were

severe symptoms associated with opioid withdrawal including, severe anxiety, nausea, vomiting,

hallucinations, and delirium, yet Janssen touted the ease with which patients could come off opioids.

      i.          Janssen’s Deceptive Sales Training

           524.   Janssen’s sales force was compensated based on the number of Nucynta

prescriptions written in each sales representative’s territory. Janssen encouraged these sales



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representatives to maximize sales of Nucynta and meet their sales targets by relying on the false and

misleading statements described above.

        525.    For example, Janssen’s sales force was trained to trivialize addiction risk. A June

2009 Nucynta training module warns that physicians are reluctant to prescribe controlled substances

like Nuycnta because of their fear of addicting patients, but this reluctance is unfounded because

“the risks . . . are [actually] much smaller than commonly believed.” Janssen also encouraged its sales

force to misrepresent the prevalence of withdrawal symptoms associated with Nucynta. A Janssen

sales training PowerPoint titled “Selling Nucynta ER and Nucynta” indicates that the “low incidence

of opioid withdrawal symptoms” is a “core message” for its sales force. The message was touted at

Janssen’s Pain District Hub Meetings, in which Janssen periodically gathered its sales force

personnel to discuss sales strategy.

        526.    This “core message” of a lack of withdrawal symptoms runs throughout Janssen’s

sales training materials. For example, Janssen’s “Licensed to Sell” Facilitator’s Guide instructs those

conducting Janssen sales trainings to evaluate trainees, in part, on whether they remembered that

“[w]ithdrawal symptoms after abrupt cessation of treatment with NUCYNTA ER were mild or

moderate in nature, occurring in 11.8% and 2% of patients, respectively” and whether they were able

to “accurately convey” this “core message.” Janssen further claimed in 2008 that “low incidence of

opioid withdrawal symptoms” was an advantage of the tapentado molecule.

        527.    Similarly, a Nucynta Clinical Studies Facilitator’s Guide instructs individuals training

Janssen’s sales representatives to ask trainees to describe a “key point”—that “83% of patients

reported no withdrawal symptoms after abruptly stopping treatment without initiating alternative

therapy”—“as though he/she is discussing it with a physician.”

        528.    This misrepresentation regarding withdrawal was one of the key messages Janssen

imparted to employees in the “Retail ST 101 Training” delivered to Nucynta sales representatives.

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            529.   Indeed, training modules between 2009 and 2011 instruct training attendees that

“most patients [who discontinued taking Nucynta] experienced no withdrawal symptoms” and “[n]o

patients experienced moderately severe or severe withdrawal symptoms.”

            530.   During the very time Janssen was instructing its sales force to trivialize the risks of

addiction and withdrawal associated with the use of Nucynta to treat chronic pain, it knew or should

have known, that significant numbers of patients using opioids to treat chronic pain experienced

issues with addiction. Janssen knew or should have known that its studies on withdrawal were

flawed and created a misleading impression of the rate of withdrawal symptoms and, as a result, the

risk of addiction.

            531.   The misleading messages and materials Janssen provided to its sales force were part

of a broader strategy to convince prescribers to use opioids to treat their patients’ pain, irrespective

of the risks, benefits, and alternatives. This deception was national in scope and included Laredo.

Janssen’s nationwide messages reached Laredo’s prescribers in a number of ways, including through

its sales force in detailing visits, as well as through websites and ads. They were also delivered to

Laredo’s prescribers by Janssen’s paid speakers, who were required by Janssen policy and by FDA

regulations to stay true to Janssen’s nationwide messaging.

      ii.          Janssen’s Deceptive Speakers Bureau Programs

            532.   Janssen did not stop at disseminating its misleading messages regarding chronic

opioid therapy through its sales force. It also hired speakers to promote its drugs and trained them

to make the very same misrepresentations made by its sales representatives.

            533.   Janssen’s speakers worked from slide decks—which they were required to present—

reflecting the deceptive information about the risks, benefits, and superiority of opioids outlined

above. For example, a March 2011 speaker’s presentation titled A New Perspective For Moderate to Severe

Acute Pain Relief: A Focus on the Balance of Efficacy and Tolerability set out the following adverse events

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associated with use of Nucynta: nausea, vomiting, constipation, diarrhea, dizziness, headache,

anxiety, restlessness, insomnia, myalgia, and bone pain. It completely omitted the risks of misuse,

abuse, addiction, hyperalgesia, hormonal dysfunction, decline in immune function, mental clouding,

confusion, and other known, serious risks associated with chronic opioid therapy. The presentation

also minimized the risks of withdrawal by stating that “more than 82% of subjects treated with

tapentadol IR reported no opioid withdrawal symptoms.”

            534.   An August 2011 speaker presentation titled New Perspectives in the Management of

Moderate to Severe Chronic Pain contained the same misleading discussion of the risks associated with

chronic opioid therapy. It similarly minimized the risks of withdrawal by reporting that 86% of

patients who stopped taking Nucynta ER “abruptly without initiating alternative opioid therapy”

reported no withdrawal symptoms whatsoever. The same deceptive claims regarding risks of adverse

events and withdrawal appeared in a July 2012 speaker’s presentation titled Powerful Pain Management:

Proven Across Multiple Acute and Chronic Pain Models.

            535.   These speakers presentations were part of Janssen’s nationwide marketing efforts.

Upon information and belief, a number of these events were available to and were intended to reach

Laredo prescribers.

     iii.          Janssen’s Deceptive Unbranded Advertising


            536.   Janssen was aware that its branded advertisements and speakers programs would face

regulatory scrutiny that would not apply to its unbranded materials, so Janssen also engaged in direct,

unbranded marketing.

            537.   One such unbranded project was Janssen’s creation and maintenance of

Prescriberesponsibly.com (last updated July 2, 2015), a website aimed at prescribers and patients that

claims that concerns about opioid addiction are “overstated.” A disclaimer at the bottom of the



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website states that the “site is published by Janssen Pharmaceuticals, Inc., which is solely responsible

for its content.” This website was available to and intended to reach Laredo’s prescribers and

patients.

            b.     Janssen’s Deceptive Third-Party Statements

            538.   Janssen’s efforts were not limited to directly making misrepresentations through its

sales force, speakers’ bureau, and website. To avoid regulatory constraints and give its efforts an

appearance of independence and objectivity, Janssen obscured its involvement in certain marketing

activities by “collaborat[ing] with key patient advocacy organizations” to release misleading

information about opioids.

       i.          AAPM and AGS – Finding Relief: Pain Management for Older Adults

            539.   Janssen worked with AAPM and AGS to create a patient education guide entitled

Finding Relief: Pain Management for Older Adults (2009). In doing so, Janssen contracted with a medical

publishing firm, Conrad & Associates, LLC. The content was drafted by a writer (“Medical Writer

X”) hired by Conrad & Associates and funded by Janssen. These materials were reviewed, in detail,

by Janssen’s medical-legal review team, which conducted detailed reviews and gave him editorial

feedback on his drafts, which was adopted in the published version.

            540.   Medical Writer X understood, without being explicitly told, that since his work was

funded and reviewed by Janssen, the materials he was writing should aim to promote the sale of more

drugs by overcoming the reluctance to prescribe or use opioids to treat chronic pain. He knew that

the publication was undertaken in connection with the launch of a new drug and was part of its

promotional effort. Medical Writer X knew of the drug company’s sponsorship of the publication,

and he would go to the company’s website to learn about the drug being promoted. He also knew

that his clients—including Janssen—would be most satisfied with his work if he emphasized that: (a)

even when used long-term, opioids are safe and the risk of addiction is low; (b) opioids are effective

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for chronic pain; and (c) opioids are under-prescribed because doctors are hesitant, confused, or face

other barriers. 141

         541.     Finding Relief is rife with the deceptive content. Finding Relief misrepresents that opioids

increase function by featuring a man playing golf on the cover and listing examples of expected

functional improvement from opioids, like sleeping through the night, returning to work, recreation,

sex, walking, and climbing stairs. The guide states as a “fact” that “opioids may make it easier for

people to live normally” (emphasis in the original). The functional claims contained in Finding Relief

are textbook examples of Defendants’ use of third parties to disseminate messages the FDA would

not allow them to say themselves. Compare, e.g.:

                                Branded Advertisement That Triggers an
                                FDA Warning Letter (2008) 142
                                Improvement in Daily Activities Includes:
                                •     Walking on a flat surface
                                •     Standing or sitting
                                •     Climbing stairs
                                •     Getting in and out of bed or bath
                                •     Ability to perform domestic duties
                  with:

                                 Seemingly Independent Publication: “Finding Relief:
                          Pain Management for Older Adults”
                                 (Final Authority, Janssen 2009):
                                 Your recovery will be measured by how well you reach
                          functional goals such as
                                 •        Sleeping without waking from pain
                                 •        Walking more, or with less pain
                                 •        Climbing stairs with less pain

141
    Medical Writer X now acknowledges that the lists of adverse effects from chronic opioid use in
the publications he authored, which excluded respiratory depression, overdose, and death and
minimized addiction, were, “ridiculous” and “prime examples” of leaving out facts that the
pharmaceutical company sponsors and KOLs knew at the time were true. His writings repeatedly
described the risk of addiction as low. Medical Writer X stated that he understood that the goal was
to promote opioids and, as a result, discussing addiction would be “counterproductive.”
142
    This advertisement drew an FDA Warning Letter dated March 24, 2008. Though the
advertisement was by drug company King, it is used here to demonstrate the types of claims that the
FDA regarded as unsupported.
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                                •       Returning to work
                                •       Enjoying recreational activities
                                •       Having sex
                                •       Sleeping in your own bed


        542.    Finding Relief also trivialized the risks of addiction describing as a “myth” that opioids

are addictive, and asserting as fact that “[m]any studies show that opioids are rarely addictive when

used properly for the management of chronic pain.”

        543.    Finding Relief further misrepresented that opioids were safe at high doses by listing

dose limitations as “disadvantages” of other pain medicines and omitting any discussion of risks from

increased doses of opioids. The publication also falsely claimed that it is a “myth” that “opioid doses

have to be bigger over time.”

        544.    Finally, Finding Relief deceptively overstated the risks associated with alternative forms

of treatment. It juxtaposed the advantages and disadvantages of NSAIDs on one page, with the

“myths/facts” of opioids on the facing page. The disadvantages of NSAIDs are described as

involving “stomach upset or bleeding,” “kidney or liver damage if taken at high doses or for a long

time,” “adverse reactions in people with asthma,” and “increase[d] . . .risk of heart attack and stroke.”

Conversely, the only adverse effects of opioids listed by Finding Relief are “upset stomach or

sleepiness,” which the brochure claims will go away, and constipation. The guide never mentions

addiction, overdose, abuse, or other serious side effects of opioids.

        545.    Janssen was not merely a passive sponsor of Finding Relief. Instead, Janssen exercised

control over its content and provided substantial assistance to AGS and AAPM to distribute it. A

“Copy Review Approval Form” dated October 22, 2008 indicates that key personnel from Janssen’s

Advertising    &   Promotion,       Legal,   Health    Care   Compliance,   Medical    Affairs,   Medical

Communications, and Regulatory Departments reviewed and approved Finding Relief. All six Janssen

personnel approving the publication checked the box on the approval form indicating that Finding

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Relief was “Approved With Changes.” After the publication was modified at the behest of Janssen

personnel, Janssen paid to have its sales force distribute 50,000 copies of Finding Relief throughout the

nation. Thus, Finding Relief is considered labeling for Janssen’s opioids within the meaning of 21

C.F.R. § 1.3(a).

            546.   AAPM purchased and distributed copies of Finding Relief to all of its members,

including those who reside in Laredo.

            547.   Finding Relief’s author, Medical Writer X, later said it was clear, from his position at the

intersection of science and marketing, that the money paid by drug companies to the KOLs and

professional and patient organizations with which he worked, distorted the information provided to

doctors and patients regarding opioids. The money behind these and many other “educational”

efforts also, he believes, led to a widespread lack of skepticism on the part of leading physicians about

the hazards of opioids. It also led these physicians to accept, without adequate scrutiny, published

studies that, while being cited to support the safety of opioids, were, in fact, of such poor

methodological quality that they would not normally be accepted as adequate scientific evidence.

      ii.          AGS – Misleading Medical Education

            548.   Janssen also worked with AGS on another project—AGS’s CME promoting the 2009

guidelines for the Pharmacological Management of Persistent Pain in Older Persons. These guidelines falsely

claimed that “the risks [of addiction] are exceedingly low in older patients with no current or past

history of substance abuse” although the study supporting this assertion did not analyze addiction

rates by age. They also stated falsely, that “[a]ll patients with moderate to severe pain . . . should be

considered for opioid therapy (low quality of evidence, strong recommendation).” Based on Janssen’s

control over AGS’s Finding Relief, Janssen also would have exercised control over this project as well.




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     iii.          APF

            549.   Janssen also worked with APF to carry out its deceptive marketing campaign.

Documents obtained from one of Janssen’s public relations firms, Ketchum, indicate that Janssen

and the firm enlisted APF as part of an effort to “draft media materials and execute [a] launch plan”

for Janssen’s drugs at an upcoming meeting of the AAPM. Janssen also drew on APF publications to

corroborate claims in its own marketing materials and its sales training. Janssen personnel

participated in a March 2011 call with APF’s “Corporate Roundtable,” in which they worked with

APF and drug company personnel to develop strategies to promote chronic opioid therapy. APF

personnel spoke with Janssen employees who “shar[ed] expertise from within their company for [a]

public awareness campaign.”

            550.   Their joint work on the “Corporate Roundtable” demonstrates the close collaboration

between Janssen and APF in promoting opioids for the treatment of chronic pain. APF President

Will Rowe also reached out to Defendants—including Janssen— rather than his own staff, to identify

potential authors to answer a 2011 article critical of opioids that had been published in the Archives

of Internal Medicine. Additional examples of APF’s collaboration with Janssen are laid out below:

            a)     Let’s Talk Pain

            551.   Most prominent among these efforts was the Let’s Talk Pain website. Janssen

sponsored Let’s Talk Pain in 2009, acting in conjunction with APF, American Academy of Pain

Management, and American Society of Pain Management Nursing.                     Janssen financed and

orchestrated the participation of these groups in the website.

            552.   Janssen exercised substantial control over the content of the Let’s Talk Pain website.

Janssen’s internal communications always referred to Let’s Talk Pain as promoting tapentadol, the

molecule it sold as Nucynta and Nucynta ER. Janssen regarded Let’s Talk Pain and another website—

Prescriberesponsibly.com— as integral parts of Nucynta’s launch:

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        553.    Janssen documents also reveal that Janssen personnel viewed APF and AAPM as

“coalition members” in the fight to increase market share.

        554.    To this end, Janssen and APF entered into a partnership to “keep pain and the

importance of responsible pain management top of mind” among prescribers and patients. They

agreed to work to reach “target audiences” that included patients, pain management physicians,

primary care physicians, and KOLs. One of the roles Janssen assumed in the process was to

“[r]eview, provide counsel on, and approve materials.” Janssen did in fact review and approve

material for the Let’s Talk Pain website, as evidenced by the following edits by a Janssen executive to

the transcript of a video that was to appear on the site:




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       555.    The final version of the video on Let’s Talk Pain omitted the stricken language above.

       556.    This review and approval authority extended to the Let’s Talk Pain website. Emails

between Janssen personnel and a consultant indicate that, even though the Let’s Talk Pain website

was hosted by APF, Janssen had approval rights over its content. Moreover, emails describing

Janssen’s review and approval rights related to Let’s Talk Pain indicate that this right extended to

“major changes and video additions.”

       557.    As a 2009 Janssen memo conceded, “[t]he Let’s Talk Pain Coalition is sponsored by

PriCara, a Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc.” and “[t]he Coalition and PriCara

maintain editorial control of all Let’s Talk Pain materials and publications” (emphasis added).

       558.    A 2011 Consulting Agreement between Janssen and one of APF’s employees, relating

to the dissemination of national survey data, demonstrates the near-total control Janssen was

empowered to exercise over APF in connection with the Let’s Talk Pain website, including requiring

APF to circulate and post Janssen’s promotional content. The agreement required APF to

“participate in status calls between Janssen, APF, AAPM, ASPMN, and Ketchum as requested by

Janssen” and required APF to “respond to requests to schedule status calls within 48 hours of the

request” (emphasis in original). APF also was required to “[r]eview and provide feedback to media

materials, including a press release, pitch email, a key messages document, and social media messages,

within one week of receipt” (emphasis in original).



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        559.    The agreement further required APF to provide a summary of the survey results in

APF’s PAIN MONITOR e-newsletter, post a link to the survey results on APF’s Facebook page,

send out tweets related to the survey, serve as a spokesperson available for media interviews, “[s]hare

information with any media contacts with whom APF has existing relationships to promote the

announcement of the national survey findings,” identify at least two patient spokespersons to talk

about the survey data, and include the survey results in “any future APF materials, as appropriate.”

Tellingly, “any ideas made or conceived by [APF] in connection with or during the performance” of

the Agreement “shall be the property of, and belong to, [Janssen].”

        560.    Janssen also exercised its control over Let’s Talk Pain. Janssen was able to update the

Let’s Talk Pain website to describe its corporate restructuring and Janssen personnel asserted their

control over “video additions” by reviewing and editing the interview touting the functional benefits

of opioids. Given its editorial control over the content of Let’s Talk Pain, Janssen was, at all times,

fully aware of—and fully involved in shaping—the website’s content. 143

        561.    Let’s Talk Pain contained a number of misrepresentations.

        562.    For example, Let’s Talk Pain misrepresented that the use of opioids for the treatment

of chronic pain would lead to patients regaining functionality. Let’s Talk Pain featured an interview

claiming that opioids were what allowed a patient to “continue to function.” This video is still

available today on YouTube.com and is accessible to Laredo prescribers and patients.

        563.    In 2009, Let’s Talk Pain also promoted the concept of “pseudoaddiction,” which it

described as patient behaviors that may occur when pain is under-treated” but differs “from true

addiction because such behaviors can be resolved with effective pain management” (emphasis

added). Let’s Talk Pain was available to, and was intended to, reach Laredo patients and prescribers.

143
   It bears noting that Janssen does not publicly identify its role in creating Let’s Talk Pain’s content.
Instead, Let’s Talk Pain represents that “coalition members” develop the content that appears on the
website and lists Janssen as the only sponsor of that coalition.
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            b)     Exit Wounds

            564.   Janssen also engaged in other promotional projects with and through APF. One such

project was the publication and distribution of Exit Wounds, which, as described above, deceptively

portrayed the risks, benefits, and superiority of opioids to treat chronic pain. Exit Wounds was drafted

by “Medical Writer X.” It is fully representative of his work on behalf of drug companies.

            565.   Janssen gave APF substantial assistance in distributing Exit Wounds in Laredo and

throughout the nation by providing grant money and other resources.

            c.     Janssen’s Deceptive Statements to Laredo Prescribers and Patients

            566.   Janssen also directed the misstatements described above to Laredo patients and

prescribers, including through CMEs, its sales force, and recruited physician speakers.

       i.          Janssen’s Deceptive Medical Education Programs in Laredo

            567.   Janssen sponsored CMEs and talks attended by City prescribers.

      ii.          Janssen’s Deceptive Detailing Practices in Laredo


            568.   The experiences of specific prescribers confirm both that Janssen’s national marketing

campaign included the misrepresentations, and that the company disseminated these same

misrepresentations to Laredo prescribers and consumers. In particular, these prescriber accounts

reflect that Janssen detailers claimed that Nucynta was “not an opioid” because it worked on an

“alternate receptor”; 144 claimed that Janssen’s drugs would be less problematic for patients because

they had anti-abuse properties and were “steady state”; claimed that patients on Janssen’s drugs were

less susceptible to withdrawal; omitted or minimized the risk of opioid addiction; claimed or implied




144
   The FDA-approved labels for both Nucynta and Nucynta ER describe the tapentadol molecule as
an “opioid agonist and a Schedule II controlled substance that can be abused in a manner similar to
other opioid agonists, legal or illicit.”
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that opioids were safer than NSAIDs; and overstated the benefits of opioids, including by making

claims of improved function.

        5.      Purdue

        569.    Purdue promoted its branded opioids—principally, Oxycontin, Butrans, and

Hysingla—and opioids generally in a campaign that consistently mischaracterized the risk of

addiction and made deceptive claims about functional improvement. Purdue did this through its sales

force, branded advertisements, promotional materials, and speakers, as well as a host of materials

produced by its third-party partners, most prominently APF. Purdue’s sales representatives and

advertising also misleadingly implied that OxyContin provides a full 12 hours of pain relief, and its

allied Front Groups and KOLs conveyed the additional deceptive messages about opioids’ safety at

higher doses, the safety of alternative therapies, and the effectiveness of addiction screening tools.

        570.    Based on the highly coordinated and uniform nature of Purdue’s marketing, Purdue

conveyed these deceptive messages to Laredo prescribers. The materials that Purdue generated in

collaboration with third parties also were distributed or made available in Laredo. Purdue distributed

these messages, or facilitated their distribution, in Laredo with the intent that Laredo prescribers

and/or consumers would rely on them in choosing to use opioids to treat chronic pain.

        a.      Purdue’s Deceptive Direct Marketing

        571.    Like the other Defendants, Purdue directly disseminated deceptive branded and

unbranded marketing focused on minimizing the risks associated with the long-term use of opioids to

treat chronic pain. Purdue directed these messages to prescribers and consumers through its sales

force and branded advertisements.

        572.    Purdue engaged in in-person marketing to doctors in Laredo. Purdue had 250 sales

representatives in 2007, of whom 150 were devoted to promoting sales of OxyContin full time. Like

the other Defendants’ detailers, Purdue sales representatives visited targeted physicians to deliver

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sales messages that were developed centrally and deployed, identically, across the country. These sales

representatives were critical in delivering Purdue’s marketing strategies and talking points to

individual prescribers. 145 Indeed, Endo’s internal documents indicate that pharmaceutical sales

representatives employed by Endo, Actavis, and Purdue discussed the AAPM/APS Guidelines,

which as discussed above deceptively concluded that the risk of addiction is manageable for patients

regardless of past abuse histories, with doctors during individual sales visits.

        573.    Purdue’s spending on detailing reached its nadir in 2006 and 2007, as the company

faced civil and criminal charges for misbranding OxyContin. Since settling those charges in 2007,

however, Purdue has sharply increased its quarterly spending on promotion through its sales force,

from under $5 million in 2007 to more than $30 million by the end of 2014.

        574.    Purdue also marketed its drugs through branded advertisements which relied on,

among other deceptive tactics, misleading statements about the efficacy and onset of OxyContin.

Purdue marketed its drug as effective for 12 hours while knowing that these claims were misleading

because, for many patients, the pain relief lasted for as little as eight hours, leading to end-of-dose

failure and withdrawal symptoms. This prompted doctors to prescribe, or patients to take, higher or

more frequent doses of opioids, all of which increased the risk of abuse and addiction.

        575.    For example, a “Conversion and Titration Guide” submitted to the FDA and

distributed to physicians by Purdue, prominently referred to “Q12h OxyContin Tablets,” meaning

that each tablet was intended to “offer . . . every-twelve-hour dosing.” Other marketing materials

directed at physicians and disseminated across the country in 2006 touted that OxyContin’s “12-hour

AcroContin Delivery System” was “designed to deliver oxycodone over 12 hours,” which offered


145
   But Purdue did not stop there. It also tracked around 1,800 doctors whose prescribing patterns
demonstrated a probability that they were writing opioid prescriptions for addicts and drug dealers.
Purdue kept the program secret for nine years and, when it finally did report information about these
suspicious doctors to law enforcement authorities, it only did so with respect to 8% of them.
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patients “life with Q12H relief.” Those same marketing materials included a timeline graphic with

little white paper pill cups at “8AM” and, further down the line, at “8PM” only. They also proclaimed

that OxyContin provided “Consistent Plasma Levels Over 12 Hours” and set forth charts

demonstrating absorption measured on a logarithmic scale, which fraudulently made it appear that

levels of oxycodone in the bloodstream slowly taper over a 12-hour time period.

        576.       Purdue advertisements that ran in 2005 and 2006 issues of the Journal of Pain depicted

a sample prescription for OxyContin with “Q12h” handwritten. Another advertisement Purdue ran

in 2005 in the Journal of Pain touted OxyContin’s “Q12h dosing convenience” and displayed two

paper dosing cups, one labeled “8 am” and one labeled “8 pm,” implying that OxyContin is effective

for the 12-hour period between 8 a.m. and 8 p.m. Similar ads appeared in the March 2005 Clinical

Journal of Pain.

        577.       Purdue continued to include prominent 12-hour dosing instructions in its branded

advertising, such as in a 2012 Conversion and Titration Guide, which states: “Because each patient’s

treatment is personal / individualize the dose / Q12h OxyContin Tablets.”

        578.       As outlined above, however, these statements are misleading because they fail to

make clear that a 12-hour dose does not equate to 12 hours of pain relief. Nevertheless, Purdue’s

direct marketing materials have misleadingly claimed OxyContin offers 12 hour “dosing

convenience.”

        579.       As described below, these deceptive statements regarding the efficacy of OxyContin

were also carried into Laredo by Purdue’s detailers.

        580.       Purdue’s direct marketing materials also misrepresented that opioids would help

patients regain functionality and make it easier for them to conduct everyday tasks like walking,

working, and exercising.



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        581.     For example, in 2012, Purdue disseminated a mailer to doctors titled “Pain vignettes.”

These “vignettes” consisted of case studies describing patients with pain conditions that persisted

over a span of several months. One such patient, “Paul,” is described as a “54-year-old writer with

osteoarthritis of the hands,” and the vignettes imply that an OxyContin prescription will help him

work. None of these ads, however, disclosed the truth—that there is no evidence that opioids

improve patients’ lives and ability to function and that there was substantial evidence to the contrary.

        582.     Some of the greatest weapons in Purdue’s arsenal, however, were unbranded materials

it directly funded and authored. These were in addition to the unbranded materials, described below,

that Purdue channeled through third parties.

        583.     In 2011, Purdue published a prescriber and law enforcement education pamphlet

titled Providing Relief, Preventing Abuse, which deceptively portrayed the signs—and therefore the

prevalence—of addiction. However, Purdue knew, as described above, that OxyContin was used

non-medically by injection less than less than 17% of the time. Yet, Providing Relief, Preventing Abuse

prominently listed side effects of injection like skin popping and track marks as “Indications of

Possible Drug Abuse”—downplaying much more prevalent signs of addiction associated with

OxyContin use such as asking for early refills, making it seem as if addiction only occurs when

opioids are taken illicitly.

        584.     Providing Relief, Preventing Abuse also deceptively camouflaged the risk of addiction by

falsely supporting the idea that drug-seeking behavior could, in fact, be a sign of “pseudoaddiction”

rather than addiction itself. Specifically, it noted that the concept of “pseudoaddiction” had “emerged

in the literature” to describe “[drug-seeking behaviors] in patients who have pain that has not been

effectively treated.” Nowhere in Providing Relief, Preventing Abuse did Purdue disclose the lack of

scientific evidence justifying the concept of “pseudoaddiction,” or that the phrase itself had been

coined by a Purdue vice president.

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        585.     Providing Relief, Preventing Abuse was available nationally and was intended to reach

Laredo prescribers. As described below, the deceptive statements in Providing Relief, Preventing Abuse

regarding addiction were the very same messages Purdue directed at Laredo prescribers through its

sales force.

        586.     Purdue also disseminated misrepresentations through two of its unbranded websites,

In the Face of Pain and Partners Against Pain.

        587.     Consistent with Purdue’s efforts to portray opioid treatment as “essential” for the

proper treatment of chronic pain and label skepticism related to chronic opioid therapy as an

“inadequate understanding” that leads to “inadequate pain control,” In the Face of Pain criticized

policies that limited access to opioids as being “at odds with best medical practices” and encouraged

patients to be “persistent” in finding doctors who will treat their pain. This was meant to imply that

patients should keep looking until they find a doctor willing to prescribe opioids.

        588.     In the Face of Pain was available nationally and was intended to reach Laredo

prescribers.

        589.     Purdue also used its unbranded website Partners Against Pain to promote the same

deceptive messages regarding risk of addiction and delivered by its sales representatives. On this

website, Purdue posted Clinical Issues in Opioid Prescribing, a pamphlet that was copyrighted in 2005.

Purdue also distributed a hard-copy version of this pamphlet. Clinical Issues in Opioid Prescribing claimed

that “illicit drug use and deception” were not indicia of addiction, but rather indications that a

patient’s pain was undertreated. The publication indicated that “[p]seudoaddiction can be

distinguished from true addiction in that the behaviors resolve when the pain is effectively treated.”

In other words, Purdue suggested that when faced with drug-seeking behavior from their patients,

doctors should prescribe more opioids—turning evidence of addiction into an excuse to sell and

prescribe even more drugs.

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           590.   Purdue’s misleading messages and materials were part of a broader strategy to

convince prescribers to use opioids to treat their patients’ pain, irrespective of the risks, benefits, and

alternatives. This deception was national in scope and included Laredo. As described above, Purdue’s

nationwide messages would have reached City prescribers in a number of ways. For example, they

were carried into Laredo by Purdue’s sales representatives during detailing visits as well as made

available to Laredo patients and prescribers through websites and ads, including ads in prominent

medical journals. They would have also been delivered to Laredo prescribers by Purdue’s paid

speakers, who were required by Purdue policy and by FDA regulations to stay true to Purdue’s

nationwide messaging.

           b.     Purdue’s Deceptive Third-Party Statements

           591.   Purdue’s efforts were not limited to making misrepresentations through its own sales

force and its own branded and unbranded marketing materials. As described above, Purdue knew

that regulatory constraints restricted what it could say about its drugs through direct marketing. For

this reason, like the other Defendants, Purdue enlisted the help of third parties to release misleading

information about opioids. The most prominent of these was APF.

      i.          APF

           a)     Purdue’s Control of APF

           592.   Purdue exercised considerable control over APF, which published and disseminated

many of the most blatant falsehoods regarding chronic opioid therapy. Their relationship, and several

of the APF publications, is described in detail below.

           593.   Purdue exercised its dominance over APF over many projects and years. Purdue was

APF’s second-biggest donor, with donations totaling $1.7 million. Purdue informed APF that the

grant money reflected Purdue’s effort to “strategically align its investments in nonprofit organizations

that share [its] business interests,” making clear that Purdue’s funding depended upon APF

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continuing to support Purdue’s business interests. Indeed, Purdue personnel participated in a March

2011 call with APF’s “Corporate Roundtable,” where they suggested that APF “[s]end ambassadors

to talk about pain within companies and hospitals.” Thus, Purdue suggested what role APF could

play that would complement its own marketing efforts. On that call, Purdue personnel also

committed to provide APF with a list of “industry state advocates” who could help promote chronic

opioid therapy, individuals and groups that, upon information and belief, APF reached out to. Purdue

personnel remained in constant contact with their counterparts at APF.

        594.   This alignment of interests was expressed most forcefully in the fact that Purdue hired

APF to provide consulting services on its marketing initiatives. Purdue and APF entered into a

“Master Consulting Services” Agreement on September 14, 2011. That agreement gave Purdue

substantial rights to control APF’s work related to a specific promotional project. Moreover, based

on the assignment of particular Purdue “contacts” for each project and APF’s periodic reporting on

their progress, the agreement enabled Purdue to be regularly aware of the misrepresentations APF

was disseminating regarding the use of opioids to treat chronic pain in connection with that project.

The agreement gave Purdue—but not APF—the right to end the project (and, thus, APF’s funding)

for any reason. This agreement demonstrates APF’s lack of independence and its willingness to

surrender to Purdue’s control and commercial interests, which would have carried across all of APF’s

work.

        595.   Purdue used this agreement to conduct work with APF on the Partners Against Pain

website. Partners Against Pain is a Purdue-branded site, and Purdue holds the copyright.

        596.   However, its ability to deploy APF on this project illustrates the degree of control

Purdue exercised over APF. In 2011, it hired an APF employee to consult on the Partners Against Pain

rollout, to orchestrate the media campaign associated with the launch of certain content on the

website, and to make public appearances promoting the website along with a celebrity spokesperson;

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paying this consultant $7,500 in fees and expenses for 26 hours of work. Purdue would require this

consultant to “to discuss and rehearse the delivery of [Purdue’s] campaign messages” and Purdue

committed that “[m]essage points will be provided to [the] Consultant in advance and discussed on [a

planned] call.” At all times, decisions regarding the final content on the Partners Against Pain website

were “at the sole discretion of Purdue.”

        597.    APF also volunteered to supply one of its staff (a medical doctor or a nurse

practitioner) to assist Purdue as a consultant and spokesperson for the launch of one of Purdue’s

opioid-related projects, Understanding & Coping with Lower Back Pain, which appeared on Partners

Against Pain. One of the consultants was APF’s paid employee, Mickie Brown. The consultant’s

services would be provided in return for a $10,000 consulting fee for APF and $1,500 in honoraria

for the spokesperson. All documents used by the consultant in her media appearances would be

reviewed and approved by individuals working for Purdue. It was not until later that APF worried

about “how Purdue sees this program fitting in with our [existing] grant request.”

        598.    Given the financial and reputational incentives associated with assisting Purdue in this

project and the direct contractual relationship and editorial oversight, APF personnel were acting

under Purdue’s control at all relevant times with respect to Partners Against Pain.

        599.    APF acquiesced to Purdue’s frequent requests that APF provide “patient

representatives” for Partners against Pain. Moreover, APF staff and board members and Front Groups

ACPA and AAPM, among others (such as Dr. Webster), appear on Inthefaceofpain.com as “Voices of

Hope”—“champions passionate about making a difference in the lives of people who live with pain”

and providing “inspiration and encouragement” to pain patients. APF also contracted with Purdue

for a project on back pain in which, among other things, it provided a patient representative who

agreed to attend a Purdue-run “media training session.”




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            600.   According to an Assurance of Voluntary Compliance (“AVC”) entered into between

the New York Attorney General and Purdue Pharma on August 19, 2015, Inthefaceofpain.com received

251,648 page views between March 2014 and March 2015. With the exception of one document

linked to the website, Inthefaceofpain.com makes no mention of opioid abuse or addiction. Purdue’s

copyright appears at the bottom of each page of the website, indicating its ownership and control of

its content. There is no other indication that 11 of the individuals who provided testimonials on

Inthefaceofpain.com received payments, according to the AVC, of $231,000 for their participation in

speakers programs, advisory meetings and travel costs between 2008 and 2013. The New York

Attorney General found Purdue’s failure to disclose its financial connections with these individuals

had the potential to mislead consumers.

            601.   Nowhere was Purdue’s influence over APF so pronounced as it was with the APF’s

“Pain Care Forum” (“PCF”). PCF was and continues to be run not by APF, but by Defendant

Purdue’s in-house lobbyist, Burt Rosen. As described by a former drug company employee, Rosen

exercised full control of PCF, telling them “what do do and how to do it.” This control allowed him,

in turn, to run APF as, in accordance with Rosen’s thinking, “PCF was APF, which was Purdue.”

PCF meets regularly in-person and via teleconference, and shares information through an email

listserv.

            602.   In 2011, APF and another third-party advocacy group, the Center for Practical

Bioethics, were considering working together on a project. Having reviewed a draft document

provided by the Center for Practical Bioethics, the APF employee cautioned that “this effort will be

in cooperation with the efforts of the PCF” and acknowledged that “I know you have reservations

about the PCF and pharma involvement, but I do believe working with them and keeping the lines of

communications open is important.” The Center for Practical Bioethics CEO responded by




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indicating some confusion about whom to speak with, asking “[i]s Burt Rosen the official leader” and

reflecting what other sources have confirmed.

        603.   In 2007, the PCF Education Subgroup, consisting of drug companies Purdue and

Alpharma, and Front Groups APF and ACPA (self-described as “industry-funded” groups),

developed a plan to address a perceived “lack of coordination” among the industry and pro-opioid

professional and patient organizations. PCF members agreed to develop simplified “key” messages”

to use for public education purposes. Their messages were reflected in programs like NIPC’s Let’s

Talk Pain (put together by Endo and APF), and Purdue’s In the Face of Pain.

        604.   When the FDA required drug companies to fund CMEs related to opioid risks in

accordance with its 2009 REMS, Purdue, along with these Front Groups, worked through the PCF to

ensure that, although it was mandatory for drug companies to fund these CMEs, it would not be

mandatory for prescribers to attend them. A survey was circulated among Defendants Endo, Janssen,

and Purdue, which predicted that the rates of doctors who would prescribe opioids for chronic pain

would fall by 13% if more than four hours of mandatory patient education were required in

accordance with the REMS. With a push from PCF, acting under Purdue’s direction, the CMEs were

not made mandatory for prescribers.

        605.   APF showed its indebtedness to Purdue and its willingness to serve Purdue’s

corporate agenda when APF chairman Dr. James N. Campbell testified on the company’s behalf at a

July 2007 hearing before the Senate Judiciary Committee “evaluating the propriety and adequacy of

the OxyContin criminal settlement.” 146 Despite its ostensible role as a patient advocacy organization,


146
   Evaluating the Propriety and Adequacy of the Oxycontin Criminal Settlement: Before the S. Comm.
On the Judiciary, 110th Cong. 46-50, 110-116 (2007) (statements of Dr. James Campbell, Chairman,
APF). Purdue was also able to exert control over APF through its relationships with APF’s
leadership. Purdue-sponsored KOLs Russell Portenoy and Scott chaired APF’s board. Another APF
board member, Perry Fine, also received consulting fees from Purdue. APF board member Lisa
Weiss was an employee of a public relations firm that worked for both Purdue and APF. Weiss, in
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APF was willing to overlook substantial evidence—resulting in the jailing of Purdue executives—that

Purdue blatantly, despite its clear knowledge to the contrary, told physicians and patients that

OxyContin was “rarely” addictive and less addictive than other opioids. Like Purdue, APF ignored

the truth about opioids and parroted Purdue’s deceptive messaging. Dr. Campbell testified that

addiction was a “rare problem” for chronic pain patients and asserted: “[T]he scientific evidence

suggests that addiction to opioids prescribed by legitimate chronic non-cancer pain patients without

prior histories of substance abuse using the medication as directed is rare. Furthermore, no causal

effect has been demonstrated between the marketing of OxyContin and the abuse and diversion of

the drug.” There was, and is, no scientific support for those statements.

       606.    APF President Will Rowe reached out to Defendants—including Purdue—rather

than his own staff, to identify potential authors to answer a 2011 article critical of opioids that had

been published in the Archives of Internal Medicine.

       607.    Purdue’s control over APF shaped, and was demonstrated by specific APF, pro-

opioid publications. These publications had no basis in science and were driven (and can only be

explained) by the commercial interest of pharmaceutical companies—Purdue chief among them.

       b)      A Policymaker’s Guide

       608.    Purdue provided significant funding to and was involved with APF’s creation and

dissemination of A Policymaker’s Guide to Understanding Pain & Its Management, originally published in

2011 and still available online. A Policymaker’s Guide to Understanding Pain & Its Management

misrepresented that there were studies showing that the use of opioids for the long-term treatment of

chronic pain could improve patients’ ability to function.




her dual capacity, helped vet the content of the Purdue-sponsored Policymaker’s Guide, which is
described below.
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         609.     Specifically, A Policymaker’s Guide to Understanding Pain & Its Management claimed that

“multiple clinical studies” demonstrated that “opioids . . . are effective in improving [d]aily function,

[p]sychological health [and] [o]verall health-related quality of life for people with chronic pain” and

implied that these studies established that the use of opioids long-term led to functional

improvement. The study cited in support of this claim specifically noted that there were no studies

demonstrating the safety of opioids long-term and noted that “[f]or functional outcomes, the other

[studied] analgesics were significantly more effective than were opioids.” 147

         610.     The Policymaker’s Guide also misrepresented the risk of addiction. It claimed that pain

had generally been “undertreated” due to “[m]isconceptions about opioid addiction” and that “less

than 1% of children treated with opioids become addicted.”

         611.     Moreover, the Policymaker’s Guide attempted to distract doctors from their patients’

drug-seeking behavior by labeling it as “pseudoaddiction,” which, according to the guide, “describes

patient behaviors that may occur when pain is undertreated.” Like Partners Against Pain, A

Policymaker’s Guide noted that “[p]seudo-addiction can be distinguished from true addiction in that this

behavior ceases when pain is effectively treated.” The similarity between these messages regarding

“pseudoaddiction” highlights the common, concerted effort behind Purdue’s deceptive statements.

         612.     The Policymaker’s Guide further misrepresented the safety of increasing doses of

opioids and deceptively minimized the risk of withdrawal. For example, the Policymaker’s Guide

claimed that “[s]ymptoms of physical dependence” on opioids in long-term patients “can often be

ameliorated by gradually decreasing the dose of medication during discontinuation” while omitting

the significant hardship that often accompanies cessation of use. Similarly, the Policymaker’s Guide




  Andrea D. Furlan et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
147

174(11) Can. Med. Ass’n J. 1589 (2006).
                                                         198
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taught that even indefinite dose escalations are “sometimes necessary” to reach adequate levels of

pain relief while completely omitting the safety risks associated with increased doses.

        613.    Purdue provided substantial monetary assistance toward the creation and

dissemination of the Policymaker’s Guide, providing APF with $26,000 in grant money. APF ultimately

disseminated Policymaker’s Guide on behalf of Defendants, including Purdue. Purdue was not only kept

abreast of the content of the guide as it was being developed, but, based on the periodic reports APF

provided to Purdue regarding its progress on the Policymaker’s Guide, had editorial input of the

contents.

        614.    The Policymaker’s Guide was posted online and was available to, and intended to reach

Laredo prescribers and consumers. As described below, the deceptive statements in Policymaker’s

Guide regarding addiction and functionality were the very same messages Purdue directed at Laredo

through its own sales force.

        c)      Treatment Options: A Guide for People Living with Pain

        615.    Purdue’s partnership with APF did not end with the Policymaker’s Guide. Purdue also

substantially assisted APF by beginning to sponsor Treatment Options: A Guide for People Living with Pain

in 2007. Based on Purdue’s control of other APF projects, Purdue also would have exercised control

over Treatment Options.

        616.    Treatment Options is rife with misrepresentations regarding the safety and efficacy of

opioids. For example, Treatment Options misrepresents that the long-term use of opioids to treat

chronic pain could help patients function in their daily lives by stating that, when used properly,

opioids “give [pain patients] a quality of life [they] deserve.”

        617.     Further, as outlined above, Treatment Options claims that addiction is rare and that,

when it does occur, it involves unauthorized dose escalations, patients who receive opioids from

multiple doctors, or theft, painting a narrow and misleading portrait of opioid addiction.

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            618.   Treatment Options also promotes the use of opioids to treat long-term chronic pain by

denigrating alternate treatments, most particularly NSAIDs. Treatment Options notes that NSAIDs can

be dangerous at high doses and inflates the number of deaths associated with NSAID use,

distinguishing opioids as having less risk. According to Treatment Options, NSAIDs are different from

opioids because opioids have “no ceiling dose.” This lack of ceiling is considered to be beneficial as

some patients “need” larger doses of painkillers than they are currently prescribed. Treatment Options

warns that the risks associated with NSAID use increased if NSAIDs are “taken for more than a

period of months,” but deceptively omits any similar warning about the risks associated with the

long-term use of opioids.

            619.   Treatment Options was posted online and remains online today. It was available to and

intended to reach Laredo prescribers and patients. As described below, the deceptive statements in

Treatment Options regarding addiction and functionality echo the messages Purdue directed at Laredo

through its own sales force. Purdue also engaged in other promotional projects with and through

APF. One such project was the publication and distribution of Exit Wounds, which, as described

above, deceptively portrayed the risks, benefits, and superiority of opioids to treat chronic pain.

            620.   Purdue provided APF with substantial assistance in distributing Exit Wounds in

Laredo and throughout the nation by providing grant money and other resources.

      ii.          Purdue’s Work with Other Third Party Front Groups and KOLs

            621.   Purdue also provided other third-party Front Groups with substantial assistance in

issuing misleading statements regarding the risks, benefits, and superiority of opioids for the long-

term treatment of chronic pain.

            a)     FSMB – Responsible Opioid Prescribing




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        622.    In 2007, Purdue sponsored FSMB’s Responsible Opioid Prescribing, which, as described

above, deceptively portrayed the risks, benefits, and superiority of opioids to treat chronic pain.

Responsible Opioid Prescribing also was drafted by Dr. Scott Fishman.

        623.     Purdue spent $150,000 to help FSMB distribute Responsible Opioid Prescribing. The

book was distributed nationally, and was available to and intended to reach prescribers in Laredo.

        b)      AGS – Pharmacological Management of Persistent Pain in Older Persons

        624.    Along with Janssen, Purdue worked with the AGS on a CME to promote the 2009

guidelines for the Pharmacological Management of Persistent Pain in Older Persons. As discussed above, these

guidelines falsely claimed that “the risks [of addiction] are exceedingly low in older patients with no

current or past history of substance abuse” as the study supporting this assertion did not analyze

addiction rates by age. They also stated, falsely, that “[a]ll patients with moderate to severe pain

should be considered for opioid therapy (low quality of evidence, strong recommendation).”

        625.    Controversy surrounding earlier versions of AGS guidelines had taught AGS that

accepting money directly from drug companies to fund the guidelines’ development could lead to

allegations of bias and “the appearance of conflict.” Accordingly, AGS endeavored to eliminate “the

root cause of that flack” by turning down commercial support to produce the 2009 Guidelines.

Having determined that its veneer of independence would be tarnished if it accepted drug company

money to create the content, AGS decided to develop the guidelines itself and turn to the drug

companies for funding to distribute the pro-drug company content once it had been created. As

explained by AGS personnel, it was AGS’s “strategy that we will take commercial support to

disseminate [the 2009 Guidelines] if such support is forthcoming.” AGS knew that it would be

difficult to find such support unless the report was viewed favorably by opioid makers.

        626.    AGS sought and obtained grants from Endo and Purdue to distribute Pharmacological

Management of Persistent Pain in Older Persons. As a result, the publication was distributed nationally, and

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was available to and was intended to reach Laredo prescribers. Indeed, internal documents of another

Defendant, Endo, indicate that pharmaceutical sales representatives employed by Purdue discussed

treatment guidelines that minimized the risk of addiction to opioids with doctors during individual

sales visits. 148

       c)           Chronic Pain Management and Opioid Use: Easing Fears, Managing Risks, and Improving
Outcomes

          627.      Purdue sponsored a 2012 CME program called Chronic Pain Management and Opioid Use:

Easing Fears, Managing Risks, and Improving Outcomes. The presentation deceptively instructed doctors

that, through the use of screening tools, more frequent refills, and other techniques, high-risk patients

showing signs of addictive behavior could be treated with opioids. This CME was presented at

various locations in the United States and is available online today.

          d)        Managing Patient’s Opioid Use: Balancing the Need and Risk

          628.      Purdue also sponsored a 2011 CME taught by KOL Lynn Webster via webinar titled

Managing Patient’s Opioid Use: Balancing the Need and Risk. This presentation also deceptively instructed

prescribers that screening tools, patient agreements, and urine test prevented “overuse of

prescriptions” and “overdose deaths.” At the time, Dr. Webster was receiving significant funding

from Purdue. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

by Purdue (and other Defendants). The webinar was available to and was intended to reach Laredo

prescribers.

          e)        Path of the Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse

          629.      Purdue also sponsored a CME program entitled Path of the Patient, Managing Chronic

Pain in Younger Adults at Risk for Abuse. Path of the Patient was devoted entirely to the message of

148
   As described above, Purdue also provided substantial support for the AAPM/APS guidelines. The
1997 AAPM and APS consensus statement The Use of Opioids for the Treatment of Chronic Pain was
authored by one of its paid speakers, and 14 out of 21 panel members who drafted the AAPM/APS
Guidelines received support from Defendants Janssen, Cephalon, Endo, and Purdue.
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treating chronic pain with opioids. Although the program purported to instruct a treating physician

how to manage chronic pain in younger adults at risk for abuse, it does no such thing.

       630.    This “educational” program, addressing treatment of a population known to be

particularly susceptible to opioid addiction, presents none of the alternative treatment options

available, only discussing treatment of chronic pain with opioids.

       631.    In a role-play in Path of the Patient, a patient who suffers from back pain tells his doctor

that he is taking twice as many hydrocodone pills as directed. The doctor reports that the pharmacy

called him because of the patient’s early refills. The patient has a history of drug and alcohol abuse.

Despite these facts, the narrator notes that, because of a condition known as “pseudoaddiction,” the

doctor should not assume his patient is addicted even if he persistently asks for a specific drug, seems

desperate, hoards medicine, or “overindulges in unapproved escalating doses.” The doctor in the

role-play treats this patient by prescribing a high-dose, long-acting opioid. This CME was available

online and was intended to reach Laredo’s prescribers.

       f)      Overview of Management Options

       632.    Purdue also sponsored a CME titled Overview of Management Options issued by the

American Medical Association in 2003, 2007, and 2013 (the latter of which is still available for CME

credit). The CME was edited by KOL Russel Portenoy, among others. It deceptively instructs

physicians that NSAIDs and other drugs, but not opioids, are unsafe at high doses. In reality, the data

indicates that patients on high doses of opioids are more likely to experience adverse outcomes than

patients on lower doses of the drugs. Dr. Portenoy received research support, consulting fees, and

honoraria from Purdue (among others), and was a paid Purdue consultant. This CME was presented

online in the United States and was available to Laredo prescribers.




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      iii.          Purdue’s Misleading Science

             633.   Purdue also misrepresented the risks associated with long-term opioid use by

promoting scientific studies in a deceptive way. In 1998, Purdue funded two articles by Dr. Lawrence

Robbins, which showed that between 8% and 13% of the patients he studied became addicted to

opioids—a troubling statistic for Purdue, whose market, and marketing, depended upon the claim

that opioids were rarely addictive. 149 Purdue had these articles placed in headache-specific journals

where they would be less likely to be encountered by pain specialists or general practitioners. The first

of these articles has been cited a mere 16 times; the second does not even appear on Google scholar.

Five years later, Purdue funded a study of OxyContin in diabetic neuropathy patients, which was

published in 2003. Notwithstanding the fact that that Purdue-funded studies, testing Purdue’s own

drugs, had previously indicated that addiction rates were between 8% and 13%, Purdue’s 2003 article

reached back to the 1980 Porter-Jick Letter to support its claim that OxyContin was not commonly

addictive. This article was placed in a prominent pain journal and has been cited 487 times. 150 While

this article was drafted over a decade ago, it continues to be relied upon to further the

misrepresentations that opioids are not addictive.

             a)     Purdue’s Deceptive Statements to Laredo Prescribers and Patients

             634.   Purdue directed the dissemination of the misstatements described above to Laredo

patients and prescribers through the Front Groups, KOLs, and publications described above, as well

as through its sales force in Laredo and through advertisements in prominent medical journals. The

deceptive statements distributed through each of these channels reflect a common theme of




149
    Lawrence Robbins, Long-Acting Opioids for Severe Chronic Daily Headache, 10(2) Headache Q. 135
(1999); Lawrence Robbins, Works in Progress: Oxycodone CR, a Long-Acting Opioid, for Severe Chronic Daily
Headache, 19 Headache Q. 305 (1999).
150
    C. Peter N. Watson et al., Controlled-release oxycodone relieves neuropathic pain: a randomized controlled trial I
painful diabetic neuropathy, 105 Pain 71 (2003).
                                                        204
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misrepresenting the benefits of Purdue’s opioids, unfairly portraying the risks of addiction associated

with their use, and deceptively implying that they would improve patients’ ability to function.

        635.    The deceptive message that OxyContin provided 12 hours of pain relief was not only

available to, and intended to, reach Laredo prescribers through nationally circulated advertising, but

was also carried directly into the offices of Laredo doctors by Purdue’s sales representatives.

        636.    Likewise, the deceptive messages minimizing addiction were not only directed at

Laredo patients and prescribers through the publications circulated above, but were also disseminated

directly by Purdue’s sales force.

        637.    Purdue also used its sales force to disseminate misleading statements about the ability

of opioids to improve functionality.

        638.    Purdue’s national marketing campaign included the misrepresentations described

above and the company disseminated these same misrepresentations to Laredo prescribers and

consumers. In particular, these prescriber accounts reflect that Purdue detailers omitted or minimized

the risk of opioid addiction; claimed that Purdue’s drugs would be less problematic for patients

because they had extended release mechanisms, were tamper proof, and were “steady state”; claimed

that OxyContin would provide 12 hours of pain relief; represented that screening tools could help

manage the risk of addiction; minimized the symptoms of withdrawal; claimed or implied that opioids

were safer than NSAIDs; and overstated the benefits of opioids, including by making claims of

improved function.

        639.    A survey of a sample of physicians, who reported the messages that they retained

from detailing visits and other promotional activity, documented that Purdue sales representatives

from at least between 2008 and 2012, promoted OxyContin as being effective for a full 12 hours.

Purdue sales representatives also promoted OxyContin as improving patients’ sleep (an

unsubstantiated functional improvement) to an orthopedic surgeon in 2006 and to a physicians’

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assistant in 2013. Purdue sales representatives also told internists that the reformulation of

OxyContin prevented illegal drug use and that the formulation was ‘less addicting,” rather than being

harder to adulterate. In 2011 Purdue sales representatives also claimed that the sustained-release

property of OxyContin reduced patient “buzz,” which is neither based on scientific evidence nor

true.

          640.   The same survey indicated that Purdue sales representatives promoted its Schedule III

opioid Butrans as having low or little abuse potential.

          6.     Insys

          641.   Insys was co-founded in 2002 by Dr. John Kapoor, a serial pharmaceutical industry

entrepreneur “known for applying aggressive marketing tactics and sharp price increases on older

drugs.” 151

          642.   In 2012, Insys received U.S. Food and Drug Administration approval for Subsys, a

fentanyl sublingual spray product designed to treat breakthrough cancer pain. However, Insys

encountered significant obstacles due to insurers employing a process known as prior authorization.

Prior authorization prevents the over prescription and abuse of powerful and expensive drugs. The

prior authorization process requires “additional approval from an insurer or its pharmacy benefit

manager before dispensing…” and may also impose step therapy which requires beneficiaries to first

use less expensive medications before moving on to a more expensive approach. 152



151
   U.S. senate Homeland Security & Governmental Affairs Committee, Insys Therapeutics and the
Systemic Manipulation of Prior Authorization (quoting Fentanyl Billionaire Comes Under Fire as Death Toll
Mounts From Prescription Opioids, Wall Street Journal (Nov. 22, 2016)
(www.wsj.com/articles/fentanylbillionaire-comes-under-fire-as-death-toll-mounts-from-prescription-
opioids-1479830968)).
  Senate Permanent Subcommittee on Investigations, Combatting the Opioid Epidemic: A Review of Anti-
152

Abuse Efforts in Medicare and Private Health Insurance Systems; see also Department of Health and Human
Services, Centers for Medicare & Medicaid Services, How Medicare Prescription Drug Plans & Medicare
Advantage Plans with Prescription Drug Coverage Use Pharmacies, Formularies, & Common Coverage Rules

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        643.    Insys circumvented this process by forming a prior authorization unit, known at one

point as the Insys Reimbursement Center (“IRC”), to facilitate the process using aggressive and likely

illegal marketing techniques. Insys published education articles that praised their products’ non-

addictive nature; and funded patient advocacy groups who unknowingly promoted Insys’ agenda of

raising the profile of pain so that drugs could be prescribed to treat it. Furthermore, Insys’ former

sales representatives, motivated by corporate greed, paid off medical practitioners to prescribe Subsys

in spite of any medical need. 153 Insys employees were pressured internally and received significant

monetary incentives to increase the rate of prescription approvals. 154

        644.    According to a federal indictment and ongoing congressional investigation by Sen.

Claire McCaskill, IRC employees pretended to be with doctors’ offices and falsified medical histories

of patients. The report, acquired by McCaskill’s investigators, includes transcripts and an audio

recording of employees implementing these techniques in order to obtain authorization from insurers

and pharmacy benefit managers. The transcript reveals an Insys employee pretending to call on
                                                                               155
behalf of a doctor and inaccurately describes the patient’s medical history.         For example, Insys

employees would create the impression that the patient had cancer, without explicitly saying so,

because cancer was a requirement for prior clearance to prescribe Subsys. Insys was warned by a

consultant that it lacked needed policies for governing such activities, but the executives failed to

implement corrective internal procedures.



153
    Lopez, Linette. “It’s been a brutal week for the most shameless company in the opioid crisis- and
it’s about to get worse,” Business Insider, http://www.businessinsider.com/opioid-addiction-
drugmaker-insys-arrests-justice-department-action-2017-7
154
   Boyd, Roddy. Murder Incorporated: Insys Therapeutics. Part 1. Southern Investigative Reporting
Foundation. http://sirf-online.org/2015/12/03/murder-incorporated-the-insys-therapeutics-story/;
see also Indictment. United States v. Babich, et al., D. Mass. (No. 1;16 CR 10343).
  U.S. Senate Homeland Security & Governmental Affairs Committee, Fueling an Epidemic: Insys
155

Therapeutics and the Systematic Manipulation of Prior Authorization, see p. 7-10.

                                                  207
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            645.   In a class action law suit against Insys, it was revealed that management “was ware

that only about 10% of prescriptions approved through the Prior Authorization Department were for

cancer patients,” and an Oregon Department of Justice Investigation found that 78% of
                                                                                                    156
preauthorization forms submitted by Insys on behalf of Oregon patients were for off-label uses.

Physicians are allowed to prescribe medications for indications outside of FDA guidelines if they see

fit, but it is illegal for pharmaceutical companies to market a drug for off-label use.

            646.   In 2008, biopharmaceutical company Cephalon settled with the U.S. Government for

425 million in a suit against the company that alleged it marketed drugs for unapproved uses (off-

label). The FDA approved the drug only for opioid tolerant cancer patients. According to the

Oregon settlement and class-action lawsuit, at least three employees involved in sales and/or

marketing at Cephalon had moved over to Insys Therapeutics. 157

            647.   Additionally, Insys created a “legal speaker program” which turned out to be a scam.

The Justice Department commented on the program and stated:

        The Speaker Programs, which were typically held at high-end restaurants, were
ostensibly designed to gather licensed healthcare professionals who had the capacity to
prescribe Subsys and educate them about the drug. In truth, the events were usually just a
gathering of friends and co-workers, most of whom did not have the ability to prescribe
Subsys, and no educational component took place. “Speakers” were paid a fee that ranged
from $1,000 to several thousand dollars for attending these dinners. At times, the sign-in
sheets for the Speaker Programs were forged so as to make it appear that the programs had
an appropriate audience of healthcare professionals.

            648.   Insys paid hundreds of thousands of dollars to doctors in exchange for prescribing

Subsys and three top prescribers have already been convicted of taking bribes.




156
   Gusovsky, Dina. The Pain Killer: A drug Company Putting Profits Above Patients, CNBC
(https://www.cnbc.com/2015/11/04/the-deadly-drug-appeal-of-insys-pharmaceuticals.html)

157
      Id.

                                                   208
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          649.   Fentanyl products are considered to be the most potent and dangerous opioids on the

market and up to 50 times more powerful than heroine. 158

          650.   In an internal presentation dated 2012 and entitles, “2013 SUBSYS Brand Plan,” Insys

identified one of six “key strategic imperatives” as “Mitigate Prior Authorization barriers.” 159 On a

later slide, the company identified several tasks associated with this effort, including “Build internal

[prior authorization] assistance infrastructure,” “Establish an internal 1-800 reimbursement assistance

hotline,” and “Educate field force on [prior authorization] process and facilitation.” 160

          651.   Additional materials produced by Insys to the minority staff suggest, however, that

Insys did not match these efforts with sufficient compliance processes to prevent fraud and was

internally aware of the danger of problematic practices. Specifically, on February 18, 2014,

Compliance Implementation Services (CIS)—a healthcare consultant—issued a draft report to Insys

titled, “Insys Call Note, Email, & IRC Verbatim Data Audit Report.” 161 The introduction to the

report explained that “CIS was approached by INSYS’ legal representative … on behalf of the Board

of Directors for Insys to request that CIS support in review of certain communications with Health

Care Professionals (HCPs) and INSYS employees, and report how there were being documented.” 162

Insys had expressed concerns “with respect to communications with HCPs by INSYS employees


158
   U.S. Department of Justice. Drug Enforcement Administration. A Real Threat to Law Enforcement:
Fentanyl.
https://www.dea.gov/druginfo/DEA%20Targets%20Fentanyl%20%20A%20Real%20Threat%20to
%20Law%20Enforcement%20(2016).pdf
159
   U.S. senate Homeland Security & Governmental Affairs Committee, Insys Therapeutics and the
Systemic Manipulation of Prior Authorization (quoting Insys Therapeutics, Inc., 2013 Subsys Brand Plan,
2012 Assessment (2012) (INSYS_HSGAC_00007472)).
160
      Id. at INSYS_HSGAC_00007765.
161
   U.S. senate Homeland Security & Governmental Affairs Committee, Insys Therapeutics and the
Systemic Manipulation of Prior Authorization (quoting Compliance Implementation Services, Insys Call
Note, Email & IRC Verbatim Data Audit Report (Feb. 18, 2014) (INSYS_HSGAC_00007763)).
162
      Id. at INSYS_HSGAC_00007765.

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being professional in nature and in alignment with INSYS approved topics regarding off or on-label

promotion of an INSYS product, and general adherence to INSYS documentation requirements.” 163

An additional concern “stemmed from the lack of monitoring of commercial activities where these

types of interactions could occur.” 164

            652.   Given these issues, Insys requested that CIS review—in part—“the general

communications from the INSYS Reimbursement Center (IRC) to HCPs, their office staff or

representatives, as well as health insurance carriers … to ensure they were appropriate in nature with

respect to specific uses of SUBSYS, INSYS’ commercially marketed product.” 165

            653.   According to the findings CIS issued, Insys lacked formal policies governing the

actions of its prior authorization unit. For example, “[n]o formal and approved policy on appropriate

communications between IRC employees and HCPs, their staff, [health care insurers (HCIs)], or

patients exists…that governs the support function of obtaining a prior authorization for the use of

SUBSYS.” 166

            654.   In addition, the report noted that “there were also gaps in formally approved

foundational policies, procedures, and [standard operating procedures] with respect to required

processes specifically within the IRC.” 167

            655.   In fact, “[t]he majority of managerial directives, changes to controlled documents or

templates, as well as updates or revisions to processes were not formally approved, documented, and

disseminated for use, and were sent informally via email blast.” 168


163
      Id.
164
      Id.
165
      Id.
166
      Id. at INSYS_HSGAC_00007770.
167
      Id. at INSYS_HSGAC_00007768.
168
      Id. at INSYS_HSGAC_00007771.

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          656.   Although four informal standard operating procedures existed with regarded to IRC

functions, these documents “lacked a formal review and approval” and failed to “outline

appropriately the actions performed within the IRC.” 169

          657.   The report also explains that Insys lacked procedures for auditing interactions

between IRC employees and outside entities. According to CIS, “no formal, documented, or detailed

processes by which IRC representatives’ calls via telephone were audited for proper communication

with HCPs or HCIs in any fashion [existed] other than random physical review of a call in a very

informal and sporadic manner.” 170

          658.   More broadly, the report notes that “no formal and documented auditing and

monitoring or quality control policy, process, or function exists between IRC employee

communications and HCPs, HCP staff, HCIs, or patients.” 171

          659.   At the end of the report, CIS provided a number of recommendations concerning

IRC activities. First, CIS suggested that IRC management “formally draft and obtain proper review

and approval of an IRC specific policy detailing the appropriate communications that should occur

while performing the IRC associate job functions and interacting with HCPs.” 172

          660.   Similarly, IRC management was urged to formally draft IRC-specific standard

operating procedures “specific to each job function within the IRC,” accompanied by “adequate

training and understanding of these processes.” 173 To ensure compliance with IRC standards, Insys

was also directed to create an electronic system to allow management “to monitor both live and



169
      Id. at INSYS_HSGAC_00007770.
170
      Id. at INSYS_HSGAC_00007769.
171
      Id. at INSYS_HSGAC_00007771.
172
      Id. at INSYS_HSGAC_00007770.
173
      Id. at INSYS_HSGAC_00007771.

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anonymously IRC employee communications both incoming and outgoing.” 174 Finally, CIS

recommended that Insys institute a formal process for revising and updating “IRC documentation

used for patient and HCP data.” 175

            661.   The CIS report concluded by noting, in part, that a review of ten conversations

between IRC employees and healthcare providers, office staff, and insurance carriers revealed “that

all IRC staff was professional in communication, and in no instance was inaccurate or off-label usage

of SUBSYS communicated.” 176

            662.   Yet within a year of this conclusion, according to the recording transcribed below, an

Insys IRC employee appears to have misled a PBM representative regarding the IRC employee’s

affiliation and the diagnosis applicable to Sarah Fuller. The alleged result, in that case, was death due

to inappropriate and excessive Subsys prescriptions.

            663.   One former Insys sales representative described the motto of this approach to

patients as “Start them high and hope they don’t die.” 177

            7.     Mallinckrodt

            664.   Mallinckrodt is a pharmaceutical manufacturer and one of the largest manufacturers

of oxycodone.

            665.   On July 11, 2017, Mallinckrodt agreed to pay $35 million to settle allegations that it

violated certain provisions of the Controlled Substances Act (CSA). 178




174
      Id.
175
      Id.
176
      Id. at INSYS_HSGAC_00007772.
177
   Amended Class Action Complaint, Larson v. Insys Therapeutics Inc. (D. Ariz. Oct. 27, 2014.)
178
   https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-
report-suspicious-orders
                                                    212
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          666.   The settlement addressed Mallinckrodt’s failure to meet its obligations to detect and

notify the DEA of suspicious orders of controlled substances such as oxycodone and violations in

the Mallinckrodt’s manufacturing batch records at its plant in Hobart, New York. 179

          667.   The DOJ stated, “Mallinckrodt’s actions and omissions formed a link in the chain of

supply that resulted in millions of oxycodone pills being sold on the street.” 180

          668.   The government alleged that Mallinckrodt failed to design and implement an effective

system to detect and report “suspicious orders” for controlled substances – orders that are unusual in

their frequency, size, or other patterns. From 2008 until 2011, the U.S. alleged, Mallinckrodt supplied

distributors, and the distributors then supplied various U.S. pharmacies and pain clinics, an

increasingly excessive quantity of oxycodone pills without notifying DEA of these suspicious

orders. 181

          669.   The government also alleged that Mallinckrodt violated record keeping requirements

at its manufacturing facility in upstate New York. Among other things, these violations created

discrepancies between the actual number of tablets manufactured in a batch and the number of

tablets Mallinckrodt reported on its records. Accurate reconciliation of records at the manufacturing

stage is a critical first step in ensuring that controlled substances are accounted for properly through

the supply chain. 182

          F.     The Result of Defendants’ Fraudulent Scheme

          670.   Through their direct promotional efforts, along with those of the third-party Front

Groups and KOLs they assisted and controlled, and whose seemingly objective materials they

distributed, Defendants accomplished exactly what they set out to do: change the institutional and


179
    Id.
180
    Id.
181
    Id.
182
    Id.
                                                   213
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public perception of the risk-benefit assessments and standard of care for treating patients with

chronic pain. As a result, Laredo doctors began prescribing opioids long-term to treat chronic pain—

something most would never have considered prior to Defendants’ campaign.

       671.     But for the misleading information disseminated by Defendants, doctors would not,

in most instances, have prescribed opioids as medically necessary or reasonably required to address

chronic pain.

      1.    Defendants’ Fraudulent and Deceptive Marketing of Opioids Directly Caused
Harm to Laredo.

       672.     In the first instance, Laredo was damaged directly, through its payments of false

claims for chronic opioid therapy by (a) partially funding a medical insurance plan for its employees

and (b) its workers’ compensation program.

       673.     Defendants’ marketing of opioids caused health care providers to prescribe, and

Laredo, through partially funding a medical insurance plan for its employees and its workers’

compensation program, to pay for prescriptions of opioids to treat chronic pain. Because of

Defendants’ unbranded marketing, health care providers wrote and Laredo paid for prescriptions of

opioids for chronic pain that were filled not only with their drugs, but with opioids sold by other

manufacturers. All of these prescriptions were caused by Defendants’ fraudulent marketing and

therefore all of them constitute false claims. Because, as laid out below, Laredo is obligated to cover

medically necessary and reasonably required care, it had no choice but to pay for these false and

fraudulent claims.

       674.     The fact that Laredo would pay for these ineligible prescriptions was both the

foreseeable and intended consequence of Defendants’ fraudulent marketing scheme. Defendants set

out to change the medical and general consensus supporting chronic opioid therapy with the

intention of encouraging doctors to prescribe, and government payors such as Laredo, to pay for


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long-term prescriptions of opioids to treat chronic pain despite the absence of genuine evidence

supporting chronic opioid therapy and the contrary evidence regarding the significant risks and

limited benefits from long-term use of opioids.

        a.      Increase in Opioid Prescribing Nationally

        675.    Defendants’ scheme to change the medical consensus regarding opioid therapy for

chronic pain was greatly successful. During the year 2000, outpatient retail pharmacies filled 174

million prescriptions for opioids nationwide, rising to 257 million in 2009. 183

        676.    Opioid prescriptions increased even as the percentage of patients visiting doctors for

pain remained constant. A study of 7.8 million doctor visits between 2000 and 2010 found that

opioid prescriptions increased from 11.3% to 19.6% of visits, as NSAID and acetaminophen

prescriptions fell from 38% to 29%, driven primarily by the decline of NSAID use. 184

        677.    Approximately 20% of the population between the ages of 30 and 44 and nearly 30%

of the population over 45 have used opioids. Indeed, “[o]pioids are the most common means of

treatment for chronic pain.” 185 From 1980 to 2000, opioid prescriptions for chronic pain visits

doubled. This resulted not from an epidemic of pain, but an epidemic of prescribing. A study of 7.8

million doctor visits found that prescribing for pain increased by 73% between 2000 and 2010—even

though the number of office visits in which patients complained of pain did not change and

prescribing of non-opioid pain medications decreased . For back pain alone—one of the most

common chronic pain conditions—the percentage of patients prescribed opioids increased from 19%




183
    Office of National Drug Control Policy, 2011 Prescription Drug Abuse Prevention Plan,
Whitehouse.gov, (no longer available on whitehouse.gov),
https://obamawhitehouse.archives.gov/ondcp/prescription-drug-abuse1
184
    Matthew Daubresse et al., Ambulatory Diagnosis and Treatment of Nonmalignant Pain in the United
States, 2000-2010, 51(10) Med. Care 870 (2013).
185
    Deborah Grady et al., Opioids for Chronic Pain, 171(16) Arch. Intern. Med. 1426 ( 2011).
                                                   215
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to 29% between 1999 and 2010, even as the use of NSAIDs or acetaminophen declined and referrals

to physical therapy remained steady—and climbing.

       678.    This increase corresponds with, and was caused by, Defendants’ massive marketing

push. As reflected in the chart below, according to data obtained from a marketing research

company, Defendants’ spending on marketing of opioids nationwide—including all of the drugs at

issue here—stood at more than $20 million per quarter and $91 million annually in 2000. By 2011,

that figure hit its peak of more than $70 million per quarter and $288 million annually, an increase of

more than three-fold. By 2014, the figures dropped to roughly $45 million per quarter and $182

million annually, as Defendants confronted increasing concerns regarding opioid addiction, abuse,

and diversion, and as Janssen, which accounted for most of the spending reduction, prepared to sell

its U.S. rights to Nucynta and Nucynta ER. Even so, Defendants still spent double what they had

spent in 2000 on opioid marketing.




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       679.    Defendants’ opioid detailing visits to individual doctors made up the largest

component of this spending, with total detailing expenditures more than doubling between 2000 and

2014 to $168 million annually.

       680.    Each Defendant's promotional spending reflects its participation in this marketing

blitz. Between 2000 and 2011:




                                              217
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       •       Actavis’s promotional spending, which was virtually nonexistent in the 2004-2008

period, began to sharply rise 2009. The third quarter of 2011 saw a peak of $3 million at one point in

2011 and nearly $7 million for the year, as shown below:




                                                 218
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       •       Cephalon’s quarterly spending steadily climbed from below $1 million in 2000 to

more than $4 million in 2014 (and more than $13 million for the year), including a peak, coinciding

with the launch of Fentora, of nearly $9 million half way through 2007 (and more than $27 million

for the year), as shown below:




                                               219
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       •       Endo 's quarterly spending went from the $2 million to $4 million range from 2000 to

2004 to more than $10 million following the launch of Opana ER in mid-2006 (and more than $38

million for the year in 2007) and more than $8 million coinciding with the launch of a reformulated

version in 2012 (and nearly $34 million for the year):




                                                  220
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       •      Janssen’s quarterly spending dramatically rose from less than $5 million in 2000 to

more than $30 million in 2011, coinciding with the launch of Nucynta ER (with yearly spending at

$142 million for 2011) as shown below:




                                              221
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            •      Purdue’s quarterly spending notably decreased from 2000 to 2007, as Purdue came

under investigation by the Department of Justice, but then spiked to above $25 million in 2011 (for a

total of $110 million that year), and continued to rise, as shown below:




            a.     The City Increased Spending on Opioids

            681.   As a direct and foreseeable consequence of Defendants’ wrongful conduct, Plaintiff

has been required to spend millions of dollars each year in its efforts to combat the public nuisance

created by Defendants’ deceptive marketing campaign. Plaintiff has incurred, and continues to incur,

costs related to opioid addiction and abuse, including, but not limited to, health care costs, criminal

justice and victimization costs, social costs, and lost productivity costs. Defendants’

misrepresentations regarding the safety and efficacy of long-term opioid use proximately caused

injury to Plaintiff and its residents.

       i.          Defendants’ Misrepresentations Were Material

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       682.    Defendants’ misrepresentations were material to, and influenced, Laredo’s decisions

to pay claims for opioids for chronic pain (and, therefore, to bear its consequential costs in treating

overdose, addiction, and other side effects of opioid use). In the first instance, Laredo would not

have been presented with, or paid, claims for opioids that would not have been written but for

Defendants’ fraudulent and deceptive marketing. Second, Laredo has demonstrated that Defendants’

marketing is material by taking further steps to ensure that the opioids are only prescribed and

covered when medically necessary or reasonably required.

       683.    As laid out above, Defendants’ misrepresentations related to Laredo’s requirement

that medical treatments be medically necessary or reasonably required – a condition of payment for

any medical treatment under Laredo’s health plans and workers’ compensation program. But for

Defendants’ fraudulent and deceptive marketing, prescribers would have accurately understood the

risks and benefits of opioids and would not have prescribed opioids where not medically necessary or

reasonably required to treat chronic pain. Misrepresentations as to, for example, whether patients

were likely to become addicted to the drug, would be able to resume life activities, and would

experience long-term relief were not minor or insubstantial matters, but the core of prescribers’

decision-making.

       684.    It is Laredo’s practice not to pay claims that are not medically necessary or reasonably

required. However, Laredo would not have known whether a prescriber had made an informed

judgment that a particular claim for opioids was medically necessary or reasonably required, or,

conversely had acted under the influence of Defendants’ fraudulent and deceptive marketing. It is not

clear from the face of a claim whether: (1) the patient suffered from cancer or another terminal

condition, for example, where long-term prescribing was medically necessary or appropriate; or (2)

the prescriber was exposed to Defendants’ marketing materials, treatment guidelines, or education


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programs, or visited by a drug representative who engaged in affirmative misrepresentations or

omissions, for example.

         ii.          The City’s Increased Costs Correlate with Defendants’ Promotion


               685.   Laredo’s spending on opioids rose along with Defendants’ spending to promote

opioids. That spending had a direct impact on opioid use (and its consequences in abuse, addiction,

and overdose) in Laredo.

               686.   It is also distressing (and a sign of further problems ahead) that the drop in opioid

prescribing beginning in 2014 has been accompanied by a corresponding increase in Defendants’

promotional spending, which is headed towards a new high, despite evidence of the grave toll that

opioids are taking on law enforcement, public health, and individual lives.

      2.    Defendants’ Fraudulent and Deceptive Marketing of Opioids Directly Caused
Harm to Laredo Consumers.

               a.     Increased Opioid Use Has Led to an Increase in Opioid Abuse, Addiction, and Death

               687.   Nationally, the sharp increase in opioid use has led directly to a dramatic increase in

opioid abuse, addiction, overdose, and death. Scientific evidence demonstrates a very strong

correlation between therapeutic exposure to opioid analgesics, as measured by prescriptions filled,

and opioid abuse. “Deaths from opioid overdose have risen steadily since 1990 in parallel with

increasing prescription of these drugs.” 186 Prescription opioid use contributed to 16,917 overdose

deaths nationally in 2011—more than twice as many deaths as heroin and cocaine combined; drug

poisonings now exceed motor vehicle accidents as a cause of death. More Americans have died from

opioid overdoses than from participation in the Vietnam War.

               688.   Contrary to Defendants’ misrepresentations, most of the illicit use stems from

prescribed opioids; in 2011, 71% of people who abused prescription opioids got them through friends

186
      Deborah Grady et al., Opioids for Chronic Pain, 171(16) Arch. Intern. Med. 1426 ( 2011).
                                                           224
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or relatives, not from drug dealers or the internet. According to the CDC, the 80% of opioid patients

who take low-dose opioids from a single prescriber (in other words, who are not illicit users or

“doctor-shoppers”) account for 20% of all prescription drug overdoses.

       689.    Death statistics represent only the tip of the iceberg. According to 2009 data, for

every overdose death that year, there were nine abuse treatment admissions, 30 emergency

department visits for opioid abuse or misuse, 118 people with abuse or addiction problems, and 795

non-medical users. Nationally, there were more than 488,000 emergency room admissions for opioids

other than heroin in 2008 (up from almost 173,000 in 2004).

       690.    Upon information and belief, emergency room visits tied to opioid use likewise have

sharply increased in Laredo.

       691.    Widespread opioid use and abuse in Laredo are problems even when they do not

result in injury or death. Opioid addiction is affecting residents of all ages, ethnicities, and socio-

economic backgrounds in the City. Many addicts start with a legal opioid prescription—chronic back

pain, fibromyalgia, or even dental pain—and do not realize they are addicted until they cannot stop

taking the drugs.

       692.    These glaring omissions, described consistently by counselors and patients, mirror

and confirm Defendants’ drug representatives’ own widespread practice, as described above, of

omitting any discussion of addiction from their sales presentations to physicians or in their

“educational” materials.

       b.      Increased Opioid Use Has Increased Costs Related to Addiction Treatment

       693.    Laredo has opioid treatment programs that provide a comprehensive treatment

program for persons addicted to heroin or other opioids.

       694.    In addition to intense counseling, many treatment programs prescribe additional

drugs to treat opioid addiction. Nationally, in 2012, nearly 8 billion prescriptions of the two drugs

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commonly used to treat opioid addiction—buprenorphine/naloxone and naltrexone—were written

and paid for. Studies estimate the total medical and prescription costs of opioid addiction and

diversion to public and private healthcare payors to be $72.5 billion.

       c.     Increased Opioid Use Has Fueled An Illegal Secondary Market for Narcotics and the
Criminals Who Support It

        695.     Defendants’ success in extending the market for opioids to new patients and chronic

conditions has created an abundance of drugs available for criminal use and fueled a new wave of

addiction, abuse, and injury. Defendants’ scheme supplies both ends of the secondary market for

opioids—producing both the inventory of narcotics to sell and the addicts to buy them. One

researcher who has closely studied the public health consequences of opioids has found, not

surprisingly, that a “substantial increase in the nonmedical use of opioids is a predictable adverse

effect of substantial increases in the extent of prescriptive use.” 187 It has been estimated that the

majority of the opioids that are abused come, directly or indirectly, through doctors’ prescriptions.

        696.     A significant black market in prescription opioids also has arisen, not only creating

and supplying additional addicts, but fueling other criminal activities.

        697.     In addition, because heroin is cheaper than prescription painkillers, many prescription

opioid addicts migrate to heroin. Self-reported heroin use nearly doubled between 2007 and 2012,

from 373,000 to 669,000 individuals. In 2010, more than 3,000 people in the U.S. died from heroin

overdoses, also nearly double the rate in 2006. Nearly 80% of those who used heroin in the past year

had previously abused prescription opioids. Patients become addicted to opioids and then move on

to heroin because these prescription drugs are roughly four times more expensive than heroin on the




  G. Caleb Alexander et al., Rethinking Opioid Prescribing to Protect Patient Safety and Public Health,
187

308(18) JAMA 1865 (2012).
                                                     226
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street. In the words of one federal DEA official, “Who would have ever thought in this country it

would be cheaper to buy heroin than pills . . . [t]hat is the reality we’re facing.” 188

        698.    That reality holds true in Laredo. According to addiction programs in the City, a

typical course sees addicts requesting more and more opioids from their doctors, who eventually cut

them off. Many addicts then doctor-shop for additional prescriptions, and when that source runs out,

turn to the streets to buy opioids illicitly. A significant number become heroin addicts. Addiction

treatment programs, whose patient populations vary, reported rates of patients who had switched

from prescription opioids to heroin ranging from half to 95%. Those addicts who do reach treatment

centers often do so when their health, jobs, families and relationships reach the breaking point, or

after turning to criminal activity such as prostitution and theft to sustain their addiction.

Unfortunately, few are successful in getting and staying clean; repeated relapse is common.

        3.      Defendants’ Fraudulent Marketing Has Led to Record Profits

        699.    While the use of opioids has taken an enormous toll on Laredo and its residents,

Defendants have gained blockbuster profits. In 2012, health care providers wrote 259 million

prescriptions for opioid painkillers 189—roughly one prescription per American adult. Opioids

generated $8 billion in revenue for drug companies just in 2010.

        700.     Financial information—where available—indicates that Defendants each experienced

a material increase in sales, revenue, and profits from the fraudulent, misleading, and unfair market

activities laid out above. Purdue’s OxyContin sales alone increased from $45 million in 1996 to $3.1

billion in 2010. In 2010, Research Firm Frost & Sullivan projected an increase to $15.3 billion in

overall revenue from opioid sales by 2016.

188
    Matt Pearce & Tina Susman, Philip Seymour Hoffman’s death calls attention to rise in heroin use, L.A.
Times, Feb. 3, 2014, http://articles.latimes.com/2014/feb/03/nation/la-na-heroin-surge-20140204.
189
    Press Release, Center for Disease Control, Opioid painkiller prescribing varies widely among
states: Where you live makes a difference (July 1, 2014),
https://www.cdc.gov/media/releases/2014/p0701-opioid-painkiller.html
                                                     227
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       4.      Defendants Fraudulently Concealed Their Misrepresentations

       701.    At all times relevant to this Complaint, Defendants took steps to avoid detection of,

and fraudulently conceal, their deceptive marketing and conspiratorial behavior.

       702.    First, and most prominently, Defendants disguised their own roles in the deceptive

marketing of chronic opioid therapy by funding and working through patient advocacy and

professional front organizations and KOLs. Defendants purposefully hid behind these individuals

and organizations to avoid regulatory scrutiny and to prevent doctors and the public from

discounting their messages.

       703.    While Defendants were listed as sponsors of many of the publications described in

this Complaint, they never disclosed their role in shaping, editing, and exerting final approval over

their content. Defendants exerted their considerable influence on these promotional and

“educational” materials.

       704.    In addition to hiding their own role in generating the deceptive content, Defendants

manipulated their promotional materials and the scientific literature to make it appear as if they were

accurate, truthful, and supported by substantial scientific evidence. Defendants distorted the meaning

or import of studies they cited and offered them as evidence for propositions they did not actually

support. The true lack of support for Defendants’ deceptive messages was not apparent to the

medical professionals who relied upon them in making treatment decisions, nor could they have been

detected by Laredo.

       705.    Thus, while the opioid epidemic was evident, Defendants, in furtherance of their

respective marketing strategies, intentionally concealed their own role in causing it. Defendants

successfully concealed from the medical community, patients, and health care payers facts sufficient

to arouse suspicion of the existence of claims that the City now asserts. Laredo was not alerted to the



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existence and scope of Defendants industry-wide fraud and could not have acquired such knowledge

earlier through the exercise of reasonable diligence.

        706.    Through their public statements, marketing, and advertising, Defendants’ deceptions

deprived the City of actual or presumptive knowledge of facts sufficient to put them on notice of

potential claims.

      G.    Through Their Public Statements, Marketing, And Advertising, Defendants’
Deceptions Deprived Plaintiff Of Actual Or Presumptive Knowledge Of Facts Sufficient To
Put Them On Notice Of Potential Claims. Defendants Entered Into And Engaged In A Civil
Conspiracy.

        707.    Defendants entered into a conspiracy to engage in the wrongful conduct complained

of herein, and intended to benefit both independently and jointly from their conspiratorial enterprise.

        708.    Defendants reached an agreement between themselves to set up, develop, and fund

an unbranded promotion and marketing network to promote the use of opioids for the management

of pain in order to mislead physicians, patients, and others through misrepresentations or omissions

regarding the appropriate uses, risks and safety of opioids.

        709.    This network is interconnected and interrelated and relied upon Defendants’

collective use of and reliance upon unbranded marketing materials, such as KOLs, scientific

literature, CMEs, patient education materials, and Front Groups. These materials were developed and

funded collectively by Defendants, and Defendants relied upon the materials to intentionally mislead

consumers and medical providers of the appropriate uses, risks and safety of opioids.

        710.    By knowingly misrepresenting the appropriate uses, risks, and safety of opioids,

Defendants committed overt acts in furtherance of their conspiracy.

        711.    The Distributor Defendants are opioid distributors in Laredo.

        712.    The Distributor Defendants purchased opioids from manufacturers, such as the

named defendants herein, and sold them to pharmacies throughout Laredo.


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        713.   The Distributor Defendants played an integral role in the chain of opioids being

distributed throughout Laredo.

        714.   Pursuant to Texas Statutes Title 63 2-309,, distributors/wholesalers such as

Defendants are required to create record keeping, including establishing and maintaining inventories

and records of all transactions of dangerous drugs such as opioid pain medications.

        715.   According to the Drug Enforcement Administration Automation of Reports and

Consolidated Orders System (“ARCOS”), from 2006 to 2016 pharmaceutical distributors, including

Defendants, consistently maintained a large number of opioid pain medications to Laredo area.

        716.   For example, in 2016, distributors were distributing ten times the amount of

Oxymorphone and four times the amount of Buprenorphine than in 2006.

        717.   The Defendants were each on notice that the controlled substances they

manufactured and distributed were the kinds that were susceptible to diversion for illegal purposes,

abused, overused, and otherwise sought for illegal, unhealthy and problematic purposes.

        718.   The Defendants were each on notice that there was an alarming and suspicious rise in

manufacturing and distributing opioids to retailers within Laredo during this time period.

        719.   As entities involved in the manufacture and distribution of opioid medications,

Defendants were engaged in abnormally and/or inherently dangerous activity and had a duty of care

under Texas law.

        720.   The Defendants had a duty to notice suspicious or alarming orders of opioid

pharmaceuticals and to report suspicious orders to the proper authorities and governing bodies

including the DEA, Texas Board of Pharmacy and the Texas Department of Health and Human

Services.




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          721.   The Defendants knew or should have known that they were supplying vast amounts

of dangerous drugs in Laredo that were already facing abuse, diversion, misuse, and other problems

associated with the opioid epidemic.

          722.   The Defendants failed in their duty to take any action to prevent or reduce the

distribution of these drugs.

          723.   The Defendants were in a unique position and had a duty to inspect, report, or

otherwise limit the manufacture and flow of these drugs to Laredo.

          724.   The Defendants, in the interest of their own massive profits, intentionally failed in

this duty.

          725.   The Defendants have displayed a continuing pattern of failing to submit suspicious

order reports.

          726.   In 2008, McKesson paid a $13.25 million fine to settle similar claims regarding

suspicious orders from internet pharmacies. 190

          727.   Despite these prior penalties, McKesson’s pattern of failing to report suspicious

orders continued for many years.

          728.   According to the DEA, McKesson “supplied various U.S. pharmacies an increasing

amount of oxycodone and hydrocodone pills” during the time in question, and “frequently misused

products that are part of the current opioid epidemic.” 191

          729.   On January 17, 2017, the DEA announced that McKesson had agreed to pay a record

$150 million fine and suspend the sale of controlled substances from distribution centers in several

states. 192


190
    http://www.wvgazettemail.com/news-health/20161218/suspicious-drug-order-rules-never-
enforced-by-state.
191
    https://www.justice.gov/opa/pr/mckesson-agrees-pay-record-150-million-settlement-failure-
report-suspicious-orders.
                                                  231
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          730.   In 2008, defendant Cardinal paid a $34 million penalty to resolve allegations that it

failed to report suspicious opioid orders. 193

          731.   Despite this past penalty, in 2017, it was announced that defendant Cardinal agreed to

a $44 million fine to “resolve allegations that it failed to alert the Drug Enforcement Agency to

suspicious orders of powerful narcotics by pharmacies in Florida, Maryland, and New York. 194

          732.   Defendant AmeriSourceBergen faced a criminal inquiry “into its oversight of

painkiller sales” in 2012. They have paid out fines for similar claims to the state of West Virginia.

          733.   Despite the charges, fines, and penalties brought against the Distributor Defendants

in the past, they continued to fail to report suspicious orders or prevent the flow of prescription

opioids, including into Laredo.

          734.   The Distributor Defendants are also members of the Healthcare Distribution

Management Association (“HDMA”). The HDMA created “Industry Compliance Guidelines” which

stressed the critical role of each member of the supply chain in distributing controlled substances.

The HDMA guidelines provided that “[a]t the center of a sophisticated supply chain, Distributors are

uniquely situated to perform due diligence in order to help support the security of controlled

substances they deliver to their customers.”

          735.   Between the years in question, including 2007 through 2016, the Distributor

Defendants have shipped millions of doses of highly addictive controlled opioid pain killers into

Laredo.




192
    Id.
193
    https://www.justice.gov/usao-wdwa/pr/united-states-reaches-34-million-settlement-cardinal-
health-civil-penalties-under-0.
194
    https://www.washingtonpost.com/national/health-science/cardinal-health-fined-44-million-for-
opioid-reporting-violations/2017/01/11/4f217c44-d82c-11e6-9a36-
1d296534b31e_story.html?utm_term=.7049c4431465.
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          736.   Many of these orders should have been stopped, or at the very least, investigated as

potential suspicious orders.

          737.   The sheer volume of the increase in opioid pain medications, including Oxycodone,

being distributed to retailers, should have put the Defendants on notice to investigate and report such

orders.

          738.   The Defendants manufactured and delivered an excessive and unreasonable amount

of opioid pain medications to retailers in Laredo.

          739.   Upon information and belief, the Defendants did not refuse to manufacture, ship, or

supply any opioid medications to any pharmacy in Laredo from 2007 to the present.

          740.   The Defendants knew or should have known that they were manufacturing and

distributing levels of opioid medications that far exceeded the legitimate needs of Laredo.

          741.   The Defendants also paid their sales force bonuses and commissions on the sale of

most or all of the highly addictive opioid pain medications within Laredo.

          742.   The Defendants made substantial profits from the opioids sold in Laredo.

          743.   The Defendants violated the Texas law and regulations for manufacturers and

distributors, by failing to properly report suspicious orders.

          744.   By the actions and inactions described above, the Defendants showed a reckless

disregard for the safety of the residents of Laredo.

          745.   By the actions and inactions described above, the Defendants caused great harm to

Laredo.

          746.   On December 27, 2007, the U.S. Department of Justice, Drug Enforcement

Administration, sent a letter to Cardinal stating, “This letter is being sent to every entity in the United

States registered with the Drug Enforcement Agency (DEA) to manufacture or distribute controlled

substances. The purpose of this letter is to reiterate the responsibilities of controlled substance

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manufacturers and distributors to inform DEA of suspicious orders in accordance with 21 C.F.R. §

1301.74(b).”

        747.    The DEA has provided briefings to each of the Defendant Distributors and

conducted a variety of conferences regarding their duties under federal law.

        748.    The DEA sent a letter to each of the Defendant Distributors on September 26, 2006,

warning that it would use its authority to revoke and suspend registrations when appropriate. The

letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted into

other than legitimate medical, scientific, and industrial channels.” The DEA warns that “even just one

distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”

        749.    The DEA sent a second letter to each of the Defendant Distributors on December

27, 2007. This letter reminded the Defendant Distributors of their statutory and regulatory duties to

“maintain effective controls against diversion” and “design and operate a system to disclose to the

registrant suspicious orders of controlled substances.” The letter further explains:

        The regulation also requires that the registrant inform the local DEA Division Office
of suspicious orders when discovered by the registrant. Filing a monthly report of
        completed transactions (e.g., “excessive purchase report” or “high unity purchases”)
does not meet the regulatory requirement to report suspicious orders. Registrants are
reminded that their responsibility does not end merely with the filing of a suspicious order
report. Registrants must conduct an independent analysis of suspicious orders prior to
completing a sale to determine whether the controlled substances are likely to be diverted
from legitimate channels. Reporting an order as suspicious will not absolve the registrant of
responsibility if the registrant knew, or should have known, that the controlled substances
were being diverted.

        The regulation specifically states that suspicious orders include orders of unusual size,
orders deviating substantially from a normal pattern, and orders of an unusual frequency.
These criteria are disjunctive and are not all inclusive. For example, if an order deviates
substantially from a normal pattern, the size of the order does not matter and the order
should be reported as suspicious. Likewise, a registrant need not wait for a “normal pattern”
to develop over time before determining whether a particular order is suspicious. The size of
an order alone, whether or not it deviates from a normal pattern, is enough to trigger the
registrant’s responsibility to report the order as suspicious. The determination of whether an

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order is suspicious depends not only on the ordering patterns of the particular customer, but
also on the patterns of the registrant’s customer base and the pattern throughout the segment
of the regulated industry.

         Registrants that rely on rigid formulas to define whether an order is suspicious may be
failing to detect suspicious orders. For example, a system that identifies orders as suspicious
only if the total amount of a controlled substance ordered during one month exceeds the
amount ordered the previous month by a certain percentage or more is insufficient. This
system fails to identify orders placed by a pharmacy if the pharmacy placed unusually large
orders from the beginning of its relationship with the distributor. Also, this system would
not identify orders as suspicious if the order were solely for one highly abused controlled
substance if the orders never grew substantially. Nevertheless, ordering one highly abused
controlled substance and little or nothing else deviates from the normal pattern of what
pharmacies generally order.

        When reporting an order as suspicious, registrants must be clear in their
communication with DEA that the registrant is actually characterizing an order as suspicious.
Daily, weekly, or monthly reports submitted by registrant indicating “excessive purchases” do
not comply with the requirement to report suspicious orders, even if the registrant calls such
reports “suspicious order reports.”

         Lastly, registrants that routinely report suspicious orders, yet fill these orders without
first determining that order is not being diverted into other than legitimate medical, scientific,
and industrial channels, may be failing to maintain effective controls against diversion.
Failure to maintain effective controls against diversion is inconsistent with the public interest
as that term is used in 21 U.S.C. §§ 823 and 824, and may result in the revocation of the
registrant’s DEA Certificate of Registration.

        750.    As a result of the decade-long refusal by the Defendant Distributors to abide by

federal law, the DEA has repeatedly taken administrative action to force compliance. The United

States Department of Justice, Office of the Inspector General, Evaluation and Inspections Divisions,

reported that the DEA issued final decisions in 178 registrant actions between 2008 and 2012. The

Office of Administrative Law Judges issued a recommended decision in a total of 177 registrant

actions before the DEA issued its final decision, including 76 actions involving orders to show cause

and 41 actions involving immediate suspension orders. The Drug Enforcement Administration’s

Adjudication of Registrant Actions, United States Department of Justice, Office of the Inspector

General, Evaluation and Inspections Divisions, I-2014-003 (May 2014). The public record reveals

many of these actions:

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        On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
Suspension Order against the AmerisourceBergen Orlando, Florida distribution center
(Orlando Facility) alleging failure to maintain effective controls against diversion of controlled
substances. On June 22, 2007, AmerisourceBergen entered into a settlement which resulted
in the suspension of its DEA registration;

       On November 28, 2007, the DEA issued an Order to Show Cause and Immediate
Suspension Order against the Cardinal Health Auburn, Washington Distribution Center
(Auburn Facility) for failure to maintain effective controls against diversion of hydrocodone;

       On December 5, 2007, the DEA issued an Order to Show Cause and Immediate
Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center
(Lakeland Facility) for failure to maintain effective controls against diversion of hydrocodone;

       On December 7, 2007, the DEA issued an Order to Show Cause and Immediate
Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center
(Swedesboro Facility) for failure to maintain effective controls against diversion of
hydrocodone;

         On January 30, 2008, the DEA issued an Order to Show Cause and Immediate
Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (Stafford
Facility) for failure to maintain effective controls against diversion of hydrocodone;

        On May 2, 2008, McKesson Corporation entered into an Administrative
Memorandum of Agreement (2008 MOA) with the DEA which provided that McKesson
would “maintain a compliance program designed to detect and prevent the diversion of
controlled substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b),
and follow the procedures established by its Controlled Substance Monitoring Program”;

        On September 30, 2008, Cardinal Health entered into a Settlement and Release
Agreement and Administrative Memorandum of Agreement with the DEA related to its
Auburn Facility, Lakeland Facility, Swedesboro Facility, and Stafford Facility. The document
also referenced allegations by the DEA that Cardinal failed to maintain effective controls
against the diversion of controlled substances at its distribution facilities located in
McDonough, Maryland (McDonough Facility), Valencia, California (Valencia Facility) and
Denver, Colorado (Denver Facility);


       On February 2, 2012, the DEA issued an Order to Show Cause and Immediate
Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center
(Lakeland Facility) for failure to maintain effective controls against diversion of oxycodone;

        On June 11, 2013, Walgreens paid $80 million in civil penalties for dispensing
violations under the CSA regarding the Walgreens Jupiter Distribution Center and six
Walgreens retail pharmacies in Florida;




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        On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the DEA
to resolve the civil penalty portion of the administrative action taken against its Lakeland,
Florida Distribution Center; and

          On January 5, 2017, McKesson Corporation entered into an Administrative
Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty
for violation of the 2008 MOA as well as failure to identify and report suspicious orders at its
facilities in Aurora, CO; Aurora, IL; Delran, NJ; LaCrosse, WI; Lakeland, FL; Landover, MD;
La Vista, NE; Livonia, MI; Methuen, MA; Sante Fe Springs, CA; Washington Courthouse,
OH; and West Sacramento, CA

        751.    Rather than abide by these public safety statutes, the Defendant Distributors,

individually and collectively through trade groups in the industry, pressured the U.S. Department of

Justice to “halt” prosecutions and lobbied Congress to strip the DEA of its ability to immediately

suspend distributor registrations. The result was a “sharp drop in enforcement actions” and the

passage of the “Ensuring Patient Access and Effective Drug Enforcement Act” which, ironically,

raised the burden for the DEA to revoke a distributor’s license from “imminent harm” to

“immediate harm” and provided the industry the right to “cure” any violations of law before a

suspension order can be issued. 195

      The Pharmacy Defendants’ Conduct Contributed to the Opioids Catastrophe in
Laredo

        752.    Through their public statements, marketing, and advertising, Defendants’

        deceptions each participant in the supply chain of opioid distribution is responsible to

prevent diversion of prescription opioids into the illegal market by monitoring and reporting

suspicious activity. Opioid “diversion” can occur whenever the supply chain of prescription opioids

195
   See Lenny Bernstein and Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid
Epidemic Grew Out of Control, WASH. POST (Oct. 22, 2016),
https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-
epidemic- grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
d7c704ef9fd9_story.html?utm_term=.d84d374ef062; Lenny Bernstein and Scott Higham, Investigation:
U.S. Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, WASH. POST (Mar.
6, 2017), https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html?utm_term=.b44410552cde.
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is broken, and the drugs are transferred from a legitimate channel of distribution or use, to an

illegitimate channel of distribution or use. Diversion can occur at any point in the opioid supply

chain, including at the pharmacy level when prescriptions are filled for any reason other than a

legitimate medical purpose.

       753.    Diversion occurs, for example, whenever entities in the chain of distribution fill

suspicious orders for opioids from buyers, retailers or prescribers. Suspicious orders include orders of

unusually large size, orders that are disproportionately large in comparison to the population of a

community served by the pharmacy, orders that deviate from a normal pattern and/or orders of

unusual frequency and duration, among others.

       754.    Diversion can occur, for example, at pharmacies, including whenever the

pharmacy fills a prescription despite having reason to believe it was not issued for a legitimate

medical purpose or not in the usual course of practice. Diversion can also occur through the use of

stolen or forged prescriptions at pharmacies, or the sale of opioids without prescriptions, including

patients seeking prescription opioids under false pretenses.

       1.      Duties of the Pharmacy Defendants

       755.    Pharmacies are the final step on the pharmaceutical supply chain before drugs

reach the consumer/patient. Pharmacies purchase drugs from wholesalers, and occasionally directly

from manufacturers, and then take physical possession of the drug products.

       756.    Since they are the final point of sale for pharmaceuticals and the interface

between the supply chain and the consumer, pharmacies general the data that manufacturers as well

as wholesale distributors rely upon to measure consumer activity for sale purposes.

       757.    Most pharmacies purchase their drug supply form a wholesale distributor,

although some retailers are large institutional and retail chain pharmacies that obtain drugs directly

from a manufacturer. These organizations can deal with manufacturers because they already possess

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the operational infrastructure necessary to bypass wholesalers – warehousing facilities, distribution

vehicles, and inventory control systems. Once a pharmacy takes possession of the drug products, it

distributes the products to physicians or directly to consumers.

        758.    The Retail Pharmacy Defendants’ policies of speed over accuracy were negligent.

Adopting performance metrics and quotas placed significant and unrealistic time pressures of

pharmacists. Upon information       and   belief,    many    Retail     Pharmacy    Defendants    required

pharmacists to fill one prescription every three minutes or more than 600 prescriptions per work

shift. All measurements focus on productivity with the end goal of maximizing retail defendants’

profits. Meeting such unrealistic     goals   would       violate     the   law    regarding   professional

responsibilities and governing practice rules. To satisfy the increased productivity demands with

decreased staffing required pharmacists employed by the Retail Pharmacy Defendants to cut corners

in their performance of due diligence obligations and violate their legal obligations under federal law.

The Retail Pharmacy Defendants’ high-volume-and-increased-profits business model also led to a

greater number of errors in dispensing, which can result in significant harm to pharmacy customers.

        759.    Pharmacies have the most accurate data on individual healthcare professional’s

prescribing habits. On information and belief, the Pharmacy Defendants provided the Manufacturer

Defendants with data regarding individual healthcare professionals in exchange for rebates, or other

forms of consideration.

        760.    The Retail Pharmacy Defendants failed to adequately train their pharmacists and

pharmacy techs on how to properly and adequately handle prescriptions for opioid painkillers,

including what constitutes a proper inquiry into whether a prescription is legitimate, whether a

prescription is likely for a condition for which the FDA has approved treatments with opioids, and

what measures and/or actions to take when a prescription is identified as phony, false, forged, or

otherwise illegal.

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        761.    The Retail Pharmacy Defendants failed to instruct their pharmacists and

pharmacy techs on       how to address situations       in which they are forced to decline filling a

prescription for a customer who submitted a prescription which a pharmacist has identified as

suspicious.

        762.    The Retail Pharmacy Defendants have failed to train their pharmacists and

pharmacy techs on how to properly exercise their judgment and intuition with respect to

determinations about whether a prescription is one that should be filled, or whether, under the law,

the pharmacist should refuse to fill it.

        763.    The Retail Pharmacy Defendants failed to adequately use data available to them

to identify healthcare professionals that were writing suspicious numbers of prescriptions and/or

prescriptions of suspicious amounts of opioids.

        764.    The Retail Pharmacy Defendants failed to adequately use data available to them

to do statistical analysis to prevent the filling of prescriptions that contributed to the opioid crisis.

Upon information and belief, the Retail Pharmacy Defendants failed to analyze: (a) the number of

opioid prescriptions filled by individual pharmacies relative to the population of the

pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number opioid

prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales relative to the

increase in annual sales of other drugs.

        765.    The Retail Pharmacy Defendants failed to conduct internal or external audits of

their opioid sales to identify patterns regarding prescriptions that should not have been filled and to

create policies accordingly. The Retail Pharmacy Defendants failed to have trained personnel

monitoring media and journal publications regarding issues with all drugs being sold, including

opioids.

        766.    The Retail Pharmacy Defendants failed to effectively respond to concerns from

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raised by their own employees regarding inadequate policies and procedures regarding the filling of

opioid prescriptions.

       767.    The Retail Pharmacy Defendants’ own sales representatives, agents, employees,

contractors, and other persons who rendered services in furtherance of selling more of the Retail

Pharmacy Defendants’ drugs, upon information and belief, raised a significant number of

complaints, statements of concern, and observations of regarding suspicious prescriptions, which the

Retail Pharmacy Defendants failed to investigate, act upon, and in some cases even

acknowledge or create records of.

       768.    Upon information and belief, the Retail Pharmacy Defendants knew, reasonably

should have known, or, if they did not know, intentionally remained willfully blind to the fact of the

media and journal attention published about the opioid epidemic. They intentionally remained

willfully blind to the fact that pill diversion and pill mills were increasing at an alarming rate. And,

upon information and belief, the Retail Pharmacy Defendants failed to act.

       769.    The Retail Pharmacy Defendants failed to track or observe increase in antidote

sales, which would have triggered suspicion in a reasonable person or a reasonable sales

representative that levels of prescription drug abuse were rampant. The Retail Pharmacy

Defendants failed to observe, take notice of, and take into account, government communications to

the public and to those involved in the opioid supply chain, such as the Retail Pharmacy Defendants,

and take action.

       770.    The Retail Pharmacy Defendants failed to track profit changes for opioids, which

skyrocketed once the epidemic was truly underway and would have signaled to any reasonable

person, pharmacist, or executive that a crisis involving narcotic drugs was underway.

       771.    The Retail Pharmacy Defendants in fact knew of massive sales and negotiated




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purchase contracts more favorable to them, which in turn create d further pressure on sales

representatives.

        772.       The Retail Pharmacy Defendants knew that supply procedures had to change to

address the ever increasing volume of drugs being sold—which was so patently obvious that it

required an update to a larger physical storage space for the volume of pills being moved.

        773.       The Retail Pharmacy Defendants intentionally, maliciously, and repeatedly failed

to investigate or act upon complaints, statements of concern and observations of employees.

        774.       The Retail Pharmacy Defendants clearly knew that an opioid epidemic existed as

that they considered and/or implemented changes to their security procedures to address retail outlet

concerns regarding customers who were, may have been, or had the potential to become addicts.

        775.       Duties of the Pharmacy Defendants are set forth in multiple sources, including

common law, state law, regulations, law enforcement guidance, and industry guidance.

        776.       In Texas, a pharmacist’s duty to use due and proper care in filling

prescriptions extends beyond simply following the prescribing physician’s directions. Further, a

pharmacist’s duty to use due and proper care is not satisfied by mere “robotic compliance” with the

instructions of the prescribing physician.

        777.       Pharmacists cannot engage in filling opioid prescriptions in Laredo

that are unreasonable on their face due to, among other reasons, the quantity, frequency, dosage or

combination that a reasonable pharmacist would not prescribe under the circumstances.

        778.       Pharmacies are the “last line of defense” in keeping drugs from entering the illicit

market. They are meant to be the drug experts in the healthcare delivery system and, as such, have

duties and responsibilities in the oversight of patient care.

        779.       In addition to having common law duties, the Pharmacy Defendants have duties




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outlined by the Comprehensive Drug Abuse Prevention and Control Act of 1970, 21 U.S.C. §801, et

seq. (“CSA” or “Controlled Substances Act”), which is incorporated into Texas Law under the Texas

Controlled Substances Act.

        780.     The CSA and Texas Pharmacy Law Book describe duties of the Pharmacy

Defendants. These requirements, along with their related regulations and agency interpretations, set

standards of care for pharmacy conduct.

        781.     The CSA and Texas Pharmacy Law Book state that pharmacists must review

each controlled substance prescription and, prior to dispensing medication, make a professional

determination that the prescription is effective and valid.

        782.     In addition, 21 C.F.R. §1306.04(a) states, “The responsibility for the proper

prescribing and dispensing of controlled substances is upon the prescribing practitioner, but a

corresponding responsibility rests with the pharmacist who fills the prescription.”

        783.     Pharmacists are required to ensure that prescriptions for controlled substances are

valid, and that they are issued for a legitimate medical purpose by an individual practitioner acting in

the usual course of his or her professional practice.

        784.     The DEA’s 2010 “Pharmacists’ Manual” section on “Valid Prescription

Requirements” instructs that “[a]n order purporting to be a prescription issued not in the usual

course of professional treatment or in legitimate and authorized research is an invalid

prescription.” 196Filling such a prescription is illegal.

        785.     The DEA Manual also states, “The law does not require a pharmacist to dispense




196
   Pharmacist’s Manual, An Informational Outline of the Controlled Substances Act, U.S. Department of
Justice, Drug Enforcement Administration §IX (2010),
https://www.deadiversion.usdoj.gov/pubs/manuals/pharm2/index.html.
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a prescription of doubtful, questionable, or suspicious origin. To the contrary, the pharmacist who

deliberately ignores a questionable prescription when there is reason to believe it was not issued for a

legitimate medical purpose may be prosecuted.” 197

            786.   The DEA (as well as state pharmacy boards, national industry associations and

continuing educational programs) have provided extensive guidance to pharmacists concerning their

duties to the public. The guidance teaches pharmacists how to identify red flags, which indicate to the

pharmacist that there may be a problem with the legitimacy of a prescription presented by a patient.

The guidance also tells pharmacists how to resolve the red flags and what to do if the red flags are

unresolvable.

            787.   The industry guidance tells pharmacists how to recognize stolen prescription

pads; prescription pads printed using a legitimate doctor’s name, but with a different call back

number that is answered by an accomplice of the drug-seeker; prescriptions written using fictitious

patient names and addresses; and so on.

            788.   Questionable or suspicious prescriptions include: prescriptions written by a doctor

who writes significantly more prescriptions (or in larger quantities) for controlled substances

compared to other practitioners in the area; prescriptions which should last for a month in legitimate

use, but are being refilled on a shorter basis; prescriptions for antagonistic drugs, such as depressants

and stimulants, at the same time; prescriptions that look “too good” or where the prescriber’s

handwriting is too legible; prescriptions with quantities or dosage that differ from usual medical

usage; prescriptions that do not comply with standard abbreviations and/or contain no abbreviations;

photocopied prescriptions; or prescriptions containing different handwritings. Most of the time,

these attributes are not difficult to detect or recognize; they should be apparent to an adequately

trained pharmacist.

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      Id.
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        789.    Signs that a customer is seeking opioids for the purpose of diversion include

customers who: appear to be returning too frequently; are seeking to fill a prescription written for a

different person; appear at the pharmacy counter simultaneously, or within a short time, all bearing

similar prescriptions from the same physician; are not regular patrons or residents of the community,

and show up with prescriptions from the same physician; drive long distances to have prescriptions

filled; seek large volumes of controlled substances in the highest strength in each prescription; seek a

combination of other drugs with opioids such as tranquilizers and muscle relaxers that can be used to

create an “opioid cocktail”; and pay large amounts of cash for their prescriptions rather than using

insurance. Ignoring these signs violates industry standards.

        790.    Other “red flags” include when prescriptions that lack the technical requirements

of a valid prescription, such as a verifiable DEA number and signature; prescriptions written in

excess of the amount needed for proper therapeutic purposes; prescriptions obtained through

disreputable or illegal web-based pharmacies; and patients receiving multiple types of narcotic

painkillers on the same day.

        791.    Filling an unusually high volume of opioids prescriptions given the surrounding

population and/or the ratio of opioids to other prescriptions filled can also be a red flag to a

pharmacy that diversion and addiction are occurring.

        792.    All of these issues have been presented by the DEA in pharmacist training

programs throughout the United States and have been used as examples by individual state boards of

pharmacy and the National Association of Boards of Pharmacy.

        793.    Industry standards require pharmacists to contact the prescriber for verification or

clarification whenever there is a question about any aspect of a prescription order. If a pharmacist is

ever in doubt, he or she must ask for proper identification. If a pharmacist believes the prescription is

forged or altered, he or she should not dispense it and call the local police. If a pharmacist believes he

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or she has discovered a pattern of prescription diversion, the local Board of Pharmacy and DEA

must be contacted.

        794.     A standard of care for the Pharmacy Defendants is also set by applicable

professional regulations in the state of Texas, including, but not limited to, the Texas Pharmacy Law

Book.

        795.     The Pharmacy Defendants also have duties to attempt to address the suspected

addiction of a patient to a drug dispensed by the pharmacist, if there is reason to believe the patient

may be addicted.

        796.     The Pharmacy Defendants have voluntarily undertaken a duty to the public. In

News reports and other public documents, it has been reported that the Pharmacy Defendants,

through their words or actions, have assured the public that issues affecting public health and safety

are their highest priority.

      i.      The Pharmacy Defendants’ Wrongful Conduct Breached Their Duties and
Violated the Law

        797.     The Pharmacy Defendants each have one or more pharmacies within Laredo that fills

prescriptions for opioid medications.

        798.     On information and belief, the Pharmacy Defendants regularly filled opioid

prescriptions in circumstances where red flags were present (sometimes many red flags).

        799.     On information and belief, the Pharmacy Defendants regularly filled opioid

prescriptions that would have been deemed questionable or suspicious by a reasonably prudent

pharmacy.

        800.     On information and belief, the Pharmacy Defendants have not adequately trained

or supervised their employees at the point of sale to investigate or report suspicious or invalid

prescriptions or protect against corruption or theft by employees or others.

        801.     On information and belief, the Pharmacy Defendants utilize monetary
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compensation programs for certain employees that are based, in part, on the number of prescriptions

filled and dispensed. This type of compensation creates economic disincentives within the companies

to change their practices. For example, there have been reports of chain store supervisory personnel

directing pharmacists to fill prescriptions regardless of the red flags presented.

        802.    In failing to take adequate measures to prevent substantial opioid-related abuse,

the Pharmacy Defendants have breached their duties under the “reasonable care” standard,

professional duties under the relevant standards of professional practice and requirements set forth in

state and federal law.

        803.    It is foreseeable to the Pharmacy Defendants that filling invalid or suspicious

prescriptions for opioids would cause harm to individual pharmacy customers and, thus, to Laredo.

        804.    It is reasonably foreseeable to the Pharmacy Defendants that, when unintended

users gain access to opioids, tragic yet preventable injuries and damages will result, including

overdoses and death.

        805.    At all relevant times, the Pharmacy Defendants have engaged in improper

dispensing practices, and continue to do so, despite knowing full well they could take measures to

substantially eliminate their complicity in opioid diversion.

        806.    At all relevant times, the Pharmacy Defendants engaged in these activities, and

continue to do so, knowing full well that Laredo would provide or pay for opioids prescriptions, and

additional medical services, emergency services and other necessary services, and would suffer the

loss of substantial resources and taxpayer dollars. It is reasonably foreseeable to the Pharmacy

Defendants that Laredo would be forced to bear substantial expenses and resources as a result of the

Pharmacy Defendants’ acts.

        807.    The Pharmacy Defendants were on notice of their ongoing negligence or




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intentional misconduct towards Laredo in part because of their history of being penalized for

violating their duties and legal requirements in other jurisdictions.

                                (a)     CVS

         808.   For example, CVS adopted a performance metrics system it calls The Metrics

System where pharmacists are directed to meet unobtainable prescription filling goals. If met, those

goals would violate the law regarding professional responsibilities and governing practice rules. Due

to The Metrics and other similar systems, pharmacists cannot meet their directives and are forced to

decide whether they violate the law and regulations pharmacists must comply with, or attempt to

meet company directives. Such directives that favor speed over accuracy result in dispensing errors,

including errors in dispensing dangerous opioid drugs.

         809.   CVS has been implicated in other Manufacturer Defendant settlements with the

DEA including the 2011 Cardinal investigation “which…sent millions of doses of oxycodone to a

small number of pharmacies in Florida, including two CVS stores in Sanford.” 198

         810.   At any time since CVS had knowledge and/or notice of the opioid problem it

Could have unilaterally taken steps to curtail and prevent expansion of the problem, but it failed to

do so.

         811.   Rather than act to curb the expansion of opioid use that CVS knew was occurring

at a breathtaking pace, CVS chose not to undertake and/or failed to take action to induce internal

consideration of any of the measures it was capable of taking.

         812.   In addition to measures alleged above, CVS could and should have unilaterally




198
   Scott Higham and Lenny Bernstein, The Drug Industry’s Triumph Over the DEA, WASH. POST (Oct.
15,
2017), https://www.washingtonpost.com/graphics/2017/investigations/dea-drug-industry-
congress/?utm_term=.6140a39686bd.

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taken action, and/or offered a program to third-party payers, which had the effect of: (a) limiting to

7 days the supply of opioids dispensed for certain acute prescriptions; (b) reducing the dispensing

of stronger and extended release opioids; (c) enhancing pharmacist counseling for new opioid

patients; (d) limiting the daily dosage of opioids dispensed based on the strength of the opioid; and

(e) requiring the use of immediate-release formulations of opioids before extended-release

opioids are dispensed.

        813.     CVS could have and should have implemented these measures at any point in the

last 15 years.

        814.     CVS considered some of these measures prior to June 2017, but chose not to act

on their implementation until September 2017.

        815.     Having knowledge and/or notice of the damages that CVS’ conduct had caused to

Plaintiff and others, CVS failed to take other steps to help curb the damages already incurred by

Plaintiff. Such step CVS could have included, among other things: (a) Donating medication disposal

units to community police departments across the country to ensure unused opioid painkillers are

disposed of properly rather than taken by individuals to whom the prescription was not written or

otherwise diverted or abused; (b) Implementing a program that consists of providing counseling to

patients who are receiving an opioid prescription for the first time, such as by discussing the risks of

dependence and addiction associated with opioid use and discussing and answering any questions or

concerns such patients may have; and (c) Running a public education campaigns in which CVS

Pharmacists’ Teach Program share facts about opioid abuse with students and parents.

        816.     In 2015, CVS publicly stated that “the abuse of controlled substance pain

medication is a nationwide epidemic that is exacting a devastating toll upon individuals, families and

communities. Pharmacists have a legal obligation under state and federal law to determine whether a




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controlled substance was issued for a legitimate purpose and to decline to fill prescriptions they have

reason to believe were issued for a non-legitimate purpose.” 199

        817.     CVS also entered into an $8 million dollar settlement with the DEA in 2016,

“reflect[ing] the federal commitment to prevent the diversion of pharmaceutical drugs for illegal

purposes.” 200   According to the settlement agreement, CVS acknowledged that between 2008 and

2012 certain CVS pharmacy stores dispensed controlled substances, including oxycodone,

fentanyl and hydrocodone, in a manner not fully consistent with their compliance obligations under

the CSA and related regulations.” 201 This included “failing to comply with a pharmacist’s liability to

ensure the controlled substance prescriptions were issued for a legitimate medical purpose.” 202

                                 (b)     Walgreens

        818.     In 2013, as a result of a multi-jurisdictional investigation by the DOJ including

the Eastern District of Michigan, Walgreens Corporation was fined $80 million for its violations of

the CSA.

        819.     According to the investigation Walgreens committed an unprecedented number of

record-keeping and dispensing violations under the CSA. According to documents filed in the

underlying administrative actions, Walgreens negligently all owed controlled substances listed in

Schedules II – V of the Act, such as oxycodone and other prescription pain killers, to be diverted for

abuse and illegal black market sales.

        820.     On September 20, 2017 Walgreens announce that the pharmacy was launching its

199
    Kean Bauman, Patients profiled at pharmacy counters, Pharmacist Steve (Feb. 25, 2015),
http://www.pharmaciststeve.com/?p=9421.
200
    United States Attorney’s Office District of Maryland, Press Release, United States Reaches $8 Million
Settlement Agreement with CVS for Unlawful Distribution of Controlled Substances (Feb. 12,
2016), https://www.justice.gov/usao-md/pr/united-states-reaches-8-million-settlement-agreement-
cvs-unlawful-
distribution-controlled
201
    Id.
202
    Id.
                                                   250
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#ItEndsWithUs campaign to educate teens about the opioid epidemic. As part of that initiative, the

company created a website that serves as an online “#ItEndsWithUs” hub and resource center aimed

at disseminating the risks of opioid abuse, guides on how to properly dispose of unused opioids, and

even testimonials from individuals who personally overcame opioid addictions.

        821.    Additionally, the #ItEndsWithUs” hub provides the locations of free-to-use

medication-disposal kiosks where individuals can deposit their unused medication into a safe-box, the

contents of which will be later disposed of in a safe and proper manner.

        822.    In the wake of a recent $500,000 fine, Walgreens adopted a “good faith

dispensing” policy that allows a pharmacist to refuse to dispense pain relievers if the pharmacist feels

that the prescriber failed to write a prescription for a legitimate medical purpose.

        823.    In a letter issued to prescribing physicians, Walgreens stated: “According to 21

C.F.R. 1306.04, pharmacists are required to ensure that prescriptions for controlled substances are

issued for a legitimate medical purpose.” The precise text of the regulation to which

Walgreens’ letter referred, in pertinent part, is as follows: The responsibility for the proper

prescribing and dispensing of controlled substances is upon the prescribing practitioner, but a

corresponding responsibility rests with the pharmacist who fills the prescription. An order

purporting to be a prescription issued not in the usual course of professional treatment or in

legitimate and authorized research is not a prescription within the meaning and intent of section 309

of the Act (21 U.S.C. 829) and the person knowingly filling such a purported prescription, as well as

the person issuing it, shall be subject to the penalties provided for violations of the provisions of law

relating to controlled substances.

        824.    Walgreens also took additional steps to combat the opioid crisis, although such

efforts were admittedly late in the game including launching a safe medication disposal program in

which the company installed drug disposal kiosks in more than 500 Walgreens drugstores in states

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and Washington D.C., as well as eliminating the requirement persons present a prescription

before being permitted to obtain the life-saving medication, Naloxone (in 35 states including

Washington, D.C.). When a patient receives naloxone, Walgreens provides mandatory counseling on

the risks of opioids, risk factors for and how to avoid overdose, how to identify and respond to an

overdose, and how to use and administer Naloxone.

       825.    In addition to measures alleged above, Walgreens could and should have

unilaterally taken action that and/or offered a program to third-party payers to accept that: (a) limited

to 7 days the supply of opioids dispensed for certain acute prescriptions; (b) reduced the dispensing

of stronger and extended release opioids; (c) enhanced pharmacist counseling for new opioid

patients; (d) limited the daily dosage of opioids dispensed based on the strength of the opioid; and (e)

required the use of immediate-release formulations of opioids before extended-release opioids are

dispensed.

       826.    Having knowledge and/or notice of the damages that Walgreens conduct had

caused to Plaintiff and others, Walgreens failed to take other steps to help curb the damages already

incurred by Plaintiff due to Defendants, including Walgreens, could have: (a) donated medication

disposal units to community police departments across the country to ensure unused opioid

painkillers are disposed of properly rather than taken by individuals to whom the prescription was

not written or otherwise diverted or abused; (b) implemented a program that consists of providing

counseling to patients who are receiving an opioid prescription for the first time, such as by

discussing the risks of dependence and addiction associated with opioid use and discussing and

answering any questions or concerns such patients may have; (c) ran public education campaigns

in which Walgreens ran public education programs; (d) limited to 7 days the supply of opioids

dispensed for certain acute prescriptions; (e) reduced the dispensing of stronger and extended release

opioids; (f) enhanced pharmacist counseling for new opioid patients; (g) limited the daily dosage of

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opioids dispensed based on the strength of the opioid; and (h) required the use of immediate-release

formulations of opioids before extended-release opioids are dispensed.

        827.    Walgreens could have and should have implemented these measures at any point

In the last 15 years.

        828.    And the failure to take such steps that Walgreens should have taken was negligent

and did result in significant damages to Plaintiff.

        829.    Each of the Retailer Defendants had knowledge and/or notice of the damages

caused and continuing to be caused by their conduct and could and should have taken measures,

including but not limited to those set forth herein, to curb opioid expansion of opioid use and to

prevent or minimize the cascading damages caused by their wrongful conduct.

                (c)Rite Aid

        830.    In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid and

nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations of the

CSA.

        831.    The investigation revealed that from 2004 onwards, Rite Aid pharmacies across the

country had a pattern of non-compliance with the requirements of the CSA and federal regulations

that lead to the diversion of prescription opioids in and around the communities of the Rite Aid

pharmacies investigated. Rite Aid failed to notify the DEA of losses of controlled substances in

violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).

        832.    In an effort to preserve good will, Rite Aid, in partnership with Albertsons

announced in February 2017 that it was expanding access to naloxone, the opioid antagonist drug

that is extremely effective at reversing the effects of an opioid overdose and saving the lives of those

affected.




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        833.     In addition to measures alleged above, Rite Aid could and should have

unilaterally taken action that and/or offered a program to third-party payers to accept that: (a) limited

to 7 days the supply of opioids dispensed for certain acute prescriptions; (b) reduced the dispensing

of stronger and extended release opioids; (c) enhanced pharmacist counseling for new opioid

patients; (d) limited the daily dosage of opioids dispensed based on the strength of the opioid; and (e)

required the use of immediate-release formulations of opioids before extended-release opioids are

dispensed.

        834.     Having knowledge and/or notice of the damages that Rite Aid conduct had caused to

Plaintiff and others, Rite Aid failed to take other steps to help curb the damages already incurred by

Plaintiff due to Defendants, including Rite Aid, could have: (a) donated medication disposal units to

community police departments across the country to ensure unused opioid painkillers are disposed of

properly rather than taken by individuals to whom the prescription was not written or otherwise

diverted or abused; (b) implemented a program that consists of providing counseling to patients who

are receiving an opioid prescription for the first time, such as by discussing the risks of dependence

and addiction associated with opioid use and discussing and answering any questions or concerns

such patients may have; (c) run public education campaigns in which Rite Aids ran public education

programs; (d) limited to 7 days the supply of opioids dispensed for certain acute prescriptions; (e)

reduced the dispensing of stronger and extended release opioids; (f) enhanced pharmacist counseling

for new opioid patients; (g) limited the daily dosage of opioids dispensed based on the strength of the

opioid; and (h) required the use of immediate-release formulations of opioids before extended-release

opioids are dispensed.

        835.     Rite Aid could have and should have implemented these measures at any point in the

last 15 years.




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        836.     And the failure to take such steps that Rite Aid should have taken was negligent and

did result in significant damages to Plaintiff.

                        (d)      Walmart

        837.    On information and belief, other Retail Pharmacy Defendants, including Walmart

have engaged in similar conduct in violation of their responsibilities to prevent diversion.

        838.    The Retail Pharmacy Defendants’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

unlawful diversion of opioids.



                                     FIRST CAUSE OF ACTION

                                       PUBLIC NUISANCE
                                  (AGAINST ALL DEFENDANTS)

         839. Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

 as if they were fully set forth herein.

         840. Defendants, individually and acting through their employees and agents, and in

 concert with each other, have intentionally, recklessly, or negligently engaged in conduct or

 omissions which endanger or injure the property, health, safety or comfort of a considerable

 number of persons in Laredo by their production, promotion, and marketing of opioids for use by

 residents of Laredo.

         841. Defendants conduct and subsequent sale of its opioid products is not only unlawful,

 but has also resulted in substantial and unreasonable interference with the public health.

         842. Defendants’ conduct is not insubstantial or fleeting. Indeed, Defendants’ unlawful

 conduct has so severely impacted public health on every geographic and demographic level that the

 public nuisance perpetrated by Defendants’ conduct is commonly referred to as a “crisis” or an



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“epidemic.” It has caused deaths, serious injuries, and a severe disruption of public peace, order and

safety; it is ongoing, and it is producing permanent and long-lasting damage.

        843. Defendants’ conduct constitutes a public nuisance.

        844. Defendants’ conduct directly and proximately caused injury to Plaintiff and its

residents.

        845. The public nuisance created and maintained by the Defendants is a matter of great

public concern and interest to the residents of Laredo.

        846. Plaintiff has been injured by reason of Defendants’ creation of the public nuisance.

        847. Plaintiff is entitled to recover their damages caused by Defendants’ creation of this

public nuisance in an amount to be determined at trial, plus costs and attorneys’ fees.


                                  SECOND CAUSE OF ACTION

                                           FRAUD
                                 (AGAINST ALL DEFENDANTS)

        848. Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

as if they were fully set forth herein.

        849. Defendants, individually and acting through their employees and agents, and in

concert with each other, knowingly made material misrepresentations and omissions of facts to

Plaintiff and its residents to induce them to purchase, administer, and consume opioids as set forth

in detail above.

        850. Defendants knew at the time that they made their misrepresentations and omissions

that they were false.

        851. Defendants intended that Plaintiff, physicians, patients, and/or others would rely on

their misrepresentations and omissions.




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         852. Plaintiff, physicians, patients, and/or others reasonably relied upon Defendants’

misrepresentations and omissions.

         853. In the alternate, the Defendants recklessly disregarded the falsity of their

representations regarding opioids.

         854. By reason of their reliance on Defendants’ misrepresentations and omissions of

material fact Plaintiff, physicians, patients, and/or others suffered actual pecuniary damage.

         855. Defendants’ conduct was willful, wanton, and malicious and was directed at the public

generally.

         856. Plaintiff is entitled to recover damages caused by Defendants’ fraud in an amount to

be determined at trial.

                                   THIRD CAUSE OF ACTION

                                    UNJUST ENRICHMENT
                                 (AGAINST ALL DEFENDANTS)

         857. Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

as if they were fully set forth herein.

         858. Defendants acted willfully, wantonly, and with conscious disregard of the rights of the

Plaintiff.

         859. As an expected and intended result of their conscious wrongdoing as set forth in this

Complaint, Defendants have profited and benefited from opioid purchases made by Plaintiff.

         860. In exchange for the opioid purchases, and at the time Plaintiff made these payments,

Plaintiff expected that Defendants had provided all of the necessary and accurate information

regarding those risks and had not misrepresented any material facts regarding those risks.

         861. Defendants, through the wrongful conduct described above, have been unjustly

enriched at the expense of Plaintiff.



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          862. In equity and good conscience, it would be unjust and inequitable to permit

 Defendants to enrich themselves at the expense of the Plaintiff and its residents.

          863. By reason of the foregoing, Defendants must disgorge its unjustly acquired profits

 and other monetary benefits resulting from its unlawful conduct and provide restitution to the

 Plaintiff.

                                   FOURTH CAUSE OF ACTION

         NEGLIGENCE PER SE – VIOLATION OF THE TEXAS CONTROLLED
                         SUBSTANCES ACT (“TCSA”)
                       (AGAINST ALL DEFENDANTS)

        864.    Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

as if they were fully set forth herein.

        865.    Defendants have a duty to comply with the regulations of the Texas Controlled

Substances Act (“TCSA”), including but not limited to §481.128

        866.    Defendants knowingly manufactured, distributed, marketed, sold, deliverer,

administered, or dispensed controlled substances in violation of the TCSA.

        867.    Similarly, the TCSA §481.067 et seq., provides in part that “a person who is registered

with the Federal Drug Enforcement Administration to manufacture, distribute, analyze, or dispense a

controlled substance shall keep records and maintain inventories in compliance with recordkeeping

and inventory requirements of federal law and with additional rules the board or director adopts.”

TCSA §481.067 (a). The TCSA defines a “person” as “an individual, corporation, government,

business trust, estate, trust, partnership, association, or any other legal entity.” TCSA § 481.002(33).

        868.    The TCSA § 481.128 provides for civil penalties in commercial matters if a “registrant

or dispenser” violates the TCSA. This includes if a registrant “distributes, delivers, administers or

dispenses a controlled substance in violation” of the TCSA or federal law, “refuses or fails to make,

keep, or furnish a record, report, notification, order form, statement, invoice, or information required

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by this chapter”, or “refuses or fails to maintain security required by this chapter or a rule adopted

under this chapter.” TCSA §§ 481.128(a)(1),(2),(9).

        869.    Failure to comply with the TCSA constitutes negligence per se.

        870.    Defendants failed to comply with the TCSA.

        871.    In the instant case, the TCSA requires that the Defendants know their customers,

which includes, an awareness of the customer base, knowledge of the average prescriptions filled

each day, the percentage of controlled substances compared to overall purchases, a description of

how the dispenser fulfills its responsibility to ensure that prescriptions filled are for legitimate medical

purposes, and identification of physicians and bogus centers for the alleged treatment of pain that are

the dispenser’s most frequent prescribers.

        872.    Defendants have failed to diligently respond to the suspicious orders which

Defendants have filled.

        873.    Defendants have failed to provide effective controls and procedures to guard against

diversion of controlled substances in contravention of Texas law.

        874.    Defendants have willfully turned a blind eye towards the actual facts by regularly

distributing large quantities of controlled substances to retailers and dispensers who are serving a

customer base comprised of individuals who are themselves abusing and/or dealing prescription

medications, many of whom are addicted and all of whom can reasonably be expected to become

addicted.

        875.    Defendants negligently acted with others by dispensing controlled substances for

illegitimate medical purposes, operating bogus pain clinics which do little more than provide

prescriptions for controlled substances and thereby creating and continuing addictions to prescription

medications in this state.




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        876.    Defendants have, by their acts and omissions, proximately caused and substantially

contributed to damages to Laredo by violating Texas law, by creating conditions which contribute to

the violations of Texas laws by others, and by their negligent and/or reckless disregard of the

customs, standards and practices within their own industry.

        877.    Laredo has suffered and will continue to suffer enormous damages as the proximate

result of the failure by Defendants to comply with the TCSA.

        878.    Defendants’ acts and omissions imposed an unreasonable risk of harm to others

separately and/or combined with the negligent and/or criminal acts of third parties.

        879.    Defendants are in a class of a limited number of parties that can legally sell and

distribute opioids, which places it in a position of great trust by the City.

        880.    The trust placed in Defendants by Laredo through the license to distribute opioids in

Laredo creates a duty on behalf of Defendants to prevent diversion of the medications it supplies to

illegal purposes.

        881.    A negligent and/or intentional violation of this trust poses distinctive and significant

dangers to the City and its residents from the diversion of opioids for non-legitimate medical

purposes and addiction to the same by consumers.

        882.    Defendants were negligent in not acquiring and utilizing special knowledge and

special skills that relate to the dangerous activity in order to prevent and/or ameliorate such

distinctive and significant dangers.

        883.    Defendants are required to exercise a high degree of care and diligence to prevent

injury to the public from the diversion of opioids during distribution.

        884.    Defendants breached their duty to exercise the degree of care, prudence,

watchfulness, and vigilance commensurate to the dangers involved in the transaction of its business.




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           885.   Defendants are in exclusive control of the management of the opioids it distributed to

pharmacies and drug stores in Laredo.

           886.   Laredo is without fault and the injuries to the City and its residents would not have

occurred in the ordinary course of events had Defendants used due care commensurate to the

dangers involved in the distribution of opioids.

           887.   Plaintiff is within the class of persons the TCSA was intended to protect.

           888.   The harm that has occurred is the type of harm that the TCSA were intended to guard

against.

           889.   Defendants breached this duty by failing to take any action to prevent or reduce the

distribution of the opioids.

           890.   As a direct and proximate result of Defendants’ negligence per se, the City has

suffered and continues to suffer injury, including but not limited to incurring excessive costs related

to diagnosis, treatment, and cure of addiction or risk of addiction to opioids, bearing the massive

costs of these illnesses and conditions by having to provide necessary resources for care, treatment

facilities, and law enforcement services for City Residents and using City resources in relation to

opioid use and abuse.

           891.   Defendants were negligent in failing to monitor and guard against third-party

misconduct and participated and enabled such misconduct.

           892.   Defendants were negligent in failing to monitor against diversion of opioid pain

medications.

           893.   Plaintiff is entitled to recover damages caused by Defendants’ fraud in an amount to

be determined at trial.

                                    FIFTH CAUSE OF ACTION
                                         NEGLIGENCE
                                  (AGAINST ALL DEFENDANTS)

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        894.    Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

as if they were fully set forth herein.

        895.    Defendants have a duty to exercise reasonable care in the distribution, promotion,

and marketing of opioids.

        896.    Defendants breached this duty by failing to take any action to prevent or reduce the

distribution of the opioids.

        897.    As a proximate result, Defendants and its agents have caused Laredo to incur

excessive costs related to diagnosis, treatment, and cure of addiction or risk of addiction to opioids,

the City has borne the massive costs of these illnesses and conditions by having to provide necessary

resources for care, treatment facilities, and law enforcement services for City Residents and using City

resources in relation to opioid use and abuse.

        898.     Plaintiff is entitled to recover damages caused by Defendants’ negligence in an

amount to be determined at trial.

                                     SIXTH CAUSE OF ACTION

                               ENHANCED COMPENSATORY DAMAGES

        899.    Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

as if they were fully set forth herein.

        900.    For all of the aforementioned reasons, the defendants are liable for enhanced

compensatory damages as they engaged in wanton, malicious and oppressive conduct.

                              SEVENTH CAUSE OF ACTION
               VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                   ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961, ET SEQ.
                             (AGAINST ALL DEFENDANTS)

        901.    Plaintiff incorporates the allegations within all prior paragraphs within this Complaint

as if they were fully set forth herein.



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        902.    Each defendant, including the manufacturer and distributor defendants, is associated

with an enterprise which affects interstate commerce for purposes which include the illegal

distribution of opioids. As explained herein and above, each Defendant conducted or participated in

the enterprise’s affairs through commission of criminal offenses which constitute a pattern of

racketeering activity.

        903.    Defendant corporations are “persons” within the meaning of 18 U.S.C. § 1961(3)

which conducted the affairs of an enterprise through a pattern of racketeering activity, in violation of

18 U.S.C. § 1962.

        904.    Plaintiff was injured in its business of property as a result of each Defendant’s

wrongful conduct and is a “person” who can bring an action for violation of section 1962, as that

term is defined in 18 U.S.C. § 1961(3). “Any person injured in his business or property by reason of

a violation of section 1962 of this chapter may sue therefor in any appropriate United States district

court and shall recover threefold the damages he sustains and the cost of the suit, including a

reasonable attorney’s fee…” 18 U.S.C. § 1964.

                A. The Opioid Diversion Enterprise.

        905.    Each Defendant formed an association-in-fact enterprise (“Opioids Diversion

Enterprise”), and participated in the affairs of this enterprise when distributing highly dangerous,

addictive opioid drugs in Laredo. Each Defendant’s Opioids Diversion Enterprise consists of (a)

each Defendant, including its employees and agents; and (b) each Defendant’s retail pharmacies

which placed orders for vast quantities of opioids. Indeed, the Defendants could not have diverted

opioids without the participation of retail pharmacies. The events described herein required retail

pharmacies to place orders for these vast quantities of opioids.

        906.    Each Defendant and its respective pharmacy customers participated in the conduct of

the Opioids Diversion Enterprise, sharing the common purpose of profiting from the sale of opioids,

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through a pattern of racketeering activity, which includes multiple violations of Texas state criminal

law and multiple instances of mail or wire fraud.

         907.   Each Defendant’s Opioids Diversion Enterprise is an ongoing and continuing

business organization that created and maintained systematic links for a common purpose: to profit

from the sale of opioid prescription pills. Each Defendant conducted this enterprise notwithstanding

that its failure to abide by mandatory checks and balances constituted unlawful diversion of a

dangerous controlled substance.

         908.   The system is structured such that manufacturers, wholesalers and pharmacies see

greater profits at higher volumes. As a result, these companies are financially discouraged from

undertaking efforts to combat opioid abuse. Wholesale Distributors acquire pharmaceuticals,

including opioids, from manufacturers at an established wholesale acquisition cost (“WAC”).

Discounts and rebates may be offered by the manufacturers based on, inter alia, market share and

volume. Thus, the Defendant Wholesale Distributors are incentivized to order greater amounts so

that they can decrease the cost per pill. The Defendant Wholesale Distributors used the decreased

cost per pill to increase their market share (and thus, profits), by offering more competitive prices, or

they maintained their prices and pocketed the difference as additional profit. Either way, increased

sales volumes result in increased profits. At every turn, each Defendant maximized its profits through

discounts and rebates by ordering and selling more opioids. 203

         909.   As described above and expressly incorporated herein, the Defendant Wholesale

Distributors: A) were placed on notice by the DEA, and were the subject of repeated DEA

enforcement actions; and B) misrepresented their compliance with their legal obligations to maintain

a closed system.



203
      “Follow the Pill: Understanding the U.S. Commercial Pharmaceutical Supply Chain,” The Kaiser
      Family Foundation, March 2005.
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        910.    Each Defendant’s Opioid Diversion Enterprise has caused opioids to be abused

throughout Texas and specifically Laredo, with an ongoing cascade of human suffering and death

that continues to consume the resources of the City’s health and human services, health care, and law

enforcement systems.

        911.    Each Defendant and its respective retail pharmacy customers were willing participants

in the Opioids Diversion Enterprise, had a common purpose and interest in the object of the

scheme, and functioned within a structure designed to effectuate the Enterprise’s purpose.

        B.      Conduct of the Opioids Diversion Enterprise

        912.    To accomplish the common purpose of profiting from the sale of opioid

prescription pills, each Defendant’s Opioids Diversion Enterprise periodically and systematically

misrepresented – either affirmatively or through half-truths and omissions – to the general public,

the City, Texas consumers, and the Texas Board of Pharmacy, that it was fulfilling the requirements

of its Texas wholesale distributor and manufacturer licenses when, in fact, the duty to maintain

effective controls to prevent diversion for non-medical purposes was being ignored in pursuit of ever

increasing profits.

        913.    The persons engaged in each Defendant’s Opioids Diversion Enterprise are

systematically linked through contractual relationships, financial ties, and continuing coordination of

activities. Typically, this communication occurred, and continues to occur, through the use of the

wires and mail in which each Defendant and its respective retail pharmacy customers communicate to

facilitate the prescription opioid orders.

        914.    Each Defendant’s Opioids Diversion Enterprise functions as a continuing unit for the

purposes of profiting from the sale of opioid prescription drugs.




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        915.    At all relevant times, the retail pharmacy customers were aware of Defendants’

conduct, were knowing and willing participants in that conduct, and reaped benefits from that

conduct.

        916.    The sheer volume of prescription opioids flooding out of the doors of the

Defendants and into communities across the country, including Laredo, shocks the conscience and

required each Defendant to take appropriate action, such as investigating such as investigating and

reporting the orders as suspicious. Given their place in the supply chain, the Defendants are uniquely

situated to identify suspicious transactions. However, determined to increase their revenues, each of

the Defendants willfully ignored obvious warning signs concerning suspicious orders. It would be

virtually impossible for all of the orders to be legitimate, as there was no medical-need correlation

justifying the skyrocketing orders for these addictive drugs.

        917.    For all times relevant to this Complaint, each Defendant exerted control over its

Opioids Diversion Enterprise and participated in the operation and management of the affairs of the

Opioids Diversion Enterprise, directly or indirectly, in the following ways:

        a.      Defendants obtained a license from the Texas Board of Pharmacy but, contrary to the

requirements of Texas law, including federal laws incorporated by reference into Texas law,

Defendants failed to take necessary action to maintain effective controls against diversion of

dangerously addictive prescription opioids, and in dereliction of no delegable duties, marketed,

distributed, and sold opioid pills to their retail pharmacy customers notwithstanding that the increase

and quantum of addictive drug orders raised serious red flags regarding the drugs’ unlawful, non-

medical use;

        b.      Defendants misrepresented their compliance with their legal obligations, making false

assurances that their marketing, sales and distribution complied with the law, including without

limitation the requirements of Texas manufacturer and distributor licenses, when, in truth,

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Defendants sold all the opioids they could, for profit, and in violation of their legal duties to guard

against diversion of prescription opioids for illicit purposes;

        c.      Defendants refused to heed the DEA’s warnings and continued to sell opioids and fill

suspicious orders which were likely to be diverted;

        d.      Defendants refused to abide by the terms of DEA enforcement actions and

settlements, continuing to sell opioids to market opioids and fill suspicious orders;

        e.      Defendants did not monitor, detect, investigate, refuse to fill, and report suspicious

orders to the DEA as required under the terms of their licenses and applicable law;

        f.      Defendants intentionally and/or unlawfully sold the opioids unlawfully, purely for

profit and without regard to the opioid plague, notwithstanding Defendants’ knowledge that

substantial foreseeable harm would occur;

        g.      Defendants only succeeded in these opioid sales by using wire and mail to

communicate with physicians and retail pharmacies.

        918.    The Defendants and retail pharmacies participated in each Defendant’s Opioid

Diversion Enterprise by employing mail and wire to send orders of opioids to Defendants and to buy

opioids from Defendants. The retail pharmacies also participated in each Defendant’s Opioid

Diversion Enterprise by engaging with Defendants in violation of Texas law as described herein.

        919.    The scheme devised and implemented by each Defendant, as well as other members

of each Defendant’s Opioids Diversion Enterprise, amounted to a common course of conduct

intended to profit from Opioid sales.

        C. Pattern of Racketeering Activity

        920.    Defendants conducted and participated in the conduct of the affairs of their

respective Opioids Diversion Enterprise through a pattern of racketeering activity, which violates 18

U.S.C. § 1962(c).

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         921.   Regardless of any licenses or registrations held by Defendants to market, sell and

distribute dangerous and harmful drugs, including opioids, their conduct was not “lawful.”

Defendants engaged in a fraudulent and unlawful course of conduct constituting a pattern of

racketeering activity.

         922.   The pattern of racketeering activity alleged herein, and each Defendant’s Opioids

Diversion Enterprise are separate and distinct from each other. Likewise, each Defendant is distinct

from the Opioids Diversion Enterprise.

         923.   The pattern of racketeering activity alleged herein is continuing as of the date of this

Complaint and, upon information and belief, will continue into the future unless enjoined by this

Court.

         924.   Many of the precise dates of the Defendants’ criminal actions at issue here have been

hidden and cannot be alleged without access to Defendants’ books and records. Indeed, Defendants’

misrepresentations to the public, the Texas Board of Pharmacy and the DEA, depended on secrecy.

         925.   Each instance of racketeering activity alleged herein was related, had similar purposes,

involved the same or similar participants and methods of commission, and had similar results

affecting similar victims, including the City and its citizens. Defendants crafted the scheme to ensure

their own profits remained high, without regard to the effect such behavior had on the City and its

citizens. In designing and implementing the scheme, at all times Defendants were cognizant of the

fact that those in the distribution chain and the Texas Board of Pharmacy, inter alia, rely on the

integrity of the Defendants to maintain a closed system and to protect against the non-medical uses

of these dangerously addictive opioid drugs.

         926.   Defendants have knowingly engaged in, attempted to engage in, conspired to engage

in, or solicited another person to engage in racketeering activity, including the distribution of

dangerous and harmful drugs to persons, including minors, in violation of Texas law, which forbids

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the trafficking of controlled substances, criminal drug conspiracies, and receipt of income from

trafficking and utilizing that income to operate a commercial enterprise.

        927.    Defendants have knowingly engaged in, attempted to engage in, conspired to engage

in, or solicited another person to engage in racketeering activity, including thousands of separate

instances of use of the United States Mail or interstate wire facilities in furtherance of the unlawful

Opioids Diversion Enterprise. Each of these fraudulent mailings and interstate wire transmissions

constitutes racketeering activity and collectively, these violations constitute a pattern of racketeering

activity. Defendants specifically intended to obtain money by means of false pretenses,

representations, and promises, and used the mail and interstate wires for the purpose of executing

this scheme; specifically, the Defendants communicated with physicians and their retail pharmacy

customers via wire and used the mail to receive orders and sell drugs unlawfully. Any violation of the

mail or wire fraud statutes is defined as “racketeering activity.” 18 U.S.C.A. § 1961(1)(B).

        D.       Damages

        928.    Defendants’ violations of law and their pattern of racketeering activity have directly

and proximately caused the City and its citizens to be injured in their business or property because

the City has paid for costs associated with the opioid epidemic, as described above and expressly

incorporated herein by reference.

        929.    The City’s injuries, and those of her citizens, were proximately caused by Defendants’

racketeering activities. But for Defendants’ conduct, the City would not have paid the health services,

law enforcement services, social services, and other expenditures required by the plague of drug-

addicted residents.

        930.    The City’s injuries, and those of her citizens, were directly caused by Defendants’

racketeering activities.




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          931.   The City was most directly harmed, and there is no other Plaintiff better situated to

seek a remedy for the economic harms at issue here.



                                       PRAYER FOR RELIEF

          WHEREFORE, Plaintiff demands judgment against defendants, jointly and severally, as to

all Causes of Action, awarding Plaintiff in amounts that exceed the jurisdiction of all lower Courts:

   i.     compensatory damages in an amount sufficient to fairly and completely compensate Plaintiff

          for all damages;

   ii.       treble damages, penalties, and costs

   iii.      Punitive Damages;

   iv.       attorneys’ fees

   v.        interest, Costs and Disbursements;

   vi.       such and further relief as this Court may deem just and proper.


Dated: August 9, 2018
        Laredo, Texas
                                                          LUIS R. VERA & ASSOCIATES

                                                          /s/ Luis R. Vera, Jr.
                                                          ____________________________
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                                                                  -and-

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